Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 1 of 263




                    Exhibit A
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 2 of 263




                                                                      Transcript of Daniel J. White
                                                                                         Date: November 29, 2021
                                                                                Case: Boshea -v- Compass Marketing, Inc.




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                                                                             WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 3 of 263




                                                                      1             IN THE UNITED STATES DISTRICT COURT

                                                                      2                FOR THE DISTRICT OF MARYLAND

                                                                      3

                                                                      4    DAVID J. BOSHEA,              *

                                                                      5             Plaintiff,           *

                                                                      6       vs.                        *    Civil Action No.

                                                                      7    COMPASS MARKETING, INC.,      *    1:21-cv-00309-ELH

                                                                      8             Defendant.           *

                                                                      9

                                                                      10

                                                                      11

                                                                      12                  Videotaped Deposition of

                                                                      13                       DANIEL J. WHITE

                                                                      14               Conducted Virtually Via Zoom

                                                                      15                  Monday, November 29, 2021

                                                                      16                         8:31 a.m. EST

                                                                      17

                                                                      18

                                                                      19   Job No.: 414939

                                                                      20   Pages: 1 - 223

                                                                      21   Reported by:     Vicki L. Forman

                                                                      22
                                                                                              Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 4 of 263

                                                                                            Conducted on November 29, 2021     2

                                                                      1            Videotaped Deposition of DANIEL J. WHITE,

                                                                      2    conducted virtually via Zoom.

                                                                      3

                                                                      4

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                                                                      6

                                                                      7

                                                                      8            Pursuant to agreement, before Vicki L.

                                                                      9    Forman, Court Reporter and Notary Public in and

                                                                      10   for the State of Maryland.

                                                                      11

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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 5 of 263

                                                                                               Conducted on November 29, 2021    3

                                                                      1                   A P P E A R A N C E S

                                                                      2

                                                                      3    ON BEHALF OF THE PLAINTIFF:

                                                                      4       GREGORY J. JORDAN, ESQUIRE

                                                                      5       Jordan & Zito

                                                                      6       Suite 400

                                                                      7       350 North Clark Street

                                                                      8       Chicago, Illinois      60654

                                                                      9       (312) 489-8174

                                                                      10

                                                                      11

                                                                      12

                                                                      13   ON BEHALF OF THE DEFENDANT:

                                                                      14      STEPHEN B. STERN, ESQUIRE

                                                                      15      HEATHER K. YEUNG, ESQUIRE

                                                                      16      Kagan, Stern, Marinello & Beard, LLC

                                                                      17      238 West Street

                                                                      18      Annapolis, Maryland      21401

                                                                      19      (410) 216-7900

                                                                      20

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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 6 of 263

                                                                                               Conducted on November 29, 2021    4

                                                                      1    ON BEHALF OF THE DEPONENT:

                                                                      2       BRUCE L. MARCUS, ESQUIRE

                                                                      3       SYDNEY M. PATTERSON, ESQUIRE

                                                                      4       Marcus Bonsib, LLC

                                                                      5       6411 Ivy Lane, Suite 116

                                                                      6       Greenbelt, Maryland      20770

                                                                      7       (301) 441-3000

                                                                      8

                                                                      9

                                                                      10

                                                                      11   ALSO PRESENT:   David Boshea

                                                                      12                   Ron Bateman, Compass Marketing

                                                                      13                   Sue Pybas, PD Tech

                                                                      14                   Donald Lane, II, Videographer

                                                                      15

                                                                      16

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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 7 of 263

                                                                                               Conducted on November 29, 2021                5

                                                                      1                         C O N T E N T S

                                                                      2    EXAMINATION OF DANIEL J. WHITE                        PAGE

                                                                      3      By Mr. Stern                                           12

                                                                      4

                                                                      5

                                                                      6

                                                                      7

                                                                      8

                                                                      9                         E X H I B I T S

                                                                      10                 (Attached to the Transcript)

                                                                      11   D. WHITE DEPOSITION EXHIBIT                           PAGE

                                                                      12     Exhibit 1       White's Motion to Quash                    15

                                                                      13     Exhibit 2       Answers to Interrogatories                 28

                                                                      14     Exhibit 3       Amended Responses to Interrogs.            43

                                                                      15     Exhibit 4       1/15/21 E-mail, DJW 000093-94              47

                                                                      16     Exhibit 5       1/12/21 E-mail, DJW 000292-293             53

                                                                      17     Exhibit 6       2/5/21 E-mail, DJW 000894-897              60

                                                                      18     Exhibit 7       1/6/21 E-mail, DJW 000900-907              65

                                                                      19     Exhibit 8       12/18/20 E-mail, DJW 000922-925            80

                                                                      20     Exhibit 9       12/27/20 E-mail, DJW 000921                85

                                                                      21     Exhibit 10      1/7/21 E-mail, DJW 000913                  89

                                                                      22   (Exhibits continued on next page.)


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                                                                                              Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 8 of 263

                                                                                            Conducted on November 29, 2021          6

                                                                      1    Exhibit 11   1/20/21 E-mail, DJW 000908-910         91

                                                                      2    Exhibit 12   8/27/21 E-mail, DJW 000041-42          98

                                                                      3    Exhibit 13   6/16/21 E-mail, DJW 000875            104

                                                                      4    Exhibit 14   6/15/21 E-mail, DJW 000876            107

                                                                      5    Exhibit 15   9/25/21 E-mail, DJW 000543            114

                                                                      6    Exhibit 16   7/1/21 E-mail, DJW 000831-835         117

                                                                      7    Exhibit 17   9/13/21 E-mail, DJW 000312-319        121

                                                                      8    Exhibit 18   9/27/21 E-mail, DJW 00001-00008       124

                                                                      9    Exhibit 19   10/15/15 E-mail                       154

                                                                      10   Exhibit 20   12/9/15 Photocopy of Check            166

                                                                      11   Exhibit 21   12/1/15 Photocopy of Check            176

                                                                      12   Exhibit 22   6/7/21 E-mail, DJW 000877             202

                                                                      13   Exhibit 23   1/14/21 E-mail, DJW 000285            212

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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 9 of 263

                                                                                                 Conducted on November 29, 2021             7

                                                                      1                    P R O C E E D I N G S                                08:30:12

                                                                      2             THE VIDEOGRAPHER:      Here begins the remote               08:30:12

                                                                      3    video deposition of Daniel White in the matter of                    08:30:18

                                                                      4    David J. Boshea versus Compass Marketing,                            08:30:21

                                                                      5    Incorporated pending in the United States District                   08:30:25

                                                                      6    Court for the District of Maryland.           Case number            08:30:27

                                                                      7    as it appears, 1:21-cv-00309-ELH.           Today's date is          08:30:29

                                                                      8    November 29, 2021.       The time on the video monitor               08:30:38

                                                                      9    is 8:31 a.m.                                                         08:30:41

                                                                      10            The remote videographer today is Donald E.                  08:30:42

                                                                      11   Lane, II representing Planet Depos.           All parties            08:30:45

                                                                      12   of this video deposition are attending remotely.                     08:30:48

                                                                      13            Would counsel please voice identify                         08:30:51

                                                                      14   themselves and state whom they represent?                            08:30:53

                                                                      15            MR. STERN:     Good morning.     This is Stephen            08:30:55

                                                                      16   Stern.    I represent the defendant, Compass                         08:30:58

                                                                      17   Marketing, Inc.       Located in my office with me is a              08:31:01

                                                                      18   representative of the company, Ronald Bateman.              He       08:31:02

                                                                      19   is not on the video -- he is not on camera but                       08:31:06

                                                                      20   he's in my office with me.                                           08:31:10

                                                                      21            MR. JORDAN:     This is Gregory Jordan.        I            08:31:13

                                                                      22   represent David Boshea.        David is also on the                  08:31:13


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 10 of 263

                                                                                                  Conducted on November 29, 2021          8

                                                                       1    Zoom.    He is the plaintiff.                                     08:31:16

                                                                       2             MS. YEUNG:     Heather Yeung is here.          I'm       08:31:21

                                                                       3    also -- I'm part of Stephen Stern's firm                          08:31:23

                                                                       4    representing Compass Marketing.          I am largely here        08:31:27

                                                                       5    for technical support to make sure exhibits are                   08:31:31

                                                                       6    shown.                                                            08:31:34

                                                                       7             THE VIDEOGRAPHER:      The court reporter                08:31:35

                                                                       8    today is Vicki Forman representing Planet Depos.                  08:31:36

                                                                       9             Would the reporter please swear in the                   08:31:38

                                                                       10   witness.                                                          08:31:38

                                                                       11            THE REPORTER:      Mr. White, would you raise            08:31:38

                                                                       12   your right hand, please?                                          08:31:38

                                                                       13                         DANIEL J. WHITE                             08:31:38

                                                                       14      having been duly sworn, testified as follows:                  08:31:38

                                                                       15   THE REPORTER:    Thank you.       You may proceed,                08:31:53

                                                                       16   Mr. Stern.                                                        08:31:55

                                                                       17            MR. STERN:     Thank you.                                08:31:57

                                                                       18            MR. MARCUS:     Before we begin, if there are            08:31:57

                                                                       19   others in any of the rooms we would ask that they                 08:31:59

                                                                       20   be identified so that we actually know what's                     08:32:03

                                                                       21   going on elsewhere.                                               08:32:07

                                                                       22            Mr. Stern, Mr. Bateman is in what                        08:32:09


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 11 of 263

                                                                                                Conducted on November 29, 2021         9

                                                                       1    capacity?                                                      08:32:13

                                                                       2           MR. STERN:     He's here as the company                 08:32:15

                                                                       3    representative.                                                08:32:16

                                                                       4           MR. MARCUS:     And by "company" your                   08:32:19

                                                                       5    representation is that he is there on behalf of                08:32:20

                                                                       6    Compass Marketing?                                             08:32:22

                                                                       7           MR. STERN:     Correct.                                 08:32:23

                                                                       8           MR. MARCUS:     Does he hold an office or how           08:32:29

                                                                       9    did that designation come to be?                               08:32:31

                                                                       10          MR. STERN:     Special Advisor to the                   08:32:38

                                                                       11   Chairman.                                                      08:32:39

                                                                       12          MR. MARCUS:     Special Advisor to the                  08:32:41

                                                                       13   Chairman.                                                      08:32:43

                                                                       14          Could we just have an identification of                 08:32:52

                                                                       15   who the chairman is?                                           08:32:53

                                                                       16          MR. STERN:     I'm the one that's asking                08:32:55

                                                                       17   questions today.     He is here as a company                   08:32:57

                                                                       18   employee -- a company representative.         That's all       08:33:01

                                                                       19   we need to know.                                               08:33:03

                                                                       20          MR. MARCUS:     Okay.     And Mr. Boshea, are           08:33:04

                                                                       21   you by yourself, sir?                                          08:33:12

                                                                       22


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 12 of 263

                                                                                                  Conducted on November 29, 2021        10

                                                                       1             MR. BOSHEA:     Yes, sir.                               08:33:15

                                                                       2             MR. MARCUS:     Mr. Jordan, I assume you are            08:33:17

                                                                       3    as well, sir?                                                    08:33:19

                                                                       4             MR. JORDAN:     That's correct.                         08:33:21

                                                                       5             David, can you turn off your mic, please?               08:33:23

                                                                       6    Sorry.                                                           08:33:29

                                                                       7             MR. MARCUS:     Ms. Young, I assume you are             08:33:30

                                                                       8    also by yourself?                                                08:33:33

                                                                       9             MS. YEUNG:     I'm in the same office                   08:33:35

                                                                       10   building as Mr. Stern but I'm in my own office                   08:33:37

                                                                       11   with the door closed.                                            08:33:40

                                                                       12            MR. MARCUS:     Just so it's clear,                     08:33:41

                                                                       13   Ms. Patterson who is an attorney in our office is                08:33:43

                                                                       14   also here in the room.        There's nobody else in the         08:33:45

                                                                       15   room here and I am assuming that there are no                    08:33:47

                                                                       16   other recordings that are being made other than                  08:33:52

                                                                       17   the official reporting company recording both                    08:33:55

                                                                       18   video and audio, is that a fair statement?                       08:33:58

                                                                       19            MR. STERN:     Thank you, Bruce.      I actually        08:34:01

                                                                       20   want to take it a step further, not just                         08:34:03

                                                                       21   recording.    I want to make sure that everyone                  08:34:04

                                                                       22   represents that's in an office that there's no one               08:34:06


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 13 of 263

                                                                                                   Conducted on November 29, 2021         11

                                                                       1    else listening in by phone or by video on their                    08:34:09

                                                                       2    computer screen or otherwise.                                      08:34:13

                                                                       3              MR. JORDAN:     I'm not recording.       I don't         08:34:16

                                                                       4    have anybody -- this is Gregory Jordan.             I'm not        08:34:18

                                                                       5    recording, having anybody listen in.            I'm here by        08:34:20

                                                                       6    myself.     I'm at home.      There are other people in            08:34:23

                                                                       7    the house but they're not -- they're completely                    08:34:27

                                                                       8    uninterested in this.                                              08:34:30

                                                                       9              MR. STERN:     Okay.                                     08:34:32

                                                                       10             MR. MARCUS:     And as for Ms. Patterson,                08:34:34

                                                                       11   myself and Mr. White there are no recordings and                   08:34:37

                                                                       12   there is no one else in the room.                                  08:34:39

                                                                       13             MR. STERN:     That's not my question,                   08:34:41

                                                                       14   Mr.   Marcus.    I asked is there any connection to                08:34:43

                                                                       15   anyone by phone or video that's otherwise even if                  08:34:46

                                                                       16   it's not being recorded?                                           08:34:49

                                                                       17             MR. MARCUS:     There are no telephones                  08:34:51

                                                                       18   operated at this point.          There are no intentions           08:34:54

                                                                       19   to have any telephones operated so that's it for                   08:34:58

                                                                       20   us.   I assume that that is the case for you --                    08:35:03

                                                                       21             MR. STERN:     Correct.                                  08:35:05

                                                                       22


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 14 of 263

                                                                                                 Conducted on November 29, 2021    12

                                                                       1            MR. MARCUS:     -- and Mr. Bateman?                 08:35:07

                                                                       2            MR. STERN:     Correct.                             08:35:10

                                                                       3            MR. MARCUS:     Okay.                               08:35:13

                                                                       4            MR. STERN:     All right, then let's get            08:35:14

                                                                       5    started.                                                    08:35:16

                                                                       6            Was the witness sworn in?                           08:35:17

                                                                       7            THE REPORTER:      Yes.                             08:35:19

                                                                       8       EXAMINATION BY COUNSEL FOR THE DEFENDANT                 08:35:20

                                                                       9    BY MR. STERN:                                               08:35:20

                                                                       10       Q   Mr. White, is this the first time you and           08:35:21

                                                                       11   I have met?                                                 08:35:23

                                                                       12       A   I believe so.                                       08:35:24

                                                                       13       Q   And can you just -- can you please state            08:35:26

                                                                       14   your name for the record?                                   08:35:31

                                                                       15       A   My name is Daniel White.                            08:35:32

                                                                       16       Q   And you are an attorney?                            08:35:35

                                                                       17       A   I am.                                               08:35:36

                                                                       18       Q   What is your current position?                      08:35:38

                                                                       19       A   I work for the State's Attorney's Office            08:35:41

                                                                       20   in St. Mary's County.                                       08:35:44

                                                                       21       Q   What's your title?                                  08:35:47

                                                                       22       A   I'm the Deputy State's Attorney.                    08:35:47


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 15 of 263

                                                                                                 Conducted on November 29, 2021     13

                                                                       1        Q   How long have you held that position?                08:35:49

                                                                       2        A   About one year.                                      08:35:52

                                                                       3        Q   And were you employed in the State's                 08:35:53

                                                                       4    Attorney's Office prior to that?                             08:35:58

                                                                       5        A   I was.                                               08:35:59

                                                                       6        Q   For how long?                                        08:36:00

                                                                       7        A   I've been there for 20 years.                        08:36:02

                                                                       8        Q   And have you been working in a full-time             08:36:05

                                                                       9    capacity for the State's Attorney's Office during            08:36:08

                                                                       10   that time?                                                   08:36:11

                                                                       11           MR. MARCUS:     Objection.     Answer please.        08:36:15

                                                                       12       A   Yes.                                                 08:36:16

                                                                       13   BY MR. STERN:                                                08:36:18

                                                                       14       Q   So as an attorney you're familiar with               08:36:19

                                                                       15   depositions?                                                 08:36:21

                                                                       16       A   Generally.                                           08:36:25

                                                                       17       Q   Have you ever been deposed before?                   08:36:26

                                                                       18       A   I have not.                                          08:36:29

                                                                       19       Q   Well, just in an abundance of caution I'm            08:36:32

                                                                       20   going to go over a few procedural matters today              08:36:35

                                                                       21   just to make sure we do the best we can to                   08:36:39

                                                                       22   understand how this process will work.                       08:36:40


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 16 of 263

                                                                                              Conducted on November 29, 2021         14

                                                                       1            As you know, I represent Compass                      08:36:42

                                                                       2    Marketing, Inc. in this matter and I'll be asking             08:36:44

                                                                       3    you a bunch of questions today.      I need you to            08:36:47

                                                                       4    verbalize your answers.      Even though this is being        08:36:50

                                                                       5    video recorded, for the transcript we also need               08:36:53

                                                                       6    verbal answers, do you understand that?                       08:36:56

                                                                       7        A   I do.                                                 08:36:59

                                                                       8        Q   In addition, if there's a question that's             08:36:59

                                                                       9    unclear I'll ask you to ask me to clarify it,                 08:37:04

                                                                       10   otherwise, I'll assume you understand the                     08:37:07

                                                                       11   questions being asked.                                        08:37:09

                                                                       12           Do you understand that?                               08:37:11

                                                                       13       A   I understand what you said.                           08:37:13

                                                                       14       Q   And then while it's inevitable in any                 08:37:15

                                                                       15   conversation, people tend to interrupt one another            08:37:19

                                                                       16   from time to time.      We need to do our best to let         08:37:22

                                                                       17   each other finish our respective statements so                08:37:25

                                                                       18   please wait for me to finish asking my question               08:37:28

                                                                       19   and I'll do my best to try to wait for you to                 08:37:29

                                                                       20   finish answering the question, understood?                    08:37:34

                                                                       21       A   I understand.                                         08:37:36

                                                                       22       Q   And before we get started, one other                  08:37:37


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 17 of 263

                                                                                                 Conducted on November 29, 2021    15

                                                                       1    question is have you consumed anything today that           08:37:41

                                                                       2    would inhibit you from answering questions                  08:37:44

                                                                       3    truthfully under oath?                                      08:37:47

                                                                       4        A   No, sir.                                            08:37:49

                                                                       5        Q   I'm sorry, I couldn't hear you.                     08:37:50

                                                                       6        A   No, sir.                                            08:37:52

                                                                       7        Q   Now, you're here today pursuant to a                08:37:54

                                                                       8    subpoena, correct?                                          08:37:56

                                                                       9        A   That's correct.                                     08:37:57

                                                                       10       Q   And you are accompanied by your counsel?            08:38:00

                                                                       11       A   That's correct.                                     08:38:02

                                                                       12       Q   And you objected to sitting for this                08:38:08

                                                                       13   deposition by filing a motion to quash this                 08:38:10

                                                                       14   subpoena, correct?                                          08:38:13

                                                                       15       A   I did.                                              08:38:16

                                                                       16           MR. STERN:     I'd like to show you that            08:38:18

                                                                       17   motion that you filed.       It's Document Number 31        08:38:21

                                                                       18   filed on August 16, 2021 and I'm going to -- can            08:38:28

                                                                       19   you scroll through it, please, Heather to -- and            08:38:35

                                                                       20   this will be marked as Exhibit 1.                           08:38:37

                                                                       21           (D. White Deposition Exhibit 1 was marked           08:38:37

                                                                       22   for identification and attached to the                      08:38:37


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 18 of 263

                                                                                                   Conducted on November 29, 2021         16

                                                                       1    transcript.)                                                       08:38:37

                                                                       2    BY MR. STERN:                                                      08:38:37

                                                                       3        Q     Is this the document that you filed?                     08:38:41

                                                                       4              MR. MARCUS:     We have to see it first.                 08:38:47

                                                                       5              MS. YEUNG:     Would you like me to send the             08:38:53

                                                                       6    e-mail now with the entire document?                               08:38:55

                                                                       7              MR. JORDAN:     I would like you to send the             08:39:03

                                                                       8    e-mail if possible.        That would probably be                  08:39:05

                                                                       9    easier.     This is Gregory Jordan.                                08:39:09

                                                                       10             MS. YEUNG:     Not a problem.                            08:39:13

                                                                       11             MR. STERN:     Heather, perhaps what we'll do            08:39:14

                                                                       12   is once you put it up on the screen and I can                      08:39:16

                                                                       13   confirm that that's the one I'm looking to have                    08:39:19

                                                                       14   referred to, you can just right after that send                    08:39:21

                                                                       15   the e-mail to whoever needs to have a copy.                        08:39:24

                                                                       16             MS. YEUNG:     Yes, we'll get a flow going.              08:39:26

                                                                       17             MR. STERN:     All right.                                08:39:30

                                                                       18   BY MR. STERN:                                                      08:39:31

                                                                       19       Q     Mr. White, is this the motion that you                   08:39:32

                                                                       20   filed?                                                             08:39:35

                                                                       21             MR. MARCUS:     Hang on one second.       We just        08:39:41

                                                                       22   received it.                                                       08:39:44


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 19 of 263

                                                                                                 Conducted on November 29, 2021    17

                                                                       1            MR. STERN:     It's also up on the screen.          08:39:44

                                                                       2            MR. MARCUS:     I understand that but there         08:39:46

                                                                       3    are two lines below the caption so that's all we            08:39:47

                                                                       4    can see.                                                    08:39:53

                                                                       5    BY MR. STERN:                                               08:40:09

                                                                       6        Q   Have you had a chance to review that,               08:40:10

                                                                       7    Mr. White?                                                  08:40:12

                                                                       8        A   I looked at your e-mail.        Thank you.          08:40:21

                                                                       9        Q   Is that your opposition -- or your motion           08:40:24

                                                                       10   that you filed I mean?                                      08:40:28

                                                                       11       A   It appears to be but I do not know if it's          08:40:29

                                                                       12   the whole thing or not.                                     08:40:33

                                                                       13       Q   I'm not representing that's the exhibits.           08:40:34

                                                                       14   I'm asking does that constitute the motion that             08:40:37

                                                                       15   you filed?                                                  08:40:39

                                                                       16       A   It appears to be but I'm not sure.                  08:40:40

                                                                       17       Q   What is it that doesn't make you sure that          08:40:42

                                                                       18   that's the motion that you filed?                           08:40:44

                                                                       19       A   Well, it comes from you, sir.                       08:40:47

                                                                       20           MR. MARCUS:     Mr. Stern, not to interject         08:40:52

                                                                       21   but you made reference to the deposition as being           08:40:54

                                                                       22   the subject of the motion I believe in your                 08:40:58


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 20 of 263

                                                                                               Conducted on November 29, 2021    18

                                                                       1    question.    What you've shown us is a motion to          08:41:00

                                                                       2    quash subpoenas, okay, and it appears to be for           08:41:05

                                                                       3    the duces tecum and a protective order so I'm not         08:41:13

                                                                       4    sure if your question was accurate if this is the         08:41:16

                                                                       5    exhibit that you intend to rely on.                       08:41:22

                                                                       6    BY MR. STERN:                                             08:41:22

                                                                       7        Q   Mr. White, was your motion intended to            08:41:24

                                                                       8    quash the entirety of the subpoena that was served        08:41:27

                                                                       9    on you, both the duces tecum portion and the              08:41:30

                                                                       10   deposition portion?                                       08:41:34

                                                                       11           MR. MARCUS:     Objection.   The document         08:41:36

                                                                       12   speaks for itself.                                        08:41:38

                                                                       13   BY MR. STERN:                                             08:41:38

                                                                       14       Q   Go ahead and answer the question,                 08:41:39

                                                                       15   Mr. White.                                                08:41:40

                                                                       16       A   Would you ask me the question again, sir?         08:41:40

                                                                       17       Q   Was your motion intended to quash the             08:41:42

                                                                       18   duces tecum portion and the deposition portion of         08:41:45

                                                                       19   the subpoena?                                             08:41:47

                                                                       20           MR. MARCUS:     Again, objection.    The          08:41:50

                                                                       21   document speaks for itself.      Go ahead, sir.           08:41:51

                                                                       22       A   I don't know.                                     08:41:54


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 21 of 263

                                                                                               Conducted on November 29, 2021    19

                                                                       1    BY MR. STERN:                                             08:41:56

                                                                       2        Q   You don't know?    Why don't you know?            08:41:56

                                                                       3            What is it about the motion that you don't        08:42:00

                                                                       4    know?                                                     08:42:02

                                                                       5        A   I wrote it as best as I could.                    08:42:04

                                                                       6        Q   And when you wrote it did you intend to           08:42:07

                                                                       7    quash both the duces tecum portion of the                 08:42:10

                                                                       8    deposition and the deposition portion of the --           08:42:13

                                                                       9    I'm sorry, let me say that again.                         08:42:16

                                                                       10           Did you intend to quash the duces tecum           08:42:18

                                                                       11   portion of the subpoena and the deposition portion        08:42:21

                                                                       12   of the subpoena?                                          08:42:23

                                                                       13           MR. MARCUS:    Objection.    The document         08:42:25

                                                                       14   speaks for itself.                                        08:42:26

                                                                       15   BY MR. STERN:                                             08:42:29

                                                                       16       Q   Go ahead, Mr. White.                              08:42:30

                                                                       17       A   I do not remember.                                08:42:31

                                                                       18       Q   Would it help you if you were to read             08:42:33

                                                                       19   through that motion?                                      08:42:36

                                                                       20       A   I can read the motion for you if you'd            08:42:40

                                                                       21   like.                                                     08:42:42

                                                                       22       Q   Did you review your motion prior to               08:42:47


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 22 of 263

                                                                                                Conducted on November 29, 2021      20

                                                                       1    preparing for -- prior to the deposition today?              08:42:51

                                                                       2        A     I did not do it recently.                          08:42:55

                                                                       3        Q     When was the last time you reviewed your           08:42:58

                                                                       4    motion?                                                      08:43:00

                                                                       5        A     Probably two months ago.                           08:43:05

                                                                       6        Q     I'd like to turn your attention to page            08:43:09

                                                                       7    two, subsection 2D.     I would like to direct your          08:43:13

                                                                       8    attention to one, two, three, four lines down.               08:43:24

                                                                       9              It says "White" -- I assume White there            08:43:28

                                                                       10   refers to you, Daniel White, correct?                        08:43:31

                                                                       11       A     That's correct.                                    08:43:34

                                                                       12       Q     It says "White had no prior knowledge of           08:43:36

                                                                       13   and did not participate in neither the                       08:43:39

                                                                       14   development, execution or ratification of the                08:43:41

                                                                       15   Boshea employment agreement with Compass," do you            08:43:44

                                                                       16   see that?                                                    08:43:47

                                                                       17       A     I see that.                                        08:43:48

                                                                       18       Q     Is that a true statement?                          08:43:50

                                                                       19       A     I do not know and -- I do not know the             08:43:58

                                                                       20   answer to that.     I didn't think I did when I wrote        08:44:01

                                                                       21   that statement.                                              08:44:05

                                                                       22       Q     So now you've had time to reflect on it.           08:44:06


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 23 of 263

                                                                                                  Conducted on November 29, 2021      21

                                                                       1             Is that a true statement?                             08:44:10

                                                                       2             MR. MARCUS:     Objection to form.                    08:44:13

                                                                       3        A    I have reflected on that motion and I have            08:44:20

                                                                       4    found an e-mail that I did not remember having                 08:44:24

                                                                       5    received.                                                      08:44:29

                                                                       6    BY MR. STERN:                                                  08:44:34

                                                                       7        Q    We'll talk about that e-mail a little bit             08:44:34

                                                                       8    later on.                                                      08:44:37

                                                                       9        A    Okay.                                                 08:44:39

                                                                       10       Q    I also want to turn your attention for the            08:44:39

                                                                       11   moment -- we'll turn back to this a few times                  08:44:43

                                                                       12   during the deposition.                                         08:44:45

                                                                       13            As I understand it, you also have a time              08:44:46

                                                                       14   limitation that you've got to end the deposition               08:44:49

                                                                       15   today by 12:30; is that correct?                               08:44:51

                                                                       16            MR. MARCUS:     The deposition according to           08:44:53

                                                                       17   the Court will end at 12:30.         It was to start at        08:44:54

                                                                       18   8:00 a.m.    We were here at 8:00 a.m. and the Court           08:44:59

                                                                       19   has indicated that the deposition will end at                  08:45:03

                                                                       20   12:30.                                                         08:45:06

                                                                       21            MR. STERN:     This is just this portion of           08:45:06

                                                                       22   the deposition.       The Court also talked about              08:45:08


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 24 of 263

                                                                                                 Conducted on November 29, 2021    22

                                                                       1    continuing it later in December.                            08:45:10

                                                                       2            MR. MARCUS:     The issue about whether it          08:45:12

                                                                       3    will be continued is to be determined based on the          08:45:14

                                                                       4    questions that are put to the deponent and whether          08:45:18

                                                                       5    or not the deposition is being done according to            08:45:21

                                                                       6    the rules and in an efficient and economical way.           08:45:26

                                                                       7            MR. STERN:     Well, you can take up that           08:45:31

                                                                       8    battle if you need to, Mr. Marcus.                          08:45:33

                                                                       9    BY MR. STERN:                                               08:45:33

                                                                       10       Q   I'm turning your attention to subsection            08:45:35

                                                                       11   2G on page three.      It says "The subpoena duces          08:45:38

                                                                       12   tecum was not properly issued, as Attorney Stern            08:45:47

                                                                       13   is disqualified from serving as counsel for                 08:45:49

                                                                       14   Compass Marketing because, among other things,              08:45:52

                                                                       15   Stern was not properly retained by Compass and was          08:45:55

                                                                       16   instead engaged by a single shareholder of Compass          08:45:57

                                                                       17   who shares with Attorney Stern a financial                  08:46:01

                                                                       18   interest in Smart Retail, Inc., whose interests             08:46:02

                                                                       19   are directly and materially adverse to Compass."            08:46:06

                                                                       20           What did you mean when you said "Stern was          08:46:09

                                                                       21   not properly retained and instead engaged by a              08:46:11

                                                                       22   single shareholder of Compass"?                             08:46:14


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 25 of 263

                                                                                                Conducted on November 29, 2021          23

                                                                       1            MR. MARCUS:    Objection to the form of the              08:46:18

                                                                       2    question.    Answer if you can, please.                          08:46:19

                                                                       3        A   I think I wrote it as carefully as I could               08:46:21

                                                                       4    and I think I meant what I wrote, sir.                           08:46:24

                                                                       5    BY MR. STERN:                                                    08:46:26

                                                                       6        Q   So why is it that a single shareholder of                08:46:26

                                                                       7    Compass does not authorize to retain counsel for                 08:46:29

                                                                       8    the company?                                                     08:46:34

                                                                       9        A   I think that answer goes together.            I          08:46:39

                                                                       10   think that sentence belongs together.         I think you        08:46:42

                                                                       11   and John have a business together.         I think John          08:46:46

                                                                       12   owns 50 percent of the company.        I think                   08:46:50

                                                                       13   50 percent of the owners don't think you should be               08:46:52

                                                                       14   representing Compass Marketing.                                  08:46:55

                                                                       15       Q   So are you saying that you have veto power               08:46:56

                                                                       16   over who the company represents -- who the company               08:47:01

                                                                       17   retains as counsel?                                              08:47:02

                                                                       18           MR. MARCUS:    Objection, misstates the                  08:47:04

                                                                       19   testimony.     Answer please.                                    08:47:06

                                                                       20       A   I don't believe that John has the                        08:47:07

                                                                       21   authority to hire you to represent Compass.                      08:47:10

                                                                       22


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 26 of 263

                                                                                                Conducted on November 29, 2021      24

                                                                       1    BY MR. STERN:                                                08:47:15

                                                                       2        Q   Who has the authority to retain counsel to           08:47:15

                                                                       3    represent Compass?                                           08:47:18

                                                                       4            MR. MARCUS:    Objection, calls for a legal          08:47:21

                                                                       5    conclusion.     Answer if you can, please.                   08:47:23

                                                                       6        A   I do not know.                                       08:47:25

                                                                       7    BY MR. STERN:                                                08:47:29

                                                                       8        Q   So you don't know who has the ability to             08:47:30

                                                                       9    retain counsel but you believe John White does not           08:47:32

                                                                       10   have authority to retain counsel?                            08:47:35

                                                                       11           MR. MARCUS:    Objection.     Mr. Stern, this        08:47:37

                                                                       12   deposition is supposed to be taken according to              08:47:40

                                                                       13   the opinion and order that was issued by Judge               08:47:44

                                                                       14   Copperthite on matters that are raised in the                08:47:47

                                                                       15   Complaint.    If it is your position that you're             08:47:50

                                                                       16   free to go beyond that then we will take up with             08:47:55

                                                                       17   the Court the fact that there are no constraints             08:47:58

                                                                       18   and the questions that are being put to the                  08:48:01

                                                                       19   deponent are unrelated to the purpose of the                 08:48:05

                                                                       20   deposition, and to the extent that you think you             08:48:08

                                                                       21   need more time I would suggest to you, sir, that             08:48:10

                                                                       22   your time in this deposition should be spent                 08:48:14


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 27 of 263

                                                                                                Conducted on November 29, 2021        25

                                                                       1    inquiring about the role of a nonparty witness on              08:48:17

                                                                       2    the limited topics that were identified by the                 08:48:20

                                                                       3    Judge in the opinion and order that was issued                 08:48:23

                                                                       4    September 27th.                                                08:48:26

                                                                       5           MR. STERN:     Mr. Marcus, please stop with             08:48:28

                                                                       6    the speaking objections.      This is highly relevant.         08:48:30

                                                                       7    First of all, your client put it in a motion                   08:48:33

                                                                       8    specifically related to this case.         Secondly, as        08:48:34

                                                                       9    we will get into many documents that you produced              08:48:37

                                                                       10   on behalf of your client, he's been communicating              08:48:39

                                                                       11   extensively with the plaintiff's counsel in this               08:48:42

                                                                       12   case, therefore, I need to know who does he                    08:48:44

                                                                       13   believe is authorized to retain counsel on behalf              08:48:46

                                                                       14   of Compass and does he believe he has the ability              08:48:50

                                                                       15   to speak on behalf of Compass?                                 08:48:53

                                                                       16          MR. MARCUS:     The issue of representative             08:48:56

                                                                       17   capacity is not a subject for a discovery                      08:48:58

                                                                       18   deposition.    If you insist on using this                     08:49:01

                                                                       19   deposition for collateral matters then obviously               08:49:05

                                                                       20   we will take that up with the Court.         It's              08:49:10

                                                                       21   certainly --                                                   08:49:13

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 28 of 263

                                                                                                 Conducted on November 29, 2021       26

                                                                       1            MR. STERN:     It's not a collateral -- it's           08:49:13

                                                                       2    not a collateral matter.         It's something that he        08:49:13

                                                                       3    put before this Court in his motion and is                     08:49:17

                                                                       4    something that Mr. Jordan put before the Court in              08:49:19

                                                                       5    a motion that was filed on Wednesday.                          08:49:22

                                                                       6            MR. MARCUS:     The issue of the motions               08:49:24

                                                                       7    practice that --                                               08:49:26

                                                                       8            MR. STERN:     Please stop the speaking                08:49:28

                                                                       9    objections.     Are you instructing him not to answer          08:49:31

                                                                       10   the question?                                                  08:49:33

                                                                       11           MR. MARCUS:     No, sir.     I am just making          08:49:33

                                                                       12   sure that the record is clear that my objections               08:49:34

                                                                       13   pursuant to the rule which are required under Rule             08:49:36

                                                                       14   30 --                                                          08:49:40

                                                                       15           MR. STERN:     And the rules prohibit you              08:49:41

                                                                       16   from making speaking objections.         You can make          08:49:43

                                                                       17   your objection and if you instruct him not to                  08:49:45

                                                                       18   answer then you instruct him not to answer,                    08:49:47

                                                                       19   otherwise, note your objection and we'll continue.             08:49:49

                                                                       20           MR. MARCUS:     Okay.     I am making my               08:49:53

                                                                       21   objections to the improper use of this deposition              08:49:55

                                                                       22   for collateral matters.         If you persist in doing        08:49:58


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 29 of 263

                                                                                                 Conducted on November 29, 2021     27

                                                                       1    that at some point in time and don't get to the              08:50:02

                                                                       2    issue that this deposition is for, we will be                08:50:05

                                                                       3    compelled to stop the deposition because it does             08:50:08

                                                                       4    not appear you're interested in the discovery                08:50:10

                                                                       5    matters that presumably cause us to be here.                 08:50:12

                                                                       6            MR. STERN:     No, this is a precursor to            08:50:15

                                                                       7    addressing those issues so thank you.                        08:50:18

                                                                       8    BY MR. STERN:                                                08:50:20

                                                                       9        Q   Mr. White, who then has the ability to               08:50:22

                                                                       10   retain counsel on behalf of Compass Marketing?               08:50:24

                                                                       11           MR. JORDAN:     Objection, asked and                 08:50:28

                                                                       12   answered.                                                    08:50:30

                                                                       13           MR. MARCUS:     Calls for a legal conclusion.        08:50:30

                                                                       14   Answer if you're able.                                       08:50:31

                                                                       15       A   I think that's a complicated question                08:50:33

                                                                       16   based on the status of Compass Marketing right now           08:50:36

                                                                       17   so I do not know the answer.                                 08:50:40

                                                                       18           MR. STERN:     We will circle back to that in        08:50:43

                                                                       19   a moment.   Now, I want to turn to what will be              08:50:44

                                                                       20   Exhibit 2, Mr. Boshea's Answers to the First Set             08:50:54

                                                                       21   of Interrogatories.      I think these are the ones          08:50:58

                                                                       22   that were served on August 19th.                             08:51:03


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 30 of 263

                                                                                                 Conducted on November 29, 2021     28

                                                                       1            MR. JORDAN:     Is that the amended answers          08:51:08

                                                                       2    or the original answers?                                     08:51:10

                                                                       3            MR. STERN:     These are the original                08:51:11

                                                                       4    answers.                                                     08:51:13

                                                                       5            MR. JORDAN:     Okay.                                08:51:14

                                                                       6            (D. White Deposition Exhibit 2 was marked            08:51:14

                                                                       7    for identification and attached to the                       08:51:14

                                                                       8    transcript.)                                                 08:51:31

                                                                       9    BY MR. STERN:                                                08:51:31

                                                                       10       Q   Mr. White, have you seen these Answers to            08:51:35

                                                                       11   Interrogatories before?                                      08:51:38

                                                                       12       A   I do not know.                                       08:51:40

                                                                       13       Q   Okay.   We can address that later on when            08:51:44

                                                                       14   we get to some of the e-mails you produced.                  08:51:47

                                                                       15           I want to turn your attention to answer to           08:51:51

                                                                       16   Interrogatory Number 5, specifically the last --             08:51:55

                                                                       17   the last line of that answer.         It says "Daniel        08:52:09

                                                                       18   White reminded" --                                           08:52:12

                                                                       19           MR. JORDAN:     Stephen, if you're going to          08:52:15

                                                                       20   ask a question about an interrogatory could you at           08:52:17

                                                                       21   least give us a chance to read it?                           08:52:20

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 31 of 263

                                                                                                 Conducted on November 29, 2021          29

                                                                       1            MR. STERN:     Okay, I'm going to an answer               08:52:22

                                                                       2    and I'm asking him whether --                                     08:52:24

                                                                       3            MR. JORDAN:     No, I'm not -- I don't want               08:52:25

                                                                       4    to go to the answer.       I want to read the                     08:52:26

                                                                       5    interrogatory to have context.                                    08:52:28

                                                                       6            MR. STERN:     You can read it as I'm asking              08:52:30

                                                                       7    my question.    Please stop --                                    08:52:32

                                                                       8            MR. JORDAN:     No, I can't.     I can't.      You        08:52:33

                                                                       9    need to slow down.      You can't ask the witness or              08:52:34

                                                                       10   me to have any context --                                         08:52:37

                                                                       11           MR. STERN:     You don't know what my                     08:52:40

                                                                       12   question is.    Stop interfering, please.                         08:52:42

                                                                       13           MR. JORDAN:     I'm not interfering.                      08:52:42

                                                                       14           MR. STERN:     You are.                                   08:52:44

                                                                       15           MR. JORDAN:     I'm just not going to allow               08:52:45

                                                                       16   you to just power over and change the way that                    08:52:47

                                                                       17   depositions are handled.                                          08:52:49

                                                                       18           MR. STERN:     You don't know what my                     08:52:50

                                                                       19   question is yet.      Let me ask my question.                     08:52:51

                                                                       20   BY MR. STERN:                                                     08:52:51

                                                                       21       Q   There's a statement there at the end that                 08:52:51

                                                                       22   says "Daniel White reminded that David Boshea has                 08:52:54


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 32 of 263

                                                                                                   Conducted on November 29, 2021      30

                                                                       1    the severance agreement and noted Compass                       08:52:56

                                                                       2    Marketing's obligations."                                       08:52:59

                                                                       3              Mr. White, is that a true statement?                  08:52:59

                                                                       4              MR. JORDAN:     All right, can I read the             08:53:02

                                                                       5    interrogatory question now?                                     08:53:03

                                                                       6              MR. STERN:     You can read it as I'm asking          08:53:04

                                                                       7    questions.                                                      08:53:06

                                                                       8              MR. JORDAN:     No, because I don't know              08:53:07

                                                                       9    whether I can object until I read the                           08:53:08

                                                                       10   interrogatory.                                                  08:53:12

                                                                       11             MR. STERN:     It's not your basis to object.         08:53:12

                                                                       12   You're not representing Daniel White.                           08:53:15

                                                                       13             MR. JORDAN:     I am a party's -- I'm the             08:53:17

                                                                       14   counsel for a party.         It's absolutely my basis to        08:53:18

                                                                       15   object.     I don't know about you but I've been to             08:53:21

                                                                       16   depositions before.                                             08:53:23

                                                                       17             MR. STERN:     You can't wait for me -- I             08:53:24

                                                                       18   can't sit here and wait for you to read through                 08:53:28

                                                                       19   these questions to decide whether or not you're                 08:53:31

                                                                       20   going to make an objection.                                     08:53:33

                                                                       21             MR. JORDAN:     Well, guess what?      You're         08:53:34

                                                                       22   going to have to because that's the proper                      08:53:35


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 33 of 263

                                                                                                 Conducted on November 29, 2021          31

                                                                       1    procedure.                                                        08:53:37

                                                                       2            MR. STERN:     If the statement in your                   08:53:45

                                                                       3    answer is correct -- I'm asking Mr. White whether                 08:53:45

                                                                       4    it's true.                                                        08:53:45

                                                                       5            MR. JORDAN:     That's the proper procedure               08:53:45

                                                                       6    for running a deposition, Stephen.                                08:53:45

                                                                       7            MR. STERN:     This is my deposition.          I'm        08:53:45

                                                                       8    asking a simple question.                                         08:53:46

                                                                       9    BY MR. STERN:                                                     08:53:46

                                                                       10       Q   Mr. White, the answer -- the last line in                 08:53:47

                                                                       11   the Answer to Interrogatory says "Daniel White                    08:53:52

                                                                       12   reminded that David Boshea has the severance                      08:53:54

                                                                       13   agreement and noted Compass Marketing's                           08:53:56

                                                                       14   obligations."                                                     08:53:59

                                                                       15           Is that a true statement?                                 08:53:59

                                                                       16           MR. MARCUS:     Can you tell us when this                 08:54:01

                                                                       17   event took place so that we actually have some                    08:54:02

                                                                       18   context for this statement?                                       08:54:05

                                                                       19           MR. STERN:     It's talking about                         08:54:06

                                                                       20   communications between Mr. Boshea and Mr. White.                  08:54:07

                                                                       21           MR. MARCUS:     The question again, sir, is               08:54:11

                                                                       22   when did this supposedly take place?                              08:54:13


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 34 of 263

                                                                                                  Conducted on November 29, 2021          32

                                                                       1             MR. STERN:     That's not my question.         I'm        08:54:15

                                                                       2    asking whether or not -- if he needs a qualifying                  08:54:17

                                                                       3    question then let him do it.         You're not                    08:54:20

                                                                       4    testifying.                                                        08:54:23

                                                                       5             Do you want me to question you,                           08:54:23

                                                                       6    Mr. Marcus?                                                        08:54:26

                                                                       7             MR. MARCUS:     The question, sir, has to be              08:54:26

                                                                       8    a fair question.       There is no context for the                 08:54:28

                                                                       9    time.    There is no indication of when, where or                  08:54:31

                                                                       10   how --                                                             08:54:34

                                                                       11            MR. STERN:     Stop with the speaking                     08:54:35

                                                                       12   objections.    Stop with the speaking objections.                  08:54:36

                                                                       13   You know that's not appropriate.                                   08:54:38

                                                                       14            MR. JORDAN:     Stephen, that's not a                     08:54:40

                                                                       15   speaking objection.                                                08:54:41

                                                                       16            MR. STERN:     It is.    He can note his                  08:54:43

                                                                       17   objection.    It's called form.        Note it and move            08:54:44

                                                                       18   on.                                                                08:54:47

                                                                       19            MR. JORDAN:     No, form is not a proper                  08:54:48

                                                                       20   objection.    Reference to the -- reference to the                 08:54:49

                                                                       21   Federal Rules of Evidence is a proper objection.                   08:54:54

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 35 of 263

                                                                                                 Conducted on November 29, 2021         33

                                                                       1            MR. STERN:     I see what the plan is here,              08:54:56

                                                                       2    how each of you are going to talk as much as you                 08:54:57

                                                                       3    can during the deposition to try to run out the                  08:54:59

                                                                       4    hours and that's not going to work.          We will make        08:55:00

                                                                       5    sure the Court is well aware of that and it's not                08:55:02

                                                                       6    going to fly.                                                    08:55:05

                                                                       7            MR. MARCUS:     I object to you asking                   08:55:08

                                                                       8    questions about something that has no time and no                08:55:10

                                                                       9    context, asking the witness to respond to somebody               08:55:13

                                                                       10   else's Answers to Interrogatories as --                          08:55:18

                                                                       11           MR. STERN:     I'm asking whether it's a true            08:55:21

                                                                       12   statement.   Did he remind David Boshea about the                08:55:22

                                                                       13   severance agreement?       It's a simple question.               08:55:27

                                                                       14   This isn't complicated.       The answer is yes or no.           08:55:31

                                                                       15   Is it true or false?                                             08:55:33

                                                                       16   BY MR. STERN:                                                    08:55:33

                                                                       17       Q   Mr. White, please answer the question.                   08:55:34

                                                                       18           MR. MARCUS:     Objection.     Answer.                   08:55:36

                                                                       19       A   Let me read the answer, please.                          08:55:39

                                                                       20           (Pause in the proceedings.)                              08:55:57

                                                                       21           I do not remember if I'm the one who                     08:56:05

                                                                       22   reminded him of that or not.                                     08:56:07


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 36 of 263

                                                                                                Conducted on November 29, 2021           34

                                                                       1    BY MR. STERN:                                                     08:56:09

                                                                       2        Q     So you don't know whether it's true or                  08:56:09

                                                                       3    false?                                                            08:56:11

                                                                       4        A     That's not what I said.     I said I do not             08:56:12

                                                                       5    remember if I'm the one who reminded him of that                  08:56:17

                                                                       6    or not.                                                           08:56:20

                                                                       7        Q     Well, it doesn't say that Daniel White is               08:56:20

                                                                       8    the one person who reminded David Boshea.             It's        08:56:23

                                                                       9    asking -- the statement says Daniel White reminded                08:56:26

                                                                       10   David Boshea.                                                     08:56:28

                                                                       11             MR. MARCUS:   Asked and answered.      He's             08:56:31

                                                                       12   answered the question.                                            08:56:32

                                                                       13   BY MR. STERN:                                                     08:56:34

                                                                       14       Q     Did you remind him about the severance                  08:56:34

                                                                       15   agreement, yes or no?                                             08:56:38

                                                                       16             MR. MARCUS:   Answer again.                             08:56:39

                                                                       17       A     I do not remember.                                      08:56:40

                                                                       18   BY MR. STERN:                                                     08:56:44

                                                                       19       Q     Scrolling down to Answer to Interrogatory               08:56:45

                                                                       20   Number 6, Mr. Boshea testified under oath that                    08:56:50

                                                                       21   "Daniel White and John White flew to Chicago to                   08:56:52

                                                                       22   meet David Boshea to sell him on Compass Marketing                08:56:55


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                                                                                                Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 37 of 263

                                                                                              Conducted on November 29, 2021         35

                                                                       1    and the opportunities Compass Marketing                       08:56:59

                                                                       2    presented."                                                   08:57:02

                                                                       3            Is that a true statement?                             08:57:02

                                                                       4        A   Let me read the answer, sir.                          08:57:04

                                                                       5        Q   I just read it for you.                               08:57:07

                                                                       6            MR. MARCUS:   Okay, you reading it is not             08:57:09

                                                                       7    the same as him looking at it.      If you want him to        08:57:11

                                                                       8    answer questions about it you will give him an                08:57:14

                                                                       9    opportunity to read it.                                       08:57:17

                                                                       10           (Pause in the proceedings.)                           08:57:33

                                                                       11       A   Would you ask me the question again, sir?             08:57:39

                                                                       12   BY MR. STERN:                                                 08:57:41

                                                                       13       Q   Is that a true statement, that Daniel                 08:57:41

                                                                       14   White and John White flew to Chicago to meet David            08:57:44

                                                                       15   Boshea to sell him on Compass Marketing and the               08:57:46

                                                                       16   opportunities Compass Marketing presented?                    08:57:49

                                                                       17       A   It was one of the reasons I went to                   08:57:51

                                                                       18   Chicago with John and met with David.                         08:57:54

                                                                       19       Q   What happened during those conversations              08:57:57

                                                                       20   when you and John flew to Chicago to meet with                08:57:59

                                                                       21   David Boshea?                                                 08:58:03

                                                                       22       A   I don't remember the exact conversations              08:58:04


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 38 of 263

                                                                                                Conducted on November 29, 2021    36

                                                                       1    but it would make sense that --                            08:58:06

                                                                       2            MR. MARCUS:    Don't guess.                        08:58:10

                                                                       3        A   Okay.   I don't remember the conversations.        08:58:11

                                                                       4    BY MR. STERN:                                              08:58:13

                                                                       5        Q   Do you remember discussing any of the              08:58:14

                                                                       6    substance of an employment offer with Mr. Boshea           08:58:15

                                                                       7    during that meeting?                                       08:58:19

                                                                       8        A   I don't remember the details of an                 08:58:20

                                                                       9    employment offer.                                          08:58:23

                                                                       10       Q   What do you remember from that                     08:58:26

                                                                       11   conversation?                                              08:58:27

                                                                       12       A   I remember talking to David about how much         08:58:28

                                                                       13   he could help Compass Marketing.                           08:58:36

                                                                       14       Q   Anything else?                                     08:58:41

                                                                       15       A   I don't remember ever speaking about any           08:58:41

                                                                       16   particular numbers or anything like that.                  08:58:46

                                                                       17       Q   Do you remember speaking about any                 08:58:48

                                                                       18   severance terms?                                           08:58:51

                                                                       19       A   I do not remember anything like that.              08:58:52

                                                                       20       Q   Do you remember having telephone                   08:58:55

                                                                       21   conversations with Mr. Boshea either before or             08:58:59

                                                                       22   after that meeting about employment with Compass           08:59:02


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 39 of 263

                                                                                                 Conducted on November 29, 2021    37

                                                                       1    Marketing?                                                  08:59:10

                                                                       2            MR. JORDAN:     Objection to the limitation         08:59:10

                                                                       3    as -- the lack of limitation as to time.                    08:59:12

                                                                       4        A   Mr. Stern, are you asking me if I've had            08:59:20

                                                                       5    those conversations in my life or before he was             08:59:24

                                                                       6    hired by Compass?                                           08:59:27

                                                                       7            MR. STERN:     Before he was hired.                 08:59:28

                                                                       8        A   I had numerous conversations with David             08:59:31

                                                                       9    about coming on board with Compass Marketing                08:59:36

                                                                       10   before he was hired.                                        08:59:37

                                                                       11   BY MR. STERN:                                               08:59:38

                                                                       12       Q   And what did you discuss with him during            08:59:38

                                                                       13   those phone conversations?                                  08:59:40

                                                                       14       A   They weren't all phone conversations.               08:59:41

                                                                       15       Q   So you flew out to Chicago more than once           08:59:44

                                                                       16   to meet with him about employment?                          08:59:48

                                                                       17       A   No, sir.     I've known David for 30 years          08:59:49

                                                                       18   and we talked about David coming on board with              08:59:53

                                                                       19   Compass before we even started the company.                 08:59:55

                                                                       20       Q   When you were having these conversations            08:59:59

                                                                       21   with Mr. Boshea -- and when was Mr. Boshea hired            09:00:02

                                                                       22   by Compass Marketing?                                       09:00:05


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 40 of 263

                                                                                                 Conducted on November 29, 2021        38

                                                                       1            MR. MARCUS:     Would you figure out which              09:00:07

                                                                       2    question you want him to answer, please?                        09:00:09

                                                                       3    BY MR. STERN:                                                   09:00:11

                                                                       4        Q   When was Mr. Boshea hired by Compass                    09:00:12

                                                                       5    Marketing?                                                      09:00:14

                                                                       6        A   I do not remember the date or remember the              09:00:14

                                                                       7    time frame.                                                     09:00:18

                                                                       8        Q   In that time frame when you were having                 09:00:18

                                                                       9    those conversations with Mr. Boshea to come on                  09:00:20

                                                                       10   board as an employee of Compass Marketing, what                 09:00:23

                                                                       11   was your role for Compass Marketing?                            09:00:26

                                                                       12           MR. MARCUS:     Objection.     Answer please.           09:00:30

                                                                       13       A   I was an owner of Compass Marketing.           I        09:00:31

                                                                       14   was a director of Compass Marketing.          I was an          09:00:35

                                                                       15   employee of Compass Marketing.                                  09:00:38

                                                                       16   BY MR. STERN:                                                   09:00:40

                                                                       17       Q   What was your title as an employee of                   09:00:40

                                                                       18   Compass Marketing?                                              09:00:45

                                                                       19           MR. MARCUS:     At what point in time, sir?             09:00:47

                                                                       20           MR. STERN:     At the time he's having these            09:00:49

                                                                       21   discussions with David Boshea to become an                      09:00:52

                                                                       22   employee.                                                       09:00:55


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 41 of 263

                                                                                               Conducted on November 29, 2021          39

                                                                       1        A   I probably talked to David a number of                  09:00:55

                                                                       2    times over the ten years before he came on board                09:00:58

                                                                       3    with Compass Marketing.                                         09:01:03

                                                                       4    BY MR. STERN:                                                   09:01:04

                                                                       5        Q   Okay.   At the time that you flew to                    09:01:04

                                                                       6    Chicago with John and met with Mr. Boshea.                      09:01:07

                                                                       7            MR. MARCUS:     What?                                   09:01:09

                                                                       8    BY MR. STERN:                                                   09:01:10

                                                                       9        Q   What was your job title?                                09:01:11

                                                                       10       A   I don't remember the exact dates that I                 09:01:12

                                                                       11   flew to Chicago.      It's probably 20 years ago.     I         09:01:15

                                                                       12   don't remember (inaudible) --                                   09:01:21

                                                                       13           MR. MARCUS:     Please don't interrupt him.             09:01:21

                                                                       14   BY MR. STERN:                                                   09:01:27

                                                                       15       Q   I'm sorry, I couldn't hear you.        Go ahead.        09:01:27

                                                                       16       A   It's probably 20 years ago the trip that                09:01:29

                                                                       17   I'm remembering that we went to Chicago on behalf               09:01:31

                                                                       18   of Advil and we met with David and one of the                   09:01:34

                                                                       19   topics that we discussed was him coming on board                09:01:38

                                                                       20   with Compass.    It was a discussion we had on more             09:01:41

                                                                       21   than one occasion in the ten years between the                  09:01:46

                                                                       22   time he helped us start Compass and the time that               09:01:48


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 42 of 263

                                                                                                   Conducted on November 29, 2021    40

                                                                       1    he came on board with Compass.                                09:01:52

                                                                       2        Q     What was your job title at that time?               09:01:54

                                                                       3        A     I do not remember having one.                       09:01:58

                                                                       4        Q     How many hours a week approximately did             09:02:01

                                                                       5    you work for Compass?                                         09:02:03

                                                                       6              MR. MARCUS:     At what point in time, sir?         09:02:06

                                                                       7              MR. STERN:     We're talking about the same         09:02:08

                                                                       8    time frame.     I haven't changed the time frame.             09:02:10

                                                                       9        A     I don't remember the exact hours that I             09:02:13

                                                                       10   worked.     It was a lot.                                     09:02:16

                                                                       11   BY MR. STERN:                                                 09:02:19

                                                                       12       Q     And this was while you were also a                  09:02:19

                                                                       13   full-time employee for the State's Attorney's                 09:02:21

                                                                       14   Office?                                                       09:02:24

                                                                       15       A     That's correct.                                     09:02:24

                                                                       16       Q     So when did you perform your duties for             09:02:26

                                                                       17   Compass Marketing if you were working full-time               09:02:30

                                                                       18   for the State's Attorney's Office?                            09:02:32

                                                                       19             MR. MARCUS:     Objection.                          09:02:34

                                                                       20             MR. JORDAN:     Objection to relevance.             09:02:35

                                                                       21   BY MR. STERN:                                                 09:02:41

                                                                       22       Q     Mr. White?                                          09:02:43


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 43 of 263

                                                                                                    Conducted on November 29, 2021      41

                                                                       1                MR. MARCUS:     What, if anything, does this         09:02:44

                                                                       2    have to do with the discovery in this case?                      09:02:45

                                                                       3    BY MR. STERN:                                                    09:02:48

                                                                       4           Q    Mr. White, please answer the question.               09:02:49

                                                                       5           A    Would you ask the question again, sir?               09:02:53

                                                                       6           Q    When did you perform your job duties for             09:02:56

                                                                       7    Compass Marketing if you were working full-time                  09:02:58

                                                                       8    for the State's Attorney's Office at that time?                  09:03:00

                                                                       9                MR. MARCUS:     Objection.    Again, this has        09:03:03

                                                                       10   nothing to do with the claims that have been made.               09:03:07

                                                                       11   Use your time as you wish, sir.                                  09:03:11

                                                                       12               Go ahead.     Answer if you can.                     09:03:15

                                                                       13          A    I worked for Compass Marketing for                   09:03:17

                                                                       14   25 years.       Some of that time I did not work at the          09:03:21

                                                                       15   State's Attorney's Office.           Some of that time I         09:03:24

                                                                       16   did.       I worked on Compass when I wasn't working at          09:03:26

                                                                       17   the State's Attorney's Office.                                   09:03:31

                                                                       18   BY MR. STERN:                                                    09:03:33

                                                                       19          Q    I thought earlier you had said you had               09:03:33

                                                                       20   been employed by the State's Attorney's Office for               09:03:35

                                                                       21   20 years?                                                        09:03:37

                                                                       22          A    And I've been employed by Compass for 25.            09:03:38


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 44 of 263

                                                                                               Conducted on November 29, 2021          42

                                                                       1        Q   So when during the past 20 years were you               09:03:41

                                                                       2    not employed by the State's Attorney's Office?                  09:03:45

                                                                       3        A   There's been no time in the last 20 years               09:03:47

                                                                       4    that I've not been employed by the State's                      09:03:50

                                                                       5    Attorney's Office but I believe that my trip to                 09:03:54

                                                                       6    Chicago that you're talking about -- I don't have               09:03:55

                                                                       7    a perfect recollection but I think that was before              09:03:57

                                                                       8    I began at the State's Attorney's Office but I'm                09:04:00

                                                                       9    not sure.                                                       09:04:05

                                                                       10       Q   Well, doing the math you've been at the                 09:04:08

                                                                       11   State's Attorney's Office for 20 years.         That            09:04:10

                                                                       12   means you started working there in 2001?                        09:04:13

                                                                       13       A   Well, I didn't start -- I started                       09:04:17

                                                                       14   part-time and then I became full-time in 2002.                  09:04:20

                                                                       15       Q   And the meeting that you were having when               09:04:26

                                                                       16   you flew out to Chicago, you talked about some                  09:04:31

                                                                       17   particular deal.      I think it -- was it Advil?      I        09:04:34

                                                                       18   couldn't hear the name of the product you were                  09:04:37

                                                                       19   talking about.                                                  09:04:39

                                                                       20       A   I think that --                                         09:04:40

                                                                       21           MR. JORDAN:     Objection to relevance to               09:04:42

                                                                       22   this lawsuit.                                                   09:04:44


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 45 of 263

                                                                                                 Conducted on November 29, 2021       43

                                                                       1    BY MR. STERN:                                                  09:04:47

                                                                       2        Q   Go ahead, Mr. White.                                   09:04:48

                                                                       3        A   I think that is one of the products we                 09:04:50

                                                                       4    talked about was Advil.       I think that was the             09:04:53

                                                                       5    primary client of ours that we were working for                09:04:55

                                                                       6    that trip.     It probably wasn't the only one.                09:05:00

                                                                       7            MR. STERN:     I want to turn to Mr. Boshea's          09:05:11

                                                                       8    Supplemental Answers to Interrogatories.           This        09:05:14

                                                                       9    will be Exhibit 3.                                             09:05:18

                                                                       10           (D. White Deposition Exhibit 3 was marked              09:05:18

                                                                       11   for identification and attached to the                         09:05:18

                                                                       12   transcript.)                                                   09:05:58

                                                                       13           MR. MARCUS:     Is the plan to show us this            09:05:58

                                                                       14   or send it to us?                                              09:06:01

                                                                       15           MR. STERN:     Has it been sent yet?                   09:06:03

                                                                       16           MS. YEUNG:     Yes, I'm doing the sending as           09:06:06

                                                                       17   we speak.                                                      09:06:09

                                                                       18   BY MR. STERN:                                                  09:06:10

                                                                       19       Q   I'm going to ask a question before getting             09:06:10

                                                                       20   into some of the Answers to Interrogatories.                   09:06:15

                                                                       21           Mr. White, were you present for any                    09:06:16

                                                                       22   meeting where Mr. -- where an employment agreement             09:06:20


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 46 of 263

                                                                                                Conducted on November 29, 2021        44

                                                                       1    was signed by Mr. Boshea or your brother, John                 09:06:24

                                                                       2    White?                                                         09:06:30

                                                                       3        A    I do not think so.                                    09:06:30

                                                                       4        Q    Is it you're not sure?                                09:06:34

                                                                       5        A    I do not think that I was present for any             09:06:40

                                                                       6    meeting where people signed an employment contract             09:06:43

                                                                       7    for David Boshea.                                              09:06:47

                                                                       8        Q    I'm trying to understand when you say "I              09:06:48

                                                                       9    do not think."     I mean that sounds like you're              09:06:50

                                                                       10   uncertain.                                                     09:06:52

                                                                       11            Am I misunderstanding your answer?                    09:06:52

                                                                       12            MR. MARCUS:   Objection to the form of the            09:06:55

                                                                       13   question.                                                      09:06:56

                                                                       14       A    I don't know how else to answer that.        I        09:06:59

                                                                       15   do not remember being present for anything like                09:07:02

                                                                       16   that.                                                          09:07:04

                                                                       17   BY MR. STERN:                                                  09:07:05

                                                                       18       Q    Okay.   Do you remember attending a board             09:07:08

                                                                       19   meeting on July 17, 2015?                                      09:07:13

                                                                       20            MR. JORDAN:   Objection to relevance to               09:07:18

                                                                       21   this lawsuit.                                                  09:07:21

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 47 of 263

                                                                                                 Conducted on November 29, 2021     45

                                                                       1            MR. STERN:     This is in your Answers to            09:07:22

                                                                       2    Interrogatories, Mr. Jordan.                                 09:07:23

                                                                       3            MR. JORDAN:     That's fine.     I can only          09:07:25

                                                                       4    respond to your interrogatories.         That doesn't        09:07:26

                                                                       5    mean they're relevant to the lawsuit.                        09:07:29

                                                                       6    BY MR. STERN:                                                09:07:32

                                                                       7        Q   Mr. White?                                           09:07:32

                                                                       8        A   Can you ask me the question again, sir?              09:07:33

                                                                       9        Q   Do you remember attending a Compass                  09:07:37

                                                                       10   Marketing board meeting on July 17, 2015?                    09:07:39

                                                                       11       A   No, sir.                                             09:07:42

                                                                       12       Q   I'm sorry?                                           09:07:43

                                                                       13       A   No, sir.                                             09:07:44

                                                                       14       Q   Do you remember at some point during any             09:07:53

                                                                       15   board meeting where your brother, John White said            09:07:57

                                                                       16   to you that he may be doing some jail time?                  09:08:03

                                                                       17           MR. MARCUS:     At any point in time in the          09:08:11

                                                                       18   history of the world?                                        09:08:13

                                                                       19           MR. STERN:     I said during any board               09:08:14

                                                                       20   meeting for Compass Marketing.                               09:08:16

                                                                       21           MR. MARCUS:     I'm sorry, who made the              09:08:23

                                                                       22   statement?                                                   09:08:25


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 48 of 263

                                                                                                   Conducted on November 29, 2021          46

                                                                       1              MR. STERN:     I'm asking whether or not he               09:08:25

                                                                       2    recalls his brother making a statement to that                      09:08:27

                                                                       3    effect.     This is in the Answers to                               09:08:30

                                                                       4    Interrogatories, Number 5.                                          09:08:33

                                                                       5        A     Can I read the answer?                                    09:08:33

                                                                       6              MR. STERN:     I'm sorry, Number 3.                       09:08:36

                                                                       7              MR. MARCUS:     Which one should we be                    09:08:38

                                                                       8    looking at?                                                         09:08:41

                                                                       9              MR. STERN:     The supplemental one.       It's on        09:08:42

                                                                       10   page six.                                                           09:08:47

                                                                       11             MR. MARCUS:     Okay, thank you.                          09:08:49

                                                                       12             MR. JORDAN:     I believe you're -- I object              09:08:50

                                                                       13   to you misstating the answer to the interrogatory.                  09:08:51

                                                                       14             MR. MARCUS:     And I object too.      According          09:09:21

                                                                       15   to the answer to interrogatory the statement was                    09:09:26

                                                                       16   made by it looks like you, Mr. Stern, as opposed                    09:09:27

                                                                       17   to John White.                                                      09:09:29

                                                                       18             MR. STERN:     Fair enough.                               09:09:30

                                                                       19             MR. MARCUS:     Apparently that's not the                 09:09:32

                                                                       20   case.                                                               09:09:35

                                                                       21   BY MR. STERN:                                                       09:09:36

                                                                       22       Q     So Mr. White, is it true on July 17, 2015                 09:09:37


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 49 of 263

                                                                                                 Conducted on November 29, 2021        47

                                                                       1    that I informed you that John White said he would               09:09:41

                                                                       2    be doing some jail time for securities violations?              09:09:44

                                                                       3        A   That you, Mr. Stern advised me that?                    09:09:50

                                                                       4        Q   Yes.                                                    09:09:53

                                                                       5        A   That would not be true.        I didn't know you        09:09:53

                                                                       6    in 2015.                                                        09:09:59

                                                                       7            MR. STERN:     I'm going to show you what I             09:10:26

                                                                       8    think is Exhibit 4.      It's Bates labeled DJW 000093          09:10:29

                                                                       9    through 94.                                                     09:10:35

                                                                       10           (D. White Deposition Exhibit 4 was marked               09:10:35

                                                                       11   for identification and attached to the                          09:10:35

                                                                       12   transcript.)                                                    09:10:55

                                                                       13   BY MR. STERN:                                                   09:10:55

                                                                       14       Q   Do you recognize this document as one of                09:10:56

                                                                       15   the documents you produced in the response to the               09:10:59

                                                                       16   subpoena?                                                       09:11:01

                                                                       17           MR. MARCUS:     Once we get it we'll probably           09:11:05

                                                                       18   be able to take a look at it.                                   09:11:07

                                                                       19           Thank you.     We've received it.                       09:11:22

                                                                       20   BY MR. STERN:                                                   09:11:46

                                                                       21       Q   The first e-mail in the string is from you              09:11:46

                                                                       22   to Mr. Tom Gagliardo dated January 15, 2021 at                  09:11:48


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 50 of 263

                                                                                                   Conducted on November 29, 2021      48

                                                                       1    8:44 p.m., do you see that?                                     09:11:56

                                                                       2              MR. MARCUS:     When you say "the first" are          09:11:57

                                                                       3    you talking about the bottom?                                   09:11:59

                                                                       4              MR. STERN:     The original e-mail in the             09:12:01

                                                                       5    string.                                                         09:12:02

                                                                       6              MR. MARCUS:     Okay.    Well, we were looking        09:12:03

                                                                       7    at the top one.                                                 09:12:05

                                                                       8    BY MR. STERN:                                                   09:12:10

                                                                       9        Q     Did you send that e-mail?                             09:12:11

                                                                       10             MR. MARCUS:     Let us take a look at it,             09:12:12

                                                                       11   please.                                                         09:12:14

                                                                       12             (Pause in the proceedings.)                           09:12:15

                                                                       13       A     It looks like an e-mail that I sent.                  09:12:40

                                                                       14   BY MR. STERN:                                                   09:12:43

                                                                       15       Q     And in that e-mail you're referring                   09:12:44

                                                                       16   Mr. Jordan, Mr. Boshea's attorney to Mr. Gagliardo              09:12:46

                                                                       17   in connection with this lawsuit to be filed                     09:12:51

                                                                       18   against Compass Marketing, correct?                             09:12:53

                                                                       19       A     Yeah, it would sound correct.                         09:12:56

                                                                       20       Q     And it says you've referred other former              09:13:01

                                                                       21   employees or current employees -- let me rephrase.              09:13:05

                                                                       22             You've referred other employees of Compass            09:13:08


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 51 of 263

                                                                                                 Conducted on November 29, 2021    49

                                                                       1    Marketing to Mr. Gagliardo's law firm, correct?             09:13:10

                                                                       2        A   Let me reread that.                                 09:13:18

                                                                       3            (Pause in the proceedings.)                         09:13:18

                                                                       4            Would you ask your question again, sir,             09:13:33

                                                                       5    I'm sorry?                                                  09:13:35

                                                                       6        Q   You referred other employees of Compass             09:13:36

                                                                       7    Marketing to Mr. Gagliardo's law firm?                      09:13:42

                                                                       8        A   I do not believe so.                                09:13:44

                                                                       9        Q   Who is Annette that you referred to                 09:13:46

                                                                       10   Mr. Gagliardo's law firm?                                   09:13:49

                                                                       11       A   Annette was an employee of St. Mary's               09:13:51

                                                                       12   County Government.                                          09:13:54

                                                                       13       Q   Okay.   And in your e-mail to Mr. Gagliardo         09:13:58

                                                                       14   that you copied Mr. Jordan says "because I had              09:14:05

                                                                       15   experience with Gilbert Law when they fairly and            09:14:07

                                                                       16   vigorously represented employees I know against an          09:14:12

                                                                       17   Annapolis company."                                         09:14:14

                                                                       18           Did you refer those employees to                    09:14:16

                                                                       19   Mr. Gagliardo's law firm?                                   09:14:18

                                                                       20       A   I did not.     I don't remember --                  09:14:21

                                                                       21       Q   Prior to sending this e-mail did you have           09:14:28

                                                                       22   any conversations with Mr. Jordan about this                09:14:30


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 52 of 263

                                                                                                  Conducted on November 29, 2021    50

                                                                       1    lawsuit?                                                     09:14:33

                                                                       2             MR. MARCUS:     Prior to the e-mail?                09:14:35

                                                                       3             MR. STERN:     Yes.                                 09:14:37

                                                                       4             MR. MARCUS:     Okay.                               09:14:38

                                                                       5        A    I do not remember but it would make sense           09:14:40

                                                                       6    that I did based on the e-mail.                              09:14:44

                                                                       7    BY MR. STERN:                                                09:14:47

                                                                       8        Q    Do you remember how many times you spoke            09:14:47

                                                                       9    with Mr. Jordan before sending that e-mail?                  09:14:49

                                                                       10       A    I do not remember the exact number of               09:14:52

                                                                       11   times.                                                       09:14:55

                                                                       12       Q    Would you say more or less than five?               09:14:56

                                                                       13            MR. MARCUS:     Objection.     Don't guess.         09:15:01

                                                                       14       A    I don't know the number of calls that I             09:15:05

                                                                       15   had with Mr. Jordan.                                         09:15:09

                                                                       16   BY MR. STERN:                                                09:15:10

                                                                       17       Q    Did you tell David Boshea about filing              09:15:10

                                                                       18   this lawsuit prior to sending that e-mail?                   09:15:13

                                                                       19       A    I do not remember speaking to him about             09:15:18

                                                                       20   specifically filing a lawsuit.                               09:15:21

                                                                       21       Q    I want to go up to the first e-mail in              09:15:24

                                                                       22   that string.    It's dated -- or I guess the most            09:15:26


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 53 of 263

                                                                                                Conducted on November 29, 2021        51

                                                                       1    recent e-mail in that string.        It's dated May 27,        09:15:32

                                                                       2    2021 at 5:05 p.m.                                              09:15:36

                                                                       3        A   I would like to read the middle one as                 09:15:39

                                                                       4    well, sir, so I can have a frame of reference.                 09:15:42

                                                                       5            (Pause in the proceedings.)                            09:15:52

                                                                       6            I've had a chance to read it, sir.                     09:16:27

                                                                       7        Q   Now, the e-mail on May 27, 2021 says "I                09:16:29

                                                                       8    noted in Pacer that" -- it's an e-mail from you to             09:16:33

                                                                       9    Greg Jordan.    "I noted in Pacer that Compass did             09:16:37

                                                                       10   not include an LR 103.3 disclosure with their                  09:16:39

                                                                       11   answer."                                                       09:16:44

                                                                       12           Are you working collaboratively with                   09:16:45

                                                                       13   Mr. Jordan on prosecuting this lawsuit?                        09:16:47

                                                                       14           MR. MARCUS:    Objection.     Answer please.           09:16:51

                                                                       15       A   I don't know what you mean collaboratively             09:16:53

                                                                       16   but I don't think so.                                          09:16:55

                                                                       17   BY MR. STERN:                                                  09:16:58

                                                                       18       Q   Is there a reason why you were monitoring              09:16:58

                                                                       19   the filings in this lawsuit about a disclosure?                09:17:01

                                                                       20           MR. JORDAN:    Objection, vague.      I don't          09:17:07

                                                                       21   know what you mean about disclosure.                           09:17:11

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 54 of 263

                                                                                                 Conducted on November 29, 2021         52

                                                                       1               MR. MARCUS:     Objection.   Answer please.           09:17:14

                                                                       2           A   Yes.                                                  09:17:15

                                                                       3    BY MR. STERN:                                                    09:17:17

                                                                       4           Q   Why were you monitoring this lawsuit                  09:17:17

                                                                       5    related to the disclosures that were filed?                      09:17:21

                                                                       6               MR. MARCUS:     Objection.   Answer please.           09:17:26

                                                                       7           A   Because I'm trying to keep track of what's            09:17:27

                                                                       8    going on with Compass Marketing.                                 09:17:30

                                                                       9    BY MR. STERN:                                                    09:17:32

                                                                       10          Q   Why are you trying to keep track of what's            09:17:33

                                                                       11   going on with Compass Marketing?                                 09:17:35

                                                                       12              MR. MARCUS:     Objection.   Answer please.           09:17:37

                                                                       13          A   Because I'm an owner of Compass Marketing.            09:17:39

                                                                       14   BY MR. STERN:                                                    09:17:43

                                                                       15          Q   And how much of the company do you own?               09:17:43

                                                                       16          A   I believe that I own 25 percent,                      09:17:46

                                                                       17   Mr. Stern.                                                       09:17:49

                                                                       18          Q   When you say you believe that sounds to me            09:17:51

                                                                       19   you're not sure.         Are you not sure of how much you        09:17:55

                                                                       20   own?                                                             09:17:58

                                                                       21              MR. MARCUS:     Objection.   Answer please.           09:17:59

                                                                       22          A   I believe that I own 25 percent of Compass            09:18:01


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 55 of 263

                                                                                                    Conducted on November 29, 2021         53

                                                                       1    Marketing.                                                          09:18:01

                                                                       2    BY MR. STERN:                                                       09:18:05

                                                                       3           Q   Why do you believe you own 25 percent of                 09:18:05

                                                                       4    Compass Marketing?                                                  09:18:09

                                                                       5           A   Because that's how many shares that I                    09:18:11

                                                                       6    have.      That's been my position for a long time.                 09:18:15

                                                                       7               MR. STERN:     I'll circle back to that                  09:18:21

                                                                       8    shortly.      I would like to go to the next -- I                   09:18:25

                                                                       9    don't know what exhibit number we're up to but the                  09:18:28

                                                                       10   next one is DJW 000292.                                             09:18:31

                                                                       11              MR. JORDAN:     I think this is Exhibit 5 but            09:18:35

                                                                       12   Heather can correct me.                                             09:18:38

                                                                       13              MR. STERN:     And it continues on to 293.               09:18:40

                                                                       14              (D. White Deposition Exhibit 5 was marked                09:18:40

                                                                       15   for identification and attached to the                              09:18:40

                                                                       16   transcript.)                                                        09:18:40

                                                                       17   BY MR. STERN:                                                       09:18:52

                                                                       18          Q   It's an e-mail string with the most recent               09:18:52

                                                                       19   being January 12, 2021 at 2:53 p.m.             The original        09:18:55

                                                                       20   one is December 19, 12:50 p.m. from Greg Jordan to                  09:18:59

                                                                       21   you.                                                                09:19:05

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 56 of 263

                                                                                                 Conducted on November 29, 2021    54

                                                                       1            MR. MARCUS:     As soon as we get to look at        09:19:05

                                                                       2    it we'll have some context as well.                         09:19:07

                                                                       3            MR. STERN:     It's on the screen.                  09:19:10

                                                                       4            MR. MARCUS:     It may be on the screen but         09:19:11

                                                                       5    it's not the entirety.                                      09:19:14

                                                                       6            Which one is it that you would like us to           09:19:19

                                                                       7    look at, sir?                                               09:19:22

                                                                       8            MR. STERN:     Let's start with the original        09:19:22

                                                                       9    e-mail in the string.                                       09:19:24

                                                                       10           MR. MARCUS:     Thank you.                          09:19:27

                                                                       11   BY MR. STERN:                                               09:19:30

                                                                       12       Q   Mr. White, what was this e-mail about               09:19:31

                                                                       13   dated December 19, 2020 at 12:50 p.m. where                 09:19:34

                                                                       14   Mr. Jordan just wrote "Confirm"?                            09:19:38

                                                                       15       A   I do not know.                                      09:19:41

                                                                       16       Q   Well, the next e-mail in the string is              09:19:42

                                                                       17   from you to Mr. Jordan on the same date                     09:19:44

                                                                       18   approximately 45 minutes later and it says "Good            09:19:52

                                                                       19   afternoon.   Good talking with you."                        09:19:57

                                                                       20           What did you discuss with Mr. Jordan?               09:19:59

                                                                       21       A   I do not remember.                                  09:20:03

                                                                       22       Q   The next line in the e-mail says "I will            09:20:06


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 57 of 263

                                                                                               Conducted on November 29, 2021     55

                                                                       1    send you an e-mail Monday with a few things that           09:20:08

                                                                       2    may be of use."                                            09:20:11

                                                                       3            Did you send that e-mail?                          09:20:13

                                                                       4        A   It looks like an e-mail that I sent.               09:20:15

                                                                       5        Q   But the e-mail says "I will send you an            09:20:18

                                                                       6    e-mail on Monday with a few things that may be of          09:20:21

                                                                       7    use."                                                      09:20:24

                                                                       8            What did you plan to send Mr. Jordan that          09:20:24

                                                                       9    would be of use?                                           09:20:27

                                                                       10       A   I do not remember.                                 09:20:27

                                                                       11       Q   When you're referring to things that would         09:20:28

                                                                       12   be of use, were you referring to things that would         09:20:32

                                                                       13   be of use in the litigation against Compass                09:20:35

                                                                       14   Marketing?                                                 09:20:39

                                                                       15           MR. MARCUS:   Objection.     Answer please.        09:20:39

                                                                       16       A   I do not remember.                                 09:20:41

                                                                       17   BY MR. STERN:                                              09:20:42

                                                                       18       Q   What would you be discussing -- what did           09:20:43

                                                                       19   you discuss with Mr. -- let me rephrase the                09:20:44

                                                                       20   question.                                                  09:20:47

                                                                       21           Did you discuss anything with Mr. Jordan           09:20:48

                                                                       22   other than the potential lawsuit against Compass           09:20:50


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 58 of 263

                                                                                                 Conducted on November 29, 2021     56

                                                                       1    Marketing at that time?                                      09:20:54

                                                                       2            MR. MARCUS:     Objection, misstates prior           09:20:55

                                                                       3    testimony.                                                   09:20:57

                                                                       4            When is it that we're referring to, sir?             09:20:57

                                                                       5            MR. STERN:     He's referring to a                   09:21:00

                                                                       6    conversation that he had.                                    09:21:01

                                                                       7    BY MR. STERN:                                                09:21:01

                                                                       8        Q   So did you discuss anything with                     09:21:03

                                                                       9    Mr. Jordan other than matters related to this                09:21:06

                                                                       10   lawsuit?                                                     09:21:08

                                                                       11           MR. MARCUS:     Prior to --                          09:21:11

                                                                       12           MR. STERN:     Please stop interfering with          09:21:13

                                                                       13   the question.    You can note your objection if you          09:21:16

                                                                       14   think it's vague.      No talking objections, please.        09:21:18

                                                                       15           MR. JORDAN:     Objection.     Time frame?           09:21:21

                                                                       16   BY MR. STERN:                                                09:21:23

                                                                       17       Q   Go ahead, Mr. White.                                 09:21:24

                                                                       18           MR. MARCUS:     Answer if you're able.               09:21:26

                                                                       19       A   Mr. Stern, would you ask the question                09:21:27

                                                                       20   again, please?                                               09:21:31

                                                                       21   BY MR. STERN:                                                09:21:31

                                                                       22       Q   Did you discuss anything with Mr. Jordan             09:21:31


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 59 of 263

                                                                                               Conducted on November 29, 2021          57

                                                                       1    other than the matters related to this lawsuit                  09:21:34

                                                                       2    prior to its filing?                                            09:21:36

                                                                       3        A   I do not remember doing so.                             09:21:40

                                                                       4        Q   Is there anything that would help you                   09:21:44

                                                                       5    remember?                                                       09:21:45

                                                                       6        A   I do not think so.                                      09:21:49

                                                                       7        Q   Let's go to the top e-mail in this string               09:21:51

                                                                       8    dated January 12, 2021 at 2:53 p.m.        It's from you        09:21:53

                                                                       9    to Mr. Jordan.    You say "I am happy to help."                 09:21:58

                                                                       10           What are you referring to?                              09:22:03

                                                                       11       A   I assume Mr. Jordan's work.                             09:22:08

                                                                       12       Q   And does that mean help with respect to                 09:22:11

                                                                       13   the lawsuit against Compass Marketing?                          09:22:13

                                                                       14       A   I do not know but makes sense.                          09:22:18

                                                                       15       Q   It's fair to infer that you're referring                09:22:24

                                                                       16   to helping with the litigation against Compass                  09:22:28

                                                                       17   Marketing, correct?                                             09:22:32

                                                                       18           MR. JORDAN:    Objection to what your                   09:22:32

                                                                       19   reference is.    I'm not sure what relevance your               09:22:35

                                                                       20   reference is.                                                   09:22:36

                                                                       21   BY MR. STERN:                                                   09:22:37

                                                                       22       Q   I couldn't hear you, Mr. White.        Please go        09:22:37


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 60 of 263

                                                                                               Conducted on November 29, 2021    58

                                                                       1    ahead.                                                    09:22:40

                                                                       2        A    Would you ask me the question again, sir?        09:22:40

                                                                       3        Q    It's fair to infer that when you're              09:22:42

                                                                       4    referring to "I am happy to help" you're referring        09:22:45

                                                                       5    to helping with the litigation against Compass            09:22:47

                                                                       6    Marketing; is that correct?                               09:22:51

                                                                       7             MR. JORDAN:   Same objection.                    09:22:51

                                                                       8             MR. MARCUS:   Objection.                         09:22:52

                                                                       9        A    I don't know what's fair to infer.               09:22:53

                                                                       10   BY MR. STERN:                                             09:22:56

                                                                       11       Q    Can you repeat the answer?                       09:22:57

                                                                       12       A    I do not know what's fair for you to             09:22:58

                                                                       13   infer.                                                    09:23:01

                                                                       14       Q    Well, when you wrote that e-mail were you        09:23:01

                                                                       15   referring to helping Mr. Jordan with the                  09:23:04

                                                                       16   litigation against Compass Marketing?                     09:23:06

                                                                       17            MR. MARCUS:   Objection.                         09:23:09

                                                                       18       A    Mr. Stern, I was probably helping                09:23:12

                                                                       19   Mr. Jordan with what he asked me for help on.             09:23:15

                                                                       20   BY MR. STERN:                                             09:23:19

                                                                       21       Q    What did he ask you to help on?                  09:23:19

                                                                       22       A    I do not remember that specific                  09:23:21


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 61 of 263

                                                                                               Conducted on November 29, 2021    59

                                                                       1    conversation.                                             09:23:23

                                                                       2        Q   Was it your intent to help Mr. Jordan with        09:23:25

                                                                       3    the litigation against Compass Marketing?                 09:23:28

                                                                       4            MR. MARCUS:   Objection.                          09:23:31

                                                                       5        A   My intent to help Mr. Jordan were with the        09:23:33

                                                                       6    things that he asked me to help.                          09:23:45

                                                                       7    BY MR. STERN:                                             09:23:46

                                                                       8        Q   What did he ask you to help with?                 09:23:46

                                                                       9        A   I do not remember the specific things that        09:23:48

                                                                       10   he asked me to help with.                                 09:23:51

                                                                       11       Q   Did he ask you to help with things in             09:23:53

                                                                       12   connection with the litigation against Compass            09:23:56

                                                                       13   Marketing?                                                09:23:58

                                                                       14           MR. MARCUS:   Objection, asked and                09:23:58

                                                                       15   answered.    Answer it again.                             09:24:00

                                                                       16       A   He asked me for a number of things and I          09:24:01

                                                                       17   helped him when I could.                                  09:24:04

                                                                       18   BY MR. STERN:                                             09:24:06

                                                                       19       Q   So what would help you remember what those        09:24:06

                                                                       20   things were that he asked you to help with?               09:24:08

                                                                       21       A   I do not know.                                    09:24:13

                                                                       22       Q   So as you're sitting here you have no             09:24:18


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 62 of 263

                                                                                                   Conducted on November 29, 2021       60

                                                                       1    recollection as to whether or not Mr. Jordan asked               09:24:20

                                                                       2    you to help with the litigation against Compass                  09:24:23

                                                                       3    Marketing?                                                       09:24:23

                                                                       4              MR. JORDAN:     Objection.     That misstates          09:24:27

                                                                       5    his testimony.                                                   09:24:28

                                                                       6        A     It does.     For example, he asked me to help          09:24:30

                                                                       7    him find local counsel so I helped him do that.                  09:24:32

                                                                       8    BY MR. STERN:                                                    09:24:36

                                                                       9        Q     Did you do anything else to help with the              09:24:36

                                                                       10   litigation against Compass Marketing?                            09:24:38

                                                                       11             MR. MARCUS:     Objection to form.       Answer        09:24:41

                                                                       12   please.                                                          09:24:43

                                                                       13             MR. JORDAN:     Objection, vague.                      09:24:45

                                                                       14       A     Did I do anything else?        I do not know.          09:24:47

                                                                       15             MR. STERN:     I'm going to go to the next             09:24:52

                                                                       16   exhibit.     It's Bates labeled DJW 000894 to 000897.            09:24:54

                                                                       17   It's an e-mail string with the most recent being                 09:25:03

                                                                       18   February 5, 2021 at 12:19 p.m. and the original in               09:25:07

                                                                       19   the string is dated February 4, 2021 at 3:34 p.m.                09:25:13

                                                                       20             (D. White Deposition Exhibit 6 was marked              09:25:13

                                                                       21   for identification and attached to the                           09:25:13

                                                                       22   transcript.)                                                     09:25:21


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 63 of 263

                                                                                                   Conducted on November 29, 2021         61

                                                                       1    BY MR. STERN:                                                      09:25:21

                                                                       2        Q     I want to direct your attention to an                    09:25:21

                                                                       3    e-mail in that string dated February 5, 2021 at                    09:25:23

                                                                       4    10:51 a.m.                                                         09:25:28

                                                                       5              MR. MARCUS:     Hang on one second.       As soon        09:25:29

                                                                       6    as we get it up.                                                   09:25:31

                                                                       7              Which one would you like him to look at?                 09:25:34

                                                                       8              MR. STERN:     February 5, 2021 at 10:51 a.m.            09:25:36

                                                                       9    from Greg Jordan to Mr. Dan Binder, Tom Gagliardo                  09:25:42

                                                                       10   with a copy to David Boshea.          I'm sorry, that's --         09:25:46

                                                                       11   my apologies.     That is then ultimately forwarded                09:25:52

                                                                       12   to you, Mr. White, on February 5th at 12:19 p.m.,                  09:25:55

                                                                       13   do you see that?                                                   09:25:59

                                                                       14             MR. MARCUS:     Let's see if we can figure               09:26:02

                                                                       15   out which one you actually want him to look at,                    09:26:03

                                                                       16   please.                                                            09:26:06

                                                                       17   BY MR. STERN:                                                      09:26:07

                                                                       18       Q     Do you see that e-mail that was forwarded                09:26:07

                                                                       19   to you, Mr. White?                                                 09:26:10

                                                                       20       A     Which e-mail are you speaking about,                     09:26:12

                                                                       21   Mr. Stern?                                                         09:26:16

                                                                       22       Q     This e-mail thread.       It was forwarded to            09:26:16


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 64 of 263

                                                                                               Conducted on November 29, 2021      62

                                                                       1    you on February 5, 2021 at 12:19 p.m., correct?             09:26:20

                                                                       2        A   It would appear to be.                              09:26:22

                                                                       3        Q   Why did Mr. Jordan communicate with you             09:26:24

                                                                       4    about the registered agent in Maryland?                     09:26:27

                                                                       5            MR. MARCUS:   Objection.                            09:26:31

                                                                       6            MR. JORDAN:   Objection, misstates the              09:26:32

                                                                       7    exhibit.                                                    09:26:34

                                                                       8    BY MR. STERN:                                               09:26:35

                                                                       9        Q   The e-mail below says "Dan, See the                 09:26:36

                                                                       10   attached for the registered agent in Maryland" and          09:26:39

                                                                       11   that was forwarded to you, correct, Mr. White?              09:26:42

                                                                       12       A   No, sir.                                            09:26:44

                                                                       13       Q   That wasn't forwarded to you?                       09:26:46

                                                                       14       A   It was not.                                         09:26:47

                                                                       15       Q   So then what is this e-mail?                        09:26:48

                                                                       16       A   I do not know.                                      09:26:51

                                                                       17           MR. JORDAN:   Objection, vague.      I don't        09:26:53

                                                                       18   know what you mean, what is this e-mail.                    09:26:54

                                                                       19   BY MR. STERN:                                               09:26:56

                                                                       20       Q   So you're denying that Mr. Jordan                   09:26:56

                                                                       21   forwarded an e-mail -- I'm sorry, Mr. Boshea                09:26:59

                                                                       22   forwarded an e-mail to you on February 5, 2021?             09:27:03


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 65 of 263

                                                                                               Conducted on November 29, 2021    63

                                                                       1             MR. MARCUS:   It was not your                    09:27:08

                                                                       2    representation at any point, sir, that Mr. Jordan         09:27:09

                                                                       3    forwarded an e-mail to him I assume.                      09:27:13

                                                                       4    BY MR. STERN:                                             09:27:16

                                                                       5        Q    Mr. White, go ahead and answer the               09:27:16

                                                                       6    question.                                                 09:27:17

                                                                       7        A    Mr. Stern, would you ask me the question         09:27:18

                                                                       8    again?                                                    09:27:20

                                                                       9        Q    Did Mr. Boshea forward this e-mail to you        09:27:22

                                                                       10   on February 5, 2021 at 12:19 p.m.?                        09:27:24

                                                                       11       A    It would appear that he did.                     09:27:28

                                                                       12       Q    Why was he communicating with you about          09:27:31

                                                                       13   matters related to Compass Marketing?                     09:27:33

                                                                       14            MR. MARCUS:   Objection.                         09:27:37

                                                                       15            MR. JORDAN:   Objection to asking the            09:27:37

                                                                       16   witness to speculate regarding what Mr. David             09:27:39

                                                                       17   Boshea thought.                                           09:27:42

                                                                       18   BY MR. STERN:                                             09:27:45

                                                                       19       Q    Did you have any communications with             09:27:45

                                                                       20   Mr. Boshea about the filing of this lawsuit?              09:27:47

                                                                       21            MR. JORDAN:   Objection, asked and               09:27:50

                                                                       22   answered.                                                 09:27:55


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 66 of 263

                                                                                                Conducted on November 29, 2021    64

                                                                       1        A   I had discussions with Mr. Boshea about            09:27:55

                                                                       2    this lawsuit.                                              09:27:58

                                                                       3    BY MR. STERN:                                              09:28:01

                                                                       4        Q   Did you respond to this e-mail dated               09:28:01

                                                                       5    February 5, 2021?                                          09:28:03

                                                                       6        A   I do not remember doing so.                        09:28:06

                                                                       7        Q   Do you know why he asked you about is              09:28:09

                                                                       8    Compass a Virginia company?                                09:28:13

                                                                       9            MR. MARCUS:    Objection as to why                 09:28:15

                                                                       10   Mr. Boshea did something.                                  09:28:17

                                                                       11   BY MR. STERN:                                              09:28:22

                                                                       12       Q   Mr. White, go ahead.                               09:28:23

                                                                       13       A   Are you asking me why David Boshea --              09:28:25

                                                                       14       Q   Do you know why Mr. Boshea asked you about         09:28:27

                                                                       15   that?                                                      09:28:31

                                                                       16           MR. JORDAN:    Objection asking him about          09:28:32

                                                                       17   Mr. Boshea's thoughts.      Asking the witness to          09:28:34

                                                                       18   speculate.                                                 09:28:37

                                                                       19       A   I do not know why David sent that specific         09:28:40

                                                                       20   e-mail to me if he did.                                    09:28:42

                                                                       21   BY MR. STERN:                                              09:28:44

                                                                       22       Q   Did you offer to help Mr. Boshea in his            09:28:45


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 67 of 263

                                                                                                 Conducted on November 29, 2021     65

                                                                       1    lawsuit against Compass Marketing?                           09:28:47

                                                                       2            MR. JORDAN:     Objection, asked and                 09:28:50

                                                                       3    answered.                                                    09:28:54

                                                                       4        A   If David asked me for some help I tried to           09:28:54

                                                                       5    help him.                                                    09:28:57

                                                                       6    BY MR. STERN:                                                09:29:06

                                                                       7        Q   Do you remember what he asked you to help            09:29:06

                                                                       8    with?                                                        09:29:09

                                                                       9        A   I do not.                                            09:29:09

                                                                       10           MR. STERN:     I want to turn to a new               09:29:12

                                                                       11   exhibit, DJW 000900 through 907.                             09:29:14

                                                                       12           (D. White Deposition Exhibit 7 was marked            09:29:14

                                                                       13   for identification and attached to the                       09:29:14

                                                                       14   transcript.)                                                 09:29:39

                                                                       15   BY MR. STERN:                                                09:29:39

                                                                       16       Q   Do you recognize this e-mail?         It's an        09:29:40

                                                                       17   e-mail that you -- the most recent one was dated             09:29:42

                                                                       18   January 26, 2021 from you to your brother Michael            09:29:44

                                                                       19   White and you were forwarding to him the e-mail              09:29:48

                                                                       20   that Mr. Boshea sent to you on January 26, 2021 at           09:29:51

                                                                       21   5:39 p.m., do you see that?                                  09:29:57

                                                                       22


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 68 of 263

                                                                                                   Conducted on November 29, 2021    66

                                                                       1              MR. MARCUS:     If you're going to ask us           09:29:58

                                                                       2    about it you're going to have to let us to take a             09:29:59

                                                                       3    look at what it is that you're asking questions               09:30:02

                                                                       4    about.                                                        09:30:05

                                                                       5    BY MR. STERN:                                                 09:30:05

                                                                       6        Q     Do you see those e-mails there, Mr. White?          09:30:06

                                                                       7        A     I just need a minute, Mr. Stern.                    09:30:09

                                                                       8              (Pause in the proceedings.)                         09:30:20

                                                                       9              Okay, if you'd ask me the question again,           09:30:35

                                                                       10   please.     I've had a chance to read it.                     09:30:38

                                                                       11       Q     All right.     The original e-mail in this          09:30:39

                                                                       12   string is from Mr. Boshea to you, correct?                    09:30:41

                                                                       13       A     It would appear to be.                              09:30:44

                                                                       14       Q     And he's asking you whether or not                  09:30:46

                                                                       15   something looks correct and there's an attachment             09:30:48

                                                                       16   to it, correct?                                               09:30:51

                                                                       17       A     That's what it appears.                             09:30:52

                                                                       18       Q     Did you offer to help review documents for          09:30:55

                                                                       19   Mr. Boshea in connection with this litigation                 09:30:58

                                                                       20   against Compass Marketing?                                    09:31:01

                                                                       21       A     I do not remember doing so.                         09:31:03

                                                                       22       Q     Did you discuss offering Mr. Boshea the             09:31:06


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 69 of 263

                                                                                                 Conducted on November 29, 2021           67

                                                                       1    opportunity to review any documents?                               09:31:10

                                                                       2            MR. MARCUS:     Objection to the form of the               09:31:14

                                                                       3    question.                                                          09:31:15

                                                                       4        A   I do not remember doing so.         I remember             09:31:18

                                                                       5    telling --                                                         09:31:18

                                                                       6    BY MR. STERN:                                                      09:31:21

                                                                       7        Q   Do you know why he asked you to review                     09:31:21

                                                                       8    this document that's attached to this e-mail?                      09:31:23

                                                                       9            MR. MARCUS:     Mr. Stern, we have to let the              09:31:26

                                                                       10   witness complete his answer before you ask the                     09:31:27

                                                                       11   next question, please.       I recognize this is a                 09:31:31

                                                                       12   little unwieldy.                                                   09:31:31

                                                                       13           Finish your answer, please.                                09:31:32

                                                                       14       A   I'm sorry, could you say the question                      09:31:35

                                                                       15   again, Mr. Stern?                                                  09:31:37

                                                                       16   BY MR. STERN:                                                      09:31:38

                                                                       17       Q   Do you know why he asked you to review the                 09:31:38

                                                                       18   document that's attached to this e-mail?                           09:31:40

                                                                       19           MR. JORDAN:     Objection.     Asking the                  09:31:44

                                                                       20   witness to speculate regarding Mr. Boshea's                        09:31:45

                                                                       21   thoughts.                                                          09:31:49

                                                                       22           MR. STERN:     It's not speculation.        I asked        09:31:51


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 70 of 263

                                                                                                Conducted on November 29, 2021         68

                                                                       1    do you know why.                                                09:31:51

                                                                       2    BY MR. STERN:                                                   09:31:51

                                                                       3        Q   Do you know why he asked?                               09:31:51

                                                                       4        A   I do not know why.                                      09:31:52

                                                                       5            MR. JORDAN:    Same objection.      Still asking        09:31:52

                                                                       6    him to speculate.                                               09:31:54

                                                                       7    BY MR. STERN:                                                   09:31:55

                                                                       8        Q   Why did you forward the e-mail to your                  09:31:56

                                                                       9    brother Michael?                                                09:31:57

                                                                       10       A   My brother Michael has some interest in                 09:32:01

                                                                       11   Compass as well.                                                09:32:03

                                                                       12       Q   So if you have an interest in Compass                   09:32:09

                                                                       13   Marketing and your brother Michael has an interest              09:32:14

                                                                       14   in Compass Marketing wouldn't it be in your                     09:32:15

                                                                       15   interest to defend the company against litigation?              09:32:17

                                                                       16           MR. MARCUS:    Objection, form of the                   09:32:22

                                                                       17   question.                                                       09:32:22

                                                                       18           MR. JORDAN:    Objection, relevance.                    09:32:22

                                                                       19       A   It would be in the interest of Compass to               09:32:27

                                                                       20   treat people fairly.                                            09:32:29

                                                                       21   BY MR. STERN:                                                   09:32:32

                                                                       22       Q   Do you want to see Compass Marketing held               09:32:32


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 71 of 263

                                                                                               Conducted on November 29, 2021       69

                                                                       1    liable to Mr. Boshea for his claims against the              09:32:36

                                                                       2    company?                                                     09:32:39

                                                                       3            MR. MARCUS:     Objection.                           09:32:40

                                                                       4        A   I want Compass Marketing to be fair to the           09:32:42

                                                                       5    people that work for Compass Marketing.                      09:32:44

                                                                       6    BY MR. STERN:                                                09:32:46

                                                                       7        Q   That's not my question.                              09:32:46

                                                                       8            Do you want to see Compass Marketing held            09:32:48

                                                                       9    liable to Mr. Boshea for the claims he's brought             09:32:49

                                                                       10   against the company?                                         09:32:52

                                                                       11           MR. MARCUS:     Objection.   This line of            09:32:54

                                                                       12   questions has nothing to do with the purpose of              09:32:58

                                                                       13   this deposition.      If you're asking questions that        09:33:00

                                                                       14   are completely outside the scope you're doing it             09:33:04

                                                                       15   at your peril.                                               09:33:08

                                                                       16   BY MR. STERN:                                                09:33:10

                                                                       17       Q   Mr. White, please answer the question.               09:33:10

                                                                       18       A   Say the question again please, Mr. Stern.            09:33:13

                                                                       19       Q   Do you want to see Compass Marketing held            09:33:15

                                                                       20   liable to Mr. Boshea for the claims he's brought?            09:33:17

                                                                       21           MR. MARCUS:     Objection.                           09:33:21

                                                                       22       A   I would rather Compass Marketing make a              09:33:23


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 72 of 263

                                                                                               Conducted on November 29, 2021      70

                                                                       1    reasonable agreement with Mr. Boshea.                       09:33:26

                                                                       2    BY MR. STERN:                                               09:33:31

                                                                       3        Q   And if Compass Marketing doesn't reach an           09:33:33

                                                                       4    agreement with Mr. Boshea, do you want to see               09:33:36

                                                                       5    Compass Marketing held liable to Mr. Boshea for             09:33:39

                                                                       6    the claims that he's brought?                               09:33:42

                                                                       7            MR. MARCUS:   Objection, asked and                  09:33:44

                                                                       8    answered.    Not a factual hypothetical situation.          09:33:45

                                                                       9    BY MR. STERN:                                               09:33:59

                                                                       10       Q   Mr. White, please answer the question.              09:34:00

                                                                       11       A   I don't know the answer to if Compass               09:34:02

                                                                       12   Marketing does not make a settlement.        I don't        09:34:06

                                                                       13   know the answer to that.                                    09:34:08

                                                                       14       Q   Well, it's really simple.      If there's no        09:34:09

                                                                       15   settlement do you want to see Mr. Boshea win this           09:34:11

                                                                       16   lawsuit?                                                    09:34:14

                                                                       17           MR. MARCUS:   Objection.                            09:34:15

                                                                       18       A   I do not --                                         09:34:18

                                                                       19           MR. MARCUS:   Speculation.                          09:34:20

                                                                       20       A   I do not know the answer to that question,          09:34:21

                                                                       21   Mr. Stern.    It depends on what you win.                   09:34:24

                                                                       22


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 73 of 263

                                                                                                Conducted on November 29, 2021       71

                                                                       1    BY MR. STERN:                                                 09:34:29

                                                                       2        Q     It is a pretty simple question.                     09:34:30

                                                                       3              What is it that you don't understand about          09:34:33

                                                                       4    the question?                                                 09:34:34

                                                                       5        A     I don't know what you mean by "win."                09:34:34

                                                                       6        Q     Do you want to see Compass Marketing held           09:34:36

                                                                       7    liable to Mr. Boshea if there's no settlement                 09:34:38

                                                                       8    agreement reached?                                            09:34:42

                                                                       9              MR. MARCUS:   Objection, asked and                  09:34:43

                                                                       10   answered, hypothetical, speculation, does not call            09:34:45

                                                                       11   for any facts.     Answer if you can.                         09:34:50

                                                                       12       A     I want Compass Marketing to be fair to              09:34:53

                                                                       13   David Boshea.     I don't have an answer for if               09:34:57

                                                                       14   they're not fair to David Boshea what should                  09:35:01

                                                                       15   happen.     I don't have an answer for that.                  09:35:04

                                                                       16   BY MR. STERN:                                                 09:35:07

                                                                       17       Q     Mr. -- that's not an answer.      This is do        09:35:07

                                                                       18   you want to see Mr. Boshea prevail in this                    09:35:11

                                                                       19   litigation against Compass Marketing, yes or no?              09:35:14

                                                                       20             MR. MARCUS:   Objection, asked and                  09:35:18

                                                                       21   answered.     He's answered it three times.       I'm         09:35:20

                                                                       22   going to ask you to move on.                                  09:35:22


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 74 of 263

                                                                                               Conducted on November 29, 2021         72

                                                                       1    BY MR. STERN:                                                  09:35:24

                                                                       2        Q   Go ahead, Mr. White.                                   09:35:25

                                                                       3            MR. MARCUS:    Answer it again.                        09:35:27

                                                                       4        A   I want Compass Marketing to be fair to                 09:35:28

                                                                       5    David Boshea.   There would not be a Compass                   09:35:30

                                                                       6    Marketing without David Boshea.       He worked for us         09:35:33

                                                                       7    for 15 years.   He was our most loyal person and we            09:35:36

                                                                       8    should be fair to him.     I do not have an answer to          09:35:39

                                                                       9    the question of what happens if you and John are               09:35:43

                                                                       10   not fair to him.                                               09:35:46

                                                                       11   BY MR. STERN:                                                  09:35:48

                                                                       12       Q   Why are you saying me and John?        Do I own        09:35:48

                                                                       13   part of Compass Marketing?                                     09:35:51

                                                                       14       A   I think you have a financial interest in a             09:35:54

                                                                       15   business that has --                                           09:35:56

                                                                       16       Q   On what basis do you believe I've got a                09:36:00

                                                                       17   financial interest in Compass Marketing?                       09:36:04

                                                                       18           MR. MARCUS:    Objection.    Answer please.            09:36:06

                                                                       19       A   On the fact that you started Smart Retail              09:36:13

                                                                       20   in Wyoming.                                                    09:36:19

                                                                       21   BY MR. STERN:                                                  09:36:20

                                                                       22       Q   So the fact that I served as counsel to                09:36:20


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 75 of 263

                                                                                                Conducted on November 29, 2021     73

                                                                       1    start a company named Smart Retail leads you to             09:36:23

                                                                       2    believe I'm a part owner of Smart Retail?                   09:36:27

                                                                       3           MR. JORDAN:     Objection, misstates his             09:36:30

                                                                       4    testimony and assumes a fact not in evidence.               09:36:32

                                                                       5           MR. MARCUS:     And more than that,                  09:36:34

                                                                       6    Mr. Stern, to the extent that these questions are           09:36:36

                                                                       7    about collateral matters, collateral matters                09:36:39

                                                                       8    involving you and other witnesses, this has                 09:36:42

                                                                       9    absolutely nothing to do with the litigation                09:36:46

                                                                       10   involving Mr. Boshea and --                                 09:36:49

                                                                       11          MR. STERN:     Mr. Marcus, are you suggesting        09:36:51

                                                                       12   that your client knowingly filed a document in              09:36:53

                                                                       13   federal court raising these issues in his brief             09:36:56

                                                                       14   without any basis for doing so or without any               09:37:00

                                                                       15   relevance to the litigation?       Is that what the         09:37:02

                                                                       16   position is you're taking?                                  09:37:04

                                                                       17          MR. MARCUS:     My position is that you are          09:37:05

                                                                       18   here taking a deposition ostensibly in furtherance          09:37:07

                                                                       19   of the discovery that's necessary in the case that          09:37:11

                                                                       20   was filed by Mr. Boshea.                                    09:37:13

                                                                       21          MR. STERN:     That's right.     Mr. White's         09:37:15

                                                                       22   answer implicated me in this so now I'm going to            09:37:17


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 76 of 263

                                                                                                 Conducted on November 29, 2021     74

                                                                       1    ask him some questions about it.                             09:37:20

                                                                       2            MR. JORDAN:     Objection to the relevance of        09:37:21

                                                                       3    the question of the lawsuit.                                 09:37:23

                                                                       4            MR. STERN:     When he answers a question I          09:37:24

                                                                       5    then follow-up with questions based on the answers           09:37:29

                                                                       6    he gives.     Now please stop interfering with the           09:37:30

                                                                       7    deposition.                                                  09:37:33

                                                                       8    BY MR. STERN:                                                09:37:33

                                                                       9        Q   Mr. White, on what basis do you conclude             09:37:33

                                                                       10   that I have an ownership interest in Smart Retail?           09:37:37

                                                                       11           MR. MARCUS:     So here is where we are,             09:37:39

                                                                       12   Mr. Stern, Rule 30 (b)(3)(A).         I'm asking you,        09:37:43

                                                                       13   sir, to terminate your line of questions that are            09:37:45

                                                                       14   outside the scope of what the discovery in this              09:37:48

                                                                       15   case would be.     To the extent that you are now            09:37:51

                                                                       16   asking him questions about your relationship with            09:37:54

                                                                       17   other companies and the company of Compass, these            09:37:57

                                                                       18   questions are completely irrelevant to a breach of           09:38:02

                                                                       19   contract action that was filed by Mr. Boshea.                09:38:05

                                                                       20           These questions relate to your personal              09:38:08

                                                                       21   situation in collateral matters and I would remind           09:38:11

                                                                       22   you, sir, that under 30 (b)(3)(A) the questions              09:38:14


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 77 of 263

                                                                                                   Conducted on November 29, 2021             75

                                                                       1    that you put to him must be in good faith and they                     09:38:19

                                                                       2    must be related to the underlying claim.             It has            09:38:22

                                                                       3    nothing to do with you and --                                          09:38:26

                                                                       4              MR. STERN:     Mr. Marcus, please stop                       09:38:28

                                                                       5    interfering with my deposition.           Your client was              09:38:30

                                                                       6    the one that just implicated me in his answer to a                     09:38:32

                                                                       7    question.     I didn't ask anything about me.            He was        09:38:35

                                                                       8    the one that brought me into the equation so I'm                       09:38:38

                                                                       9    now asking questions about his answers to the                          09:38:41

                                                                       10   questions I asked about his participation in this                      09:38:44

                                                                       11   lawsuit and whether he wants to see Mr. Boshea                         09:38:47

                                                                       12   prevail in this litigation.          I was not the one                 09:38:50

                                                                       13   that brought me up.                                                    09:38:52

                                                                       14   BY MR. STERN:                                                          09:38:52

                                                                       15         Q   Now Mr. White, please answer the question.                   09:38:54

                                                                       16             MR. JORDAN:     Objection.     That misstates                09:38:56

                                                                       17   the witness's answer.         You absolutely brought it                09:38:57

                                                                       18   up.                                                                    09:39:00

                                                                       19             MR. MARCUS:     You did in fact bring it up,                 09:39:01

                                                                       20   Mr. Stern, and to represent otherwise fortunately                      09:39:03

                                                                       21   there's a record.        You asked him about what                      09:39:06

                                                                       22   interest you supposedly had.           You went down that              09:39:08


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 78 of 263

                                                                                                   Conducted on November 29, 2021      76

                                                                       1    road.     You were the one who introduced that whole            09:39:11

                                                                       2    concept in this line of questioning.                            09:39:13

                                                                       3              MR. STERN:     Because of his answer to a             09:39:14

                                                                       4    question that I asked.         Thank you.                       09:39:15

                                                                       5              MR. MARCUS:     So let's pretend -- let's             09:39:16

                                                                       6    pretend that --                                                 09:39:20

                                                                       7              MR. STERN:     No, he doesn't get to answer a         09:39:20

                                                                       8    question and then I don't get to follow-up.                     09:39:22

                                                                       9    That's not the way it works, Mr. Marcus, and you                09:39:23

                                                                       10   know that.                                                      09:39:26

                                                                       11             MR. MARCUS:     All right, so here is where           09:39:26

                                                                       12   we are.     I am now asking you to move on.          I'm        09:39:28

                                                                       13   asking you to limit on the grounds that I've                    09:39:31

                                                                       14   articulated, that I believe these lines -- the                  09:39:34

                                                                       15   line of questions is in bad faith.            I do              09:39:37

                                                                       16   believe --                                                      09:39:40

                                                                       17             MR. STERN:     It isn't in bad faith because          09:39:40

                                                                       18   he was the one that brought it up and it goes to                09:39:42

                                                                       19   his credibility.        Credibility is always relevant.         09:39:45

                                                                       20   Credibility is always relevant and you know that,               09:39:47

                                                                       21   Mr. Marcus.                                                     09:39:50

                                                                       22


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 79 of 263

                                                                                                Conducted on November 29, 2021          77

                                                                       1           MR. MARCUS:     So here's where we're going.              09:39:50

                                                                       2    I'm going to ask you to move on.        To the extent            09:39:53

                                                                       3    that we need to we will file a protective order                  09:39:56

                                                                       4    and have the Court address this issue as well as                 09:39:59

                                                                       5    other issues that have come up during the course                 09:40:02

                                                                       6    of the deposition.                                               09:40:04

                                                                       7           MR. STERN:     You got to file a motion you               09:40:05

                                                                       8    got to file a motion.      You have provided extensive           09:40:06

                                                                       9    e-mail threads between Mr. White and Mr. Jordan                  09:40:12

                                                                       10   and Mr. Boshea and Mr. White claims to be an owner               09:40:15

                                                                       11   of the company.     All that is fair game as to why              09:40:19

                                                                       12   he's helping a litigant against the company.          Why        09:40:22

                                                                       13   is he communicating with a counsel for a litigant                09:40:26

                                                                       14   against the company?      All that is relevant and               09:40:29

                                                                       15   fair game.                                                       09:40:32

                                                                       16          MR. MARCUS:     That's fine.                              09:40:32

                                                                       17          MR. STERN:     If you want to take it up with             09:40:35

                                                                       18   the Court have at it.      We'll gladly litigate that            09:40:38

                                                                       19   with the Court and we'll see where that comes out.               09:40:40

                                                                       20          MR. JORDAN:     Stephen, whether you own an               09:40:42

                                                                       21   interest in Smart Retail has nothing to do with                  09:40:45

                                                                       22   what you just said.                                              09:40:49


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                                                                                                       Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 80 of 263

                                                                                                     Conducted on November 29, 2021         78

                                                                       1                MR. STERN:     Mr. White was implicating me              09:40:53

                                                                       2    as -- he said when you and John.             That suggests           09:40:55

                                                                       3    that I have some role in ownership or management                     09:40:57

                                                                       4    of Compass Marketing.           I'm outside counsel and you          09:41:00

                                                                       5    know there's a difference, Greg.                                     09:41:05

                                                                       6                MR. JORDAN:     No, I'm just saying whether              09:41:06

                                                                       7    you do or don't own an interest in Smart Retail                      09:41:08

                                                                       8    has nothing to do with your basis for conducting                     09:41:11

                                                                       9    the deposition.                                                      09:41:15

                                                                       10               MR. STERN:     That's right, but he was the              09:41:16

                                                                       11   one that brought up my ownership.                                    09:41:17

                                                                       12               MR. JORDAN:     But it's collateral.       You've        09:41:21

                                                                       13   established that he did it.            I think we can move           09:41:24

                                                                       14   on.       Whether you do or you don't is not going to                09:41:25

                                                                       15   be determined here today nor is it of any interest                   09:41:28

                                                                       16   in the litigation on the breach of                                   09:41:33

                                                                       17   contract (inaudible) --                                              09:41:35

                                                                       18   BY MR. STERN:                                                        09:41:35

                                                                       19         Q     Mr. White, why was Mr. Boshea sending you                09:41:37

                                                                       20   the fee agreements with counsel?                                     09:41:37

                                                                       21               MR. MARCUS:     Objection as to why                      09:41:41

                                                                       22   Mr. Boshea did something.            Asked and answered.             09:41:43


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 81 of 263

                                                                                                   Conducted on November 29, 2021          79

                                                                       1    Answer it again please, sir.                                        09:41:47

                                                                       2          A   I do not know why David sent me that                      09:41:49

                                                                       3    particular e-mail.                                                  09:41:52

                                                                       4    BY MR. STERN:                                                       09:41:53

                                                                       5          Q   Did you respond to his request to review                  09:41:53

                                                                       6    it?                                                                 09:41:56

                                                                       7          A   I do not think so.                                        09:41:58

                                                                       8          Q   Did you not respond meaning verbally or in                09:42:03

                                                                       9    writing?                                                            09:42:05

                                                                       10         A   I do not think I reviewed it.         Whenever he         09:42:06

                                                                       11   asked me about his counsel I told him he should                     09:42:11

                                                                       12   get good counsel and that I thought Mr. Jordan was                  09:42:14

                                                                       13   good counsel and that I thought the person that I                   09:42:17

                                                                       14   referred him to in Maryland was good counsel and                    09:42:20

                                                                       15   that he should follow their advice.                                 09:42:23

                                                                       16         Q   When you forwarded the e-mail to Michael                  09:42:27

                                                                       17   did you discuss the fee agreement with Michael?                     09:42:29

                                                                       18         A   I did not that I recall.        I don't recall            09:42:31

                                                                       19   reviewing the fee agreement much less discussing                    09:42:36

                                                                       20   it with him.                                                        09:42:39

                                                                       21             MR. STERN:     I want to turn your attention              09:42:50

                                                                       22   to a new exhibit, DJW 000922 through 925.                The        09:42:53


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                                                                                                Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 82 of 263

                                                                                              Conducted on November 29, 2021      80

                                                                       1    first e-mail in this thread is dated December 18,          09:43:01

                                                                       2    2020 at 4:23 p.m. and the most recent which is             09:43:12

                                                                       3    December 22, 2020 at 1:04 p.m.                             09:43:16

                                                                       4            (D. White Deposition Exhibit 8 was marked          09:43:16

                                                                       5    for identification and attached to the                     09:43:16

                                                                       6    transcript.)                                               09:43:29

                                                                       7    BY MR. STERN:                                              09:43:29

                                                                       8        Q   I want to scroll down to a particular              09:43:29

                                                                       9    e-mail that you sent Mr. Boshea on December 21,            09:43:31

                                                                       10   2020 at 10:12 p.m.    It says there from you to            09:43:36

                                                                       11   Mr. Boshea "I think your contract is with Compass,         09:43:42

                                                                       12   not Tagnetics."                                            09:43:45

                                                                       13           Why were you advising Mr. Boshea about who         09:43:47

                                                                       14   his contract was with?                                     09:43:50

                                                                       15           MR. MARCUS:   So what we're going to do is         09:43:52

                                                                       16   we're actually going to read what this document            09:43:54

                                                                       17   says.   The witness is going to have a chance to do        09:43:56

                                                                       18   it if you're going to question him and then he can         09:43:58

                                                                       19   respond.                                                   09:44:02

                                                                       20           (Pause in the proceedings.)                        09:44:28

                                                                       21   BY MR. STERN:                                              09:44:29

                                                                       22       Q   Do you see that e-mail, Mr. White?                 09:44:29


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                                                                                                Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 83 of 263

                                                                                              Conducted on November 29, 2021          81

                                                                       1            MR. MARCUS:   You'll let us finish it --               09:44:31

                                                                       2    looking at it and then we'll be in a position to               09:44:33

                                                                       3    respond.                                                       09:44:35

                                                                       4            (Pause in the proceedings.)                            09:44:48

                                                                       5        A   Okay, I've had a chance to review it.                  09:44:48

                                                                       6    Would you ask your question again, sir?                        09:44:50

                                                                       7    BY MR. STERN:                                                  09:44:52

                                                                       8        Q   So why were you advising Mr. Boshea that               09:44:53

                                                                       9    his contract was with Compass and not Tagnetics?               09:44:56

                                                                       10       A   Why was I saying that?     Because that's a            09:45:04

                                                                       11   true fact.   I'm missing your question.       I don't          09:45:07

                                                                       12   understand your question, Mr. Stern.                           09:45:12

                                                                       13       Q   Why were you giving him advice about his               09:45:12

                                                                       14   contract?                                                      09:45:16

                                                                       15           MR. MARCUS:   Objection to the form of the             09:45:16

                                                                       16   question.                                                      09:45:17

                                                                       17       A   Why was I -- I do not know.                            09:45:22

                                                                       18   BY MR. STERN:                                                  09:45:27

                                                                       19       Q   Go to the e-mail before that, the one                  09:45:27

                                                                       20   below, December 21, 2020 at 10:46 p.m.        It's from        09:45:30

                                                                       21   Mr. Boshea to you.    It says "Does this look fair             09:45:35

                                                                       22   to you and normal?    What should I do?"                       09:45:38


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 84 of 263

                                                                                               Conducted on November 29, 2021        82

                                                                       1        A   I see that.                                           09:45:42

                                                                       2        Q   Were you serving as an advisor to                     09:45:44

                                                                       3    Mr. Boshea in connection with his litigation                  09:45:49

                                                                       4    against Compass Marketing?                                    09:45:51

                                                                       5            MR. MARCUS:   Objection to the form.                  09:45:52

                                                                       6    Answer please.                                                09:45:53

                                                                       7        A   I do not believe that I was.                          09:45:53

                                                                       8    BY MR. STERN:                                                 09:45:55

                                                                       9        Q   Do you know then why he was expecting you             09:45:55

                                                                       10   to tell him what to do?                                       09:45:57

                                                                       11           MR. MARCUS:   Objection as to what his                09:45:59

                                                                       12   motivation was.    Answer please.                             09:46:02

                                                                       13       A   I do not know.                                        09:46:03

                                                                       14   BY MR. STERN:                                                 09:46:06

                                                                       15       Q   Do you think it was appropriate for you to            09:46:06

                                                                       16   be advising Mr. Boshea in connection with his                 09:46:08

                                                                       17   litigation against Compass Marketing in any                   09:46:10

                                                                       18   respect?                                                      09:46:13

                                                                       19           MR. MARCUS:   Objection.                              09:46:13

                                                                       20       A   Say the question again, Mr. Stern.           I        09:46:17

                                                                       21   don't think I understand it.                                  09:46:19

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 85 of 263

                                                                                                 Conducted on November 29, 2021     83

                                                                       1    BY MR. STERN:                                                09:46:20

                                                                       2           Q   Do you think it was appropriate for you as        09:46:21

                                                                       3    an owner of Compass Marketing to be advising                 09:46:24

                                                                       4    Mr. Boshea about his litigation against the                  09:46:27

                                                                       5    company?                                                     09:46:30

                                                                       6               MR. MARCUS:   Objection, form of the              09:46:30

                                                                       7    question.      Answer please.                                09:46:31

                                                                       8           A   I do not know the answer to that question.        09:46:33

                                                                       9    I don't know what you mean by "appropriate."                 09:46:35

                                                                       10   BY MR. STERN:                                                09:46:38

                                                                       11          Q   As a business owner do you think it is a          09:46:39

                                                                       12   good idea to advise litigants in lawsuits against            09:46:42

                                                                       13   your company?                                                09:46:45

                                                                       14              MR. MARCUS:   Objection, calls for                09:46:48

                                                                       15   speculation, hypothetical and his opinions.                  09:46:50

                                                                       16          A   As a business owner it is a good idea to          09:46:55

                                                                       17   be fair to your employees.                                   09:46:59

                                                                       18   BY MR. STERN:                                                09:47:01

                                                                       19          Q   That's not my question.                           09:47:02

                                                                       20          A   Would you say your question again then,           09:47:04

                                                                       21   sir?                                                         09:47:06

                                                                       22          Q   As a business owner is it wise for you to         09:47:06


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 86 of 263

                                                                                                 Conducted on November 29, 2021        84

                                                                       1    be advising people who are filing lawsuits against              09:47:10

                                                                       2    your company about those lawsuits?                              09:47:13

                                                                       3            MR. MARCUS:     Objection.     Answer the               09:47:16

                                                                       4    question again.                                                 09:47:17

                                                                       5        A   As a business owner it is a good idea to                09:47:19

                                                                       6    avoid litigation and to settle litigation and to                09:47:23

                                                                       7    be fair.                                                        09:47:26

                                                                       8            Is that your question?        Is that an answer         09:47:26

                                                                       9    to your question?                                               09:47:28

                                                                       10           MR. STERN:     No.                                      09:47:31

                                                                       11       A   Okay.                                                   09:47:31

                                                                       12           MR. MARCUS:     Well, he's answered the                 09:47:31

                                                                       13   question.                                                       09:47:32

                                                                       14           MR. STERN:     No, he hasn't answered the               09:47:33

                                                                       15   question.                                                       09:47:34

                                                                       16           MR. MARCUS:     But he has.     You may not like        09:47:34

                                                                       17   the answer but he has answered the question.                    09:47:36

                                                                       18   BY MR. STERN:                                                   09:47:38

                                                                       19       Q   And when a lawsuit is filed is it wise to               09:47:39

                                                                       20   be giving advice to that litigant against your                  09:47:44

                                                                       21   company?                                                        09:47:46

                                                                       22


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 87 of 263

                                                                                                   Conducted on November 29, 2021     85

                                                                       1              MR. MARCUS:     Objection.                           09:47:47

                                                                       2              MR. JORDAN:     Objection to the relevance of        09:47:48

                                                                       3    this lawsuit, asked and answered.                              09:47:51

                                                                       4        A     I do not know the answer to your question,           09:47:55

                                                                       5    Mr. Stern.     Depends on the circumstance.                    09:47:57

                                                                       6              MR. STERN:     Okay.    Next exhibit, DJW            09:47:59

                                                                       7    000921.                                                        09:48:06

                                                                       8              MR. MARCUS:     Is this another exhibit              09:48:08

                                                                       9    number, sir?                                                   09:48:10

                                                                       10             MR. STERN:     Yes, it's an e-mail from Mr.          09:48:11

                                                                       11   Boshea to you, Mr. White, dated December 27, 2020              09:48:15

                                                                       12   at 12:51 a.m.                                                  09:48:19

                                                                       13             MR. MARCUS:     All right.     This should be        09:48:25

                                                                       14   Number 8; is that right?                                       09:48:28

                                                                       15             MR. JORDAN:     No, it should be Number 9.           09:48:30

                                                                       16             MR. MARCUS:     Okay.                                09:48:33

                                                                       17             (D. White Deposition Exhibit 9 was marked            09:48:33

                                                                       18   for identification and attached to the                         09:48:33

                                                                       19   transcript.)                                                   09:48:37

                                                                       20   BY MR. STERN:                                                  09:48:37

                                                                       21       Q     Now, the e-mail starts with "Hey Dan, I              09:48:37

                                                                       22   sent you joint e-mail with Greg."                              09:48:39


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 88 of 263

                                                                                                 Conducted on November 29, 2021     86

                                                                       1               Did you produce that joint e-mail that he         09:48:42

                                                                       2    sent with Greg?                                              09:48:44

                                                                       3           A   I do not remember.                                09:48:49

                                                                       4           Q   "If you can please give him a quick call          09:48:52

                                                                       5    Sunday regarding some document he is looking for             09:48:55

                                                                       6    from you."                                                   09:48:58

                                                                       7               What document did Mr. Jordan look for from        09:48:58

                                                                       8    you?                                                         09:49:01

                                                                       9           A   I do not recall.                                  09:49:02

                                                                       10          Q   Did you offer to provide any documents to         09:49:04

                                                                       11   Mr. Jordan in connection with the lawsuit brought            09:49:06

                                                                       12   by Mr. Boshea against Compass Marketing?                     09:49:09

                                                                       13          A   I do not remember any particular                  09:49:14

                                                                       14   documents.      I don't remember.                            09:49:17

                                                                       15          Q   That's not my question.                           09:49:18

                                                                       16              Did you offer to provide any documents to         09:49:20

                                                                       17   Mr. Boshea or Mr. Jordan in connection with                  09:49:23

                                                                       18   Mr. Boshea's lawsuit against Compass Marketing?              09:49:26

                                                                       19          A   I do not remember doing so but --                 09:49:29

                                                                       20          Q   Do you know why Mr. Boshea would be asking        09:49:32

                                                                       21   you to send Mr. Jordan a document?                           09:49:35

                                                                       22              MR. MARCUS:   Objection.                          09:49:39


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 89 of 263

                                                                                                 Conducted on November 29, 2021        87

                                                                       1            MR. JORDAN:     Objection to Mr. Boshea's               09:49:39

                                                                       2    thought process or motivation.         You're asking the        09:49:42

                                                                       3    witness to speculate.                                           09:49:47

                                                                       4    BY MR. STERN:                                                   09:49:50

                                                                       5        Q   Mr. White?                                              09:49:51

                                                                       6        A   Would you ask me that question one more                 09:49:53

                                                                       7    time?                                                           09:49:56

                                                                       8        Q   Do you know why Mr. Boshea would ask you                09:49:57

                                                                       9    to send documents to Mr. Jordan in connection with              09:50:00

                                                                       10   Mr. Boshea's lawsuit against the company?                       09:50:03

                                                                       11           MR. JORDAN:     Same objections.                        09:50:05

                                                                       12       A   I do not.                                               09:50:06

                                                                       13   BY MR. STERN:                                                   09:50:08

                                                                       14       Q   Next sentence says "Can you please mention              09:50:08

                                                                       15   we spoke and you feel he has from me everything he              09:50:10

                                                                       16   needs to get the money."                                        09:50:14

                                                                       17           Did you have that conversation with                     09:50:19

                                                                       18   Mr. Jordan?                                                     09:50:21

                                                                       19       A   I do not remember having any such                       09:50:24

                                                                       20   conversation with Mr. Jordan.                                   09:50:27

                                                                       21       Q   Do you know -- what was everything                      09:50:29

                                                                       22   Mr. Boshea needed to get the money?                             09:50:39


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                                                                                                Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 90 of 263

                                                                                              Conducted on November 29, 2021     88

                                                                       1            MR. MARCUS:   Objection.                          09:50:42

                                                                       2        A   I do not know.                                    09:50:45

                                                                       3    BY MR. STERN:                                             09:50:47

                                                                       4        Q   Do you believe Mr. Boshea had everything          09:50:48

                                                                       5    he needed to get the money from Compass Marketing?        09:50:51

                                                                       6            MR. MARCUS:   Objection.    Answer please.        09:50:54

                                                                       7        A   I do not know.                                    09:50:57

                                                                       8    BY MR. STERN:                                             09:51:00

                                                                       9        Q   Today -- sitting here today as of this            09:51:01

                                                                       10   moment in time do you believe Mr. Boshea has              09:51:05

                                                                       11   everything he needs to get the money from Compass         09:51:09

                                                                       12   Marketing?                                                09:51:13

                                                                       13           MR. MARCUS:   Objection.                          09:51:13

                                                                       14       A   I do not know.                                    09:51:16

                                                                       15   BY MR. STERN:                                             09:51:17

                                                                       16       Q   As of December 27, 2020 at 12:51 a.m. do          09:51:18

                                                                       17   you know what Mr. Boshea had in connection with           09:51:22

                                                                       18   his lawsuit to get the money from Compass                 09:51:25

                                                                       19   Marketing?                                                09:51:28

                                                                       20           MR. JORDAN:   Objection, asked and                09:51:28

                                                                       21   answered.                                                 09:51:33

                                                                       22       A   I do not know what David Boshea had on            09:51:33


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 91 of 263

                                                                                                    Conducted on November 29, 2021        89

                                                                       1    December 27th.                                                     09:51:37

                                                                       2    BY MR. STERN:                                                      09:51:40

                                                                       3           Q   Did you help him get any documents or                   09:51:41

                                                                       4    other information related to his lawsuit against                   09:51:43

                                                                       5    Compass Marketing?                                                 09:51:47

                                                                       6               MR. JORDAN:     Objection, asked and                    09:51:48

                                                                       7    answered.                                                          09:51:51

                                                                       8           A   I helped him find a local counsel.             I        09:51:51

                                                                       9    helped him find a handwriting expert and I helped                  09:51:58

                                                                       10   him find an e-mail from John to me from 2007.                      09:52:04

                                                                       11   BY MR. STERN:                                                      09:52:11

                                                                       12          Q   Anything else?                                          09:52:13

                                                                       13          A   That's what I remember as I sit here right              09:52:13

                                                                       14   now.                                                               09:52:16

                                                                       15              MR. STERN:     Let's go to a new document               09:52:17

                                                                       16   Bates labeled DJW 000913.                                          09:52:19

                                                                       17              (D. White Deposition Exhibit 10 was marked              09:52:19

                                                                       18   for identification and attached to the                             09:52:19

                                                                       19   transcript.)                                                       09:52:19

                                                                       20   BY MR. STERN:                                                      09:52:19

                                                                       21          Q   It's an e-mail from Mr. Boshea to you on                09:52:39

                                                                       22   January 7, 2021 at 9:48 a.m.           It says "Hi Dan,            09:52:44


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 92 of 263

                                                                                                 Conducted on November 29, 2021      90

                                                                       1    Please see attached and give me your thoughts."               09:52:47

                                                                       2            What was attached to this e-mail?                     09:52:50

                                                                       3        A   I need to read it, sir.        I do not               09:52:54

                                                                       4    remember.                                                     09:53:06

                                                                       5        Q   Do you know why it wasn't produced?                   09:53:06

                                                                       6            MR. JORDAN:     Objection.     It assumes that        09:53:09

                                                                       7    something was attached.                                       09:53:11

                                                                       8    BY MR. STERN:                                                 09:53:17

                                                                       9        Q   The e-mail from Mr. Boshea purports to                09:53:18

                                                                       10   attach a document, correct?                                   09:53:20

                                                                       11       A   That's what it says, that's correct.                  09:53:24

                                                                       12       Q   Did you produce that attachment?                      09:53:27

                                                                       13           MR. JORDAN:     Objection.     Again, assumes         09:53:30

                                                                       14   that Mr. Boshea attached a document.                          09:53:33

                                                                       15   BY MR. STERN:                                                 09:53:38

                                                                       16       Q   Mr. White?                                            09:53:39

                                                                       17       A   I do not know.                                        09:53:40

                                                                       18       Q   He's asking for your thoughts and input.              09:53:42

                                                                       19   Did you offer thoughts and input?                             09:53:47

                                                                       20       A   I do not recall doing so.                             09:53:56

                                                                       21       Q   Do you know why he asked you for your                 09:53:59

                                                                       22   thoughts and input?                                           09:54:01


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 93 of 263

                                                                                                    Conducted on November 29, 2021      91

                                                                       1               MR. JORDAN:     Objection to Mr. Boshea's             09:54:03

                                                                       2    motivation which asks the witness to speculate.                  09:54:05

                                                                       3    BY MR. STERN:                                                    09:54:10

                                                                       4           Q   I asked do you know why?                              09:54:10

                                                                       5               MR. JORDAN:     Same objection.                       09:54:11

                                                                       6           A   I do not know why David sent me that                  09:54:13

                                                                       7    e-mail.                                                          09:54:17

                                                                       8               MR. STERN:     I want to show you a new               09:54:19

                                                                       9    exhibit Bates labeled DJW 000908 through 910.                    09:54:21

                                                                       10              (D. White Deposition Exhibit 11 was marked            09:54:21

                                                                       11   for identification and attached to the                           09:54:21

                                                                       12   transcript.)                                                     09:54:21

                                                                       13              MR. STERN:     The first e-mail in this               09:54:40

                                                                       14   string is dated January 20, 2021 at 9:47 p.m. and                09:54:43

                                                                       15   the most recent which is January 22, 2021 at 4:00                09:54:49

                                                                       16   p.m.                                                             09:54:54

                                                                       17              MR. JORDAN:     Stephen, I haven't received           09:55:01

                                                                       18   the exhibit yet so I only see one document, not                  09:55:03

                                                                       19   multiple pages.         Never mind.    I received it just        09:55:06

                                                                       20   now.                                                             09:55:10

                                                                       21   BY MR. STERN:                                                    09:55:21

                                                                       22          Q   I want to take your attention to the                  09:55:21


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 94 of 263

                                                                                                    Conducted on November 29, 2021      92

                                                                       1    second e-mail in the string from the top meaning                 09:55:23

                                                                       2    the closest to the most recent.            It's an e-mail        09:55:26

                                                                       3    from Mr. Jordan to Mr. Boshea.            Subject line           09:55:30

                                                                       4    Tagnetics.      It says "Take a look at the attached"            09:55:34

                                                                       5    and this e-mail was forwarded from Mr. Boshea to                 09:55:36

                                                                       6    you.                                                             09:55:40

                                                                       7               MR. MARCUS:     Okay, so we're going to need          09:55:41

                                                                       8    to take a look at this and figure out what the                   09:55:42

                                                                       9    string is.                                                       09:55:46

                                                                       10              (Pause in the proceedings.)                           09:56:05

                                                                       11          A   I've read the e-mail.       Would you ask your        09:56:05

                                                                       12   question again, please?                                          09:56:08

                                                                       13   BY MR. STERN:                                                    09:56:09

                                                                       14          Q   What was attached to this e-mail?                     09:56:09

                                                                       15              MR. JORDAN:     Objection, assumes anything           09:56:11

                                                                       16   was attached to the e-mail.           Foundation.                09:56:13

                                                                       17   BY MR. STERN:                                                    09:56:21

                                                                       18          Q   Mr. White?                                            09:56:22

                                                                       19          A   I do not know what, if anything, was                  09:56:23

                                                                       20   attached to that e-mail.                                         09:56:25

                                                                       21          Q   Mr. Boshea again is asking you for your               09:56:29

                                                                       22   thoughts.                                                        09:56:31


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 95 of 263

                                                                                               Conducted on November 29, 2021        93

                                                                       1            Did you share your thoughts with                      09:56:33

                                                                       2    Mr. Boshea about this e-mail?                                 09:56:35

                                                                       3        A   I do not remember doing so.                           09:56:39

                                                                       4        Q   After it says thoughts it says "I just                09:56:44

                                                                       5    asked Greg to put Tagnetics in there."                        09:56:46

                                                                       6            What were you discussing with Mr. Boshea              09:56:50

                                                                       7    about Tagnetics?                                              09:56:52

                                                                       8            MR. MARCUS:   Objection, misstates the                09:56:55

                                                                       9    e-mail, assumes facts not in evidence.                        09:56:56

                                                                       10       A   I do not know the answer to your question,            09:57:04

                                                                       11   Mr. Stern.                                                    09:57:06

                                                                       12   BY MR. STERN:                                                 09:57:07

                                                                       13       Q   The next question -- the next part of that            09:57:07

                                                                       14   e-mail says "How do you think we can mix Tagnetics            09:57:08

                                                                       15   in there?"                                                    09:57:12

                                                                       16           Did you have any discussions with                     09:57:15

                                                                       17   Mr. Boshea about Tagnetics?                                   09:57:17

                                                                       18       A   I do not remember -- regarding this                   09:57:24

                                                                       19   e-mail, is that what you're asking me?         Maybe I        09:57:26

                                                                       20   don't understand your question.                               09:57:29

                                                                       21       Q   Did you have any discussions with                     09:57:30

                                                                       22   Mr. Boshea about Tagnetics in connection with this            09:57:32


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                                                                                                Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 96 of 263

                                                                                              Conducted on November 29, 2021     94

                                                                       1    lawsuit?                                                  09:57:35

                                                                       2        A   I don't remember any specific ones but I'm        09:57:38

                                                                       3    sure that it came up.                                     09:57:41

                                                                       4        Q   Did you see a draft of the Complaint that         09:57:44

                                                                       5    was filed in this lawsuit before it was filed?            09:57:46

                                                                       6        A   I do not remember.                                09:57:52

                                                                       7        Q   Did you offer to review the Complaint             09:57:55

                                                                       8    before it was filed in this lawsuit?                      09:57:57

                                                                       9        A   I do not remember.                                09:58:01

                                                                       10       Q   Did you make any suggestions to Mr. Boshea        09:58:03

                                                                       11   about the content of the Complaint before it was          09:58:07

                                                                       12   filed in this lawsuit?                                    09:58:10

                                                                       13       A   I do not remember.                                09:58:12

                                                                       14       Q   Is there anything that would help you             09:58:14

                                                                       15   remember?                                                 09:58:16

                                                                       16       A   Not that I know.                                  09:58:20

                                                                       17       Q   Is it your contention that there was no           09:58:24

                                                                       18   attachment to this e-mail?                                09:58:26

                                                                       19       A   I do not know.                                    09:58:28

                                                                       20       Q   Is there a way that we can find out?              09:58:31

                                                                       21       A   I do not know.                                    09:58:35

                                                                       22       Q   Do you still have this e-mail in your             09:58:37


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 97 of 263

                                                                                                 Conducted on November 29, 2021    95

                                                                       1    inbox?                                                      09:58:40

                                                                       2           A   I don't know that I have it in my inbox.         09:58:45

                                                                       3           Q   Where is this e-mail stored?                     09:58:49

                                                                       4           A   It is in my e-mail account and I would --        09:58:53

                                                                       5           Q   And therefore if it's in your e-mail             09:58:57

                                                                       6    account, presumably if there's an attachment it             09:58:59

                                                                       7    would still be there, wouldn't it?                          09:59:01

                                                                       8               MR. MARCUS:   Objection, calls for               09:59:03

                                                                       9    speculation.                                                09:59:04

                                                                       10          A   Mr. Stern, ask -- your question is if            09:59:11

                                                                       11   there was an attachment?                                    09:59:14

                                                                       12   BY MR. STERN:                                               09:59:18

                                                                       13          Q   It would still be on the e-mail, correct?        09:59:18

                                                                       14          A   I do not know.                                   09:59:21

                                                                       15          Q   You don't know?   Have you altered any           09:59:21

                                                                       16   e-mails that are in your account?                           09:59:23

                                                                       17          A   Have I altered any e-mails in my account?        09:59:25

                                                                       18   Regarding this lawsuit, no, not that I recall.              09:59:29

                                                                       19          Q   Have you altered any e-mails that are in         09:59:31

                                                                       20   your -- sitting in your inbox, deleted box or sent          09:59:34

                                                                       21   box?                                                        09:59:37

                                                                       22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 98 of 263

                                                                                                 Conducted on November 29, 2021    96

                                                                       1            MR. JORDAN:     Objection to relevance.             09:59:37

                                                                       2            MR. MARCUS:     Objection.                          09:59:42

                                                                       3        A   Could you ask that question again, sir?             09:59:44

                                                                       4    BY MR. STERN:                                               09:59:46

                                                                       5        Q   Have you altered any e-mails that are               09:59:46

                                                                       6    sitting in your account whether it's related to             09:59:48

                                                                       7    this lawsuit or not?                                        09:59:51

                                                                       8            MR. JORDAN:     Same objection.                     09:59:56

                                                                       9        A   Does that include deleting junk mail and            09:59:57

                                                                       10   stuff like that?                                            10:00:02

                                                                       11           MR. MARCUS:     Yes, it does.                       10:00:02

                                                                       12           MR. STERN:     Altered any e-mails.                 10:00:05

                                                                       13           MR. JORDAN:     Objection to the use of the         10:00:06

                                                                       14   word "altered."      I'm not sure what it means.            10:00:08

                                                                       15       A   I'm not sure I understand your question,            10:00:09

                                                                       16   Mr. Stern.                                                  10:00:12

                                                                       17   BY MR. STERN:                                               10:00:13

                                                                       18       Q   Have you changed any e-mails that are               10:00:13

                                                                       19   sitting in your account such as attachments?                10:00:15

                                                                       20           MR. JORDAN:     Objection to how that's even        10:00:22

                                                                       21   done.                                                       10:00:24

                                                                       22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 99 of 263

                                                                                                  Conducted on November 29, 2021       97

                                                                       1    BY MR. STERN:                                                   10:00:36

                                                                       2           Q    Mr. White, have you removed any                     10:00:37

                                                                       3    attachments from any e-mails in your account?                   10:00:39

                                                                       4           A    In my life certainly.                               10:00:42

                                                                       5           Q    Have you removed any e-mails in your                10:00:44

                                                                       6    account that are between you and Mr. Boshea in any              10:00:46

                                                                       7    way?       Let me rephrase the question.                        10:00:50

                                                                       8                Have you removed any attachments in your            10:00:51

                                                                       9    e-mail account that relate to Mr. Boshea in any                 10:00:54

                                                                       10   way?                                                            10:00:59

                                                                       11          A    Not that I recall.                                  10:00:59

                                                                       12          Q    Have you attached any documents to e-mails          10:01:03

                                                                       13   in your account that relate to Mr. Boshea in any                10:01:10

                                                                       14   way?                                                            10:01:18

                                                                       15               MR. MARCUS:   Objection.    Answer if you're        10:01:18

                                                                       16   able.                                                           10:01:20

                                                                       17          A    I've sent some attachments if that's what           10:01:20

                                                                       18   you mean.                                                       10:01:23

                                                                       19   BY MR. STERN:                                                   10:01:23

                                                                       20          Q    What attachments did you send to                    10:01:24

                                                                       21   Mr. Boshea?                                                     10:01:26

                                                                       22          A    I don't recall if I sent any to Mr. Boshea          10:01:27


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 100 of 263

                                                                                                  Conducted on November 29, 2021          98

                                                                        1    but I sent to Mr. Jordan a copy of an e-mail that                 10:01:30

                                                                        2    I got from John in 2007.                                          10:01:35

                                                                        3            Is that what you're asking about?                         10:01:39

                                                                        4        Q   Other than that one e-mail have you                       10:01:40

                                                                        5    attached any other documents in e-mails to                        10:01:44

                                                                        6    Mr. Jordan?                                                       10:01:49

                                                                        7        A   I do not remember.                                        10:01:52

                                                                        8            MR. STERN:     I want to show you a new                   10:02:03

                                                                        9    exhibit Bates labeled DJW 000041 through 42.           The        10:02:05

                                                                        10   most recent e-mail in that string is dated August                 10:02:23

                                                                        11   27, 2021 at 12:19 p.m.                                            10:02:26

                                                                        12           (D. White Deposition Exhibit 12 was marked                10:02:26

                                                                        13   for identification and attached to the                            10:02:26

                                                                        14   transcript.)                                                      10:02:32

                                                                        15   BY MR. STERN:                                                     10:02:32

                                                                        16       Q   The subject line of the e-mail says                       10:02:32

                                                                        17   Activity in Case, the case number, Boshea v.                      10:02:34

                                                                        18   Compass Marketing, Inc. Counterclaim, do you see                  10:02:39

                                                                        19   that?                                                             10:02:42

                                                                        20       A   Okay.                                                     10:02:42

                                                                        21       Q   The e-mail is from Mr. Jordan to you dated                10:02:46

                                                                        22   August 26, 2021 at 5:14 p.m., do you see that?                    10:02:50


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 101 of 263

                                                                                                Conducted on November 29, 2021    99

                                                                        1        A   From Mr. Jordan to me?                            10:02:56

                                                                        2        Q   Yes.                                              10:02:58

                                                                        3        A   I do see that.                                    10:02:59

                                                                        4        Q   Do you know why Mr. Jordan sent you notice        10:03:01

                                                                        5    of filing of the counterclaim that Compass                10:03:04

                                                                        6    Marketing filed in this case?                             10:03:07

                                                                        7        A   I think it says right on it but I don't           10:03:12

                                                                        8    know why except to read what Mr. Jordan wrote.            10:03:15

                                                                        9        Q   Did you have an understanding with                10:03:19

                                                                        10   Mr. Jordan that he would send you filings in this         10:03:21

                                                                        11   lawsuit?                                                  10:03:25

                                                                        12       A   I don't recall making any such agreement          10:03:26

                                                                        13   with Mr. Jordan.    I think he did that on his own        10:03:30

                                                                        14   and that's why he did that but I did not have any         10:03:32

                                                                        15   such agreement that I remember.                           10:03:34

                                                                        16       Q   Did you express an interest in receiving          10:03:36

                                                                        17   filings from Mr. Jordan related to this lawsuit?          10:03:38

                                                                        18       A   I don't remember doing so.                        10:03:43

                                                                        19       Q   Did you review the counterclaim filed in          10:03:48

                                                                        20   this lawsuit?                                             10:03:51

                                                                        21       A   I did read it when it came in.                    10:03:53

                                                                        22       Q   And you offered some commentary on it,            10:03:55


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 102 of 263

                                                                                                 Conducted on November 29, 2021       100

                                                                        1    didn't you?                                                    10:03:58

                                                                        2        A   I need to read that part.       That does look         10:04:00

                                                                        3    like my commentary.                                            10:04:06

                                                                        4        Q   Why were you offering commentary to                    10:04:10

                                                                        5    Mr. Jordan in connection with a lawsuit that he                10:04:13

                                                                        6    was bringing against your company?                             10:04:15

                                                                        7            MR. MARCUS:    Objection.     Answer please.           10:04:21

                                                                        8        A   I think that Mr. Jordan -- I was trying to             10:04:26

                                                                        9    help Mr. Jordan understand the context of the                  10:04:31

                                                                        10   counterclaim.                                                  10:04:34

                                                                        11   BY MR. STERN:                                                  10:04:35

                                                                        12       Q   So you were trying to help him in                      10:04:35

                                                                        13   connection with the lawsuit that was filed in                  10:04:37

                                                                        14   this -- against your company?                                  10:04:42

                                                                        15           MR. MARCUS:    Objection, form of the                  10:04:43

                                                                        16   question.     Answer please.                                   10:04:47

                                                                        17       A   I was trying to help Mr. Jordan understand             10:04:49

                                                                        18   the context of your counterclaim.                              10:04:51

                                                                        19   BY MR. STERN:                                                  10:04:53

                                                                        20       Q   Did you help Mr. Jordan understand the                 10:04:54

                                                                        21   context or facts related to the claim that                     10:04:56

                                                                        22   Mr. Boshea has filed against the company?                      10:04:59


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 103 of 263

                                                                                                 Conducted on November 29, 2021    101

                                                                        1            MR. MARCUS:    Objection, argumentative.            10:05:02

                                                                        2        A   I don't understand your question,                   10:05:06

                                                                        3    Mr. Stern.                                                  10:05:08

                                                                        4    BY MR. STERN:                                               10:05:08

                                                                        5        Q   Have you offered Mr. Jordan any thoughts            10:05:09

                                                                        6    or assistance in connection with his claim against          10:05:11

                                                                        7    the company other than referring to local counsel           10:05:14

                                                                        8    and identifying expert witnesses?                           10:05:18

                                                                        9            MR. MARCUS:    Objection, asked and                 10:05:23

                                                                        10   answered.     Answer it again, please.                      10:05:25

                                                                        11       A   I don't remember specific thoughts that             10:05:28

                                                                        12   I've offered to Mr. Jordan.                                 10:05:30

                                                                        13   BY MR. STERN:                                               10:05:33

                                                                        14       Q   Is this e-mail dated August 27, 2021 at             10:05:33

                                                                        15   12:19 p.m. the only commentary you offered to               10:05:37

                                                                        16   Mr. Jordan about the counterclaim filed against             10:05:40

                                                                        17   Mr. Boshea?                                                 10:05:44

                                                                        18       A   I do not remember.                                  10:05:45

                                                                        19       Q   Is there anything that you did to prepare           10:05:48

                                                                        20   for this deposition today?                                  10:05:49

                                                                        21       A   I met with my lawyers.                              10:05:53

                                                                        22       Q   You have more than one lawyer?                      10:05:55


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 104 of 263

                                                                                                  Conducted on November 29, 2021    102

                                                                        1        A   Well --                                              10:05:57

                                                                        2            MR. MARCUS:     Ms. Patterson makes two.             10:06:00

                                                                        3            MR. STERN:     I'm sorry?                            10:06:04

                                                                        4            MR. MARCUS:     Ms. Patterson makes two,             10:06:04

                                                                        5    Ms. Patterson and me.       There are two of us.             10:06:07

                                                                        6    BY MR. STERN:                                                10:06:09

                                                                        7        Q   Did you review any documents in                      10:06:10

                                                                        8    preparation for this deposition today?                       10:06:11

                                                                        9        A   Not specifically.                                    10:06:13

                                                                        10       Q   What does not specifically mean?                     10:06:14

                                                                        11       A   I collected them and I gave them to                  10:06:16

                                                                        12   Ms. Patterson so I reviewed them when I collected            10:06:19

                                                                        13   them but I did not do so today.                              10:06:24

                                                                        14       Q   And how long ago did you collect those               10:06:26

                                                                        15   documents?                                                   10:06:29

                                                                        16       A   Several weeks ago.                                   10:06:32

                                                                        17       Q   And when you reviewed them did it help               10:06:37

                                                                        18   refresh your recollection about the role you                 10:06:39

                                                                        19   played in connection with this lawsuit?                      10:06:41

                                                                        20           MR. MARCUS:     Objection, misstates his             10:06:44

                                                                        21   prior testimony.      Answer please.                         10:06:46

                                                                        22       A   I don't really consider a role in the                10:06:51


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 105 of 263

                                                                                                Conducted on November 29, 2021     103

                                                                        1    lawsuit but it helped refresh some conversations            10:06:54

                                                                        2    that I had with Mr. Jordan and Mr. Stern -- excuse          10:06:59

                                                                        3    me, and Mr. -- well, Mr. Stern, you and Mr. Boshea          10:07:02

                                                                        4    about the lawsuit.                                          10:07:05

                                                                        5    BY MR. STERN:                                               10:07:06

                                                                        6        Q   Offering commentary about a counterclaim,           10:07:06

                                                                        7    is that a role in the lawsuit?                              10:07:08

                                                                        8            MR. MARCUS:   Objection, argumentative.             10:07:10

                                                                        9    Answer please.                                              10:07:13

                                                                        10       A   I don't believe it is.                              10:07:14

                                                                        11   BY MR. STERN:                                               10:07:16

                                                                        12       Q   Offering expert witness recommendations,            10:07:16

                                                                        13   is that a role in the lawsuit?                              10:07:19

                                                                        14           MR. MARCUS:   Objection, argumentative.             10:07:21

                                                                        15   Answer please.                                              10:07:25

                                                                        16       A   I don't believe that it is.                         10:07:26

                                                                        17   BY MR. STERN:                                               10:07:28

                                                                        18       Q   Is offering to put -- to review documents           10:07:28

                                                                        19   play any role in the litigation?                            10:07:33

                                                                        20           MR. MARCUS:   Objection, argumentative.             10:07:35

                                                                        21   Answer please.                                              10:07:37

                                                                        22       A   I don't believe that it is.                         10:07:38


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 106 of 263

                                                                                                  Conducted on November 29, 2021       104

                                                                        1    BY MR. STERN:                                                   10:07:43

                                                                        2        Q   Is reviewing discovery responses a role in              10:07:43

                                                                        3    the lawsuit?                                                    10:07:48

                                                                        4            MR. MARCUS:     Objection, argumentative.               10:07:50

                                                                        5    Answer please.                                                  10:07:52

                                                                        6        A   I don't believe that it is.                             10:07:54

                                                                        7    BY MR. STERN:                                                   10:07:56

                                                                        8        Q   Is reviewing -- providing documents a role              10:07:56

                                                                        9    in the litigation -- in this lawsuit?            Let me         10:08:03

                                                                        10   rephrase the question.                                          10:08:08

                                                                        11           Is providing documents a role in this                   10:08:09

                                                                        12   litigation?                                                     10:08:11

                                                                        13           MR. MARCUS:     Objection.     Answer.                  10:08:12

                                                                        14           MR. JORDAN:     Objection, vague.                       10:08:15

                                                                        15       A   Mr. Stern, I don't know what you mean by                10:08:17

                                                                        16   role in litigation.      I don't believe I have a role          10:08:20

                                                                        17   in this litigation.                                             10:08:22

                                                                        18           MR. STERN:     Okay.   Let me show you a new            10:08:27

                                                                        19   document, Exhibit Number -- I guess Bates labeled               10:08:29

                                                                        20   DJW 000875, an e-mail from Mr. Boshea to you dated              10:08:33

                                                                        21   June 16, 2021 at 3:28 p.m.                                      10:08:42

                                                                        22           (D. White Deposition Exhibit 13 was marked              10:08:42


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 107 of 263

                                                                                                 Conducted on November 29, 2021          105

                                                                        1    for identification and attached to the                            10:08:42

                                                                        2    transcript.)                                                      10:08:53

                                                                        3    BY MR. STERN:                                                     10:08:53

                                                                        4        Q     Do you see this e-mail?                                 10:08:54

                                                                        5        A     I'm waiting for it to download.       I see the         10:08:56

                                                                        6    e-mail.                                                           10:09:20

                                                                        7        Q     It's an e-mail from Mr. Boshea to you?                  10:09:21

                                                                        8        A     That's what it appears to be.                           10:09:25

                                                                        9        Q     And it says "Steven."     I don't know why it           10:09:27

                                                                        10   says Steven but "See the attached discovery                       10:09:32

                                                                        11   requests," do you see that?                                       10:09:35

                                                                        12       A     I do see that.                                          10:09:37

                                                                        13       Q     Were discovery requests attached to that                10:09:39

                                                                        14   e-mail?                                                           10:09:41

                                                                        15       A     I do not remember.                                      10:09:42

                                                                        16       Q     And then the next line in the e-mail says               10:09:44

                                                                        17   "Please note that the Court requested that the                    10:09:46

                                                                        18   parties set a discovery plan and discuss other                    10:09:49

                                                                        19   issues."                                                          10:09:52

                                                                        20             Did you discuss a discovery plan with                   10:09:52

                                                                        21   Mr. Boshea?                                                       10:09:55

                                                                        22       A     I do not believe that I did.                            10:09:58


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 108 of 263

                                                                                               Conducted on November 29, 2021     106

                                                                        1        Q   Do you know why he sent you an e-mail to           10:10:00

                                                                        2    discuss a discovery plan?                                  10:10:03

                                                                        3            MR. MARCUS:   Objection, misstates the             10:10:06

                                                                        4    document.                                                  10:10:08

                                                                        5        A   I do not know the answer to your question.         10:10:11

                                                                        6    BY MR. STERN:                                              10:10:14

                                                                        7        Q   Did you answer this e-mail?                        10:10:14

                                                                        8        A   I don't believe that I did.                        10:10:16

                                                                        9        Q   Did you have a telephone call with                 10:10:17

                                                                        10   Mr. Boshea about this e-mail?                              10:10:20

                                                                        11       A   I don't believe that I did.                        10:10:21

                                                                        12       Q   So he sent you this e-mail out of the blue         10:10:25

                                                                        13   without any context or expectation for you to              10:10:28

                                                                        14   respond, is that your understanding?                       10:10:30

                                                                        15           MR. MARCUS:   Objection, form of the               10:10:33

                                                                        16   question.   Answer please.                                 10:10:35

                                                                        17       A   I do not know what his reasons or                  10:10:37

                                                                        18   expectations were.                                         10:10:39

                                                                        19   BY MR. STERN:                                              10:10:41

                                                                        20       Q   Was it your expectation to discuss                 10:10:41

                                                                        21   discovery in this lawsuit with Mr. Boshea?                 10:10:44

                                                                        22       A   I do not --                                        10:10:48


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 109 of 263

                                                                                                  Conducted on November 29, 2021       107

                                                                        1            MR. JORDAN:     Objection, relevance.                   10:10:49

                                                                        2            MR. MARCUS:     Objection.     It misstates the         10:10:51

                                                                        3    document.                                                       10:10:53

                                                                        4        A   I do not remember discussing the discovery              10:10:54

                                                                        5    plan with anyone.                                               10:10:57

                                                                        6    BY MR. STERN:                                                   10:10:59

                                                                        7        Q   That's not my question.                                 10:10:59

                                                                        8            My question is was it your expectation to               10:11:00

                                                                        9    discuss discovery in this lawsuit with Mr. Boshea?              10:11:03

                                                                        10           MR. MARCUS:     Objection, misstates the                10:11:07

                                                                        11   document.     Answer please.                                    10:11:11

                                                                        12       A   I do not believe it was my expectation to               10:11:14

                                                                        13   discuss discovery with David Boshea.                            10:11:17

                                                                        14           MR. STERN:     The next e-mail Bates number             10:11:28

                                                                        15   DJW 000876.     It's an e-mail from Mr. Boshea to you           10:11:31

                                                                        16   dated June 15, 2021 at 5:41 p.m.                                10:11:36

                                                                        17           (D. White Deposition Exhibit 14 was marked              10:11:36

                                                                        18   for identification and attached to the                          10:11:36

                                                                        19   transcript.)                                                    10:11:36

                                                                        20   BY MR. STERN:                                                   10:11:36

                                                                        21       Q   Do you see this e-mail?                                 10:11:50

                                                                        22       A   Not yet, sir.                                           10:11:53


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 110 of 263

                                                                                                    Conducted on November 29, 2021     108

                                                                        1              MR. BOSHEA:     Hey Greg, out of respect to           10:12:06

                                                                        2    Dan White can we take a break?                                  10:12:09

                                                                        3              MR. JORDAN:     Honestly, Stephen, I was              10:12:11

                                                                        4    thinking the same thing.           We've been going for         10:12:12

                                                                        5    about an hour and 45 minutes.                                   10:12:13

                                                                        6              MR. BOSHEA:     This is just ridiculous.              10:12:20

                                                                        7              MR. JORDAN:     David.     David.   David,            10:12:20

                                                                        8    please.     I actually think it would probably be a             10:12:21

                                                                        9    good idea if we've been going an hour and                       10:12:22

                                                                        10   45 minutes to take a break.                                     10:12:25

                                                                        11             MR. STERN:     After we finish with this              10:12:25

                                                                        12   exhibit.                                                        10:12:25

                                                                        13             MR. JORDAN:     If you want to have him               10:12:27

                                                                        14   answer questions with regard to the exhibit and                 10:12:28

                                                                        15   then after that if we can take a break that would               10:12:30

                                                                        16   be great.                                                       10:12:33

                                                                        17             MR. STERN:     We'll take a short break,              10:12:33

                                                                        18   that's fine.                                                    10:12:34

                                                                        19   BY MR. STERN:                                                   10:12:35

                                                                        20       Q     Mr. White, do you see this e-mail from                10:12:36

                                                                        21   Mr. Boshea to you on January -- June 15, 2021 at                10:12:37

                                                                        22   5:41 p.m.?                                                      10:12:43


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 111 of 263

                                                                                                 Conducted on November 29, 2021     109

                                                                        1        A   I see the e-mail that you put up on the              10:12:46

                                                                        2    screen, yes, sir.                                            10:12:48

                                                                        3        Q   And it says "I drafted interrogatories and           10:12:49

                                                                        4    document requests for Compass to answer," do you             10:12:51

                                                                        5    see that?                                                    10:12:55

                                                                        6        A   I see the e-mail that you forwarded.                 10:12:55

                                                                        7        Q   Did you review the interrogatories and               10:12:59

                                                                        8    document requests that Mr. Boshea drafted?                   10:13:01

                                                                        9        A   I do not remember doing so.                          10:13:05

                                                                        10       Q   Did you discuss with Mr. Boshea the                  10:13:09

                                                                        11   interrogatories he drafted or document requests              10:13:13

                                                                        12   that he drafted?                                             10:13:15

                                                                        13       A   I do not remember doing so.                          10:13:16

                                                                        14       Q   Do you know why he sent you the                      10:13:20

                                                                        15   interrogatories and document requests that he                10:13:23

                                                                        16   drafted?                                                     10:13:25

                                                                        17           MR. MARCUS:    Objection, assumes facts not          10:13:26

                                                                        18   in evidence.                                                 10:13:28

                                                                        19       A   I do not know why.      Mr. Jordan certainly         10:13:30

                                                                        20   does not need my help.                                       10:13:32

                                                                        21   BY MR. STERN:                                                10:13:40

                                                                        22       Q   If your help was not needed do you know              10:13:40


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 112 of 263

                                                                                                  Conducted on November 29, 2021        110

                                                                        1    why then Mr. Jordan and Mr. Boshea continued to                  10:13:42

                                                                        2    send you many e-mails throughout this case?                      10:13:46

                                                                        3            MR. MARCUS:     Objection, assumes facts not             10:13:49

                                                                        4    in evidence, calls for speculation.          Answer.             10:13:51

                                                                        5        A   I do not --                                              10:13:55

                                                                        6            MR. STERN:     Mr. White produced about a                10:13:55

                                                                        7    thousand pages of material about his                             10:13:58

                                                                        8    communications in this case.        I would like to know         10:14:00

                                                                        9    if he didn't have -- if they don't need any help                 10:14:03

                                                                        10   why was he communicating so extensively with                     10:14:06

                                                                        11   Mr. Boshea and Mr. Jordan?                                       10:14:09

                                                                        12           MR. MARCUS:     I don't think that the                   10:14:10

                                                                        13   deponent is in a position to answer why other                    10:14:12

                                                                        14   people do things.                                                10:14:15

                                                                        15   BY MR. STERN:                                                    10:14:16

                                                                        16       Q   Go ahead, Mr. White.                                     10:14:17

                                                                        17       A   I do not know why.                                       10:14:18

                                                                        18       Q   So each of the e-mail communications from                10:14:20

                                                                        19   Mr. Boshea to Mr. Jordan were unsolicited?                       10:14:23

                                                                        20           MR. MARCUS:     Mr. Stern, if you're going to            10:14:27

                                                                        21   ask him questions and you want him to answer it                  10:14:29

                                                                        22   you got to let him do that.                                      10:14:29


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 113 of 263

                                                                                                  Conducted on November 29, 2021     111

                                                                        1            MR. STERN:     I didn't hear him talking.             10:14:31

                                                                        2    He's got to speak up then.                                    10:14:33

                                                                        3            MR. MARCUS:     Either that or you got to             10:14:36

                                                                        4    listen before you start speaking.                             10:14:37

                                                                        5            MR. STERN:     He's got to speak up.                  10:14:40

                                                                        6            MR. MARCUS:     Okay.    Well, obviously you          10:14:42

                                                                        7    want a full record.      If that's not the intention          10:14:44

                                                                        8    then cut him off.                                             10:14:47

                                                                        9            MR. STERN:     Speak up.    I can't hear.             10:14:48

                                                                        10   BY MR. STERN:                                                 10:14:48

                                                                        11       Q   Mr. White?                                            10:14:50

                                                                        12           MR. JORDAN:     Stephen, can you just restate         10:14:51

                                                                        13   the question and then we'll just go from there?               10:14:53

                                                                        14   It will probably save a lot of time.                          10:14:56

                                                                        15       A   Would you say the question again?                     10:15:01

                                                                        16   BY MR. STERN:                                                 10:15:02

                                                                        17       Q   Is it your position that these                        10:15:03

                                                                        18   communications from Mr. Jordan and Mr. Boshea were            10:15:04

                                                                        19   unsolicited?                                                  10:15:09

                                                                        20           MR. MARCUS:     Objection, assumes facts not          10:15:09

                                                                        21   in evidence.    Answer please.                                10:15:12

                                                                        22       A   This one was.      You would have to ask me           10:15:13


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 114 of 263

                                                                                                 Conducted on November 29, 2021       112

                                                                        1    about each specific one.                                       10:15:16

                                                                        2        Q     We've gone through several e-mail                    10:15:19

                                                                        3    communications here.                                           10:15:21

                                                                        4              Were each of the ones that we've discussed           10:15:21

                                                                        5    today unsolicited?                                             10:15:23

                                                                        6              MR. MARCUS:   Objection, compound question.          10:15:25

                                                                        7    Answer as best you can, please.                                10:15:30

                                                                        8        A     I can't remember every e-mail that we've             10:15:31

                                                                        9    looked at, sir.                                                10:15:34

                                                                        10   BY MR. STERN:                                                  10:15:35

                                                                        11       Q     So some e-mails were solicited and some              10:15:35

                                                                        12   were not solicited?                                            10:15:37

                                                                        13       A     I do not know.                                       10:15:38

                                                                        14       Q     Did you solicit any e-mail communications            10:15:40

                                                                        15   from Mr. Jordan?                                               10:15:42

                                                                        16             MR. MARCUS:   Objection.                             10:15:44

                                                                        17       A     I do not remember doing so.                          10:15:48

                                                                        18   BY MR. STERN:                                                  10:15:50

                                                                        19       Q     Did you solicit any e-mail communications            10:15:50

                                                                        20   from Mr. Boshea?                                               10:15:53

                                                                        21             MR. MARCUS:   Objection to form.      Answer         10:15:57

                                                                        22   please.                                                        10:15:58


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 115 of 263

                                                                                                  Conducted on November 29, 2021          113

                                                                        1        A   I do not remember.                                         10:15:58

                                                                        2            MR. STERN:     We'll take a short break here.              10:16:00

                                                                        3            THE VIDEOGRAPHER:      We are now going off                10:16:04

                                                                        4    the record.     This will end disk one and the time                10:16:06

                                                                        5    is 10:17 a.m.                                                      10:16:08

                                                                        6            (A brief recess was taken.)                                10:16:10

                                                                        7            THE VIDEOGRAPHER:      This will begin disk                10:31:26

                                                                        8    number two.     We are now back on the record.         The         10:31:33

                                                                        9    time is 10:32 a.m.                                                 10:31:35

                                                                        10           MR. STERN:     All right, thank you.       We're           10:31:37

                                                                        11   going to start with another exhibit Bates labeled                  10:31:38

                                                                        12   DJW 000543.     It's an e-mail string with the                     10:31:41

                                                                        13   most -- the original e-mail dated September 20,                    10:31:49

                                                                        14   2021 at 9:47 p.m. and the most recent being from                   10:31:53

                                                                        15   Mr. Boshea to Mr. White dated September 25, 2021                   10:31:56

                                                                        16   at 12:49 a.m.                                                      10:32:01

                                                                        17           MR. MARCUS:     You were not even audible for              10:32:06

                                                                        18   that entire statement.                                             10:32:08

                                                                        19           MR. STERN:     Okay, then I'll say it again.               10:32:10

                                                                        20   DJW 000543.     The original e-mail in that string is              10:32:12

                                                                        21   dated September 20, 2021 at 9:47 p.m.          The most            10:32:17

                                                                        22   recent of which in that string is dated September                  10:32:21


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 116 of 263

                                                                                                Conducted on November 29, 2021     114

                                                                        1    25, 2021 at 12:49 a.m.                                      10:32:25

                                                                        2            (D. White Deposition Exhibit 15 was marked          10:32:25

                                                                        3    for identification and attached to the                      10:32:25

                                                                        4    transcript.)                                                10:32:25

                                                                        5    BY MR. STERN:                                               10:32:25

                                                                        6        Q   Do you see that e-mail, Mr. White?                  10:32:36

                                                                        7        A   I do see it.                                        10:32:38

                                                                        8        Q   The original e-mail in that string is from          10:32:40

                                                                        9    Mr. Jordan to me and my colleague, Ms. Yeung with           10:32:42

                                                                        10   a copy to Mr. Gagliardo and attached Mr. Boshea's           10:32:47

                                                                        11   Amended Answers to Interrogatories, is that what            10:32:55

                                                                        12   it says?                                                    10:32:56

                                                                        13       A   It says -- I mean that's a pretty good              10:32:58

                                                                        14   summary of it.                                              10:33:00

                                                                        15       Q   And then it's forwarded to you by                   10:33:00

                                                                        16   Mr. Boshea?                                                 10:33:02

                                                                        17       A   Appears to be.                                      10:33:03

                                                                        18       Q   And in that e-mail from Mr. Boshea it says          10:33:04

                                                                        19   "Please review as a friend"?                                10:33:07

                                                                        20       A   That's what it says.                                10:33:10

                                                                        21       Q   Did you review the Answers to                       10:33:11

                                                                        22   Interrogatories?                                            10:33:16


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 117 of 263

                                                                                                  Conducted on November 29, 2021      115

                                                                        1        A   I don't remember doing that.                           10:33:16

                                                                        2        Q   Do you know why Mr. Boshea forwarded you               10:33:17

                                                                        3    the Answers to Interrogatories?                                10:33:20

                                                                        4            MR. JORDAN:     Objection, foundation.                 10:33:23

                                                                        5            MR. MARCUS:     Calls for speculation.                 10:33:27

                                                                        6    Answer please.                                                 10:33:28

                                                                        7            MR. JORDAN:     Stephen, I just want to note           10:33:30

                                                                        8    that I sent -- we sent you David Boshea's original             10:33:32

                                                                        9    e-mails so -- in native form so -- I think so to               10:33:37

                                                                        10   the extent that there are attachments you might                10:33:43

                                                                        11   want to use David Boshea's e-mails.                            10:33:46

                                                                        12           MR. STERN:     I'm just asking him -- thank            10:33:52

                                                                        13   you for the advice.      I'll ask the questions the            10:33:55

                                                                        14   way I want.                                                    10:33:56

                                                                        15           MR. JORDAN:     That's fine.     Totally fine.         10:33:58

                                                                        16   BY MR. STERN:                                                  10:33:59

                                                                        17       Q   Mr. White, do you know why Mr. Boshea                  10:34:00

                                                                        18   forwarded you his Answers to Interrogatories?                  10:34:02

                                                                        19           MR. MARCUS:     Objection.     Answer.                 10:34:06

                                                                        20       A   I do not know why David sent them.                     10:34:08

                                                                        21   BY MR. STERN:                                                  10:34:13

                                                                        22       Q   Did you have an understanding or                       10:34:13


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 118 of 263

                                                                                                    Conducted on November 29, 2021         116

                                                                        1    expectation with Mr. Boshea that you would review                   10:34:16

                                                                        2    discovery responses in this litigation?                             10:34:19

                                                                        3              MR. MARCUS:     Objection, compound.       Answer         10:34:21

                                                                        4    please.                                                             10:34:23

                                                                        5        A     I don't remember doing that.                              10:34:23

                                                                        6    BY MR. STERN:                                                       10:34:31

                                                                        7        Q     Did you respond to Mr. Boshea's request to                10:34:31

                                                                        8    review these Answers to Interrogatories?                            10:34:34

                                                                        9        A     I do not remember.                                        10:34:38

                                                                        10       Q     Is there something that would help you                    10:34:44

                                                                        11   remember?                                                           10:34:46

                                                                        12       A     I do not know.                                            10:34:50

                                                                        13             MR. STERN:     I'm going to show you a new                10:34:56

                                                                        14   exhibit.     The court reporting service, I guess you               10:34:58

                                                                        15   can keep track of all the numbers when you send                     10:35:05

                                                                        16   the transcript.                                                     10:35:07

                                                                        17             MR. JORDAN:     The next one will be 16,                  10:35:08

                                                                        18   Stephen.                                                            10:35:10

                                                                        19             MR. STERN:     All right, thank you.                      10:35:11

                                                                        20             DJW 000831 through 835.        It is an e-mail            10:35:13

                                                                        21   spread, the original being dated July 1, 2021 at                    10:35:25

                                                                        22   8:44 a.m. with an attachment and the most recent                    10:35:32


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 119 of 263

                                                                                                Conducted on November 29, 2021     117

                                                                        1    is July 1, 2021 at 1:04 p.m.                                10:35:37

                                                                        2            (D. White Deposition Exhibit 16 was marked          10:35:37

                                                                        3    for identification and attached to the                      10:35:37

                                                                        4    transcript.)                                                10:35:37

                                                                        5    BY MR. STERN:                                               10:35:37

                                                                        6        Q   Do you see this e-mail, Mr. White?                  10:35:49

                                                                        7            MR. MARCUS:   We are now -- we just got it.         10:35:52

                                                                        8    We'll take a look at it.                                    10:35:53

                                                                        9            (Pause in the proceedings.)                         10:36:19

                                                                        10   BY MR. STERN:                                               10:36:19

                                                                        11       Q   Have you had the opportunity to review              10:36:20

                                                                        12   this, Mr. White?                                            10:36:21

                                                                        13           MR. MARCUS:   We're doing it.                       10:36:23

                                                                        14           (Pause in the proceedings.)                         10:36:36

                                                                        15       A   Yeah, I've read the e-mail.                         10:36:36

                                                                        16   BY MR. STERN:                                               10:36:40

                                                                        17       Q   It's Mr. Boshea forwarding to you an order          10:36:40

                                                                        18   for a settlement conference in this lawsuit,                10:36:44

                                                                        19   correct?                                                    10:36:46

                                                                        20       A   What it appears to be.                              10:36:48

                                                                        21       Q   Do you know why Mr. Boshea forwarded you            10:36:52

                                                                        22   the order for a settlement conference in this               10:36:54


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 120 of 263

                                                                                               Conducted on November 29, 2021       118

                                                                        1    lawsuit?                                                     10:36:57

                                                                        2            MR. JORDAN:   Objection, calls for                   10:36:58

                                                                        3    speculation.                                                 10:37:00

                                                                        4            MR. MARCUS:   Objection.    Answer please.           10:37:00

                                                                        5        A   I do not know why.                                   10:37:01

                                                                        6    BY MR. STERN:                                                10:37:03

                                                                        7        Q   Did you have an understanding or                     10:37:03

                                                                        8    expectation with Mr. Boshea that you'd discuss               10:37:04

                                                                        9    settlement negotiations in this lawsuit with him?            10:37:06

                                                                        10           MR. JORDAN:   Objection, vague.     I'm not          10:37:11

                                                                        11   sure whose expectation you're referring to.                  10:37:13

                                                                        12           MR. MARCUS:   Objection.    I think you want         10:37:15

                                                                        13   to try that question again.                                  10:37:19

                                                                        14   BY MR. STERN:                                                10:37:20

                                                                        15       Q   Mr. White, did you have an understanding             10:37:21

                                                                        16   or expectation that you would discuss settlement             10:37:22

                                                                        17   negotiations with Mr. Boshea in this lawsuit?                10:37:25

                                                                        18           MR. MARCUS:   Objection.                             10:37:28

                                                                        19           MR. JORDAN:   Objection, confusing.                  10:37:29

                                                                        20       A   I don't remember any such agreement.                 10:37:31

                                                                        21   BY MR. STERN:                                                10:37:35

                                                                        22       Q   Did you expect to discuss some                       10:37:36


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 121 of 263

                                                                                                 Conducted on November 29, 2021          119

                                                                        1    negotiations in this lawsuit with Mr. Boshea?                     10:37:39

                                                                        2            MR. MARCUS:    Objection.     Answer please.              10:37:43

                                                                        3        A   I do not think so.                                        10:37:45

                                                                        4    BY MR. STERN:                                                     10:37:48

                                                                        5        Q   Did you ask to see any settlement                         10:37:48

                                                                        6    discussions or writings in this lawsuit from                      10:37:51

                                                                        7    Mr. Boshea?                                                       10:37:55

                                                                        8            MR. MARCUS:    Objection.     I'm not sure how            10:37:56

                                                                        9    he could see discussions.                                         10:38:01

                                                                        10       A   I do not remember doing that.                             10:38:04

                                                                        11   BY MR. STERN:                                                     10:38:07

                                                                        12       Q   Did you discuss settlement with Mr. Boshea                10:38:08

                                                                        13   in this lawsuit?                                                  10:38:11

                                                                        14       A   I do not remember doing so.                               10:38:15

                                                                        15       Q   Did you have a reaction to seeing this                    10:38:17

                                                                        16   order that's attached to this e-mail thread?                      10:38:20

                                                                        17           MR. JORDAN:    Objection, vague.      I don't             10:38:26

                                                                        18   know what reaction means.                                         10:38:28

                                                                        19           MR. MARCUS:    Counsel, you know I'm sitting              10:38:31

                                                                        20   here trying to give you as much latitude as                       10:38:34

                                                                        21   possible.     These are July 2021 discussions.        The         10:38:37

                                                                        22   representation was that there was a contract in                   10:38:41


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 122 of 263

                                                                                                  Conducted on November 29, 2021    120

                                                                        1    2007 and I'm having a hard time figuring out what            10:38:44

                                                                        2    the relationship is between the complaint that's             10:38:49

                                                                        3    filed and the actions that are pending before the            10:38:51

                                                                        4    court and settlement discussions that were taking            10:38:53

                                                                        5    place in July and what the relationship of those             10:38:55

                                                                        6    two things might be in the legitimate pursuit of             10:38:58

                                                                        7    discovery.                                                   10:39:02

                                                                        8            MR. STERN:     Mr. Marcus, please stop your          10:39:02

                                                                        9    speaking objections.                                         10:39:04

                                                                        10   BY MR. STERN:                                                10:39:06

                                                                        11       Q   Mr. White, did you have a reaction to                10:39:07

                                                                        12   seeing the settlement order -- or an order of a              10:39:09

                                                                        13   settlement conference from Mr. Boshea?                       10:39:12

                                                                        14           MR. MARCUS:     Objection.                           10:39:16

                                                                        15       A   I do not remember a specific reaction to             10:39:17

                                                                        16   this e-mail.                                                 10:39:20

                                                                        17   BY MR. STERN:                                                10:39:22

                                                                        18       Q   Did you have any discussions with                    10:39:22

                                                                        19   Mr. Jordan about settlement in this lawsuit?                 10:39:24

                                                                        20           MR. MARCUS:     Objection.                           10:39:29

                                                                        21       A   I do not remember any specific discussions           10:39:31

                                                                        22   with Mr. Jordan about settlement in this lawsuit.            10:39:33


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 123 of 263

                                                                                                  Conducted on November 29, 2021    121

                                                                        1            MR. STERN:     I'm going to show you a new           10:39:38

                                                                        2    e-mail thread, DJW 000312 through 318 -- I'm                 10:39:40

                                                                        3    sorry, 319.     It's an e-mail thread with the most          10:39:50

                                                                        4    recent being September 13, 2021 at 5:33 p.m.                 10:39:54

                                                                        5            (D. White Deposition Exhibit 17 was marked           10:39:54

                                                                        6    for identification and attached to the                       10:39:54

                                                                        7    transcript.)                                                 10:40:15

                                                                        8    BY MR. STERN:                                                10:40:15

                                                                        9        Q   Do you see this e-mail from Mr. Jordan to            10:40:15

                                                                        10   you with a copy to Michael White and David Boshea?           10:40:18

                                                                        11           MR. MARCUS:     We're just getting it now.           10:40:21

                                                                        12       A   I see that e-mail.                                   10:40:49

                                                                        13   BY MR. STERN:                                                10:40:51

                                                                        14       Q   It opens with "When we spoke recently."              10:40:52

                                                                        15           Do you remember talking with Mr. Boshea --           10:40:56

                                                                        16   I mean Mr. Jordan about FBI agents?                          10:40:58

                                                                        17       A   No.                                                  10:41:05

                                                                        18       Q   Did you discuss FBI agents with                      10:41:07

                                                                        19   Mr. Jordan?                                                  10:41:12

                                                                        20       A   I do not recall doing so.                            10:41:14

                                                                        21       Q   Do you think Mr. Jordan is making this up            10:41:16

                                                                        22   in this e-mail to you where he said "When we spoke           10:41:20


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 124 of 263

                                                                                                  Conducted on November 29, 2021        122

                                                                        1    recently, you mentioned that you believed you knew               10:41:25

                                                                        2    one or more former FBI agents"?                                  10:41:25

                                                                        3            MR. JORDAN:     Objection to speculating.                10:41:29

                                                                        4            MR. MARCUS:     And it misstates the                     10:41:31

                                                                        5    document.     The question misstates the document.               10:41:35

                                                                        6    BY MR. STERN:                                                    10:41:37

                                                                        7        Q   Mr. White, do you think Mr. Jordan made                  10:41:38

                                                                        8    that up?                                                         10:41:41

                                                                        9        A   No, I do not but I would not know that.        I         10:41:42

                                                                        10   do not think he made it up.                                      10:41:46

                                                                        11       Q   Did you offer any suggestions about FBI                  10:41:48

                                                                        12   agents to Mr. Boshea or Mr. Jordan regarding                     10:41:52

                                                                        13   experts on signatures?                                           10:41:54

                                                                        14       A   No, sir, not that I recall.                              10:41:56

                                                                        15       Q   Do you know why he asked you for those                   10:42:00

                                                                        16   recommendations?                                                 10:42:04

                                                                        17       A   I do not know.      Let me -- would you                  10:42:06

                                                                        18   clarify your question?                                           10:42:12

                                                                        19           MR. STERN:     Can you read the question                 10:42:15

                                                                        20   back, court reporter?                                            10:42:16

                                                                        21           (The previous question was read as                       10:42:16

                                                                        22   requested.)                                                      10:42:26


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 125 of 263

                                                                                                  Conducted on November 29, 2021       123

                                                                        1           A   So we spoke about an expert witness in               10:42:26

                                                                        2    handwriting.                                                    10:42:31

                                                                        3    BY MR. STERN:                                                   10:42:33

                                                                        4           Q   And do you believe that -- was someone               10:42:33

                                                                        5    speaking?                                                       10:42:42

                                                                        6               MR. MARCUS:   The deponent was speaking              10:42:42

                                                                        7    when you started to ask the next question.                      10:42:45

                                                                        8    BY MR. STERN:                                                   10:42:47

                                                                        9           Q   Go ahead, Mr. White.                                 10:42:48

                                                                        10          A   We spoke about how to find a handwriting             10:42:49

                                                                        11   expert and if I knew any and I think                            10:42:53

                                                                        12   (inaudible) --                                                  10:43:00

                                                                        13          Q   About how many times have you discussed              10:43:00

                                                                        14   this lawsuit with Mr. Jordan?                                   10:43:02

                                                                        15          A   I do not remember.     I do not remember the         10:43:03

                                                                        16   exact number of times.                                          10:43:09

                                                                        17          Q   Approximately how many times have you                10:43:12

                                                                        18   spoke with Mr. Jordan about this lawsuit?                       10:43:13

                                                                        19              MR. MARCUS:   Objection.    Answer if you            10:43:16

                                                                        20   can.                                                            10:43:19

                                                                        21          A   Approximately ten.                                   10:43:19

                                                                        22


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                                                                                                        Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 126 of 263

                                                                                                      Conducted on November 29, 2021          124

                                                                        1    BY MR. STERN:                                                          10:43:24

                                                                        2           Q    Besides discussing expert witnesses, what                  10:43:24

                                                                        3    other subjects did you discuss with Mr. Jordan                         10:43:28

                                                                        4    about this lawsuit?                                                    10:43:31

                                                                        5                MR. MARCUS:     Objection to the form of the               10:43:34

                                                                        6    question.       Answer please.                                         10:43:35

                                                                        7           A    I remember discussing an expert witness.                   10:43:38

                                                                        8    I remember discussing local counsel and I don't                        10:43:41

                                                                        9    know if I discussed the e-mail that I sent him or                      10:43:52

                                                                        10   not.       I don't remember the details of our other                   10:43:55

                                                                        11   discussions.                                                           10:43:59

                                                                        12               MR. STERN:     I want to pivot to that e-mail              10:44:02

                                                                        13   that you mentioned, DJW 00001 through 8.               It's an         10:44:06

                                                                        14   e-mail thread, the most recent of which is from                        10:44:21

                                                                        15   you to Greg Jordan dated September 27, 2021 at                         10:44:24

                                                                        16   4:58 p.m.       The original in this thread purports to                10:44:30

                                                                        17   be an e-mail dated May 22, 2007 at 1:24.               Appears         10:44:34

                                                                        18   to be a.m.                                                             10:44:41

                                                                        19               (D. White Deposition Exhibit 18 was marked                 10:44:41

                                                                        20   for identification and attached to the                                 10:44:41

                                                                        21   transcript.)                                                           10:44:46

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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 127 of 263

                                                                                               Conducted on November 29, 2021         125

                                                                        1    BY MR. STERN:                                                  10:44:46

                                                                        2        Q   Do you see that e-mail?                                10:44:47

                                                                        3        A   I'm looking at it now, sir.                            10:44:48

                                                                        4        Q   Do you see this e-mail thread?                         10:45:02

                                                                        5            MR. MARCUS:   We are looking at it.         It         10:45:05

                                                                        6    appears to be eight pages long.                                10:45:06

                                                                        7        A   I've had a chance to review it, sir.                   10:45:36

                                                                        8    BY MR. STERN:                                                  10:45:38

                                                                        9        Q   Is this the e-mail thread you were                     10:45:38

                                                                        10   referring to that you possibly had overlooked when             10:45:40

                                                                        11   you wrote your motion?                                         10:45:46

                                                                        12       A   Well, the second part -- it's kind of a                10:45:53

                                                                        13   complicated question but this e-mail I did not                 10:45:58

                                                                        14   remember having received until I searched my                   10:46:01

                                                                        15   e-mail and I found it.                                         10:46:04

                                                                        16           Is that an answer to your question?                    10:46:05

                                                                        17       Q   Why did you search your e-mail to look for             10:46:06

                                                                        18   this -- for this e-mail thread?                                10:46:09

                                                                        19       A   Well, because I had a subpoena from you.               10:46:17

                                                                        20       Q   And when did you look for this e-mail?                 10:46:24

                                                                        21       A   I spent a lot of time looking for e-mails.             10:46:30

                                                                        22       Q   When did you look for this e-mail?                     10:46:33


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 128 of 263

                                                                                                  Conducted on November 29, 2021             126

                                                                        1        A     I didn't look for this specific e-mail                      10:46:38

                                                                        2    because I didn't know this specific e-mail existed                    10:46:40

                                                                        3    but I looked for e-mails responsive to your                           10:46:43

                                                                        4    subpoena over a period of time, a couple of                           10:46:47

                                                                        5    months.                                                               10:46:50

                                                                        6        Q     And you found this e-mail sometime prior                    10:46:51

                                                                        7    to September 27, 2021?                                                10:46:55

                                                                        8        A     That's correct.    I found it before I sent                 10:47:00

                                                                        9    it to Mr. Jordan.      Is that what you asked me?                     10:47:03

                                                                        10       Q     Yes.                                                        10:47:03

                                                                        11       A     Okay.   Yes, I found it before I sent it to                 10:47:08

                                                                        12   Mr. Jordan.                                                           10:47:10

                                                                        13       Q     And this was found in your personal e-mail                  10:47:11

                                                                        14   account, danieljwhite@msn.com, correct?                               10:47:14

                                                                        15       A     That's correct, sir.                                        10:47:22

                                                                        16       Q     And the original e-mail in this thread is                   10:47:23

                                                                        17   dated May 22, 2007, correct?                                          10:47:26

                                                                        18       A     That is correct.    It appears to be.                       10:47:33

                                                                        19       Q     Appears to be?                                              10:47:39

                                                                        20       A     Yes, that's the date on the e-mail.                         10:47:40

                                                                        21       Q     Now, how did you come to -- were you one                    10:47:43

                                                                        22   of the addressees -- well, let me go back.             Let me         10:47:47


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 129 of 263

                                                                                                 Conducted on November 29, 2021     127

                                                                        1    ask a different question.                                    10:47:51

                                                                        2            Did you send the e-mail that purports to             10:47:52

                                                                        3    be dated May 22, 2007 at 1:24?                               10:47:55

                                                                        4        A   I received it at 1:24 a.m.                           10:48:01

                                                                        5        Q   You received it?     You're not an addressee         10:48:05

                                                                        6    on the e-mail.     How did you receive it?                   10:48:07

                                                                        7        A   By blind copy.                                       10:48:12

                                                                        8        Q   So the sender of that e-mail blind copied            10:48:14

                                                                        9    you, is that what you're saying?                             10:48:18

                                                                        10       A   I don't remember exactly but that would              10:48:23

                                                                        11   comport with the e-mail.      That would answer your         10:48:27

                                                                        12   question.   I don't know what the sender did, who            10:48:31

                                                                        13   he blind copied.                                             10:48:34

                                                                        14       Q   Well, how did you receive it?                        10:48:35

                                                                        15       A   I received it from                                   10:48:37

                                                                        16   jwhite@compassmarketinginc.com.                              10:48:39

                                                                        17       Q   And you received it directly from                    10:48:43

                                                                        18   jwhite@compassmarketinginc.com?                              10:48:45

                                                                        19       A   I don't remember receiving it but that's             10:48:48

                                                                        20   what the e-mail would reflect.                               10:48:51

                                                                        21       Q   So you have no recollection of receiving             10:48:53

                                                                        22   this e-mail.                                                 10:48:55


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 130 of 263

                                                                                               Conducted on November 29, 2021     128

                                                                        1            How does it reflect that you received a            10:48:56

                                                                        2    BCC copy of it?   I do not see a BCC recipient on          10:49:00

                                                                        3    here.                                                      10:49:04

                                                                        4        A   I don't know the answer to your question.          10:49:04

                                                                        5    I mean I don't know the answer.                            10:49:06

                                                                        6        Q   So you don't know how you received this?           10:49:10

                                                                        7    You're only guessing you received a BCC copy if            10:49:12

                                                                        8    I'm understanding you correctly?                           10:49:15

                                                                        9            MR. MARCUS:   Objection, argumentative.            10:49:17

                                                                        10       A   That's correct.                                    10:49:20

                                                                        11   BY MR. STERN:                                              10:49:25

                                                                        12       Q   So I want to make sure that I understand           10:49:25

                                                                        13   when you say "that's correct."                             10:49:27

                                                                        14           You're guessing that you were a BCC                10:49:29

                                                                        15   recipient; is that correct?                                10:49:31

                                                                        16       A   Well, I don't think guess is a fair word           10:49:34

                                                                        17   but I'm not positive.                                      10:49:37

                                                                        18       Q   You have no specific recollection of               10:49:39

                                                                        19   receiving a BCC copy of this e-mail; is that               10:49:41

                                                                        20   correct?                                                   10:49:47

                                                                        21       A   I have no specific recollection of                 10:49:47

                                                                        22   receiving this e-mail.                                     10:49:49


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 131 of 263

                                                                                                   Conducted on November 29, 2021        129

                                                                        1        Q    And why is it that you have not produced                 10:49:51

                                                                        2    that original e-mail that you claim to have                       10:49:55

                                                                        3    received?                                                         10:49:59

                                                                        4             MR. JORDAN:     Objection.     I believe that            10:50:02

                                                                        5    Mr. Marcus produced it yesterday.                                 10:50:04

                                                                        6             MR. STERN:     He did not.                               10:50:07

                                                                        7    BY MR. STERN:                                                     10:50:07

                                                                        8        Q    Mr. White?                                               10:50:17

                                                                        9        A    I'm sorry, could you ask me your question                10:50:17

                                                                        10   again, Mr. Stern?                                                 10:50:19

                                                                        11       Q    Why did you not produce in native format                 10:50:21

                                                                        12   the e-mail that's dated May 22, 2007 at 1:24?                     10:50:25

                                                                        13       A    In native format is a new part of your                   10:50:31

                                                                        14   question.    That's why I didn't understand.            I         10:50:36

                                                                        15   produced it as best that I could.                                 10:50:38

                                                                        16       Q    I'm sorry, I can't hear you.                             10:50:39

                                                                        17       A    I did produce it in the format that I                    10:50:42

                                                                        18   could.                                                            10:50:44

                                                                        19       Q    So you have the original e-mail in your                  10:50:44

                                                                        20   inbox from jwhite@compassmarketinginc.com to                      10:50:47

                                                                        21   golf4me36@aol.com?                                                10:50:57

                                                                        22       A    No, sir.                                                 10:51:02


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 132 of 263

                                                                                                  Conducted on November 29, 2021     130

                                                                        1           Q   So you did not produce that e-mail in              10:51:03

                                                                        2    native format, correct?                                       10:51:05

                                                                        3           A   Not correct.                                       10:51:06

                                                                        4           Q   Well, I'm contused.                                10:51:07

                                                                        5               Did you produce this e-mail by itself              10:51:10

                                                                        6    without any other e-mails in the thread?                      10:51:15

                                                                        7           A   That e-mail does not appear -- no, I did           10:51:20

                                                                        8    not.                                                          10:51:23

                                                                        9           Q   So you did not produce that e-mail in              10:51:24

                                                                        10   native format, correct?                                       10:51:28

                                                                        11          A   That e-mail does not appear in my inbox by         10:51:31

                                                                        12   itself.      It appears as part of the thread that I          10:51:35

                                                                        13   sent to Michael White.                                        10:51:39

                                                                        14          Q   Now, why does that e-mail not exist in             10:51:40

                                                                        15   your account by itself?                                       10:51:43

                                                                        16              MR. MARCUS:    Objection.   Answer please.         10:51:46

                                                                        17          A   I do not have the IT background to answer          10:51:48

                                                                        18   that question, Mr. Stern.                                     10:51:51

                                                                        19   BY MR. STERN:                                                 10:51:53

                                                                        20          Q   But you were able to find an e-mail in             10:51:53

                                                                        21   your account 44 minutes later, correct?                       10:51:56

                                                                        22          A   What?                                              10:52:05


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 133 of 263

                                                                                                    Conducted on November 29, 2021    131

                                                                        1          Q     The one from you to Michael White on May           10:52:05

                                                                        2    22, 2007 at 2:08 a.m.                                          10:52:11

                                                                        3          A     There's only one e-mail in my account.             10:52:14

                                                                        4    It's the one I sent to Mike and it has the part                10:52:17

                                                                        5    from John as part of it.         I only have one file.         10:52:20

                                                                        6          Q     And that one is 44 minutes after the               10:52:22

                                                                        7    original e-mail in this thread, correct?                       10:52:24

                                                                        8          A     I would have to calculate it but it sounds         10:52:27

                                                                        9    right.                                                         10:52:32

                                                                        10         Q     So you have the one at 2:08 a.m. in your           10:52:32

                                                                        11   account but not the one at 1:24 a.m. in your                   10:52:35

                                                                        12   account; is that correct?                                      10:52:38

                                                                        13         A     In my account it appears as a single               10:52:41

                                                                        14   conversation, that's correct.                                  10:52:44

                                                                        15         Q     And why did you forward that e-mail to             10:52:47

                                                                        16   Michael at 2:08 a.m.?                                          10:52:51

                                                                        17         A     In 2007?                                           10:52:55

                                                                        18         Q     In 2007.                                           10:52:56

                                                                        19         A     I don't remember doing so.       I don't           10:52:59

                                                                        20   remember getting it or reading it or forwarding                10:53:06

                                                                        21   it.       I don't remember that.                               10:53:09

                                                                        22         Q     Were you the general counsel of Compass            10:53:12


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 134 of 263

                                                                                                 Conducted on November 29, 2021     132

                                                                        1    Marketing at the time of this e-mail?                        10:53:15

                                                                        2        A   No, sir.                                             10:53:17

                                                                        3        Q   Do you know why John White would have                10:53:21

                                                                        4    BCC'd you on the original e-mail in this thread on           10:53:24

                                                                        5    May 22, 2007?                                                10:53:29

                                                                        6        A   I do not.                                            10:53:30

                                                                        7        Q   Was it customary for John White to BCC you           10:53:34

                                                                        8    on business related e-mails in May 2020 -- 2007?             10:53:38

                                                                        9            MR. MARCUS:    Objection.                            10:53:47

                                                                        10       A   It was -- did you say customary?                     10:53:47

                                                                        11           MR. MARCUS:    Yes.                                  10:53:52

                                                                        12       A   He often did it in all the 15 or 20 years            10:53:52

                                                                        13   we worked together.                                          10:53:56

                                                                        14   BY MR. STERN:                                                10:53:57

                                                                        15       Q   I'm talking about in May 2007.        Was it         10:53:57

                                                                        16   customary for him to BCC you on e-mails?                     10:54:01

                                                                        17           MR. MARCUS:    Objection to form.                    10:54:04

                                                                        18       A   It was not unusual for John to blind copy            10:54:10

                                                                        19   me on things.                                                10:54:13

                                                                        20   BY MR. STERN:                                                10:54:16

                                                                        21       Q   Were you expecting to receive this e-mail            10:54:17

                                                                        22   on May 22, 2007?                                             10:54:20


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 135 of 263

                                                                                                Conducted on November 29, 2021      133

                                                                        1        A   That was 15 years ago.      I don't remember         10:54:25

                                                                        2    getting the e-mail or reading the e-mail or                  10:54:28

                                                                        3    forwarding the e-mail or expecting the e-mail or             10:54:30

                                                                        4    talking about the e-mail or anything about the               10:54:34

                                                                        5    e-mail at all.                                               10:54:36

                                                                        6        Q   Did you have any discussions with John               10:54:37

                                                                        7    White about the employment agreement for                     10:54:40

                                                                        8    Mr. Boshea in or about May of 2007?                          10:54:44

                                                                        9        A   I do not remember.                                   10:54:49

                                                                        10       Q   Were you surprised to see this BCC e-mail            10:54:53

                                                                        11   in your inbox that you don't specifically remember           10:54:57

                                                                        12   receiving a BCC copy of?                                     10:55:02

                                                                        13           MR. MARCUS:   Objection.                             10:55:04

                                                                        14       A   I don't remember getting it so I don't               10:55:06

                                                                        15   remember being surprised by it.                              10:55:08

                                                                        16   BY MR. STERN:                                                10:55:14

                                                                        17       Q   Did you create the attachment that was in            10:55:14

                                                                        18   the e-mail from you to Michael White on May 22,              10:55:20

                                                                        19   2007?                                                        10:55:27

                                                                        20       A   No, sir, I do not remember doing that.               10:55:27

                                                                        21   Are you asking me if I created it in 2021 or 2007            10:55:33

                                                                        22   or --                                                        10:55:38


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 136 of 263

                                                                                               Conducted on November 29, 2021       134

                                                                        1        Q   Let me -- fair point.    Let me ask multiple         10:55:39

                                                                        2    questions then.                                              10:55:44

                                                                        3            Did you create the attachment to the                 10:55:46

                                                                        4    e-mail that you forwarded to Michael White on May            10:55:50

                                                                        5    22, 2007 at 2:08 a.m.?                                       10:55:54

                                                                        6        A   I do not believe that I did.                         10:55:59

                                                                        7        Q   Did you edit the attachment to the e-mail            10:56:01

                                                                        8    that you forwarded to Michael White on May 22,               10:56:10

                                                                        9    2007 at 2:08 a.m.?                                           10:56:13

                                                                        10       A   I do not believe that I did, Mr. Stern.              10:56:16

                                                                        11       Q   Is the attachment that was -- is the                 10:56:19

                                                                        12   attachment to the e-mail from you to Michael White           10:56:24

                                                                        13   dated May 22, 2007 at 2:08 a.m. the same                     10:56:27

                                                                        14   attachment that is in the e-mail that you                    10:56:35

                                                                        15   forwarded to Mr. Jordan on September 27, 2021 at             10:56:36

                                                                        16   4:48 p.m.?                                                   10:56:40

                                                                        17       A   When I found it I did not make any changes           10:56:43

                                                                        18   before I sent it to Mr. Jordan.                              10:56:45

                                                                        19           Does that answer your question?                      10:56:48

                                                                        20       Q   Did you remove the attachment from the               10:56:51

                                                                        21   e-mail dated May 22, 2007 at 2:08 a.m. and revise            10:56:55

                                                                        22   it in any way since then?                                    10:57:00


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 137 of 263

                                                                                                    Conducted on November 29, 2021         135

                                                                        1        A     So when I found it I sent it to                           10:57:05

                                                                        2    Mr. Jordan.     I did not make any alterations or                   10:57:09

                                                                        3    deletions or edits and I have not done so since                     10:57:13

                                                                        4    then.                                                               10:57:16

                                                                        5        Q     So your contention is that the attachment                 10:57:17

                                                                        6    to the e-mail that you forwarded to Mr. Jordan on                   10:57:19

                                                                        7    September 27, 2001 at 4:58 p.m. is the same exact                   10:57:23

                                                                        8    attachment that was in the e-mail that you                          10:57:29

                                                                        9    forwarded to Michael White on May 22, 2007 at                       10:57:32

                                                                        10   2:08 a.m. and that's also the same attachment that                  10:57:37

                                                                        11   was on the e-mail from                                              10:57:40

                                                                        12   jwhite@compassmarketinginc.com to                                   10:57:43

                                                                        13   golf4me36@aol.com on May 22, 2007 at 1:24 a.m.?                     10:57:50

                                                                        14             MR. MARCUS:     Objection.     He makes no                10:57:54

                                                                        15   contentions.     He's answering questions.                          10:57:56

                                                                        16             MR. STERN:     Is that his testimony?                     10:57:57

                                                                        17             MR. MARCUS:     His testimony is what the                 10:57:59

                                                                        18   court reporter has taken down.                                      10:58:00

                                                                        19   BY MR. STERN:                                                       10:58:01

                                                                        20       Q     Mr. White?                                                10:58:01

                                                                        21       A     Could you ask me that in little smaller                   10:58:03

                                                                        22   pieces?     I'm not trying to be difficult.          I just         10:58:06


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 138 of 263

                                                                                                  Conducted on November 29, 2021    136

                                                                        1    want to -- I haven't changed that e-mail.                    10:58:10

                                                                        2        Q   Is the attachment that was -- to the                 10:58:13

                                                                        3    e-mail on May 22, 2007 at 1:24 a.m. the same exact           10:58:16

                                                                        4    attachment to the e-mail that you forwarded to               10:58:24

                                                                        5    Mr. Jordan on September 27, 2021 at 4:58 p.m.?               10:58:29

                                                                        6        A   I haven't made any changes to it.                    10:58:36

                                                                        7        Q   Are you familiar with the concept of                 10:58:42

                                                                        8    metadata?                                                    10:58:44

                                                                        9        A   Generally.                                           10:58:45

                                                                        10       Q   Do you know what it is?                              10:58:47

                                                                        11       A   Generally.                                           10:58:48

                                                                        12       Q   What is your understanding of metadata?              10:58:50

                                                                        13       A   It's the source data for any mail that               10:58:55

                                                                        14   talks about where it was created and how.                    10:58:59

                                                                        15       Q   And same thing with Word documents,                  10:59:02

                                                                        16   correct?                                                     10:59:06

                                                                        17       A   As far as I know most electronic files,              10:59:07

                                                                        18   counsel.                                                     10:59:10

                                                                        19       Q   And so if we were to be able to examine              10:59:12

                                                                        20   the metadata attached to that original attachment,           10:59:14

                                                                        21   we would know when it was created and when it was            10:59:17

                                                                        22   altered, correct?                                            10:59:20


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 139 of 263

                                                                                                  Conducted on November 29, 2021      137

                                                                        1            MR. MARCUS:     Objection.     Are you asking          10:59:23

                                                                        2    him a technical question?                                      10:59:28

                                                                        3            MR. STERN:     I'm asking his understanding            10:59:30

                                                                        4    of metadata.                                                   10:59:32

                                                                        5            MR. MARCUS:     Objection.     It's completely         10:59:34

                                                                        6    irrelevant to what this is about.          Completely.         10:59:36

                                                                        7    Use your time --                                               10:59:41

                                                                        8    BY MR. STERN:                                                  10:59:42

                                                                        9        Q   Mr. White?                                             10:59:42

                                                                        10       A   Would you ask me that question again,                  10:59:44

                                                                        11   Mr. Stern?                                                     10:59:47

                                                                        12       Q   So if we were to have the original                     10:59:47

                                                                        13   attachment to the e-mail on May 22, 2007 at 1:24               10:59:51

                                                                        14   a.m. we would be able to understand when that                  10:59:57

                                                                        15   attachment was created and who edited it, correct?             10:59:59

                                                                        16           MR. MARCUS:     Objection, calls for                   11:00:03

                                                                        17   speculation.    He's not an expert.                            11:00:04

                                                                        18           Answer if you can, please.                             11:00:06

                                                                        19       A   I do not know.                                         11:00:07

                                                                        20   BY MR. STERN:                                                  11:00:08

                                                                        21       Q   And likewise, we can look at the metadata              11:00:09

                                                                        22   of the attachment to the e-mail that you forwarded             11:00:13


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 140 of 263

                                                                                               Conducted on November 29, 2021       138

                                                                        1    to Mr. Jordan on September 27, 2021 at 4:58 p.m.,            11:00:15

                                                                        2    correct?                                                     11:00:22

                                                                        3            MR. MARCUS:   Objection.                             11:00:23

                                                                        4        A   I do not know.                                       11:00:24

                                                                        5    BY MR. STERN:                                                11:00:30

                                                                        6        Q   And you don't know why you cannot locate             11:00:30

                                                                        7    the original e-mail of this thread that was                  11:00:33

                                                                        8    44 minutes earlier than the e-mail that you                  11:00:37

                                                                        9    purport to have forwarded to Michael on May 22,              11:00:38

                                                                        10   2007 at 2:08 a.m.?                                           11:00:43

                                                                        11           MR. JORDAN:   Objection.    I think that             11:00:46

                                                                        12   misstates his testimony.                                     11:00:49

                                                                        13       A   In my e-mail it appears as a single                  11:00:50

                                                                        14   conversation.                                                11:00:56

                                                                        15   BY MR. STERN:                                                11:01:02

                                                                        16       Q   But you do not have the original e-mail in           11:01:03

                                                                        17   that thread as a standalone e-mail, correct?                 11:01:05

                                                                        18           MR. MARCUS:   Objection.    That's about the         11:01:08

                                                                        19   fourth or fifth time you've asked that question.             11:01:09

                                                                        20           Give the same answer, please.                        11:01:13

                                                                        21       A   Mr. Stern, it appears as a single e-mail             11:01:16

                                                                        22   in my inbox from 15 years ago.                               11:01:21


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 141 of 263

                                                                                                   Conducted on November 29, 2021          139

                                                                        1    BY MR. STERN:                                                       11:01:24

                                                                        2        Q    So there's no way you can authenticate                     11:01:24

                                                                        3    that e-mail on May 22, 2007 at 1:24 a.m.?                           11:01:27

                                                                        4             MR. JORDAN:     Objection.     Objection.                  11:01:35

                                                                        5    That's misstating his testimony.                                    11:01:36

                                                                        6             MR. MARCUS:     Calls for a legal conclusion.              11:01:40

                                                                        7    BY MR. STERN:                                                       11:01:43

                                                                        8        Q    Mr. White, you're a lawyer.         You deal with          11:01:44

                                                                        9    evidence all the time, don't you?                                   11:01:46

                                                                        10       A    There is a way to authenticate it.                         11:01:50

                                                                        11       Q    I'm sorry?                                                 11:01:50

                                                                        12       A    There is a way to authenticate it.             I'm         11:01:50

                                                                        13   telling you that's exactly how it came to my                        11:01:50

                                                                        14   inbox.    That's exactly how I found it.          That's            11:01:56

                                                                        15   exactly how I sent it to Mr. Jordan.                                11:02:00

                                                                        16       Q    So now you have a specific recollection of                 11:02:02

                                                                        17   receiving that e-mail and that's how it came to                     11:02:04

                                                                        18   your inbox?                                                         11:02:06

                                                                        19            MR. MARCUS:     Objection, argumentative.                  11:02:07

                                                                        20   Misstates the prior testimony.                                      11:02:09

                                                                        21       A    I don't have a recollection of it, sir.                    11:02:10

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 142 of 263

                                                                                                  Conducted on November 29, 2021         140

                                                                        1    BY MR. STERN:                                                     11:02:12

                                                                        2        Q   So you don't know how that e-mail ended up                11:02:12

                                                                        3    in your inbox?                                                    11:02:14

                                                                        4            MR. JORDAN:     Objection, misstates his                  11:02:16

                                                                        5    prior testimony.                                                  11:02:18

                                                                        6        A   I assume it ended up like every other                     11:02:21

                                                                        7    e-mail ends up in my inbox, Mr. Stern.                            11:02:25

                                                                        8    BY MR. STERN:                                                     11:02:28

                                                                        9        Q   But you can't locate the standalone e-mail                11:02:29

                                                                        10   in your inbox?                                                    11:02:31

                                                                        11           MR. MARCUS:     Okay, we're not answering                 11:02:33

                                                                        12   those questions anymore.       This is now the fifth or           11:02:34

                                                                        13   sixth time you've asked the same question.             We         11:02:37

                                                                        14   will not answer it again.                                         11:02:39

                                                                        15           MR. STERN:     Well, he's going in circles so             11:02:41

                                                                        16   I want to try to get a clear answer.                              11:02:42

                                                                        17           MR. JORDAN:     No, he's being consistent and             11:02:45

                                                                        18   you just don't like the answer.                                   11:02:47

                                                                        19   BY MR. STERN:                                                     11:02:52

                                                                        20       Q   Mr. White?                                                11:02:52

                                                                        21       A   Mr. Stern, in my inbox it appears as a                    11:02:55

                                                                        22   single conversation.                                              11:02:58


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 143 of 263

                                                                                                    Conducted on November 29, 2021           141

                                                                        1        Q     So what happened to the original e-mail in                  11:02:59

                                                                        2    that thread that you purport to have forwarded to                     11:03:03

                                                                        3    Michael on May 22, 2007 at 2:08 a.m.?                                 11:03:06

                                                                        4              MR. JORDAN:     Objection, foundation.                      11:03:12

                                                                        5    You're assuming anything happened to that.               He's         11:03:14

                                                                        6    already testified that it's in the string.                            11:03:17

                                                                        7    BY MR. STERN:                                                         11:03:21

                                                                        8        Q     Mr. White?                                                  11:03:22

                                                                        9        A     I do not know the answer to your question,                  11:03:22

                                                                        10   Mr. Stern.                                                            11:03:25

                                                                        11       Q     Is it your testimony that that e-mail was                   11:03:31

                                                                        12   in your inbox at some point in time and it no                         11:03:34

                                                                        13   longer is in your inbox?                                              11:03:37

                                                                        14             MR. MARCUS:     Objection.     Answer again,                11:03:40

                                                                        15   please.                                                               11:03:42

                                                                        16             MR. JORDAN:     Objection, misstates his                    11:03:42

                                                                        17   testimony.                                                            11:03:44

                                                                        18       A     Would you ask the question again please,                    11:03:44

                                                                        19   Mr. Stern?                                                            11:03:46

                                                                        20   BY MR. STERN:                                                         11:03:47

                                                                        21       Q     Is it your testimony that the e-mail on                     11:03:47

                                                                        22   May 22, 2007 at 1:24 a.m. was originally in your                      11:03:50


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 144 of 263

                                                                                                 Conducted on November 29, 2021       142

                                                                        1    inbox at some point in time and it no longer is?               11:03:53

                                                                        2              MR. MARCUS:   Objection.                             11:03:57

                                                                        3        A     Mr. Stern, my testimony is I don't                   11:03:59

                                                                        4    remember getting the e-mail or reading the e-mail              11:04:01

                                                                        5    or forwarding it to Mike.       I don't remember that.         11:04:04

                                                                        6    BY MR. STERN:                                                  11:04:07

                                                                        7        Q     My question is was that e-mail at                    11:04:07

                                                                        8    1:24 a.m. in your inbox at some point in time?                 11:04:12

                                                                        9              MR. MARCUS:   Objection.                             11:04:19

                                                                        10       A     It would appear that it was.                         11:04:21

                                                                        11   BY MR. STERN:                                                  11:04:23

                                                                        12       Q     And is it your testimony that it is not in           11:04:24

                                                                        13   your inbox now?                                                11:04:26

                                                                        14             MR. MARCUS:   Objection.                             11:04:28

                                                                        15       A     That's not my testimony.                             11:04:30

                                                                        16   BY MR. STERN:                                                  11:04:32

                                                                        17       Q     Then why did you not produce that e-mail             11:04:33

                                                                        18   in native format with the attachment to it by                  11:04:35

                                                                        19   itself?                                                        11:04:39

                                                                        20             MR. MARCUS:   Objection.    Answer again.            11:04:40

                                                                        21       A     Because it's in my inbox as part of a                11:04:42

                                                                        22   single conversation.                                           11:04:45


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 145 of 263

                                                                                                  Conducted on November 29, 2021        143

                                                                        1    BY MR. STERN:                                                    11:04:46

                                                                        2        Q   Well, then that single conversation is a                 11:04:46

                                                                        3    different e-mail.      The e-mail that you're                    11:04:49

                                                                        4    referring to is the one dated May 22, 2007 at                    11:04:51

                                                                        5    2:08 a.m.   I'm asking specifically about the                    11:04:56

                                                                        6    e-mail on May 22, 2007 at 1:24 a.m.                              11:04:58

                                                                        7            Where is that e-mail if it's not -- is it                11:05:02

                                                                        8    in your inbox, yes or no?                                        11:05:05

                                                                        9            MR. MARCUS:     Mr. Stern, this is the fifth             11:05:06

                                                                        10   or sixth time you have asked the same question.                  11:05:08

                                                                        11   As you know the rules are very clear about this                  11:05:11

                                                                        12   kind of examination.       Now, either you're going to           11:05:14

                                                                        13   move on to something else or we're going to be in                11:05:18

                                                                        14   a position to have to take this up.          You are not         11:05:21

                                                                        15   permitted to do this.       Now, you have a limited              11:05:24

                                                                        16   amount of time and you're using it unwisely but                  11:05:26

                                                                        17   that's a matter that you'll have to deal with.                   11:05:29

                                                                        18   BY MR. STERN:                                                    11:05:32

                                                                        19       Q   Mr. White?                                               11:05:33

                                                                        20       A   Mr. Stern --                                             11:05:36

                                                                        21       Q   Is that e-mail as a standalone e-mail in                 11:05:37

                                                                        22   your inbox, yes or no?                                           11:05:39


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 146 of 263

                                                                                                 Conducted on November 29, 2021        144

                                                                        1        A   Mr. Stern, that e-mail is a single                      11:05:42

                                                                        2    conversation.                                                   11:05:46

                                                                        3        Q   That's not my question.                                 11:05:47

                                                                        4            The e-mail on May 22, 2007 at 1:24 a.m.,                11:05:51

                                                                        5    is that e-mail by itself in your inbox?                         11:05:54

                                                                        6            MR. MARCUS:    Objection, asked and                     11:05:59

                                                                        7    answered.   Answer it again.                                    11:06:01

                                                                        8        A   It's not.                                               11:06:04

                                                                        9    BY MR. STERN:                                                   11:06:06

                                                                        10       Q   I cannot hear you.                                      11:06:06

                                                                        11       A   I cannot find it by itself.        It's part of         11:06:07

                                                                        12   a conversation.                                                 11:06:12

                                                                        13       Q   Do you know what happened to that e-mail                11:06:12

                                                                        14   and why it's no longer in your inbox?                           11:06:15

                                                                        15           MR. MARCUS:    Objection, assumes facts not             11:06:19

                                                                        16   in evidence.    Answer again, please.                           11:06:20

                                                                        17       A   I do not know.                                          11:06:22

                                                                        18   BY MR. STERN:                                                   11:06:29

                                                                        19       Q   You understand that Compass Marketing                   11:06:29

                                                                        20   contends that the agreement that's attached to                  11:06:31

                                                                        21   this e-mail thread is not a real agreement that                 11:06:33

                                                                        22   was actually entered into?       Do you understand that         11:06:37


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 147 of 263

                                                                                                  Conducted on November 29, 2021     145

                                                                        1    to be the case?                                               11:06:40

                                                                        2            MR. MARCUS:     Objection, calls for                  11:06:42

                                                                        3    speculation on the part of the witness.                       11:06:47

                                                                        4            MR. STERN:     I asked for his understanding.         11:06:49

                                                                        5    Thank you for the speaking objection.          Please         11:06:52

                                                                        6    stop.                                                         11:06:53

                                                                        7    BY MR. STERN:                                                 11:06:53

                                                                        8        Q   Is that your understanding, Mr. White?                11:06:54

                                                                        9        A   Would you finish the question?                        11:06:56

                                                                        10       Q   Is it your understanding that Compass                 11:06:59

                                                                        11   Marketing contends that the attachment to this                11:07:01

                                                                        12   e-mail thread is not a real document that existed             11:07:03

                                                                        13   as of May 2007?                                               11:07:07

                                                                        14       A   It is my contention that's what you and               11:07:11

                                                                        15   John say.     It's not -- I do not believe that's             11:07:13

                                                                        16   what Compass says.                                            11:07:16

                                                                        17       Q   Why are you including me in your answer?              11:07:17

                                                                        18       A   Because you're John's lawyer.                         11:07:20

                                                                        19       Q   So it's your understanding I represent                11:07:22

                                                                        20   John White?                                                   11:07:24

                                                                        21       A   Yes, sir.                                             11:07:25

                                                                        22       Q   On what basis do you say I represent John             11:07:26


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 148 of 263

                                                                                                   Conducted on November 29, 2021      146

                                                                        1    White?                                                          11:07:31

                                                                        2        A    Because all of your actions appear to me               11:07:31

                                                                        3    to be designed to help John White instead of                    11:07:36

                                                                        4    Compass Marketing.                                              11:07:40

                                                                        5        Q    Can you be more specific?        What actions          11:07:41

                                                                        6    are designed to help John White, not Compass                    11:07:43

                                                                        7    Marketing?                                                      11:07:46

                                                                        8             MR. MARCUS:     Objection.     This deposition         11:07:46

                                                                        9    is to deal with the Complaint that has been filed.              11:07:49

                                                                        10   You are now way beyond it again.          I think you           11:07:53

                                                                        11   are --                                                          11:07:57

                                                                        12            MR. STERN:     Mr. Marcus, your client does            11:07:58

                                                                        13   not get to give answers and then I'm not allowed                11:08:01

                                                                        14   to follow-up on them.        That's not the way it              11:08:03

                                                                        15   works.                                                          11:08:04

                                                                        16            MR. MARCUS:     Well, it does work that way            11:08:04

                                                                        17   if your questions are irrelevant and outside the                11:08:07

                                                                        18   scope of permissible discovery in a case that is                11:08:10

                                                                        19   before the Court.       The fact that you ask questions         11:08:13

                                                                        20   that are irrelevant and not related to                          11:08:15

                                                                        21   discovery --                                                    11:08:18

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 149 of 263

                                                                                                  Conducted on November 29, 2021          147

                                                                        1            MR. STERN:     First of all, Mr. Marcus, you               11:08:18

                                                                        2    do not have any say as to what's relevant and                      11:08:21

                                                                        3    what's not.     You're not a party to this case and                11:08:24

                                                                        4    neither is your client, all right?                                 11:08:26

                                                                        5            MR. MARCUS:     And if you read the rules,                 11:08:28

                                                                        6    sir, you'll understand that the rule distinguishes                 11:08:29

                                                                        7    between acts of the deponent and party.           They are         11:08:32

                                                                        8    separate.                                                          11:08:35

                                                                        9            MR. STERN:     Understood.     Your client has             11:08:37

                                                                        10   injected me into this deposition twice.                            11:08:40

                                                                        11           MR. MARCUS:     At your behest.                            11:08:42

                                                                        12           MR. STERN:     And I'm -- no, I ask an open                11:08:44

                                                                        13   ended question and he brings it up.                                11:08:46

                                                                        14   BY MR. STERN:                                                      11:08:46

                                                                        15       Q   So now what are you talking about,                         11:08:48

                                                                        16   Mr. White, as to why I represent John White                        11:08:50

                                                                        17   personally?                                                        11:08:54

                                                                        18           MR. JORDAN:     Objection to relevance as to               11:08:55

                                                                        19   David Boshea's claims against Compass or Compass's                 11:08:58

                                                                        20   claims against David Boshea and the John Does.                     11:09:03

                                                                        21           MR. MARCUS:     And Mr. Stern, these issues                11:09:07

                                                                        22   that you are inquiring about now are related to                    11:09:08


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 150 of 263

                                                                                                    Conducted on November 29, 2021      148

                                                                        1    collateral proceedings which involve you                         11:09:11

                                                                        2    personally and so to the extent that you are                     11:09:13

                                                                        3    trying to conduct discovery in matters that are                  11:09:16

                                                                        4    related to collateral proceedings, you are out of                11:09:18

                                                                        5    bounds.                                                          11:09:22

                                                                        6              MR. STERN:     No, I'm not.     He was the one         11:09:23

                                                                        7    that brought them up.                                            11:09:24

                                                                        8    BY MR. STERN:                                                    11:09:24

                                                                        9        Q     Now Mr. White, please answer the question.             11:09:25

                                                                        10             MR. MARCUS:     All right, I'm going to                11:09:28

                                                                        11   instruct him.     We are taking this up with the                 11:09:29

                                                                        12   judge and we will explain to the judge what the                  11:09:31

                                                                        13   purpose of your questions are and the context in                 11:09:33

                                                                        14   which these questions have arisen and to the                     11:09:35

                                                                        15   extent that they are collateral in nature through                11:09:39

                                                                        16   other proceedings separate and apart from this                   11:09:41

                                                                        17   lawsuit, the Court will be made aware of your                    11:09:44

                                                                        18   reasons and the purpose for these questions.                     11:09:47

                                                                        19             MR. STERN:     Very good.     Are you                  11:09:49

                                                                        20   instructing him not to answer?                                   11:09:50

                                                                        21             MR. MARCUS:     I am telling you we will file          11:09:52

                                                                        22   a motion --                                                      11:09:53


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 151 of 263

                                                                                                    Conducted on November 29, 2021     149

                                                                        1              MR. STERN:     Are you instructing him not to         11:09:55

                                                                        2    answer?                                                         11:09:56

                                                                        3              MR. MARCUS:     We will file a motion for a           11:09:57

                                                                        4    protective order on this subject.                               11:09:59

                                                                        5              MR. STERN:     Are you instructing him not to         11:10:00

                                                                        6    answer?                                                         11:10:02

                                                                        7              MR. MARCUS:     I am instructing him to               11:10:05

                                                                        8    follow Rule 30(b) --                                            11:10:07

                                                                        9              MR. STERN:     Until I hear you saying that           11:10:10

                                                                        10   you're instructing him not to answer, please                    11:10:12

                                                                        11   answer the question, Mr. White.                                 11:10:14

                                                                        12       A     Would you say the question again, please?             11:10:15

                                                                        13   BY MR. STERN:                                                   11:10:17

                                                                        14       Q     On what basis do you contend that I'm John            11:10:17

                                                                        15   White's personal attorney?                                      11:10:21

                                                                        16             MR. JORDAN:     Objection to the relevance as         11:10:25

                                                                        17   stated previously.                                              11:10:27

                                                                        18       A     I didn't mean to say you're his personal              11:10:28

                                                                        19   attorney.                                                       11:10:33

                                                                        20   BY MR. STERN:                                                   11:10:33

                                                                        21       Q     I can't hear you.                                     11:10:33

                                                                        22       A     I did not mean to say that you're his                 11:10:34


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 152 of 263

                                                                                                  Conducted on November 29, 2021     150

                                                                        1    personal attorney.                                            11:10:37

                                                                        2            MR. BOSHEA:     If I may can we take a break?         11:10:40

                                                                        3            MR. STERN:     No.                                    11:10:43

                                                                        4            MR. JORDAN:     David, please turn off your           11:10:43

                                                                        5    microphone.                                                   11:10:46

                                                                        6    BY MR. STERN:                                                 11:10:47

                                                                        7        Q   Now, going back to my original question               11:10:48

                                                                        8    that I asked about this, is it your understanding             11:10:49

                                                                        9    that Compass Marketing contends that the                      11:10:51

                                                                        10   attachment to this e-mail thread is not a real                11:10:54

                                                                        11   document that was in existence in May of 2007?                11:10:58

                                                                        12           MR. JORDAN:     Objection, calls for him to           11:11:01

                                                                        13   speculate.    I don't know that to be true.                   11:11:05

                                                                        14       A   I do not know.                                        11:11:07

                                                                        15   BY MR. STERN:                                                 11:11:12

                                                                        16       Q   Do you understand that Compass Marketing              11:11:13

                                                                        17   believes that this is a part of a fraudulent                  11:11:14

                                                                        18   scheme that you, Michael and Mr. Boshea put                   11:11:17

                                                                        19   together to try to extract money from Compass                 11:11:19

                                                                        20   Marketing?                                                    11:11:23

                                                                        21           MR. JORDAN:     Objection to that and not             11:11:23

                                                                        22   only that, I don't know that I got that                       11:11:25


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 153 of 263

                                                                                                  Conducted on November 29, 2021    151

                                                                        1    understanding as to that Compass Marketing                   11:11:27

                                                                        2    believes that so there's no foundation.                      11:11:29

                                                                        3            MR. MARCUS:     Objection.                           11:11:34

                                                                        4    BY MR. STERN:                                                11:11:34

                                                                        5        Q   Mr. White?                                           11:11:34

                                                                        6            MR. MARCUS:     Go ahead and answer.                 11:11:35

                                                                        7        A   Would you ask me the question again,                 11:11:36

                                                                        8    please, Mr. Stern?                                           11:11:38

                                                                        9    BY MR. STERN:                                                11:11:38

                                                                        10       Q   Do you understand that Compass Marketing             11:11:39

                                                                        11   believes that this is a scheme that you, Michael             11:11:41

                                                                        12   White and Mr. Boshea put together to try to                  11:11:43

                                                                        13   extract money from the company?                              11:11:46

                                                                        14           MR. MARCUS:     Same objection.                      11:11:48

                                                                        15       A   I don't believe that's true.                         11:11:49

                                                                        16   BY MR. STERN:                                                11:11:51

                                                                        17       Q   What don't you believe to be true?                   11:11:51

                                                                        18       A   Your statement.                                      11:11:56

                                                                        19       Q   That it's Compass Marketing's contention             11:11:57

                                                                        20   or that this is a scheme that you, Michael and               11:12:00

                                                                        21   Mr. Boshea put together?                                     11:12:02

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 154 of 263

                                                                                                  Conducted on November 29, 2021    152

                                                                        1            MR. MARCUS:     Objection.                           11:12:05

                                                                        2        A   Either one of those.                                 11:12:06

                                                                        3    BY MR. STERN:                                                11:12:10

                                                                        4        Q   Have you undertaken any other severance              11:12:11

                                                                        5    related schemes to extract money from Compass                11:12:14

                                                                        6    Marketing previously?                                        11:12:17

                                                                        7            MR. MARCUS:     Objection.                           11:12:17

                                                                        8            MR. JORDAN:     Objection to the use of the          11:12:18

                                                                        9    word "scheme" which is argumentative and the                 11:12:23

                                                                        10   relevance of the question.                                   11:12:25

                                                                        11   BY MR. STERN:                                                11:12:27

                                                                        12       Q   Mr. White?                                           11:12:27

                                                                        13       A   Would you ask the question again?                    11:12:32

                                                                        14       Q   Have you undertaken any other scheme that            11:12:34

                                                                        15   you, Michael White have undertaken to extract                11:12:37

                                                                        16   money through severance from Compass Marketing for           11:12:40

                                                                        17   other employees?                                             11:12:42

                                                                        18           MR. JORDAN:     Same objection.                      11:12:44

                                                                        19       A   I don't understand the question.                     11:12:48

                                                                        20   BY MR. STERN:                                                11:12:52

                                                                        21       Q   Have you ever concocted a severance -- a             11:12:52

                                                                        22   story about a severance agreement for an employee            11:12:56


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 155 of 263

                                                                                                  Conducted on November 29, 2021     153

                                                                        1    of Compass Marketing to extract money from the                11:13:00

                                                                        2    company when there was really no severance                    11:13:03

                                                                        3    agreement?                                                    11:13:05

                                                                        4            MR. JORDAN:     Restate my previous                   11:13:07

                                                                        5    objection.                                                    11:13:09

                                                                        6        A   I don't understand your question.                     11:13:13

                                                                        7    BY MR. STERN:                                                 11:13:17

                                                                        8        Q   I'll ask it again.                                    11:13:17

                                                                        9            Have you and Michael White engaged in any             11:13:19

                                                                        10   prior plan to create a severance scheme or -- let             11:13:23

                                                                        11   me ask the question differently.                              11:13:30

                                                                        12           Have you and Michael White previously                 11:13:33

                                                                        13   created a false severance plan for an employee of             11:13:35

                                                                        14   Compass Marketing to extract money from the                   11:13:40

                                                                        15   company?                                                      11:13:44

                                                                        16           MR. JORDAN:     Objection, relevance and              11:13:45

                                                                        17   argumentative.                                                11:13:47

                                                                        18           MR. MARCUS:     Objection.     Answer.                11:13:48

                                                                        19       A   I have no idea what you're talking about,             11:13:49

                                                                        20   Mr. Stern.                                                    11:13:51

                                                                        21           MR. STERN:     Okay, I'd like to address your         11:13:53

                                                                        22   attention to an e-mail that is dated October 15,              11:13:56


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 156 of 263

                                                                                                    Conducted on November 29, 2021      154

                                                                        1    2015 at 10:51 a.m.                                               11:14:03

                                                                        2              MS. YEUNG:     What's the Bates number on              11:14:14

                                                                        3    that?                                                            11:14:16

                                                                        4              MR. STERN:     There's no Bates number on              11:14:16

                                                                        5    this one.     This relates to another severance                  11:14:18

                                                                        6    related e-mail.                                                  11:14:31

                                                                        7              MS. YEUNG:     I'm sorry, was that                     11:14:53

                                                                        8    October 15th at 10:51 a.m.?                                      11:14:54

                                                                        9              MR. STERN:     Yes, and there's one                    11:14:57

                                                                        10   attachment to it.                                                11:15:00

                                                                        11             MS. YEUNG:     It starts with Forward: CCD?            11:15:01

                                                                        12             MR. STERN:     Yes.                                    11:15:07

                                                                        13             MS. YEUNG:     Okay, thank you.                        11:15:09

                                                                        14   BY MR. STERN:                                                    11:15:25

                                                                        15       Q     Mr. White, do you see this e-mail on the               11:15:26

                                                                        16   screen?                                                          11:15:30

                                                                        17             MR. MARCUS:     Not yet.                               11:15:37

                                                                        18             MS. YEUNG:     Just a moment.      Here we go.         11:15:42

                                                                        19             (D. White Deposition Exhibit 19 was marked             11:15:42

                                                                        20   for identification and attached to the                           11:15:42

                                                                        21   transcript.)                                                     11:16:17

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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 157 of 263

                                                                                                Conducted on November 29, 2021     155

                                                                        1    BY MR. STERN:                                               11:16:17

                                                                        2        Q   Do you see this e-mail, Mr. White?                  11:16:18

                                                                        3            MR. MARCUS:   We've just gotten it so we'll         11:16:21

                                                                        4    take a look at it.                                          11:16:24

                                                                        5            (Pause in the proceedings.)                         11:16:59

                                                                        6        A   I see the e-mail.                                   11:16:59

                                                                        7    BY MR. STERN:                                               11:17:02

                                                                        8        Q   This is an e-mail from you to -- on your            11:17:03

                                                                        9    compassmarketinginc.com account to John White and           11:17:07

                                                                        10   Michael White dated October 15, 2015 at                     11:17:10

                                                                        11   10:51 a.m., do you see that?                                11:17:17

                                                                        12       A   That's what you say it is.                          11:17:18

                                                                        13       Q   Did I mischaracterize the e-mail?                   11:17:19

                                                                        14       A   I don't know what it is.                            11:17:22

                                                                        15       Q   Is that what the e-mail says?                       11:17:23

                                                                        16       A   That's the date on the e-mail, that's               11:17:27

                                                                        17   correct.                                                    11:17:29

                                                                        18       Q   Did you send that e-mail to John White and          11:17:29

                                                                        19   Michael White?                                              11:17:33

                                                                        20       A   I do not know.                                      11:17:33

                                                                        21       Q   At the very top of the upper right-hand             11:17:36

                                                                        22   corner do you see it says Michael White -- I'm              11:17:40


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 158 of 263

                                                                                                Conducted on November 29, 2021     156

                                                                        1    sorry, it says Mike White                                   11:17:43

                                                                        2    , do you see that?                                          11:17:46

                                                                        3        A   I do see that.                                      11:17:55

                                                                        4        Q   Do you know why that e-mail address is up           11:17:55

                                                                        5    there on this printout?                                     11:17:57

                                                                        6        A   I do not know.                                      11:18:00

                                                                        7        Q   Now, in this e-mail it says "Copy of first          11:18:02

                                                                        8    payment on the DiPaula/Miller severance attached,"          11:18:06

                                                                        9    do you see that?                                            11:18:12

                                                                        10       A   I see that.                                         11:18:12

                                                                        11       Q   What severance agreement are you referring          11:18:13

                                                                        12   to to DiPaula and Miller?                                   11:18:16

                                                                        13       A   I do not know I'm referring to anything.            11:18:19

                                                                        14   I don't know if this is my e-mail or not.                   11:18:22

                                                                        15       Q   You don't know whether or not you sent              11:18:25

                                                                        16   this e-mail?                                                11:18:26

                                                                        17       A   I don't know if this exhibit is an e-mail           11:18:28

                                                                        18   that I sent or not.                                         11:18:31

                                                                        19       Q   Do you know now that you're looking at it?          11:18:39

                                                                        20           MR. JORDAN:   Stephen, in order to question         11:18:39

                                                                        21   the witness about an e-mail you're going to need            11:18:41

                                                                        22   to have him identify his knowledge of the e-mail.           11:18:43


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 159 of 263

                                                                                                 Conducted on November 29, 2021    157

                                                                        1    BY MR. STERN:                                               11:18:45

                                                                        2        Q   "As a reminder, I/we agreed to 15K each             11:18:46

                                                                        3    for any/all pay and liability plus 20K to CD for            11:18:50

                                                                        4    his expenses," do you see that?                             11:18:56

                                                                        5            MR. JORDAN:    Objection, foundation.               11:18:58

                                                                        6        A   I see the e-mail that you've attached.              11:18:59

                                                                        7    BY MR. STERN:                                               11:19:03

                                                                        8        Q   Did you write that?                                 11:19:03

                                                                        9        A   I do not know.                                      11:19:05

                                                                        10       Q   Did you -- looking at this now does this            11:19:07

                                                                        11   refresh your recollection about some agreement you          11:19:11

                                                                        12   may have reached with Mr. DiPaula?                          11:19:13

                                                                        13       A   I do recall an agreement that I reached             11:19:17

                                                                        14   with Mr. DiPaula.                                           11:19:19

                                                                        15       Q   What was the agreement you reached with             11:19:20

                                                                        16   Mr. DiPaula?                                                11:19:22

                                                                        17       A   To settle monies that the company owed him          11:19:24

                                                                        18   for his work at Compass Marketing before he left.           11:19:28

                                                                        19       Q   When did Mr. DiPaula leave the company?             11:19:32

                                                                        20       A   I do not remember.                                  11:19:35

                                                                        21       Q   Was it in 2014 or 2015?                             11:19:37

                                                                        22       A   I do not remember.                                  11:19:41


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 160 of 263

                                                                                                     Conducted on November 29, 2021       158

                                                                        1           Q   Is there a written agreement that reflects              11:19:44

                                                                        2    these terms?                                                       11:19:47

                                                                        3           A   I do not remember.                                      11:19:48

                                                                        4           Q   Do you remember whether there was a verbal              11:19:51

                                                                        5    agreement?                                                         11:19:53

                                                                        6           A   I do not remember how we made an                        11:19:58

                                                                        7    agreement, whether it's verbal or written.                         11:20:00

                                                                        8           Q   Do you remember -- at the bottom of the                 11:20:03

                                                                        9    e-mail it says will need 1099s for them at year                    11:20:05

                                                                        10   end.                                                               11:20:09

                                                                        11              Before I get to that, did you have a                    11:20:09

                                                                        12   similar agreement with Mr. Miller?                                 11:20:10

                                                                        13          A   I only met with Mr. DiPaula.         He made an         11:20:15

                                                                        14   agreement for both of them.                                        11:20:21

                                                                        15          Q   So he negotiated an agreement with you for              11:20:22

                                                                        16   both him and Mr. Miller?                                           11:20:25

                                                                        17              MR. MARCUS:     Objection to form.                      11:20:30

                                                                        18              MR. JORDAN:     I'm confused.      Who is "he"?         11:20:31

                                                                        19              MR. STERN:     Mr. DiPaula.                             11:20:34

                                                                        20              MR. MARCUS:     Objection to the form of the            11:20:37

                                                                        21   question.                                                          11:20:38

                                                                        22          A   Mr. DiPaula is the only person that I                   11:20:42


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 161 of 263

                                                                                                 Conducted on November 29, 2021    159

                                                                        1    spoke to about an agreement.                                11:20:44

                                                                        2    BY MR. STERN:                                               11:20:46

                                                                        3        Q   So you never spoke with Mr. Miller about a          11:20:46

                                                                        4    severance agreement?                                        11:20:50

                                                                        5        A   So Mr. DiPaula is the only person that I            11:20:50

                                                                        6    spoke to about an agreement.                                11:20:53

                                                                        7        Q   I'm talking about a severance agreement.            11:20:54

                                                                        8            MR. MARCUS:    Objection, asked and                 11:20:58

                                                                        9    answered.   Answer it again.                                11:21:00

                                                                        10       A   Mr. DiPaula is the only person I spoke to           11:21:02

                                                                        11   about an agreement to pay him money for his work            11:21:06

                                                                        12   at Compass after he left.                                   11:21:10

                                                                        13   BY MR. STERN:                                               11:21:13

                                                                        14       Q   Did that agreement with Mr. DiPaula exist           11:21:13

                                                                        15   prior to his resignation?                                   11:21:18

                                                                        16       A   I do not know what existed prior to his             11:21:24

                                                                        17   resignation.                                                11:21:27

                                                                        18       Q   Do you recall what the total amount was             11:21:29

                                                                        19   that you agreed to pay Mr. DiPaula after his                11:21:31

                                                                        20   employment with Compass Marketing ended?                    11:21:34

                                                                        21       A   I do not.                                           11:21:39

                                                                        22       Q   Were these discussions with Mr. DiPaula in          11:21:39


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                                                                                                       Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 162 of 263

                                                                                                     Conducted on November 29, 2021        160

                                                                        1    person or in writing?                                               11:21:42

                                                                        2               MR. JORDAN:     Objection to the relevance of            11:21:45

                                                                        3    this.                                                               11:21:48

                                                                        4           A   Most of the discussions were in person.        I         11:21:51

                                                                        5    do not remember if there's any writings.                            11:21:54

                                                                        6               MR. MARCUS:     None of this has anything at             11:21:58

                                                                        7    all to do with the Complaint that's filed in the                    11:21:59

                                                                        8    case.                                                               11:22:02

                                                                        9               MR. STERN:     But it does and I'm getting to            11:22:03

                                                                        10   that in a moment.                                                   11:22:05

                                                                        11              MR. MARCUS:     Okay, so I think we got to               11:22:07

                                                                        12   get there at some point.                                            11:22:10

                                                                        13   BY MR. STERN:                                                       11:22:12

                                                                        14          Q   It says here we will need 1099s for them                 11:22:12

                                                                        15   at year end.                                                        11:22:15

                                                                        16              Do you recall issuing those 1099s?                       11:22:16

                                                                        17          A   I see that it says that on your exhibit.                 11:22:20

                                                                        18   I do not know if this was an e-mail that I sent or                  11:22:22

                                                                        19   not.                                                                11:22:25

                                                                        20          Q   Do you know whether or not taxes -- why                  11:22:26

                                                                        21   taxes would not have been withheld from these                       11:22:29

                                                                        22   payments to Mr. DiPaula and Mr. Miller?                             11:22:32


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 163 of 263

                                                                                                  Conducted on November 29, 2021          161

                                                                        1            MR. MARCUS:     Objection, assumes facts not               11:22:36

                                                                        2    in evidence.    Answer please.                                     11:22:37

                                                                        3        A   I do not know.                                             11:22:40

                                                                        4    BY MR. STERN:                                                      11:22:41

                                                                        5        Q   Now, attached to this e-mail is a check                    11:22:42

                                                                        6    that purports to be the first payment on the                       11:22:46

                                                                        7    Miller/DiPaula severance, correct?                                 11:22:50

                                                                        8            MR. JORDAN:     Objection to relevance.        Can         11:22:55

                                                                        9    you connect this up?                                               11:22:59

                                                                        10   BY MR. STERN:                                                      11:23:00

                                                                        11       Q   Mr. White?                                                 11:23:01

                                                                        12       A   Would you ask the question again,                          11:23:03

                                                                        13   Mr. Stern?                                                         11:23:05

                                                                        14       Q   Is this an e-mail -- is this check, a copy                 11:23:06

                                                                        15   of the check that purports to be the first                         11:23:07

                                                                        16   severance payment you reference in your e-mail?                    11:23:12

                                                                        17       A   I don't agree that it's my e-mail and I                    11:23:14

                                                                        18   don't know whether that's true or not.                             11:23:18

                                                                        19       Q   So you're saying someone else sent this                    11:23:20

                                                                        20   e-mail in your name?                                               11:23:22

                                                                        21           MR. MARCUS:     Objection, misstates his                   11:23:24

                                                                        22   testimony.                                                         11:23:25


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 164 of 263

                                                                                                  Conducted on November 29, 2021          162

                                                                        1    BY MR. STERN:                                                      11:23:29

                                                                        2        Q   Mr. White?                                                 11:23:30

                                                                        3            MR. MARCUS:     Answer it again.                           11:23:31

                                                                        4        A   I didn't say anybody sent this e-mail.           I         11:23:32

                                                                        5    didn't say any such thing.                                         11:23:35

                                                                        6    BY MR. STERN:                                                      11:23:37

                                                                        7        Q   So you think this e-mail is not real?                      11:23:37

                                                                        8            MR. MARCUS:     Objection, misstates his                   11:23:39

                                                                        9    testimony.                                                         11:23:41

                                                                        10       A   I do not know.                                             11:23:42

                                                                        11   BY MR. STERN:                                                      11:23:45

                                                                        12       Q   So you don't know whether or not this is                   11:23:45

                                                                        13   an authentic e-mail?                                               11:23:47

                                                                        14       A   That's correct, I do not know.                             11:23:50

                                                                        15       Q   Well, let's go to the attachment.          The             11:23:52

                                                                        16   attachment purports to be a check dated                            11:23:57

                                                                        17   October 14, 2015 to the order of James C. DiPaula,                 11:24:02

                                                                        18   Jr. for $10,000, do you see that?                                  11:24:07

                                                                        19       A   I see your exhibit, sir.                                   11:24:11

                                                                        20       Q   And the payee or I guess the person                        11:24:14

                                                                        21   authorizing this check says Daniel J. White,                       11:24:18

                                                                        22   Remitter, right?      Do you see that?                             11:24:24


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 165 of 263

                                                                                                 Conducted on November 29, 2021        163

                                                                        1          A   I see your exhibit, sir.                              11:24:25

                                                                        2          Q   Now, you recall having an agreement with              11:24:26

                                                                        3    Mr. DiPaula.                                                    11:24:31

                                                                        4              Is this the payment for Mr. DiPaula's                 11:24:32

                                                                        5    severance?                                                      11:24:36

                                                                        6          A   I do not know.                                        11:24:36

                                                                        7          Q   Why would you be sending a check to                   11:24:37

                                                                        8    Mr. DiPaula that's not from a Compass Marketing                 11:24:40

                                                                        9    account?                                                        11:24:42

                                                                        10             MR. JORDAN:   Objection, foundation.                  11:24:44

                                                                        11         A   I don't know if that's the check I gave               11:24:51

                                                                        12   Mr. DiPaula or not.                                             11:24:53

                                                                        13   BY MR. STERN:                                                   11:24:55

                                                                        14         Q   Well, it is a check that's from M & T                 11:24:56

                                                                        15   Bank, correct?                                                  11:24:58

                                                                        16         A   That's what you say.    I do not know.                11:24:59

                                                                        17         Q   Is there anything on there that indicates             11:25:01

                                                                        18   that this check is from Compass Marketing?                      11:25:03

                                                                        19         A   I don't even know if it's a check.          I         11:25:07

                                                                        20   don't know anything about that, sir.                            11:25:10

                                                                        21         Q   It says Official Check at the top, doesn't            11:25:11

                                                                        22   it?                                                             11:25:14


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 166 of 263

                                                                                                 Conducted on November 29, 2021            164

                                                                        1        A     I can see the words but I don't know                      11:25:14

                                                                        2    anything about that attachment or that e-mail.            I         11:25:16

                                                                        3    don't know if that's an e-mail from me and its                      11:25:19

                                                                        4    attachments.     I don't know about that e-mail.                    11:25:23

                                                                        5        Q     You don't know anything about that?                       11:25:25

                                                                        6              You have no idea how this e-mail was                      11:25:27

                                                                        7    created and you have no idea how that check was                     11:25:30

                                                                        8    created?                                                            11:25:33

                                                                        9              MR. MARCUS:   Answer one more time.                       11:25:34

                                                                        10             MR. JORDAN:   Objection, compound and                     11:25:36

                                                                        11   misstates his prior testimony regarding the                         11:25:41

                                                                        12   e-mail.                                                             11:25:43

                                                                        13   BY MR. STERN:                                                       11:25:43

                                                                        14       Q     Let me ask you have no idea how that                      11:25:44

                                                                        15   e-mail came to be; is that correct?                                 11:25:45

                                                                        16       A     Sir, I'm not sure if it is an e-mail.       I             11:25:48

                                                                        17   don't know what it is.      I don't know.                           11:25:51

                                                                        18       Q     You have no idea how that check came to be                11:25:53

                                                                        19   written; is that correct?                                           11:25:56

                                                                        20       A     I don't know if that is a check.                          11:25:57

                                                                        21       Q     It says Official Check.                                   11:25:59

                                                                        22       A     I know what it says.    This is your exhibit              11:26:00


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 167 of 263

                                                                                                  Conducted on November 29, 2021         165

                                                                        1    that you brought.      I don't know what it is.                   11:26:04

                                                                        2            MR. STERN:     Then let's go to a new                     11:26:08

                                                                        3    exhibit.   I'd like to show you --                                11:26:18

                                                                        4            MR. JORDAN:     Before we do we've been going             11:26:21

                                                                        5    for another hour.      Can we take like a five or ten             11:26:23

                                                                        6    minute break before we start --                                   11:26:28

                                                                        7            MR. STERN:     In a few minutes.      I would             11:26:28

                                                                        8    like to go through these exhibits first.           It's           11:26:30

                                                                        9    been less than an hour.                                           11:26:33

                                                                        10           MR. JORDAN:     No, it's been more than an                11:26:35

                                                                        11   hour.                                                             11:26:36

                                                                        12           MR. STERN:     It's not.                                  11:26:36

                                                                        13           MR. JORDAN:     That's okay.     Just go through          11:26:36

                                                                        14   the -- I'm not going to argue with you.           Just go         11:26:36

                                                                        15   through the exhibits and we'll take a break.                      11:26:38

                                                                        16           MR. STERN:     The next one is a check dated              11:26:40

                                                                        17   December 9, 2015.                                                 11:26:43

                                                                        18           Heather, do you see that check?                           11:26:54

                                                                        19           MS. YEUNG:     The amount of the check?                   11:26:57

                                                                        20           MR. STERN:     M & T Bank check.                          11:27:03

                                                                        21           MS. YEUNG:     Not the one we were just                   11:27:05

                                                                        22   looking at?                                                       11:27:07


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 168 of 263

                                                                                                    Conducted on November 29, 2021          166

                                                                        1              MR. STERN:     No, a different one.                        11:27:09

                                                                        2              MS. YEUNG:     Found it, okay.      This is part           11:27:14

                                                                        3    of the same exhibit we were just looking at.                         11:27:34

                                                                        4              MR. STERN:     It's in the same exhibit?                   11:27:38

                                                                        5    Okay.                                                                11:27:39

                                                                        6              MS. YEUNG:     This would be page six.         I'm         11:27:40

                                                                        7    going to double-check the e-mail that went out to                    11:27:44

                                                                        8    everyone.     If I'm mistaken I'll resend.                           11:27:48

                                                                        9              MR. MARCUS:     Why don't you guys get your                11:27:52

                                                                        10   exhibits together.        We're going to take a break                11:27:53

                                                                        11   for five minutes and we'll be back.                                  11:27:56

                                                                        12             MR. STERN:     All right.                                  11:27:57

                                                                        13             THE VIDEOGRAPHER:      We are now going off                11:27:59

                                                                        14   the record.     The time is 11:29 a.m.                               11:28:00

                                                                        15             (A brief recess was taken.)                                11:36:40

                                                                        16             THE VIDEOGRAPHER:      We are now back on the              11:36:40

                                                                        17   record.     This begins disk number three.          The time         11:36:41

                                                                        18   is 11:37 a.m.                                                        11:36:43

                                                                        19             (D. White Deposition Exhibit 20 was marked                 11:36:43

                                                                        20   for identification and attached to the                               11:36:43

                                                                        21   transcript.)                                                         11:36:46

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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 169 of 263

                                                                                                 Conducted on November 29, 2021           167

                                                                        1           MR. STERN:     Okay, and we were -- there was               11:36:46

                                                                        2    apparently some misunderstanding or                                11:36:49

                                                                        3    miscommunication about the last exhibit.          The last         11:36:50

                                                                        4    exhibit -- or I guess there was an introduction of                 11:36:52

                                                                        5    an exhibit for a check dated December 9, 2015 but                  11:36:56

                                                                        6    the previous exhibit before that should have been                  11:37:00

                                                                        7    just a two page document.       One is an e-mail dated             11:37:02

                                                                        8    October 15, 2015 at 10:51 a.m. is the most recent                  11:37:07

                                                                        9    in the string.     There was another one beneath that              11:37:11

                                                                        10   and attached to it was a copy of an Official Check                 11:37:14

                                                                        11   from M & T Bank.     Remitter Dan White -- Daniel J.               11:37:17

                                                                        12   White dated October 14, 2015 for $10,000 paid to                   11:37:21

                                                                        13   the order of James C. DiPaula.        Those two pages is           11:37:24

                                                                        14   one document and that's one exhibit.         I guess               11:37:27

                                                                        15   that's 19 and then we're on to 20 if I'm doing the                 11:37:31

                                                                        16   numbering correctly.      20 being an Official Check,              11:37:33

                                                                        17   M & T Bank.   Remitter Daniel White dated                          11:37:37

                                                                        18   December 9, 2015 paid to the order of James Chip                   11:37:42

                                                                        19   DiPaula for $25,000.                                               11:37:45

                                                                        20          MR. JORDAN:     Hold on.    What is that?       I           11:37:48

                                                                        21   have a corrected Exhibit 19 is the e-mail and the                  11:37:51

                                                                        22   $10,000 check.     That's what Heather just sent to                11:37:55


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 170 of 263

                                                                                                    Conducted on November 29, 2021            168

                                                                        1    us.                                                                    11:37:58

                                                                        2              MR. STERN:     Yes, and then there should be                 11:37:58

                                                                        3    a separate exhibit of a check of -- a copy of a                        11:38:04

                                                                        4    check dated December 9, 2015.           That's the next                11:38:09

                                                                        5    exhibit.     That should be exhibit -- is that Number                  11:38:12

                                                                        6    20, court reporter?                                                    11:38:16

                                                                        7              MS. YEUNG:     Each e-mail has the number of                 11:38:27

                                                                        8    the exhibit on top.        We just need to switch sheet                11:38:30

                                                                        9    19 and only the corrected version was asked about.                     11:38:35

                                                                        10             THE TECH:     Right, I'm just going with what                11:38:42

                                                                        11   you have on the top of the e-mail.                                     11:38:45

                                                                        12             MS. YEUNG:     I've circulated what should be                11:38:47

                                                                        13   Exhibit 20 which is the check that Mr. Stern began                     11:38:49

                                                                        14   asking about before the break.                                         11:38:53

                                                                        15             MR. STERN:     Now, I want to go back to                     11:38:55

                                                                        16   Exhibit 19.                                                            11:38:57

                                                                        17             Heather, just hold 20 momentarily.             We'll         11:38:58

                                                                        18   go back to the e-mail with the $10,000 check                           11:39:01

                                                                        19   attached.                                                              11:39:04

                                                                        20   BY MR. STERN:                                                          11:39:04

                                                                        21         Q   Mr. White, on the third line in the second                   11:39:08

                                                                        22   paragraph in that e-mail there's a reference to                        11:39:14


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 171 of 263

                                                                                                Conducted on November 29, 2021     169

                                                                        1    "triple damages the AG would have made us pay."             11:39:21

                                                                        2            Did you have any discussions with the               11:39:23

                                                                        3    Attorney General about any claims by Mr. DiPaula            11:39:25

                                                                        4    or Mr. Miller?                                              11:39:27

                                                                        5        A   No, sir.                                            11:39:31

                                                                        6        Q   What were you referring to then in this             11:39:35

                                                                        7    e-mail about the AG?                                        11:39:37

                                                                        8            MR. MARCUS:    Objection.                           11:39:42

                                                                        9        A   I don't agree that I did send this e-mail           11:39:43

                                                                        10   or that it's mine.                                          11:39:45

                                                                        11   BY MR. STERN:                                               11:39:48

                                                                        12       Q   Now, the check attached to it does purport          11:39:48

                                                                        13   to be a check to Mr. DiPaula, correct?                      11:39:52

                                                                        14       A   That's what you purport it to be.                   11:39:56

                                                                        15       Q   And it purports to be -- does this purport          11:39:59

                                                                        16   to be the check according to this e-mail for                11:40:05

                                                                        17   payment of his severance, correct?                          11:40:09

                                                                        18       A   That's what you purport it to be, sir.              11:40:12

                                                                        19       Q   Have you paid any Compass employees other           11:40:16

                                                                        20   than Mr. DiPaula for checks that don't -- with              11:40:21

                                                                        21   checks that don't come from a Compass Marketing             11:40:26

                                                                        22   operating account?                                          11:40:30


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 172 of 263

                                                                                                  Conducted on November 29, 2021     170

                                                                        1            MR. JORDAN:     Objection to the relevance of         11:40:30

                                                                        2    this.                                                         11:40:32

                                                                        3        A   I'm not agreeing that these are payments              11:40:35

                                                                        4    that I made to Mr. DiPaula but I will say I do not            11:40:38

                                                                        5    remember paying people with checks that did not               11:40:42

                                                                        6    come from Compass except for Mr. DiPaula.                     11:40:45

                                                                        7    BY MR. STERN:                                                 11:40:50

                                                                        8        Q   So the only time that you recall making               11:40:50

                                                                        9    any payments to Mr. DiPaula -- I'm sorry, the only            11:40:52

                                                                        10   time you remember making any payments to a Compass            11:40:55

                                                                        11   employee for wages or sums due to them for their              11:40:58

                                                                        12   time with Compass where it didn't come from a                 11:41:02

                                                                        13   Compass Marketing account is the payment or                   11:41:03

                                                                        14   payments to Mr. DiPaula; is that correct?                     11:41:06

                                                                        15           MR. MARCUS:     Objection to the form of the          11:41:09

                                                                        16   question.                                                     11:41:10

                                                                        17           MR. STERN:     Fair enough.     I'll rephrase         11:41:11

                                                                        18   the question.                                                 11:41:13

                                                                        19   BY MR. STERN:                                                 11:41:14

                                                                        20       Q   Am I understanding you correctly that the             11:41:15

                                                                        21   only time you paid a Compass Marketing employee               11:41:17

                                                                        22   whether current or former sums that they were due             11:41:21


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 173 of 263

                                                                                                  Conducted on November 29, 2021        171

                                                                        1    from Compass Marketing from an account that wasn't               11:41:25

                                                                        2    a Compass Marketing account is this instance with                11:41:28

                                                                        3    Mr. DiPaula?                                                     11:41:31

                                                                        4               MR. MARCUS:   Objection to the form.                  11:41:33

                                                                        5               MR. JORDAN:   Objection, misstates his                11:41:34

                                                                        6    testimony.                                                       11:41:36

                                                                        7           A   I do not remember paying anyone at Compass            11:41:39

                                                                        8    Marketing with an account other than a Compass                   11:41:45

                                                                        9    check except for Mr. DiPaula.         I --                       11:41:48

                                                                        10   BY MR. STERN:                                                    11:41:51

                                                                        11          Q   Why did you pay -- I'm sorry, I didn't                11:41:51

                                                                        12   hear you.                                                        11:41:53

                                                                        13              Did you have more to say?     I couldn't hear         11:41:54

                                                                        14   you.                                                             11:41:56

                                                                        15          A   I just want to repeat myself.      I don't            11:41:57

                                                                        16   remember ever doing that another time.                           11:42:00

                                                                        17          Q   Why did you pay Mr. DiPaula with a check              11:42:02

                                                                        18   that wasn't from a Compass Marketing account?                    11:42:05

                                                                        19              MR. JORDAN:   Objection, misstates his                11:42:07

                                                                        20   testimony.                                                       11:42:09

                                                                        21              MR. MARCUS:   Objection.                              11:42:10

                                                                        22          A   I was -- I wanted to pay Mr. DiPaula with             11:42:11


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 174 of 263

                                                                                                Conducted on November 29, 2021        172

                                                                        1    bank checks because I was concerned that John                  11:42:16

                                                                        2    would either cancel the checks that were written               11:42:18

                                                                        3    or not make them good or we would bounce them, one             11:42:21

                                                                        4    of those three.    I didn't generally pay people.    I         11:42:25

                                                                        5    wanted to make sure those payments were good.                  11:42:28

                                                                        6    BY MR. STERN:                                                  11:42:31

                                                                        7        Q   And what specifically was the payment for?             11:42:31

                                                                        8        A   My recollection of the payment was that it             11:42:36

                                                                        9    was -- that John had agreed to pay Chip some money             11:42:38

                                                                        10   that he had never paid him and that Chip was                   11:42:44

                                                                        11   getting frustrated with that situation so John                 11:42:47

                                                                        12   asked me to step in and to see if I could work it              11:42:49

                                                                        13   out with Chip.                                                 11:42:53

                                                                        14       Q   Why were you concerned that John White was             11:42:53

                                                                        15   going to cancel the check?                                     11:42:56

                                                                        16       A   John had a practice of pretending to send              11:42:59

                                                                        17   checks that he never sent, sending pictures of                 11:43:03

                                                                        18   checks that he never sent, canceling checks that               11:43:06

                                                                        19   he'd sent, promising checks but not sending them               11:43:09

                                                                        20   and because he asked me to make this agreement and             11:43:13

                                                                        21   because I thought that Chip was close to                       11:43:15

                                                                        22   complaining to the Attorney General like he told               11:43:19


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 175 of 263

                                                                                               Conducted on November 29, 2021        173

                                                                        1    John he was close to doing, I thought we should               11:43:21

                                                                        2    not screw around on this one so I only agreed to              11:43:23

                                                                        3    intervene on the agreement that we would actually             11:43:26

                                                                        4    do what we agreed to do.                                      11:43:29

                                                                        5        Q   So how were you planning on accounting for            11:43:30

                                                                        6    taxes by having the money go through an account               11:43:32

                                                                        7    other than Compass Marketing?                                 11:43:35

                                                                        8        A   I wasn't planning on the accounting.                  11:43:38

                                                                        9        Q   I can't hear you.                                     11:43:41

                                                                        10       A   I was not planning on the accounting.       I         11:43:42

                                                                        11   was planning on making sure we did not lie to Chip            11:43:45

                                                                        12   DiPaula.                                                      11:43:49

                                                                        13       Q   Now, the next -- going back to Exhibit 20             11:43:51

                                                                        14   if I got the numbers correctly, that's the                    11:43:55

                                                                        15   December 9, 2015 check.                                       11:43:58

                                                                        16           What does this check represent?                       11:44:18

                                                                        17       A   I do not know.                                        11:44:20

                                                                        18       Q   It has your name on it, correct?                      11:44:22

                                                                        19       A   I don't agree with that.                              11:44:24

                                                                        20       Q   You don't agree that's your name in the               11:44:27

                                                                        21   upper left corner saying Remitter?                            11:44:29

                                                                        22       A   That's my signature but I don't remember              11:44:32


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 176 of 263

                                                                                                 Conducted on November 29, 2021             174

                                                                        1    seeing this.     I don't know where it came from.          I         11:44:34

                                                                        2    don't make any representations as to this exhibit.                   11:44:37

                                                                        3        Q    Is this part of the amounts that you claim                  11:44:42

                                                                        4    were due to Mr. DiPaula?                                             11:44:46

                                                                        5             MR. MARCUS:   Objection.                                    11:44:50

                                                                        6        A    I do not know about your exhibit, sir.                      11:44:52

                                                                        7    BY MR. STERN:                                                        11:44:57

                                                                        8        Q    You said it's your signature on there.                      11:44:57

                                                                        9    Where is your signature?                                             11:44:59

                                                                        10       A    I didn't mean to say that's my signature.                   11:45:01

                                                                        11   I said I do not know about your exhibit.          I will             11:45:03

                                                                        12   say if it's helpful I did make a series of                           11:45:07

                                                                        13   payments to Chip DiPaula by cashier's check under                    11:45:10

                                                                        14   our agreement.     I do not know the amounts or                      11:45:14

                                                                        15   dates.                                                               11:45:16

                                                                        16       Q    How many checks total did you pay                           11:45:17

                                                                        17   Mr. DiPaula in these series of checks?                               11:45:20

                                                                        18            MR. JORDAN:   Objection to relevance of                     11:45:23

                                                                        19   this.    It seems to me like this is some sort of                    11:45:25

                                                                        20   dispute between John White, Compass and Dan White.                   11:45:27

                                                                        21   It has nothing to do with David Boshea.          In fact,            11:45:32

                                                                        22   the Court has already quashed a subpoena to Chip                     11:45:37


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 177 of 263

                                                                                                  Conducted on November 29, 2021          175

                                                                        1    DiPaula.                                                           11:45:41

                                                                        2    BY MR. STERN:                                                      11:45:43

                                                                        3        Q   Mr. White?                                                 11:45:43

                                                                        4        A   Would you ask --                                           11:45:46

                                                                        5            MR. MARCUS:     So what does this have to do               11:45:48

                                                                        6    with the employment agreement and the claims that                  11:45:49

                                                                        7    are pending in the Court?                                          11:45:53

                                                                        8            MR. STERN:     You'll see in a moment when I               11:45:54

                                                                        9    get to my next exhibit.                                            11:45:56

                                                                        10   BY MR. STERN:                                                      11:45:57

                                                                        11       Q   Mr. White, how many were the total number                  11:45:58

                                                                        12   of checks that you sent to Mr. DiPaula?           You said         11:46:00

                                                                        13   there was a series of checks.                                      11:46:03

                                                                        14           MR. JORDAN:     Same objection.                            11:46:05

                                                                        15       A   I do not remember.                                         11:46:08

                                                                        16   BY MR. STERN:                                                      11:46:12

                                                                        17       Q   Was it more than these two?                                11:46:12

                                                                        18       A   I'm not saying these two were payments                     11:46:16

                                                                        19   that I made to Mr. DiPaula.        I don't know.                   11:46:19

                                                                        20   They're your exhibits.       I make no representations             11:46:22

                                                                        21   about them.     I do not remember --                               11:46:24

                                                                        22       Q   So --                                                      11:46:26


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 178 of 263

                                                                                                  Conducted on November 29, 2021    176

                                                                        1            MR. MARCUS:     Just let him finish, please.         11:46:26

                                                                        2    BY MR. STERN:                                                11:46:28

                                                                        3        Q   These weren't the checks -- I'm sorry, I             11:46:29

                                                                        4    didn't realize you were still talking.                       11:46:31

                                                                        5        A   Okay, go ahead.                                      11:46:33

                                                                        6            MR. MARCUS:     No, finish your answer.              11:46:34

                                                                        7        A   I do not remember how many checks there              11:46:35

                                                                        8    were.                                                        11:46:39

                                                                        9    BY MR. STERN:                                                11:46:41

                                                                        10       Q   If these are not the checks where would              11:46:41

                                                                        11   those checks be?      Were there other cashier's             11:46:43

                                                                        12   checks that you sent to Mr. DiPaula?                         11:46:48

                                                                        13           MR. JORDAN:     Same objection as previous.          11:46:52

                                                                        14       A   I do not know.      The last I saw them they         11:46:55

                                                                        15   were in the office that they locked me out of on             11:46:58

                                                                        16   May 1, 2019.                                                 11:47:02

                                                                        17           MR. STERN:     I'd like to go to the next            11:47:12

                                                                        18   exhibit which is a check dated December 1, 2015.             11:47:13

                                                                        19           (D. White Deposition Exhibit 21 was marked           11:47:13

                                                                        20   for identification and attached to the                       11:47:13

                                                                        21   transcript.)                                                 11:47:13

                                                                        22


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                                                                                                        Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 179 of 263

                                                                                                      Conducted on November 29, 2021     177

                                                                        1    BY MR. STERN:                                                     11:47:13

                                                                        2           Q    It's a Compass Marketing check dated                  11:47:32

                                                                        3    December 1, 2015 paid to the order of Daniel J.                   11:47:36

                                                                        4    White for $65,000, do you see that?                               11:47:40

                                                                        5           A    I see your exhibit, sir.                              11:47:42

                                                                        6           Q    Whose signature is on that check?                     11:47:45

                                                                        7           A    I do not know.                                        11:47:47

                                                                        8           Q    You don't recognize that signature?                   11:47:49

                                                                        9           A    I don't know anything about that exhibit,             11:47:52

                                                                        10   sir.       That's your exhibit.       I make no                   11:47:54

                                                                        11   representations.                                                  11:47:57

                                                                        12          Q    I asked do you recognize the signature on             11:47:58

                                                                        13   that check?                                                       11:48:00

                                                                        14          A    I do not know whose signature that is.                11:48:01

                                                                        15          Q    Who had authority to sign checks for                  11:48:04

                                                                        16   Compass Marketing in December of 2015?                            11:48:08

                                                                        17          A    I do not know.                                        11:48:10

                                                                        18          Q    What does the memo on that check say?                 11:48:14

                                                                        19               MR. JORDAN:     Objection to the relevance of         11:48:17

                                                                        20   this.                                                             11:48:19

                                                                        21   BY MR. STERN:                                                     11:48:21

                                                                        22          Q    Mr. White?                                            11:48:22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 180 of 263

                                                                                                 Conducted on November 29, 2021     178

                                                                        1              MR. MARCUS:   The document speaks for              11:48:24

                                                                        2    itself.                                                      11:48:25

                                                                        3    BY MR. STERN:                                                11:48:26

                                                                        4        Q     Would you please read what the memo says,          11:48:26

                                                                        5    Mr. White?                                                   11:48:28

                                                                        6        A     The memo says "Final payments to James             11:48:33

                                                                        7    DiPaula and Patrick Miller."                                 11:48:36

                                                                        8        Q     So why would Compass Marketing issue a             11:48:38

                                                                        9    check to you with final payments to James DiPaula            11:48:41

                                                                        10   and Patrick Miller?                                          11:48:47

                                                                        11             MR. JORDAN:   Objection to relevance.              11:48:48

                                                                        12       A     I don't -- I don't agree to anything about         11:48:52

                                                                        13   your exhibit.     I don't make any representations           11:48:57

                                                                        14   about your exhibit.                                          11:49:00

                                                                        15   BY MR. STERN:                                                11:49:03

                                                                        16       Q     Mr. White, you mentioned a while -- just a         11:49:03

                                                                        17   few minutes ago that you had an agreement with               11:49:06

                                                                        18   Mr. DiPaula.                                                 11:49:09

                                                                        19             Do you remember that testimony?                    11:49:10

                                                                        20       A     I made an agreement on behalf of our               11:49:12

                                                                        21   company with Mr. DiPaula and Mr. Miller, that's              11:49:14

                                                                        22   correct.                                                     11:49:18


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 181 of 263

                                                                                               Conducted on November 29, 2021     179

                                                                        1        Q   And that payment to Mr. -- and that                11:49:18

                                                                        2    agreement with Mr. DiPaula and Mr. Miller was on           11:49:21

                                                                        3    behalf of the company?                                     11:49:28

                                                                        4            MR. MARCUS:   Objection.                           11:49:30

                                                                        5            MR. JORDAN:   Objection to relevance.              11:49:32

                                                                        6            MR. MARCUS:   And you told us that you're          11:49:35

                                                                        7    going to get to why any of these questions is              11:49:36

                                                                        8    related to this case and we're still not there.            11:49:38

                                                                        9    You're going to need to tell us what it is that            11:49:44

                                                                        10   this relates to in this litigation.                        11:49:47

                                                                        11   BY MR. STERN:                                              11:49:50

                                                                        12       Q   Mr. White, did you make that agreement             11:49:50

                                                                        13   with Mr. DiPaula and Mr. Miller on behalf of               11:49:53

                                                                        14   Compass Marketing?                                         11:49:56

                                                                        15           MR. JORDAN:   Objection, asked and                 11:49:58

                                                                        16   answered.                                                  11:50:03

                                                                        17       A   Yes, I made it on behalf of our company.           11:50:03

                                                                        18   BY MR. STERN:                                              11:50:07

                                                                        19       Q   And that agreement was for payments for            11:50:08

                                                                        20   what?                                                      11:50:10

                                                                        21           MR. JORDAN:   Objection, relevance and             11:50:11

                                                                        22   asked and answered.                                        11:50:13


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 182 of 263

                                                                                                    Conducted on November 29, 2021         180

                                                                        1        A     I don't have a perfect recollection,                      11:50:19

                                                                        2    Mr. Stern, but I believe it was for outstanding                     11:50:21

                                                                        3    expense reports and whatever agreement that John                    11:50:25

                                                                        4    had made to pay them.         I don't know all the                  11:50:29

                                                                        5    detail.                                                             11:50:31

                                                                        6    BY MR. STERN:                                                       11:50:32

                                                                        7        Q     Now, this check is made to you for                        11:50:33

                                                                        8    $65,000, correct?                                                   11:50:36

                                                                        9        A     That's what you say it is.                                11:50:37

                                                                        10       Q     Is that what the check says?                              11:50:39

                                                                        11             MR. JORDAN:     Objection.     The document               11:50:42

                                                                        12   speaks for itself and it's not relevant to this                     11:50:43

                                                                        13   lawsuit.                                                            11:50:45

                                                                        14   BY MR. STERN:                                                       11:50:47

                                                                        15       Q     Is that what the check says?                              11:50:47

                                                                        16             MR. JORDAN:     Lack of foundation.       Same as         11:50:49

                                                                        17   the prior objection.                                                11:50:53

                                                                        18   BY MR. STERN:                                                       11:50:54

                                                                        19       Q     Mr. White?                                                11:50:55

                                                                        20       A     I don't have any representations to make                  11:50:55

                                                                        21   about your exhibits, sir.                                           11:50:57

                                                                        22       Q     Can you scroll down a little bit please to                11:50:59


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 183 of 263

                                                                                                 Conducted on November 29, 2021          181

                                                                        1    show the signature on the back of that check?                     11:51:01

                                                                        2            Is that your signature?                                   11:51:04

                                                                        3        A   I do not know.                                            11:51:06

                                                                        4        Q   You don't know if that's your signature?                  11:51:07

                                                                        5        A   I do not know.                                            11:51:09

                                                                        6        Q   Do you recall cashing this check?                         11:51:11

                                                                        7            MR. JORDAN:     Same objections as previous,              11:51:14

                                                                        8    all three of them.                                                11:51:17

                                                                        9        A   I do not recall from 2015.                                11:51:18

                                                                        10   BY MR. STERN:                                                     11:51:22

                                                                        11       Q   Do you recall how you got the money to                    11:51:23

                                                                        12   issue the cashier's checks to Mr. DiPaula?                        11:51:24

                                                                        13       A   I do not recall.                                          11:51:28

                                                                        14       Q   Now, this check is for $65,000, correct?                  11:51:29

                                                                        15       A   That's what you say it is, sir.         I make no         11:51:33

                                                                        16   representations about your exhibit.                               11:51:35

                                                                        17       Q   Am I mischaracterizing the document?                      11:51:37

                                                                        18       A   I don't know.     I don't know.     It's your             11:51:41

                                                                        19   exhibit.   I don't know about it.                                 11:51:43

                                                                        20       Q   Now, let's go back to that e-mail on                      11:51:46

                                                                        21   Exhibit 19.     It says "I/we agreed to 15K each for              11:51:52

                                                                        22   any/all pay and liability plus 20K to CD."                        11:52:00


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 184 of 263

                                                                                               Conducted on November 29, 2021     182

                                                                        1            CD referring to Chip DiPaula, correct?             11:52:06

                                                                        2        A   Sir, that's your exhibit.     I don't make         11:52:09

                                                                        3    any representations about it.                              11:52:11

                                                                        4        Q   You would agree that $15,000 twice each,           11:52:12

                                                                        5    that's $30,000 plus 20 is $50,000, correct?                11:52:17

                                                                        6        A   Would I agree that 20 plus 20 plus --              11:52:25

                                                                        7    excuse me, say that one more time.                         11:52:30

                                                                        8        Q   15 each meaning for Mr. DiPaula and                11:52:32

                                                                        9    Mr. Miller adds up to $30,000, correct?                    11:52:35

                                                                        10           MR. JORDAN:    Objection to relevance of           11:52:39

                                                                        11   this.                                                      11:52:40

                                                                        12   BY MR. STERN:                                              11:52:41

                                                                        13       Q   Plus $20,000 to CD meaning Chip DiPaula.           11:52:41

                                                                        14   15 plus 15 plus 20 is $50,000, correct?                    11:52:46

                                                                        15       A   15 plus 15 plus 20 is 50, that's correct.          11:52:51

                                                                        16       Q   Now, going back to Exhibit 21 why was the          11:52:54

                                                                        17   check to you payable for $65,000?                          11:53:01

                                                                        18       A   Sir, I don't have any representations              11:53:06

                                                                        19   about your exhibits.                                       11:53:08

                                                                        20       Q   Where did the extra $15,000 go?                    11:53:11

                                                                        21       A   Sir, I don't --                                    11:53:15

                                                                        22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 185 of 263

                                                                                                 Conducted on November 29, 2021         183

                                                                        1           MR. JORDAN:     Objection to the relevance of             11:53:16

                                                                        2    any of this.                                                     11:53:19

                                                                        3           MR. MARCUS:     You have told us repeatedly               11:53:21

                                                                        4    that you're going to get to something that's                     11:53:23

                                                                        5    related to this case.                                            11:53:25

                                                                        6           MR. STERN:     I just did.     I said that this           11:53:27

                                                                        7    is -- this is an example where Mr. White has                     11:53:30

                                                                        8    created a fraudulent scheme before.         According to         11:53:33

                                                                        9    his e-mails there was $50,000 in severance which                 11:53:36

                                                                        10   there's no agreement that he's shown or that's                   11:53:40

                                                                        11   been produced or that Compass has and yet even on                11:53:42

                                                                        12   these pieces of documents there's extra money                    11:53:46

                                                                        13   flowing to him under some purported severance                    11:53:49

                                                                        14   payments.                                                        11:53:49

                                                                        15          MR. JORDAN:     Stephen, it sure sounds like              11:53:52

                                                                        16   you're trying to set up some sort of claim against               11:53:52

                                                                        17   Daniel White which is good for you but that                      11:53:56

                                                                        18   doesn't have anything to do --                                   11:53:57

                                                                        19          MR. STERN:     It goes to his credibility.                11:53:59

                                                                        20   It goes to his credibility and it goes to the                    11:54:00

                                                                        21   credibility of the claim in this case.                           11:54:00

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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 186 of 263

                                                                                                   Conducted on November 29, 2021           184

                                                                        1             MR. JORDAN:     No, it has to do with your                  11:54:01

                                                                        2    claim against Daniel White which is outside of the                   11:54:03

                                                                        3    ambit --                                                             11:54:07

                                                                        4             MR. STERN:     You can argue that to the                    11:54:08

                                                                        5    Court.                                                               11:54:08

                                                                        6             MR. JORDAN:     Stephen, can I finish?         It's         11:54:08

                                                                        7    outside the ambit of the deposition.           Whether or            11:54:11

                                                                        8    not Daniel White did or didn't do something, to                      11:54:17

                                                                        9    the extent that it goes to bias I think you need                     11:54:19

                                                                        10   to move on because we've been here since 8:30 your                   11:54:22

                                                                        11   time this morning.       It's almost 11:00.       We haven't         11:54:28

                                                                        12   really gotten to any of the matters relating to                      11:54:31

                                                                        13   David Boshea and I think we should.                                  11:54:34

                                                                        14            MR. STERN:     This goes directly to the                    11:54:35

                                                                        15   issue of David Boshea.        You can argue it to the                11:54:36

                                                                        16   court if you want, definitely.                                       11:54:39

                                                                        17            MR. JORDAN:     You know what?      If you have             11:54:40

                                                                        18   something showing that Daniel White paid David                       11:54:41

                                                                        19   Boshea then maybe there's some sort of relevance                     11:54:45

                                                                        20   to it.     Other than that I don't see it.                           11:54:47

                                                                        21   BY MR. STERN:                                                        11:54:49

                                                                        22       Q    Mr. White, where did the extra $15,000 go?                  11:54:49


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 187 of 263

                                                                                                  Conducted on November 29, 2021           185

                                                                        1            MR. JORDAN:     Objection.     Same objections.             11:54:53

                                                                        2    BY MR. STERN:                                                       11:54:54

                                                                        3        Q   Was that $15,000 owed to Mr. DiPaula or                     11:54:54

                                                                        4    Mr. Miller?                                                         11:54:58

                                                                        5            MR. MARCUS:     Objection.     This is now well             11:55:00

                                                                        6    beyond what you're permitted to do in terms of bad                  11:55:02

                                                                        7    faith requirements for the kind of examination                      11:55:05

                                                                        8    that you are conducting.       It has nothing to do                 11:55:09

                                                                        9    with the claim that's before the court.           Nothing.          11:55:12

                                                                        10   I've repeatedly asked you about it and you have                     11:55:15

                                                                        11   failed to this point to make it relevant.                           11:55:18

                                                                        12           The Court admonished you in its memorandum                  11:55:21

                                                                        13   about going into matters that are extraneous for                    11:55:24

                                                                        14   which you have no explanation to support this kind                  11:55:30

                                                                        15   of an inquiry and it doesn't appear that you're in                  11:55:32

                                                                        16   any way paying attention to what the Court                          11:55:37

                                                                        17   admonished from a nonparty in the course of                         11:55:39

                                                                        18   discovery.     I have asked you repeatedly.        You have         11:55:43

                                                                        19   told me that you're going to get to it and you                      11:55:46

                                                                        20   haven't.                                                            11:55:47

                                                                        21           MR. STERN:     This is.    I've just laid it                11:55:48

                                                                        22   out for you.     Mr. White claims that there was a                  11:55:50


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 188 of 263

                                                                                                    Conducted on November 29, 2021          186

                                                                        1    severance agreement with Mr. DiPaula and                             11:55:53

                                                                        2    Mr. Miller totaling $50,000 according to that                        11:55:56

                                                                        3    e-mail even though he disclaims any knowledge of                     11:55:58

                                                                        4    that e-mail.     Yet there's a check going to him for                11:56:01

                                                                        5    $65,000 for those payments to Mr. Miller and                         11:56:04

                                                                        6    Mr. DiPaula so it goes to credibility and it shows                   11:56:08

                                                                        7    an example where Mr. White has concocted false                       11:56:11

                                                                        8    severance plans with employees just as Compass                       11:56:16

                                                                        9    Marketing contends that this is a false severance                    11:56:20

                                                                        10   plan with Mr. Boshea at the behest or initiative                     11:56:22

                                                                        11   of Mr. White and his brother, Michael White.                         11:56:25

                                                                        12             MR. JORDAN:     Well, the problem with this                11:56:29

                                                                        13   line is the fact that it all kind of falls apart                     11:56:31

                                                                        14   unless you're going to say that he paid David                        11:56:32

                                                                        15   Boshea.                                                              11:56:35

                                                                        16             MR. STERN:     No, it goes to his credibility              11:56:37

                                                                        17   for making up false allegations in this case.            You         11:56:39

                                                                        18   can argue it to the Court if you want, Greg.                         11:56:42

                                                                        19             MR. MARCUS:     Mr. White is not a party in                11:56:45

                                                                        20   this case.     He has made no allegations in this                    11:56:47

                                                                        21   case.     He is not a party so to the extent that                    11:56:51

                                                                        22   your whole theory is that somehow or another you                     11:56:55


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 189 of 263

                                                                                                   Conducted on November 29, 2021    187

                                                                        1    can figure out a way to try to go to something                11:56:57

                                                                        2    that's completely extraneous, that does not permit            11:57:00

                                                                        3    you to engage in this kind of discovery.                      11:57:03

                                                                        4             MR. STERN:     Now, you're saying that               11:57:06

                                                                        5    Mr. White is not a party to this case.                        11:57:07

                                                                        6    BY MR. STERN:                                                 11:57:07

                                                                        7        Q    Mr. White, did you purport to talk and               11:57:09

                                                                        8    speak on behalf of Compass Marketing?                         11:57:12

                                                                        9             MR. MARCUS:     In this case?                        11:57:14

                                                                        10            MR. JORDAN:     Objection to the relevance.          11:57:16

                                                                        11   Even if he was purporting to talk for Compass                 11:57:19

                                                                        12   Marketing, he's not being presented as a Compass              11:57:25

                                                                        13   Marketing witness today.        He's a third-party            11:57:27

                                                                        14   witness with facts relating to David Boshea and               11:57:31

                                                                        15   his severance agreement and maybe with regard to              11:57:35

                                                                        16   that cockamamie claim for the Realtor and the                 11:57:39

                                                                        17   architect but I don't believe that he's being                 11:57:43

                                                                        18   presented as a representative of Compass Marketing            11:57:48

                                                                        19   today.    Certainly that's not my understanding.              11:57:50

                                                                        20            MR. STERN:     I'm asking if he understands          11:57:52

                                                                        21   he speaks on behalf of Compass Marketing.                     11:57:52

                                                                        22


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 190 of 263

                                                                                                Conducted on November 29, 2021      188

                                                                        1    BY MR. STERN:                                                11:57:55

                                                                        2        Q    Do you, Mr. White, speak on behalf of               11:57:55

                                                                        3    Compass Marketing?                                           11:57:57

                                                                        4             MR. JORDAN:   Even if he does, this line of         11:57:58

                                                                        5    questioning doesn't have anything to do the way              11:58:00

                                                                        6    I'm understanding it with Compass Marketing                  11:58:03

                                                                        7    authorizing anything.     You seem to be taking the          11:58:06

                                                                        8    exact opposite position.                                     11:58:08

                                                                        9    BY MR. STERN:                                                11:58:10

                                                                        10       Q    Mr. White, do you contend that you can              11:58:10

                                                                        11   speak on behalf of Compass Marketing?                        11:58:12

                                                                        12            MR. MARCUS:   Objection.    He makes no             11:58:15

                                                                        13   contentions.    He is here to answer questions about         11:58:17

                                                                        14   facts.                                                       11:58:21

                                                                        15   BY MR. STERN:                                                11:58:22

                                                                        16       Q    Mr. White, please answer the question.              11:58:23

                                                                        17       A    I do not know the answer to your question,          11:58:24

                                                                        18   Mr. Stern.                                                   11:58:26

                                                                        19       Q    You don't know whether or not you believe           11:58:27

                                                                        20   you can speak on behalf of Compass Marketing?                11:58:29

                                                                        21            MR. MARCUS:   Objection, calls for a legal          11:58:34

                                                                        22   conclusion.                                                  11:58:36


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 191 of 263

                                                                                                  Conducted on November 29, 2021       189

                                                                        1        A   I don't know the answer to that question.               11:58:37

                                                                        2    BY MR. STERN:                                                   11:58:40

                                                                        3        Q   Do you consider yourself an owner of                    11:58:40

                                                                        4    Compass Marketing?                                              11:58:44

                                                                        5            MR. MARCUS:     Objection to the form of the            11:58:44

                                                                        6    question.                                                       11:58:45

                                                                        7            MR. JORDAN:     Objection to the relevance of           11:58:46

                                                                        8    whether he's an owner or not as to his speaking on              11:58:47

                                                                        9    behalf of Compass Marketing.        Being a shareholder         11:58:51

                                                                        10   doesn't give you a right to do that.                            11:58:56

                                                                        11       A   I do believe I'm a shareholder of Compass               11:58:58

                                                                        12   Marketing, yes, sir.                                            11:59:02

                                                                        13   BY MR. STERN:                                                   11:59:02

                                                                        14       Q   And do you think as a shareholder of                    11:59:02

                                                                        15   Compass Marketing it's appropriate for you to be                11:59:05

                                                                        16   communicating with an adverse party that's suing                11:59:08

                                                                        17   Compass Marketing about the lawsuit that adverse                11:59:12

                                                                        18   party is bringing?                                              11:59:15

                                                                        19           MR. JORDAN:     Objection to relevance.                 11:59:15

                                                                        20   Objection to relevance.                                         11:59:19

                                                                        21           MR. STERN:     We are now --                            11:59:17

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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 192 of 263

                                                                                                  Conducted on November 29, 2021      190

                                                                        1            MR. JORDAN:     Because even if he considers           11:59:18

                                                                        2    himself an owner, there's no fiduciary obligation              11:59:23

                                                                        3    owed by a shareholder to a corporation.           It's         11:59:27

                                                                        4    irrelevant.                                                    11:59:30

                                                                        5    BY MR. STERN:                                                  11:59:31

                                                                        6        Q   Mr. White?                                             11:59:32

                                                                        7        A   Say your question again please, Mr. Stern.             11:59:32

                                                                        8        Q   As an owner of Compass Marketing do you                11:59:34

                                                                        9    believe it's appropriate for you to be                         11:59:37

                                                                        10   communicating with a party that's suing Compass                11:59:40

                                                                        11   Marketing when those communications relate to the              11:59:43

                                                                        12   lawsuit?                                                       11:59:46

                                                                        13           MR. JORDAN:     Same objection.                        11:59:47

                                                                        14           MR. MARCUS:     Objection, calls for                   11:59:48

                                                                        15   speculation, calls for a legal conclusion and                  11:59:50

                                                                        16   lacks facts to support that question.                          11:59:53

                                                                        17           Under your theory, Mr. Stern, you are here             11:59:56

                                                                        18   at his request and you have not been hired by him.             11:59:58

                                                                        19   You have not been hired by his brother Michael and             12:00:03

                                                                        20   to the extent that you have been engaged by a 50               12:00:07

                                                                        21   percent owner in this case, you are not in a                   12:00:10

                                                                        22   position to question whether or not he's got the               12:00:13


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 193 of 263

                                                                                                 Conducted on November 29, 2021     191

                                                                        1    authority.     Obviously under your theory you have          12:00:15

                                                                        2    the authority.                                               12:00:19

                                                                        3    BY MR. STERN:                                                12:00:22

                                                                        4        Q   Mr. White, do you believe it's appropriate           12:00:22

                                                                        5    for you as an owner of Compass Marketing to be in            12:00:26

                                                                        6    discussions with Mr. Boshea about the lawsuit that           12:00:31

                                                                        7    Mr. Boshea is bringing against Compass Marketing?            12:00:33

                                                                        8            MR. JORDAN:    Objection to the relevance of         12:00:40

                                                                        9    the question.                                                12:00:41

                                                                        10           MR. MARCUS:    Answer again.                         12:00:41

                                                                        11       A   I don't know the answer to your question.            12:00:42

                                                                        12   BY MR. STERN:                                                12:00:44

                                                                        13       Q   You don't know whether it's appropriate?             12:00:45

                                                                        14           MR. MARCUS:    That's exactly what he said.          12:00:47

                                                                        15   If you ask him again he's going to give you the              12:00:50

                                                                        16   same answer.                                                 12:00:52

                                                                        17   BY MR. STERN:                                                12:00:54

                                                                        18       Q   Do you think it would be appropriate for             12:00:55

                                                                        19   Michael White as an owner of Compass Marketing to            12:00:56

                                                                        20   be discussing litigation with a party that's suing           12:01:01

                                                                        21   Compass Marketing?                                           12:01:06

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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 194 of 263

                                                                                               Conducted on November 29, 2021     192

                                                                        1            MR. JORDAN:   Objection to relevance.              12:01:06

                                                                        2            MR. MARCUS:   Objection as to his opinion          12:01:08

                                                                        3    as to what Michael White would do or not do.               12:01:09

                                                                        4            What does that got to do with this case?           12:01:12

                                                                        5    BY MR. STERN:                                              12:01:15

                                                                        6        Q   Mr. White, please answer.                          12:01:16

                                                                        7            MR. MARCUS:   What does it have to do with         12:01:20

                                                                        8    this case?                                                 12:01:22

                                                                        9    BY MR. STERN:                                              12:01:23

                                                                        10       Q   Mr. White, please answer.                          12:01:23

                                                                        11       A   I do not know the answer to your question.         12:01:24

                                                                        12       Q   Has Compass Marketing been involved in             12:01:30

                                                                        13   other litigation since you've been an -- civil             12:01:32

                                                                        14   litigation since you've been an owner of the               12:01:36

                                                                        15   company?                                                   12:01:38

                                                                        16           MR. JORDAN:   Objection to relevance.              12:01:40

                                                                        17       A   Yes.                                               12:01:47

                                                                        18   BY MR. STERN:                                              12:01:50

                                                                        19       Q   Have you communicated with the litigants           12:01:50

                                                                        20   or those counsel in those lawsuits against Compass         12:01:52

                                                                        21   Marketing?                                                 12:02:03

                                                                        22       A   I don't remember.                                  12:02:03


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 195 of 263

                                                                                                 Conducted on November 29, 2021        193

                                                                        1        Q   How many -- I'm sorry.                                  12:02:03

                                                                        2        A   They were 15 years ago, the oldest ones.                12:02:10

                                                                        3        Q   The only lawsuit you can think of was 15                12:02:12

                                                                        4    years ago?                                                      12:02:17

                                                                        5        A   Not the only lawsuit.       Just one of them.           12:02:18

                                                                        6        Q   Which lawsuit are you referring to?                     12:02:22

                                                                        7        A   Compass Marketing versus Sharing Plow and               12:02:23

                                                                        8    Whythe I believe.                                               12:02:29

                                                                        9        Q   In that lawsuit did you speak with the                  12:02:29

                                                                        10   adverse parties and their counsel?                              12:02:33

                                                                        11       A   I did speak with their counsel.                         12:02:35

                                                                        12       Q   Outside of a deposition?                                12:02:37

                                                                        13       A   Well, I was represented -- I mean Compass               12:02:40

                                                                        14   had an attorney and I was present if that's --                  12:02:44

                                                                        15       Q   Did you have direct communications outside              12:02:46

                                                                        16   the presence of your counsel?                                   12:02:49

                                                                        17       A   No.                                                     12:02:50

                                                                        18           MR. JORDAN:    Objection.     I'm not even sure         12:02:52

                                                                        19   what you mean, your counsel.        It's confusing.             12:02:54

                                                                        20       A   I don't recall outside of our counsel or                12:02:56

                                                                        21   outside of our counsel's presence.                              12:03:00

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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 196 of 263

                                                                                                 Conducted on November 29, 2021        194

                                                                        1    BY MR. STERN:                                                   12:03:04

                                                                        2        Q     What other lawsuits have there been                   12:03:04

                                                                        3    against Compass Marketing by litigants in your                  12:03:05

                                                                        4    time as an owner?                                               12:03:06

                                                                        5              MR. JORDAN:     Objection to the relevance of         12:03:08

                                                                        6    that.                                                           12:03:11

                                                                        7        A     I don't know them all.                                12:03:12

                                                                        8    BY MR. STERN:                                                   12:03:15

                                                                        9        Q     How many lawsuits are there?                          12:03:15

                                                                        10       A     I don't know.                                         12:03:17

                                                                        11             MR. JORDAN:     Objection.   He just answered         12:03:23

                                                                        12   that question.     Asked and answered.                          12:03:24

                                                                        13   BY MR. STERN:                                                   12:03:25

                                                                        14       Q     As a lawyer do you think it is wise to                12:03:26

                                                                        15   speak directly with a party that's suing your                   12:03:28

                                                                        16   company?                                                        12:03:30

                                                                        17             MR. JORDAN:     Objection, calls for an               12:03:32

                                                                        18   opinion.     He's not qualified as an opinion                   12:03:34

                                                                        19   witness.                                                        12:03:38

                                                                        20             MR. MARCUS:     He's not here to testify as a         12:03:38

                                                                        21   lawyer.     He's not here to testify on his opinion.            12:03:40

                                                                        22   Ask another question.                                           12:03:43


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 197 of 263

                                                                                                  Conducted on November 29, 2021    195

                                                                        1    BY MR. STERN:                                                12:03:44

                                                                        2        Q   Mr. White, please answer the question.               12:03:45

                                                                        3            MR. MARCUS:     Ask another question.                12:03:46

                                                                        4    BY MR. STERN:                                                12:03:47

                                                                        5        Q   Mr. White, please answer the question.               12:03:48

                                                                        6            MR. MARCUS:     Okay, we are certifying now          12:03:50

                                                                        7    based on your continued abuse of this deposition             12:03:53

                                                                        8    for matters that are extraneous under Rule                   12:03:57

                                                                        9    30(b)(3) sub A to suspend the deposition until               12:04:00

                                                                        10   such time as a Court will admonish you on                    12:04:05

                                                                        11   questions that are well beyond the scope of                  12:04:07

                                                                        12   discovery, okay?      We will --                             12:04:10

                                                                        13           MR. STERN:     I want to make sure I'm               12:04:13

                                                                        14   understanding it correctly.                                  12:04:15

                                                                        15           You don't think it's appropriate to ask              12:04:16

                                                                        16   your client questions about his extensive                    12:04:17

                                                                        17   communications with the adverse party in this case           12:04:20

                                                                        18   and his counsel in connection with its litigation?           12:04:22

                                                                        19   You don't think --                                           12:04:26

                                                                        20           MR. JORDAN:     Stephen, Stephen, you didn't         12:04:27

                                                                        21   ask him -- you didn't ask him that question.                 12:04:28

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 198 of 263

                                                                                                  Conducted on November 29, 2021         196

                                                                        1            MR. STERN:     I did.    I asked him                      12:04:30

                                                                        2    (inaudible) --                                                    12:04:33

                                                                        3            MR. JORDAN:     You asked him about other                 12:04:33

                                                                        4    cases --                                                          12:04:33

                                                                        5            MR. MARCUS:     Of course he didn't ask the               12:04:33

                                                                        6    question.   Of course he didn't ask the question so               12:04:35

                                                                        7    here is where we are --                                           12:04:41

                                                                        8            MR. JORDAN:     You know what?      It's 12:30 in         12:04:43

                                                                        9    any event so I think this is a time -- before we                  12:04:44

                                                                        10   get into any kind of contretemps do you have                      12:04:49

                                                                        11   additional time, Mr. White, to sit today or do you                12:04:53

                                                                        12   have to leave?                                                    12:04:55

                                                                        13           MR. MARCUS:     It was not Mr. White's -- it              12:04:58

                                                                        14   was not Mr. White's schedule.         It was our                  12:05:00

                                                                        15   schedule.   We accommodated them.                                 12:05:01

                                                                        16           MR. JORDAN:     I'm sorry.                                12:05:03

                                                                        17           MR. MARCUS:     This was done at our request              12:05:04

                                                                        18   because we did not have time.         We carved out time          12:05:06

                                                                        19   in order to do it and the Court incorporated the                  12:05:09

                                                                        20   availability of counsel for this deposition.                      12:05:13

                                                                        21   BY MR. STERN:                                                     12:05:17

                                                                        22       Q   Mr. White, do you have account access --                  12:05:18


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 199 of 263

                                                                                                  Conducted on November 29, 2021           197

                                                                        1    do you have access to Compass Marketing, Inc.'s                     12:05:24

                                                                        2    e-mails?                                                            12:05:27

                                                                        3        A   I do not think so.                                          12:05:34

                                                                        4        Q   What do you mean you don't think so?           It's         12:05:36

                                                                        5    either yes or no.      Either you can access the                    12:05:39

                                                                        6    e-mails or you can't.                                               12:05:43

                                                                        7        A   I do not think so.                                          12:05:44

                                                                        8        Q   What does that mean, I don't think so?                      12:05:46

                                                                        9        A   It means I do not think that I have access                  12:05:48

                                                                        10   to Compass Marketing, Inc.'s e-mails.                               12:05:51

                                                                        11       Q   When was the last time you attempted to                     12:05:55

                                                                        12   access Compass Marketing e-mails?                                   12:05:57

                                                                        13           MR. JORDAN:     Objection to relevance.                     12:05:59

                                                                        14           MR. MARCUS:     All right, you're going to                  12:06:02

                                                                        15   have to tell us what this has to do with this                       12:06:03

                                                                        16   case, sir.                                                          12:06:06

                                                                        17   BY MR. STERN:                                                       12:06:07

                                                                        18       Q   Mr. White?                                                  12:06:08

                                                                        19           MR. MARCUS:     Mr. Stern, I'm going to ask                 12:06:09

                                                                        20   you again.   What does --                                           12:06:11

                                                                        21           MR. STERN:     Did you look at the documents                12:06:12

                                                                        22   that you produced, Mr. Berman -- Mr. Marcus, I'm                    12:06:13


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 200 of 263

                                                                                                   Conducted on November 29, 2021    198

                                                                        1    sorry?                                                        12:06:18

                                                                        2             MR. MARCUS:     I beg your pardon, sir?              12:06:18

                                                                        3             MR. STERN:     Did you look at the documents         12:06:19

                                                                        4    you produced?                                                 12:06:20

                                                                        5             MR. MARCUS:     Yes.                                 12:06:21

                                                                        6             MR. STERN:     All right, thank you.                 12:06:22

                                                                        7    BY MR. STERN:                                                 12:06:24

                                                                        8        Q    Mr. White, when was the last time you                12:06:24

                                                                        9    attempted to access e-mails from Compass                      12:06:27

                                                                        10   Marketing?                                                    12:06:30

                                                                        11            MR. BOSHEA:     Stop badgering.                      12:06:30

                                                                        12            MR. JORDAN:     David, turn off your                 12:06:32

                                                                        13   microphone and please be quiet.                               12:06:34

                                                                        14            MR. MARCUS:     Mr. Stern --                         12:06:34

                                                                        15            MR. JORDAN:     David, turn off your                 12:06:38

                                                                        16   microphone.     I don't want to hear your voice               12:06:39

                                                                        17   again.                                                        12:06:42

                                                                        18            MR. MARCUS:     Mr. Stern, you have yet to           12:06:43

                                                                        19   answer my question.       I assume that the reason is         12:06:45

                                                                        20   that you do not have an answer.                               12:06:48

                                                                        21            MR. STERN:     I don't have to answer your           12:06:51

                                                                        22   questions.                                                    12:06:53


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 201 of 263

                                                                                                  Conducted on November 29, 2021     199

                                                                        1    BY MR. STERN:                                                 12:06:53

                                                                        2        Q   Mr. White, when was the last time you                 12:06:53

                                                                        3    attempted to access e-mails from Compass                      12:06:56

                                                                        4    Marketing?                                                    12:06:58

                                                                        5            MR. JORDAN:     Objection to the relevance of         12:06:58

                                                                        6    the question.                                                 12:07:01

                                                                        7            MR. MARCUS:     We will include this whole            12:07:02

                                                                        8    refusal to answer questions about the relevant                12:07:04

                                                                        9    questions pertaining to the Complaint in our                  12:07:07

                                                                        10   request for a protective order, and we'll also                12:07:10

                                                                        11   reflect the fact that you have refused to identify            12:07:14

                                                                        12   any basis for any legitimate pursuit of discovery.            12:07:18

                                                                        13           MR. STERN:     He produced a thousand pages           12:07:24

                                                                        14   of e-mails to and from Mr. Boshea and Mr. Jordan.             12:07:26

                                                                        15   He also produced e-mails that clearly show that               12:07:32

                                                                        16   he's been accessing or been asked to access                   12:07:35

                                                                        17   Compass Marketing e-mails.                                    12:07:38

                                                                        18   BY MR. STERN:                                                 12:07:38

                                                                        19       Q   So Mr. White, I'm going to ask you again.             12:07:40

                                                                        20   When was the last time that you attempted to                  12:07:42

                                                                        21   access Compass Marketing e-mails?                             12:07:45

                                                                        22


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 202 of 263

                                                                                               Conducted on November 29, 2021       200

                                                                        1            MR. JORDAN:   I object to that.     I object         12:07:48

                                                                        2    to the characterization that anyone requested that           12:07:50

                                                                        3    he access Compass Marketing e-mails or that this             12:07:53

                                                                        4    is relevant to the issues in the case.        Asking         12:07:57

                                                                        5    Mr. White for documents in his possession is not             12:08:02

                                                                        6    asking him to access Compass e-mails.                        12:08:07

                                                                        7            MR. MARCUS:   And more than that it doesn't          12:08:10

                                                                        8    have anything to do with this Complaint.                     12:08:12

                                                                        9    BY MR. STERN:                                                12:08:14

                                                                        10       Q   Mr. White, are you going to answer the               12:08:15

                                                                        11   question?                                                    12:08:16

                                                                        12       A   Mr. Stern, I have some of my e-mails                 12:08:27

                                                                        13   copied in my possession.                                     12:08:30

                                                                        14           Are you talking about those e-mails, my              12:08:32

                                                                        15   e-mails?                                                     12:08:34

                                                                        16       Q   I'm talking about accessing your Compass             12:08:35

                                                                        17   Marketing, Inc. e-mail address.                              12:08:38

                                                                        18           MR. MARCUS:   All right, we are moving at            12:08:41

                                                                        19   this point to terminate or limit this deposition.            12:08:43

                                                                        20   I have been very patient.     I have done everything         12:08:46

                                                                        21   I know how to do in order to get you to focus on             12:08:49

                                                                        22   this discovery without success.      You have                12:08:51


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 203 of 263

                                                                                                 Conducted on November 29, 2021        201

                                                                        1    repeatedly refused to identify anything that is                 12:08:54

                                                                        2    relevant and pertaining to the Complaint in this                12:08:58

                                                                        3    case so we will include this under our motion,                  12:09:01

                                                                        4    Rule 30 (b)(3)(a) as a request to have this matter              12:09:06

                                                                        5    taken up before the Court on a request for a                    12:09:11

                                                                        6    protective order.                                               12:09:15

                                                                        7           MR. STERN:     Are you ending the deposition?            12:09:18

                                                                        8           MR. MARCUS:     I have asked you to ask                  12:09:21

                                                                        9    questions about the case for the last three --                  12:09:23

                                                                        10   almost three hours and change.        You have decided          12:09:26

                                                                        11   that you are not interested in the subject matter               12:09:30

                                                                        12   of the case.   That was your choice.        The fact of         12:09:33

                                                                        13   the matter is that you have spent three hours in                12:09:37

                                                                        14   attempting to get into everything other than the                12:09:41

                                                                        15   claims that have been made by the plaintiff in                  12:09:44

                                                                        16   answer -- in the answer that you filed relevant to              12:09:49

                                                                        17   this case.                                                      12:09:52

                                                                        18          MR. STERN:     I'd like to go to a new                   12:09:53

                                                                        19   exhibit, DJW 000877.                                            12:09:55

                                                                        20          MS. YEUNG:     77?                                       12:09:55

                                                                        21          MR. STERN:     Yeah, it's an e-mail dated                12:10:12

                                                                        22   June 7, 2021 at 4:24 p.m. is the most recent one                12:10:13


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 204 of 263

                                                                                                 Conducted on November 29, 2021    202

                                                                        1    and the first one in that string is at 3:30 p.m.            12:10:17

                                                                        2            (D. White Deposition Exhibit 22 was marked          12:10:22

                                                                        3    for identification and attached to the                      12:10:22

                                                                        4    transcript.)                                                12:10:23

                                                                        5    BY MR. STERN:                                               12:10:23

                                                                        6        Q   Mr. White, do you see this e-mail?                  12:10:23

                                                                        7            MR. MARCUS:    Hopefully it will show up            12:10:27

                                                                        8    here soon.     There we go.                                 12:10:29

                                                                        9    BY MR. STERN:                                               12:10:44

                                                                        10       Q   You see the original e-mail in this thread          12:10:44

                                                                        11   is from Mr. Boshea to you on June 7, 2021 at                12:10:46

                                                                        12   3:30 p.m., do you see that?                                 12:10:51

                                                                        13       A   Give me a second.                                   12:10:52

                                                                        14           (Pause in the proceedings.)                         12:10:52

                                                                        15           I see that.    I see the e-mail.                    12:11:10

                                                                        16       Q   It starts off "Hi Dan, We need some help."          12:11:13

                                                                        17   Why was Mr. Boshea asking you for help?                     12:11:16

                                                                        18           MR. MARCUS:    Objection to the form.               12:11:20

                                                                        19           MR. JORDAN:    Objection, calls for                 12:11:22

                                                                        20   speculation.                                                12:11:24

                                                                        21       A   I do not know.                                      12:11:24

                                                                        22


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                                                                                                  Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 205 of 263

                                                                                                Conducted on November 29, 2021         203

                                                                        1    BY MR. STERN:                                                   12:11:25

                                                                        2        Q   Did you agree to offer help to Mr. Boshea?              12:11:25

                                                                        3        A   When Mr. Jordan asked me for things I                   12:11:36

                                                                        4    tried to help.    Does that answer your question?               12:11:38

                                                                        5        Q   So what things did you try to help him                  12:11:41

                                                                        6    with besides the expert witness and the local                   12:11:43

                                                                        7    counsel?                                                        12:11:50

                                                                        8        A   I also sent him the e-mail from 2007 and I              12:11:51

                                                                        9    don't remember other specific things.                           12:11:54

                                                                        10       Q   This is a request from Mr. Boshea.           It         12:11:56

                                                                        11   says "Can you supply info on Wyoming and FL" --                 12:11:59

                                                                        12   I'm assuming that means Florida -- "companies?"                 12:12:03

                                                                        13           MR. JORDAN:   Objection to relevance to the             12:12:07

                                                                        14   lawsuit.                                                        12:12:09

                                                                        15           MR. MARCUS:   Well, let him ask the                     12:12:09

                                                                        16   question before you object.                                     12:12:11

                                                                        17           MR. JORDAN:   I'm sorry, I thought you were             12:12:13

                                                                        18   finished.                                                       12:12:15

                                                                        19   BY MR. STERN:                                                   12:12:15

                                                                        20       Q   "Date formed, business ID, money balances               12:12:17

                                                                        21   and transfer info."                                             12:12:21

                                                                        22           Why was Mr. Boshea asking about that?                   12:12:22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 206 of 263

                                                                                                  Conducted on November 29, 2021           204

                                                                        1            MR. JORDAN:     Same objection.                             12:12:24

                                                                        2            MR. MARCUS:     Objection as to why                         12:12:25

                                                                        3    Mr. Boshea was asking about it.                                     12:12:26

                                                                        4        A   I do not know.                                              12:12:27

                                                                        5    BY MR. STERN:                                                       12:12:28

                                                                        6        Q   Did you provide the information he                          12:12:29

                                                                        7    requested?                                                          12:12:30

                                                                        8            MR. JORDAN:     Objection to relevance.                     12:12:32

                                                                        9        A   I do not remember doing so.                                 12:12:34

                                                                        10   BY MR. STERN:                                                       12:12:37

                                                                        11       Q   Next line.     "Greg is garnishing things and               12:12:37

                                                                        12   freezing things."      The next paragraph.       "Also, can         12:12:42

                                                                        13   you provide cases Bernie has paid on and nature of                  12:12:44

                                                                        14   suit like that girl Bernie sent pic to?"                            12:12:49

                                                                        15           Who is Bernie?                                              12:12:54

                                                                        16           MR. JORDAN:     Objection to relevance.                     12:12:54

                                                                        17       A   I read that sentence.       Is there a question             12:12:56

                                                                        18   I missed?                                                           12:12:58

                                                                        19   BY MR. STERN:                                                       12:12:58

                                                                        20       Q   Who is Bernie in that sentence?                             12:12:58

                                                                        21       A   I assume he's referring to John.                            12:13:03

                                                                        22       Q   John meaning John White?                                    12:13:06


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 207 of 263

                                                                                                  Conducted on November 29, 2021    205

                                                                        1        A   That's correct.                                      12:13:08

                                                                        2        Q   Did you send the information that he                 12:13:10

                                                                        3    requested about this prior case and the nature of            12:13:11

                                                                        4    the suit about some picture?                                 12:13:17

                                                                        5            MR. JORDAN:     Objection, relevance.                12:13:21

                                                                        6        A   I do not remember doing so.                          12:13:24

                                                                        7    BY MR. STERN:                                                12:13:26

                                                                        8        Q   Did you have any discussions with                    12:13:26

                                                                        9    Mr. Boshea about this supposed prior lawsuit?                12:13:28

                                                                        10           MR. JORDAN:     Same objection.                      12:13:34

                                                                        11           MR. MARCUS:     Objection.                           12:13:35

                                                                        12       A   I do not remember.                                   12:13:36

                                                                        13   BY MR. STERN:                                                12:13:41

                                                                        14       Q   Next line.     "If George can find those             12:13:41

                                                                        15   e-mails Bernie sent to me that would be great."              12:13:44

                                                                        16           Who is George?                                       12:13:47

                                                                        17       A   I do not know but I assume that to be                12:13:50

                                                                        18   George White.                                                12:13:52

                                                                        19       Q   Who is George White?                                 12:13:53

                                                                        20       A   That's my nephew and Mike's son.                     12:13:55

                                                                        21       Q   Did you tell Mr. Boshea that George White            12:13:59

                                                                        22   can access Compass Marketing e-mails?                        12:14:02


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 208 of 263

                                                                                               Conducted on November 29, 2021      206

                                                                        1        A   No.                                                 12:14:06

                                                                        2        Q   Do you have any reason to believe -- did            12:14:07

                                                                        3    you have any understanding as to why Mr. Boshea             12:14:10

                                                                        4    believed that George White could access e-mails?            12:14:13

                                                                        5            MR. JORDAN:   Objection.    It calls for a          12:14:16

                                                                        6    fact not in evidence.    That's pure speculation on         12:14:17

                                                                        7    your part.                                                  12:14:20

                                                                        8        A   I do not know.                                      12:14:25

                                                                        9    BY MR. STERN:                                               12:14:26

                                                                        10       Q   Do you know whether or not George White             12:14:26

                                                                        11   can access any Compass Marketing e-mails?                   12:14:28

                                                                        12           MR. JORDAN:   Objection, relevance.                 12:14:31

                                                                        13       A   I do not know.                                      12:14:34

                                                                        14   BY MR. STERN:                                               12:14:36

                                                                        15       Q   Did you authorize George White to access            12:14:36

                                                                        16   any Compass Marketing e-mails?                              12:14:39

                                                                        17           MR. JORDAN:   Objection to relevance.               12:14:41

                                                                        18       A   I don't ever remember doing that.                   12:14:45

                                                                        19   BY MR. STERN:                                               12:14:50

                                                                        20       Q   Did you offer George White your account             12:14:50

                                                                        21   access information to get access to e-mails?                12:14:52

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 209 of 263

                                                                                                  Conducted on November 29, 2021        207

                                                                        1            MR. JORDAN:     Objection to relevance.                  12:14:55

                                                                        2        A   In my life?                                              12:14:59

                                                                        3            MR. STERN:     Since the filing of this                  12:15:03

                                                                        4    lawsuit.                                                         12:15:04

                                                                        5            MR. MARCUS:     Mr. Stern, I just want to                12:15:05

                                                                        6    remind you that this deposition is almost over and               12:15:07

                                                                        7    you have failed to identify anything that's                      12:15:10

                                                                        8    relevant to the Complaint.        To the extent that you         12:15:14

                                                                        9    have wasted the entirety of this deposition on                   12:15:17

                                                                        10   matters that are extraneous, we're not going to be               12:15:19

                                                                        11   coming back.                                                     12:15:22

                                                                        12   BY MR. STERN:                                                    12:15:24

                                                                        13       Q   Mr. White, since the filing of this                      12:15:25

                                                                        14   lawsuit did you offer Mr. White, Mr. George White                12:15:27

                                                                        15   any account access information to get Compass                    12:15:32

                                                                        16   Marketing e-mails?                                               12:15:35

                                                                        17           MR. JORDAN:     Objection to relevance.                  12:15:36

                                                                        18       A   Since this lawsuit I don't remember ever                 12:15:39

                                                                        19   speaking with George White about this lawsuit or                 12:15:43

                                                                        20   talking to him about accessing e-mails or giving                 12:15:46

                                                                        21   him access or anything else.        George White has             12:15:51

                                                                        22   nothing to do with this lawsuit and you know it.                 12:15:53


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 210 of 263

                                                                                                  Conducted on November 29, 2021      208

                                                                        1    BY MR. STERN:                                                  12:15:56

                                                                        2        Q   Did you have any conversation with                     12:15:56

                                                                        3    Mr. Boshea about George White in connection with               12:15:58

                                                                        4    this lawsuit?                                                  12:16:00

                                                                        5        A   No, sir.                                               12:16:02

                                                                        6        Q   Did you have any e-mails with Mr. Boshea               12:16:03

                                                                        7    about George White in accessing e-mails in                     12:16:06

                                                                        8    connection with this lawsuit?                                  12:16:11

                                                                        9        A   I have one like this that you have up on               12:16:12

                                                                        10   the screen where he asked me apparently to have                12:16:15

                                                                        11   George see if he could find them.          He may have         12:16:17

                                                                        12   sent that request more than once.          He may have         12:16:20

                                                                        13   text it.   I don't know.      I didn't reply to it.            12:16:24

                                                                        14   George has nothing to do with this lawsuit and you             12:16:27

                                                                        15   know it.                                                       12:16:30

                                                                        16       Q   Why did you then forward this e-mail to                12:16:30

                                                                        17   Michael White?                                                 12:16:32

                                                                        18       A   I don't know.      I generally kept him in the         12:16:33

                                                                        19   loop I think.      You and your friend there,                  12:16:38

                                                                        20   Mr. Bateman have been trying to get George in                  12:16:48

                                                                        21   trouble for a long time and you know it's wrong.               12:16:51

                                                                        22       Q   The e-mail ends "Any other info you think              12:16:57


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 211 of 263

                                                                                               Conducted on November 29, 2021     209

                                                                        1    Greg can use to put Stern/Bernie down to settle."          12:17:00

                                                                        2            Did you offer to help Mr. Boshea to                12:17:04

                                                                        3    provide information to encourage a settlement with         12:17:08

                                                                        4    Compass Marketing?                                         12:17:11

                                                                        5            MR. MARCUS:   Objection.                           12:17:13

                                                                        6        A   I think when Mr. Jordan asked me for               12:17:16

                                                                        7    things I tried to help him.     I don't remember           12:17:18

                                                                        8    specifically getting requests from David and               12:17:20

                                                                        9    helping David directly.     I don't remember that.         12:17:26

                                                                        10   BY MR. STERN:                                              12:17:30

                                                                        11       Q   Was he asking for any information here             12:17:30

                                                                        12   unrelated to his employment agreement?                     12:17:33

                                                                        13       A   I'm not sure what he's asking for exactly.         12:17:38

                                                                        14       Q   Does anything with this Wyoming or Florida         12:17:41

                                                                        15   company relate to his employment agreement as far          12:17:47

                                                                        16   as you know?                                               12:17:49

                                                                        17       A   Well, that's kind of a wide open question          12:17:50

                                                                        18   but I'm not sure exactly.                                  12:17:55

                                                                        19       Q   Why aren't you sure?                               12:17:57

                                                                        20       A   I don't know enough about the lawsuit,             12:18:04

                                                                        21   what's connected and what's not, sir.                      12:18:07

                                                                        22       Q   Haven't you been getting e-mails and               12:18:09


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 212 of 263

                                                                                                 Conducted on November 29, 2021         210

                                                                        1    regular updates from Mr. Jordan and Mr. Boshea                   12:18:12

                                                                        2    throughout this lawsuit?                                         12:18:15

                                                                        3            MR. MARCUS:    Objection to the form of the              12:18:16

                                                                        4    question.   Answer please.                                       12:18:17

                                                                        5        A   I think you have all of the updates that                 12:18:18

                                                                        6    Mr. Jordan sent me.     I think he was sending me                12:18:20

                                                                        7    things that got filed because I'm not on the Pacer               12:18:23

                                                                        8    e-mail list.                                                     12:18:28

                                                                        9    BY MR. STERN:                                                    12:18:30

                                                                        10       Q   So you know what's going on in this                      12:18:30

                                                                        11   lawsuit, correct?                                                12:18:33

                                                                        12           MR. MARCUS:    Objection.                                12:18:34

                                                                        13           MR. JORDAN:    Objection, vague.                         12:18:35

                                                                        14       A   No, sir, I don't.                                        12:18:36

                                                                        15   BY MR. STERN:                                                    12:18:39

                                                                        16       Q   You have no idea what's going on in this                 12:18:39

                                                                        17   lawsuit or what the legal issues are?                            12:18:42

                                                                        18           MR. MARCUS:    Objection.                                12:18:44

                                                                        19           MR. JORDAN:    Objection, misstates his                  12:18:45

                                                                        20   previous answer.                                                 12:18:47

                                                                        21       A   There's a difference between knowing                     12:18:48

                                                                        22   what's going on and having no idea.         I don't know         12:18:50


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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 213 of 263

                                                                                               Conducted on November 29, 2021          211

                                                                        1    what's going on in the lawsuit, sir.        It doesn't          12:18:53

                                                                        2    mean I have no idea.     It just means I don't know             12:18:56

                                                                        3    the things going on.     I'm not --                             12:18:59

                                                                        4    BY MR. STERN:                                                   12:18:59

                                                                        5        Q   What's the difference?                                  12:18:59

                                                                        6            MR. MARCUS:    Objection.                               12:19:01

                                                                        7            MR. JORDAN:    What's the relevance of this?            12:19:05

                                                                        8            MR. MARCUS:    It's just a waste of time.               12:19:08

                                                                        9        A   I know the public documents.       I don't know         12:19:09

                                                                        10   all the discussions with you and Mr. Jordan and                 12:19:12

                                                                        11   the settlement and all of that stuff.        That               12:19:14

                                                                        12   doesn't concern me.                                             12:19:18

                                                                        13   BY MR. STERN:                                                   12:19:20

                                                                        14       Q   Well, this is now the second communication              12:19:20

                                                                        15   that you received from Mr. Boshea about settlement              12:19:21

                                                                        16   discussions in this case.                                       12:19:24

                                                                        17           Why is that -- why are you being asked                  12:19:26

                                                                        18   about information related to settlement in this                 12:19:29

                                                                        19   lawsuit then?                                                   12:19:33

                                                                        20           MR. JORDAN:    Objection.     That misstates            12:19:34

                                                                        21   the document.                                                   12:19:36

                                                                        22       A   I don't know, sir.                                      12:19:43


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 214 of 263

                                                                                                  Conducted on November 29, 2021         212

                                                                        1            MR. STERN:     I'm going to show you an                   12:19:54

                                                                        2    exhibit now, DJW 000285.         It's an e-mail dated             12:19:55

                                                                        3    January 14, 2021 at 11:08 a.m.                                    12:20:09

                                                                        4            (D. White Deposition Exhibit 23 was marked                12:20:09

                                                                        5    for identification and retained by counsel.)                      12:20:20

                                                                        6    BY MR. STERN:                                                     12:20:20

                                                                        7        Q   Do you see this e-mail from you to                        12:20:20

                                                                        8    Mr. Jordan?                                                       12:20:22

                                                                        9            MR. MARCUS:     We're trying to get it.        It         12:20:24

                                                                        10   will show up here soon.         There we go.                      12:20:26

                                                                        11   BY MR. STERN:                                                     12:20:43

                                                                        12       Q   Do you remember sending this e-mail to                    12:20:43

                                                                        13   Mr. Jordan?                                                       12:20:45

                                                                        14           MR. MARCUS:     This is a six page e-mail.                12:20:47

                                                                        15   We're trying to figure out what it is, sir.                       12:20:49

                                                                        16           MR. STERN:     It's a half a page e-mail.                 12:20:51

                                                                        17           MR. MARCUS:     Well, then maybe you better               12:20:54

                                                                        18   figure out what half page we're supposed to be                    12:20:55

                                                                        19   looking at because this has got six pages in it.                  12:20:58

                                                                        20           MR. STERN:     The e-mail is about half a                 12:21:02

                                                                        21   page.   There's an attachment to it.                              12:21:05

                                                                        22           MR. MARCUS:     Okay.                                     12:21:05


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 215 of 263

                                                                                                  Conducted on November 29, 2021    213

                                                                        1    BY MR. STERN:                                                12:21:05

                                                                        2        Q   Do you remember sending this e-mail to               12:21:10

                                                                        3    Mr. Jordan?                                                  12:21:11

                                                                        4        A   I'm still reviewing it, sir.                         12:21:13

                                                                        5            (Pause in the proceedings.)                          12:22:05

                                                                        6        Q   Are you finished reading the e-mail?                 12:22:06

                                                                        7        A   Almost.    Okay, I've read the e-mail.               12:22:08

                                                                        8        Q   Why did you send this e-mail with the                12:22:14

                                                                        9    attached letter to the SEC to Mr. Jordan?                    12:22:16

                                                                        10           MR. MARCUS:     Okay, we're not answering            12:22:22

                                                                        11   that question.                                               12:22:25

                                                                        12           MR. JORDAN:     Objection to relevance.              12:22:26

                                                                        13           MR. MARCUS:     That has nothing to do with          12:22:27

                                                                        14   this lawsuit.     It has to do with collateral               12:22:28

                                                                        15   matters.                                                     12:22:31

                                                                        16           MR. STERN:     That's fascinating because            12:22:31

                                                                        17   your client says it's related to this lawsuit in             12:22:34

                                                                        18   the e-mail.                                                  12:22:36

                                                                        19           MR. MARCUS:     Okay.                                12:22:36

                                                                        20           MR. STERN:     This is an example of the             12:22:38

                                                                        21   obstruction that you and your client have been               12:22:39

                                                                        22   undertaking throughout this deposition claiming              12:22:42


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 216 of 263

                                                                                                  Conducted on November 29, 2021     214

                                                                        1    things are not relevant and he's communicating                12:22:44

                                                                        2    extensively with Mr. Jordan about this lawsuit.               12:22:46

                                                                        3    He specifically says in here in this e-mail, and              12:22:49

                                                                        4    I'll read it to you, "I send it to hopefully give             12:22:52

                                                                        5    some context, in terms of names and companies and             12:22:55

                                                                        6    times, to our discussion and your decision making             12:22:58

                                                                        7    regarding this matter."                                       12:23:00

                                                                        8            This matter presumably is this lawsuit                12:23:02

                                                                        9    because there's nothing else that he's been                   12:23:05

                                                                        10   discussing with Mr. Jordan.                                   12:23:07

                                                                        11           MR. JORDAN:     Stephen, the witness's belief         12:23:09

                                                                        12   as to what's relevant to the lawsuit doesn't                  12:23:12

                                                                        13   change the pleadings --                                       12:23:15

                                                                        14           MR. STERN:     The letter says "I share this

                                                                        15   with you because I believe that David Boshea was

                                                                        16   terminated because he refused to go along" so he

                                                                        17   brought this in to himself.

                                                                        18           MR. MARCUS:     You keep saying that --

                                                                        19   BY MR. STERN:

                                                                        20       Q   Mr. White, why did you send this e-mail               12:23:25

                                                                        21   and letter to Mr. Jordan?                                     12:23:28

                                                                        22


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Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 217 of 263

                                                                                                    Conducted on November 29, 2021         215

                                                                        1              MR. JORDAN:     Objection to relevance.        It         12:23:30

                                                                        2    doesn't relate to any pleading that we have filed                   12:23:33

                                                                        3    in the case other than responses to questions that                  12:23:35

                                                                        4    you had which weren't relevant in your                              12:23:39

                                                                        5    interrogatories.                                                    12:23:41

                                                                        6    BY MR. STERN:                                                       12:23:41

                                                                        7        Q     Mr. White?                                                12:23:46

                                                                        8        A     I sent it for context.        I sent it to give           12:23:47

                                                                        9    him some context.                                                   12:23:49

                                                                        10       Q     Context for what?                                         12:23:51

                                                                        11             MR. MARCUS:     The document speaks for                   12:23:54

                                                                        12   itself.                                                             12:23:55

                                                                        13       A     About --                                                  12:23:56

                                                                        14   BY MR. STERN:                                                       12:23:59

                                                                        15       Q     How did you think it was going to help                    12:23:59

                                                                        16   Mr. Boshea in his lawsuit representing Mr. -- I'm                   12:24:01

                                                                        17   sorry, how did you think it was going to help                       12:24:06

                                                                        18   Mr. Jordan in connection with his lawsuit                           12:24:09

                                                                        19   representing Mr. Boshea?                                            12:24:11

                                                                        20             MR. JORDAN:     Objection to relevance to the             12:24:11

                                                                        21   witness's belief as to what would help Mr. Boshea.                  12:24:13

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 218 of 263

                                                                                                  Conducted on November 29, 2021      216

                                                                        1            MR. MARCUS:     And what does this have to do          12:24:18

                                                                        2    with the claim?                                                12:24:20

                                                                        3    BY MR. STERN:                                                  12:24:23

                                                                        4        Q   Mr. White?                                             12:24:24

                                                                        5            MR. MARCUS:     You again, Mr. Stern,                  12:24:25

                                                                        6    continue to evade the question.                                12:24:28

                                                                        7    BY MR. STERN:                                                  12:24:31

                                                                        8        Q   Mr. White?                                             12:24:32

                                                                        9            MR. MARCUS:     Okay, add that to our list of          12:24:34

                                                                        10   issues for the protective order, collateral                    12:24:38

                                                                        11   investigations involving counsel and other                     12:24:41

                                                                        12   parties.   This is not a place for that kind of                12:24:44

                                                                        13   discovery to take place.       This is not a place for         12:24:45

                                                                        14   you to engage in preparing defenses to other                   12:24:48

                                                                        15   actions taken by other tribunals having to do with             12:24:52

                                                                        16   your conduct and that's what you've used this                  12:24:56

                                                                        17   entire deposition to do.                                       12:25:00

                                                                        18   BY MR. STERN:                                                  12:25:02

                                                                        19       Q   Mr. White?                                             12:25:04

                                                                        20       A   Yes, sir.     Can you say the question again?          12:25:05

                                                                        21       Q   Why did you think it was going to be                   12:25:07

                                                                        22   helpful in giving Mr. Jordan context about this                12:25:09


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                                                                                                     Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 219 of 263

                                                                                                   Conducted on November 29, 2021         217

                                                                        1    lawsuit?                                                           12:25:13

                                                                        2        A    Well, you keep calling it litigation and                  12:25:14

                                                                        3    lawsuit but I think it was a wrongful termination                  12:25:18

                                                                        4    and I thought it would help Mr. Jordan understand                  12:25:20

                                                                        5    why Mr. Boshea was terminated in my opinion.                       12:25:23

                                                                        6        Q    Well, when -- so you think it has                         12:25:28

                                                                        7    something to do with his termination.           I'm going          12:25:30

                                                                        8    to go down then to the last paragraph.            "I share         12:25:32

                                                                        9    this with you because I believe that David Boshea                  12:25:35

                                                                        10   was terminated because he refused to go along with                 12:25:38

                                                                        11   a new investment scam initiative.           I say that             12:25:41

                                                                        12   because as soon as he was terminated, a new                        12:25:43

                                                                        13   Tagnetics was created in Wyoming (Smart Retail,                    12:25:46

                                                                        14   LLC)."                                                             12:25:50

                                                                        15            When was Smart Retail created?                            12:25:51

                                                                        16            MR. JORDAN:     Objection to the relevance to             12:25:53

                                                                        17   the lawsuit.                                                       12:25:55

                                                                        18       A    You created it so --                                      12:25:56

                                                                        19            MR. STERN:     It goes to his credibility.                12:25:57

                                                                        20   Go ahead.                                                          12:25:59

                                                                        21            MR. MARCUS:     His credibility --                        12:26:00

                                                                        22


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 220 of 263

                                                                                                  Conducted on November 29, 2021         218

                                                                        1            MR. JORDAN:     No, it has no relevance to                12:26:00

                                                                        2    anything.                                                         12:26:02

                                                                        3    BY MR. STERN:                                                     12:26:03

                                                                        4        Q   Mr. White, when was Smart Retail created?                 12:26:04

                                                                        5            MR. JORDAN:     Objection, relevance.                     12:26:08

                                                                        6            MR. MARCUS:     Mr. Stern, you have now                   12:26:09

                                                                        7    revealed the exact reason to attack Mr. White's                   12:26:10

                                                                        8    credibility which has nothing to do with this                     12:26:15

                                                                        9    case.   What you --                                               12:26:18

                                                                        10           MR. STERN:     Credibility is always relevant             12:26:20

                                                                        11   and this is showing that he's lying here because                  12:26:21

                                                                        12   he knows that Smart Retail was created a year                     12:26:24

                                                                        13   before Mr. Boshea was terminated.                                 12:26:27

                                                                        14           MR. JORDAN:     First off, what relevance                 12:26:30

                                                                        15   does that have to the fact that it was created a                  12:26:33

                                                                        16   year before?    I don't follow this line at all.                  12:26:35

                                                                        17           MR. STERN:     (Inaudible) the credibility                12:26:39

                                                                        18   that this is just a smear campaign by Mr. White as                12:26:40

                                                                        19   evidenced by the prior e-mail where he's being                    12:26:44

                                                                        20   asked to provide all sorts of information that has                12:26:46

                                                                        21   nothing to do with this lawsuit.         This is just his         12:26:49

                                                                        22   attempt --                                                        12:26:52


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 221 of 263

                                                                                                 Conducted on November 29, 2021    219

                                                                        1           MR. JORDAN:     You're right, it has nothing         12:26:54

                                                                        2    to do with the lawsuit.                                     12:26:55

                                                                        3           MR. STERN:     -- to tar and feather Compass         12:26:55

                                                                        4    Marketing and to distract with irrelevant                   12:26:57

                                                                        5    information and to assist at the same time by               12:27:00

                                                                        6    providing documents about this lawsuit.                     12:27:03

                                                                        7           MR. MARCUS:     What you have basically done         12:27:10

                                                                        8    is now confirmed our suspicions that this                   12:27:12

                                                                        9    deposition has nothing to do with anything other            12:27:14

                                                                        10   than trying to develop a record to defend yourself          12:27:16

                                                                        11   in other tribunals for investigations that are now          12:27:19

                                                                        12   being conducted.                                            12:27:22

                                                                        13          MR. STERN:     I have no idea what you're            12:27:23

                                                                        14   talking about.                                              12:27:24

                                                                        15          MR. MARCUS:     I know you don't.                    12:27:25

                                                                        16          MR. STERN:     This is about documents that          12:27:28

                                                                        17   your client produced in this lawsuit and it's               12:27:29

                                                                        18   about a supposed owner of this company                      12:27:33

                                                                        19   communicating extensively with the opposing party           12:27:37

                                                                        20   and his counsel about the very lawsuit that's               12:27:40

                                                                        21   being brought against his company.                          12:27:43

                                                                        22


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                                                                                                   Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 222 of 263

                                                                                                 Conducted on November 29, 2021           220

                                                                        1           MR. BOSHEA:     Let's right a wrong.                        12:27:48

                                                                        2           MR. JORDAN:     David, turn off your                        12:27:52

                                                                        3    microphone and be quiet.                                           12:27:53

                                                                        4           MR. STERN:     And when he says a false                     12:27:54

                                                                        5    statement I'm allowed to explore it.                               12:27:56

                                                                        6           MR. MARCUS:     Your idea of what false                     12:27:58

                                                                        7    statements are and positions that have been                        12:28:00

                                                                        8    assumed by this company and what is right and what                 12:28:02

                                                                        9    is wrong, you're entitled to that.         What you're             12:28:05

                                                                        10   not entitled to do is to call somebody who is a                    12:28:08

                                                                        11   nonparty, make these claims and then attempt to                    12:28:10

                                                                        12   smear them and make these allegations that you                     12:28:13

                                                                        13   have made in order for further discovery in a case                 12:28:16

                                                                        14   involving the company and Mr. Boshea.         Mr. White            12:28:19

                                                                        15   is not, and I repeat, not a party to this                          12:28:27

                                                                        16   litigation.                                                        12:28:29

                                                                        17          MR. STERN:     But he's certainly helping a                 12:28:29

                                                                        18   party in this litigation and I'm allowed to                        12:28:31

                                                                        19   explore that.                                                      12:28:35

                                                                        20          MR. MARCUS:     You're going to have to                     12:28:37

                                                                        21   explain that because the only issues that I                        12:28:39

                                                                        22   understand are Mr. Boshea and Compass.          That's it.         12:28:42


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                                                                                                    Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 223 of 263

                                                                                                  Conducted on November 29, 2021          221

                                                                        1    You got claims that you think you need to make                     12:28:48

                                                                        2    then I assume that you'll make them.          You have not         12:28:50

                                                                        3    done so and we are at --                                           12:28:53

                                                                        4            MR. STERN:     Per a piece of this e-mail                  12:28:57

                                                                        5    that your client sent he's purporting that it                      12:28:58

                                                                        6    relates to this lawsuit and I want to try to                       12:29:01

                                                                        7    understand why.                                                    12:29:04

                                                                        8            MR. MARCUS:     Okay, you'll have an                       12:29:05

                                                                        9    opportunity to do that another occasion.                           12:29:07

                                                                        10   BY MR. STERN:                                                      12:29:12

                                                                        11       Q   Mr. White?                                                 12:29:12

                                                                        12           MR. MARCUS:     It's 12:30, sir.      Thank you            12:29:14

                                                                        13   very much.                                                         12:29:16

                                                                        14           MR. STERN:     This deposition is not over.                12:29:17

                                                                        15   We reserve the right to continue it.          We did not           12:29:19

                                                                        16   get through all the material today that I needed                   12:29:21

                                                                        17   to cover.     There's only a small fraction of the                 12:29:23

                                                                        18   documents that Mr. White produced.          He was                 12:29:26

                                                                        19   evasive.     You spent a lot of time with speaking                 12:29:28

                                                                        20   objections and trying to interfere with this                       12:29:31

                                                                        21   deposition.     We will take it up with the Court.                 12:29:33

                                                                        22   Thank you very much.                                               12:29:35


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                                                                                                      Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 224 of 263

                                                                                                    Conducted on November 29, 2021          222

                                                                        1              THE VIDEOGRAPHER:      We are now going off                12:29:38

                                                                        2    record.     This marks the end of the deposition for                 12:29:39

                                                                        3    today.     The time is 12:30 p.m.                                    12:29:41

                                                                        4              (Discussion off the video record.)                         12:29:41

                                                                        5              THE REPORTER:      Can I get your transcript               12:29:41

                                                                        6    order, please?                                                       12:29:44

                                                                        7              MR. JORDAN:     We'll order the electronic                 12:31:05

                                                                        8    version only.     We don't need a video.                             12:31:08

                                                                        9              MR. STERN:     We'll have both.                            12:31:15

                                                                        10             MR. MARCUS:     We will let you know.          Can         12:31:18

                                                                        11   you make sure that we have your information?                         12:31:20

                                                                        12   We're only going to need, if anything, an                            12:31:23

                                                                        13   electronic copy if you please.                                       12:31:26

                                                                        14             MR. STERN:     Video and the transcript                    12:31:36

                                                                        15   that's searchable by terms and can be printed in                     12:31:41

                                                                        16   full copy and Minuscript as well.                                    12:31:43

                                                                        17             (Off the record at 12:32 p.m.)

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                                                                                                 Transcript of Daniel J. White
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 225 of 263

                                                                                               Conducted on November 29, 2021     223

                                                                        1            CERTIFICATE OF SHORTHAND REPORTER-

                                                                        2                        NOTARY PUBLIC

                                                                        3

                                                                        4            I, Vicki L. Forman, Court Reporter, the

                                                                        5    officer before whom the foregoing proceedings were

                                                                        6    taken, do hereby certify that the foregoing

                                                                        7    transcript is a true and correct record of the

                                                                        8    proceedings; that said proceedings were taken by

                                                                        9    me stenographically and thereafter reduced to

                                                                        10   typewriting under my supervision; and that I am

                                                                        11   neither counsel for, related to, nor employed by

                                                                        12   any of the parties to this case and have no

                                                                        13   interest, financial or otherwise, in its outcome.

                                                                        14           IN WITNESS WHEREOF, I have hereunto set my

                                                                        15   hand and affixed my notarial seal this 3rd day of

                                                                        16   December, 2021.

                                                                        17   My Commission Expires:

                                                                        18   June 24, 2024

                                                                        19

                                                                        20   _______________________________

                                                                        21   NOTARY PUBLIC IN AND FOR

                                                                        22   THE STATE OF MARYLAND


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                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       224
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 226 of 263




                                                                                A         131:13, 155:9,       adverse           118:13, 129:10,
                                                                        ability           163:9, 169:22,       22:19, 189:16,    137:10, 140:14,
                                                                        24:8, 25:14,      170:13, 171:1,       189:17, 193:10,   141:14, 141:18,
                                                                        27:9              171:2, 171:8,        195:17            142:20, 144:7,
                                                                        able              171:18, 173:6,       advice            144:16, 146:10,
                                                                        27:14, 47:18,     196:22, 206:20,      79:15, 81:13,     149:12, 151:7,
                                                                        56:18, 97:16,     207:15               84:20, 115:13     152:13, 153:8,
                                                                        130:20, 136:19,   accounting           advil             159:9, 161:12,
                                                                        137:14            173:5, 173:8,        39:18, 42:17,     162:3, 190:7,
                                                                        absolutely        173:10               43:4              191:10, 191:15,
                                                                        30:14, 73:9,      accurate             advise            197:20, 198:17,
                                                                        75:17             18:4                 83:12             199:19, 216:5,
                                                                        abundance         action               advised           216:20
                                                                        13:19             1:6, 74:19           47:3              against
                                                                        abuse             actions              advising          48:18, 49:16,
                                                                                          120:3, 146:2,        80:13, 81:8,      55:13, 55:22,
                                                                        195:7                                                    57:13, 57:16,
                                                                        access            146:5, 216:15        82:16, 83:3,
                                                                                          activity             84:1              58:5, 58:16,
                                                                        196:22, 197:1,                                           59:3, 59:12,
                                                                        197:5, 197:9,     98:17                advisor
                                                                                          acts                 9:10, 9:12,       60:2, 60:10,
                                                                        197:12, 198:9,                                           65:1, 66:20,
                                                                        199:3, 199:16,    147:7                82:2
                                                                                          actually             affixed           68:15, 69:1,
                                                                        199:21, 200:3,                                           69:10, 71:19,
                                                                        200:6, 205:22,    8:20, 10:19,         223:15
                                                                                          31:17, 61:15,        after             77:12, 77:14,
                                                                        206:4, 206:11,                                           82:4, 82:17,
                                                                        206:15, 206:21,   80:16, 108:8,        16:14, 36:22,
                                                                                          144:22, 173:3        93:4, 108:11,     83:4, 83:12,
                                                                        207:15, 207:21                                           84:1, 84:20,
                                                                        accessing         add                  108:15, 131:6,
                                                                                          216:9                159:12, 159:19    86:12, 86:18,
                                                                        199:16, 200:16,                                          87:10, 89:4,
                                                                        207:20, 208:7     addition             afternoon
                                                                                          14:8                 54:19             100:6, 100:14,
                                                                        accommodated                                             100:22, 101:6,
                                                                        196:15            additional           ag
                                                                                          196:11               169:1, 169:7      101:16, 147:19,
                                                                        accompanied                                              147:20, 183:16,
                                                                        15:10             address              again
                                                                                          28:13, 77:4,                           184:2, 191:7,
                                                                        according                              18:16, 18:20,     192:20, 194:3,
                                                                        21:16, 22:5,      153:21, 156:4,       19:9, 31:21,
                                                                                          200:17                                 219:21
                                                                        24:12, 46:14,                          34:16, 35:11,     agent
                                                                        169:16, 183:8,    addressee            41:5, 41:9,
                                                                                          127:5                45:8, 49:4,       62:4, 62:10
                                                                        186:2                                                    agents
                                                                        account           addressees           56:20, 58:2,
                                                                                          126:22               59:15, 63:8,      121:16, 121:18,
                                                                        95:4, 95:6,                                              122:2, 122:12
                                                                        95:16, 95:17,     addressing           66:9, 67:15,
                                                                                                               69:18, 72:3,      ago
                                                                        96:6, 96:19,      27:7
                                                                                          adds                 79:1, 81:6,       20:5, 39:11,
                                                                        97:3, 97:6,                                              39:16, 102:14,
                                                                        97:9, 97:13,      182:9                82:20, 83:20,
                                                                                                               84:4, 90:13,      102:16, 133:1,
                                                                        126:14, 130:15,   admonish                               138:22, 178:17,
                                                                        130:21, 131:3,    195:10               92:12, 92:21,
                                                                                                               96:3, 101:10,     193:2, 193:4
                                                                        131:11, 131:12,   admonished                             agree
                                                                                          185:12, 185:17       111:15, 113:19,
                                                                                                                                 161:17, 169:9,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       225
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 227 of 263




                                                                        173:19, 173:20,   12:4, 16:17,         96:12, 96:14,     28:1, 28:2,
                                                                        178:12, 182:4,    17:3, 25:7,          136:22            28:4, 28:10,
                                                                        182:6, 203:2      30:4, 37:14,         always            33:10, 43:8,
                                                                        agreed            66:11, 76:11,        76:19, 76:20,     43:20, 45:1,
                                                                        157:2, 159:19,    77:11, 77:14,        218:10            46:3, 74:4,
                                                                        172:9, 173:2,     85:13, 113:10,       ambit             74:5, 75:9,
                                                                        173:4, 181:21     116:15, 116:19,      184:3, 184:7      114:11, 114:21,
                                                                        agreeing          132:12, 133:5,       amended           115:3, 115:18,
                                                                        170:3             139:9, 146:2,        5:14, 28:1,       116:8, 146:13
                                                                        agreement         147:1, 147:4,        114:11            anybody
                                                                        2:8, 20:15,       148:10, 157:3,       among             11:4, 11:5,
                                                                        30:1, 31:13,      160:7, 166:12,       22:14             162:4
                                                                        33:13, 34:15,     180:4, 181:8,        amount            anymore
                                                                        43:22, 70:1,      181:22, 186:13,      143:16, 159:18,   140:12
                                                                        70:4, 71:8,       194:7, 197:14,       165:19            anyone
                                                                        79:17, 79:19,     198:6, 200:18,       amounts           11:15, 107:5,
                                                                        99:12, 99:15,     210:5, 211:10,       174:3, 174:14     171:7, 200:2
                                                                        118:20, 133:7,    211:11, 218:16,      annapolis         anything
                                                                        144:20, 144:21,   218:20, 221:16       3:18, 49:17       15:1, 36:14,
                                                                        152:22, 153:3,    allegations          annette           36:16, 36:19,
                                                                        156:11, 157:11,   186:17, 186:20,      49:9, 49:11       41:1, 44:15,
                                                                        157:13, 157:15,   220:12               another           55:21, 56:8,
                                                                        158:1, 158:5,     allow                14:15, 85:8,      56:22, 57:4,
                                                                        158:7, 158:12,    29:15                113:11, 154:5,    60:9, 60:14,
                                                                        158:14, 158:15,   allowed              165:5, 167:9,     75:7, 89:12,
                                                                        159:1, 159:4,     146:13, 220:5,       171:16, 186:22,   92:15, 92:19,
                                                                        159:6, 159:7,     220:18               194:22, 195:3,    94:14, 101:19,
                                                                        159:11, 159:14,   almost               221:9             133:4, 141:5,
                                                                        163:2, 172:20,    184:11, 201:10,      answered          156:13, 160:6,
                                                                        173:3, 174:14,    207:6, 213:7         27:12, 34:11,     163:17, 163:20,
                                                                        175:6, 178:17,    along                34:12, 59:15,     164:2, 164:5,
                                                                        178:20, 179:2,    214:16, 217:10       63:22, 65:3,      177:9, 178:12,
                                                                        179:12, 179:19,   already              70:8, 71:10,      183:18, 188:5,
                                                                        180:3, 183:10,    141:6, 174:22        71:21, 78:22,     188:7, 200:8,
                                                                        186:1, 187:15,    also                 84:12, 84:14,     201:1, 207:7,
                                                                        209:12, 209:15    4:11, 7:22,          84:17, 85:3,      207:21, 209:14,
                                                                        agreements        8:3, 10:8,           88:21, 89:7,      218:2, 219:9,
                                                                        78:20             10:14, 14:5,         101:10, 144:7,    222:12
                                                                        ahead             17:1, 21:10,         159:9, 179:16,    apart
                                                                        18:14, 18:21,     21:13, 21:22,        179:22, 194:11,   148:16, 186:13
                                                                        19:16, 39:15,     40:12, 135:10,       194:12            apologies
                                                                        41:12, 43:2,      199:10, 199:15,      answering         61:11
                                                                        56:17, 58:1,      203:8, 204:12        14:20, 15:2,      apparently
                                                                        63:5, 64:12,      alterations          135:15, 140:11,   46:19, 167:2,
                                                                        72:2, 110:16,     135:2                213:10            208:10
                                                                        123:9, 151:6,     altered              answers           appear
                                                                        176:5, 217:20     95:15, 95:17,        5:13, 14:4,       27:4, 62:2,
                                                                        all               95:19, 96:5,         14:6, 27:20,      63:11, 66:13,
                                                                        7:11, 9:18,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       226
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 228 of 263




                                                                        130:7, 130:11,    63:21, 64:7,         187:20, 200:4,    121:6, 124:20,
                                                                        142:10, 146:2,    64:14, 65:2,         200:6, 202:17,    136:20, 144:20,
                                                                        185:15            65:4, 65:7,          203:22, 204:3,    154:20, 156:8,
                                                                        appears           67:7, 67:17,         209:11, 209:13    157:6, 161:5,
                                                                        7:7, 17:11,       67:22, 68:3,         asks              166:20, 167:10,
                                                                        17:16, 18:2,      70:7, 71:9,          91:2              168:19, 169:12,
                                                                        66:17, 105:8,     71:20, 75:10,        assist            176:20, 202:3,
                                                                        114:17, 117:20,   75:21, 76:4,         219:5             213:9
                                                                        124:17, 125:6,    78:22, 79:11,        assistance        attachment
                                                                        126:18, 126:19,   85:3, 88:20,         101:6             66:15, 90:12,
                                                                        130:12, 131:13,   89:6, 90:21,         assume            94:18, 95:6,
                                                                        138:13, 138:21,   91:4, 93:5,          10:2, 10:7,       95:11, 116:22,
                                                                        140:21            101:9, 122:15,       11:20, 14:10,     133:17, 134:3,
                                                                        appropriate       126:9, 138:19,       20:9, 57:11,      134:7, 134:11,
                                                                        32:13, 82:15,     140:13, 143:10,      63:3, 140:6,      134:12, 134:14,
                                                                        83:2, 83:9,       144:6, 145:4,        198:19, 204:21,   134:20, 135:5,
                                                                        189:15, 190:9,    150:8, 159:8,        205:17, 221:2     135:8, 135:10,
                                                                        191:4, 191:13,    168:9, 172:12,       assumed           136:2, 136:4,
                                                                        191:18, 195:15    172:20, 177:12,      220:8             136:20, 137:13,
                                                                        approximately     179:15, 179:22,      assumes           137:15, 137:22,
                                                                        40:4, 54:18,      185:10, 185:18,      73:4, 90:6,       142:18, 145:11,
                                                                        123:17, 123:21    194:12, 196:1,       90:13, 92:15,     150:10, 154:10,
                                                                        architect         196:3, 199:16,       93:9, 109:17,     162:15, 162:16,
                                                                        187:17            201:8, 203:3,        110:3, 111:20,    164:2, 212:21
                                                                        aren't            208:10, 209:6,       144:15, 161:1     attachments
                                                                        209:19            211:17, 218:20       assuming          96:19, 97:3,
                                                                        argue             asking               10:15, 141:5,     97:8, 97:17,
                                                                        165:14, 184:4,    9:16, 14:2,          203:12            97:20, 115:10,
                                                                        184:15, 186:18    14:18, 17:14,        attach            164:4
                                                                        argumentative     29:2, 29:6,          90:10             attack
                                                                        101:1, 103:8,     30:6, 31:3,          attached          218:7
                                                                        103:14, 103:20,   31:8, 32:2,          5:10, 15:22,      attempt
                                                                        104:4, 128:9,     33:7, 33:9,          28:7, 43:11,      218:22, 220:11
                                                                        139:19, 152:9,    33:11, 34:9,         47:11, 53:15,     attempted
                                                                        153:17            37:4, 46:1,          60:21, 62:10,     197:11, 198:9,
                                                                        arisen            63:15, 64:13,        65:13, 67:8,      199:3, 199:20
                                                                        148:14            64:16, 64:17,        67:18, 80:5,      attempting
                                                                        around            66:3, 66:14,         85:18, 89:18,     201:14
                                                                        173:2             67:19, 68:5,         90:1, 90:2,       attending
                                                                        articulated       69:13, 74:12,        90:7, 90:14,      7:12, 44:18,
                                                                        76:14             74:16, 75:9,         91:11, 92:4,      45:9
                                                                        asked             76:12, 76:13,        92:14, 92:16,     attention
                                                                        11:14, 14:11,     86:20, 87:2,         92:20, 97:12,     20:6, 20:8,
                                                                        27:11, 34:11,     90:18, 92:21,        98:5, 98:13,      21:10, 22:10,
                                                                        58:19, 59:6,      93:19, 98:3,         105:1, 105:10,    28:15, 61:2,
                                                                        59:10, 59:14,     115:12, 133:21,      105:13, 107:18,   79:21, 91:22,
                                                                        59:16, 59:20,     137:1, 137:3,        114:3, 114:10,    153:22, 185:16
                                                                        60:1, 60:6,       143:5, 168:14,       117:3, 119:16,    attorney
                                                                                                                                 10:13, 12:16,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Daniel J. White
                                                                                             Conducted on November 29, 2021                       227
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 229 of 263




                                                                        12:22, 13:14,    b)(3)(a              bcc               200:20, 201:15,
                                                                        22:12, 22:17,    74:12, 74:22,        128:2, 128:7,     208:20, 209:22,
                                                                        48:16, 149:15,   201:4                128:14, 128:19,   213:21, 214:9,
                                                                        149:19, 150:1,   back                 132:7, 132:16,    220:7
                                                                        169:3, 172:22,   21:11, 27:18,        133:10, 133:12    before
                                                                        193:14           53:7, 113:8,         bcc'd             2:8, 8:18,
                                                                        attorney's       122:20, 126:22,      132:4             13:17, 14:22,
                                                                        12:19, 13:4,     150:7, 166:11,       beard             26:3, 26:4,
                                                                        13:9, 40:13,     166:16, 168:15,      3:16              28:11, 30:16,
                                                                        40:18, 41:8,     168:18, 173:13,      became            36:21, 37:5,
                                                                        41:15, 41:17,    181:1, 181:20,       42:14             37:7, 37:10,
                                                                        41:20, 42:2,     182:16, 207:11       because           37:19, 39:2,
                                                                        42:5, 42:8,      background           22:14, 27:3,      42:7, 43:19,
                                                                        42:11            130:17               30:8, 30:22,      50:9, 67:10,
                                                                        audible          bad                  49:14, 52:7,      81:19, 94:5,
                                                                        113:17           76:15, 76:17,        52:13, 53:5,      94:8, 94:11,
                                                                        audio            185:6                76:3, 76:17,      111:4, 120:3,
                                                                        10:18            badgering            81:10, 125:19,    126:8, 126:11,
                                                                        august           198:11               126:2, 142:21,    134:18, 146:19,
                                                                        15:18, 27:22,    balances             145:18, 146:2,    157:18, 158:11,
                                                                        98:10, 98:22,    203:20               172:1, 172:20,    165:4, 165:6,
                                                                        101:14           bank                 172:21, 184:10,   167:6, 168:14,
                                                                        authentic        163:15, 165:20,      190:1, 196:18,    183:8, 185:9,
                                                                        162:13           167:11, 167:17,      210:7, 212:19,    196:9, 201:5,
                                                                        authenticate     172:1                213:16, 214:9,    203:16, 218:13,
                                                                        139:2, 139:10,   based                214:15, 214:16,   218:16, 223:5
                                                                        139:12           22:3, 27:16,         217:9, 217:10,    beg
                                                                        authority        50:6, 74:5,          217:12, 218:11,   198:2
                                                                        23:21, 24:2,     195:7                220:21            began
                                                                        24:10, 177:15,   basically            become            42:8, 168:13
                                                                        191:1, 191:2     219:7                38:21             begin
                                                                        authorize        basis                been              8:18, 113:7
                                                                        23:7, 206:15     30:11, 30:14,        8:14, 13:7,       begins
                                                                        authorized       72:16, 73:14,        13:8, 13:17,      7:2, 166:17
                                                                        25:13            74:9, 78:8,          25:10, 30:15,     behalf
                                                                        authorizing      145:22, 149:14,      41:10, 41:20,     3:3, 3:13, 4:1,
                                                                        162:21, 188:7    199:12               41:22, 42:3,      9:5, 25:10,
                                                                        availability     bateman              42:4, 42:10,      25:13, 25:15,
                                                                        196:20           4:12, 7:18,          43:15, 53:6,      27:10, 39:17,
                                                                        avoid            8:22, 12:1,          108:4, 108:9,     178:20, 179:3,
                                                                        84:6             208:20               146:9, 160:21,    179:13, 179:17,
                                                                        aware            bates                165:4, 165:9,     187:8, 187:21,
                                                                        33:5, 148:17     47:8, 60:16,         165:10, 167:6,    188:2, 188:11,
                                                                                 B       89:16, 91:9,         183:11, 184:10,   188:20, 189:9
                                                                                         98:9, 104:19,        190:18, 190:19,   behest
                                                                        b                                     190:20, 192:12,   147:11, 186:10
                                                                        149:8            107:14, 113:11,
                                                                                         154:2, 154:4         192:13, 192:14,   being
                                                                        b)(3                                  194:2, 199:16,    10:16, 11:16,
                                                                        195:9            battle
                                                                                         22:8



                                                                                                      PLANET DEPOS
                                                                                         888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       228
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 230 of 263




                                                                        14:4, 14:11,      berman               116:7, 147:19     bunch
                                                                        17:21, 22:5,      197:22               both              14:3
                                                                        24:18, 44:15,     bernie               10:17, 18:9,      business
                                                                        53:19, 60:17,     204:13, 204:14,      19:7, 158:14,     23:11, 72:15,
                                                                        113:14, 116:21,   204:15, 204:20,      158:16, 222:9     83:11, 83:16,
                                                                        121:4, 133:15,    205:15, 209:1        bottom            83:22, 84:5,
                                                                        140:17, 167:16,   besides              48:3, 158:8       132:8, 203:20
                                                                        187:12, 187:17,   124:2, 203:6         bounce                     C
                                                                        189:9, 211:17,    best                 172:3             calculate
                                                                        218:19, 219:12,   13:21, 14:16,        bounds            131:8
                                                                        219:21            14:19, 19:5,         148:5             call
                                                                        belief            112:7, 129:15        box               71:10, 86:4,
                                                                        214:11, 215:21    better               95:20, 95:21      106:9, 220:10
                                                                        believe           212:17               breach            called
                                                                        12:12, 17:22,     between              74:18, 78:16      32:17
                                                                        23:20, 24:9,      31:20, 39:21,        break             calling
                                                                        25:13, 25:14,     77:9, 97:6,          108:2, 108:10,
                                                                        42:5, 46:12,                                             217:2
                                                                                          120:2, 147:7,        108:15, 108:17,   calls
                                                                        49:8, 52:16,      174:20, 210:21       113:2, 150:2,
                                                                        52:18, 52:22,                                            24:4, 27:13,
                                                                                          beyond               165:6, 165:15,    50:14, 83:14,
                                                                        53:3, 72:16,      24:16, 146:10,       166:10, 168:14
                                                                        73:2, 76:14,                                             95:8, 110:4,
                                                                                          185:6, 195:11        brief             115:5, 118:2,
                                                                        76:16, 82:7,      bias                 73:13, 113:6,
                                                                        88:4, 88:10,                                             137:16, 139:6,
                                                                                          184:9                166:15            145:2, 150:12,
                                                                        103:10, 103:16,   binder               bring
                                                                        103:22, 104:6,                                           188:21, 190:14,
                                                                                          61:9                 75:19             190:15, 194:17,
                                                                        104:16, 105:22,   bit                  bringing
                                                                        106:8, 106:11,                                           202:19, 206:5
                                                                                          21:7, 180:22         100:6, 189:18,    came
                                                                        107:12, 123:4,    blind                191:7
                                                                        129:4, 134:6,                                            39:2, 40:1,
                                                                                          127:7, 127:8,        brings            94:3, 99:21,
                                                                        134:10, 145:15,   127:13, 132:18       147:13
                                                                        151:15, 151:17,                                          139:13, 139:17,
                                                                                          blue                 brother           164:15, 164:18,
                                                                        180:2, 187:17,    106:12               44:1, 45:15,
                                                                        188:19, 189:11,                                          174:1
                                                                        190:9, 191:4,
                                                                                          board                46:2, 65:18,      camera
                                                                                          37:9, 37:18,         68:9, 68:10,      7:19
                                                                        193:8, 206:2,                          68:13, 186:11,
                                                                        214:15, 217:9     38:10, 39:2,                           campaign
                                                                                          39:19, 40:1,         190:19            218:18
                                                                        believed          44:18, 45:10,        brought
                                                                        122:1, 206:4                                             can't
                                                                                          45:15, 45:19         69:9, 69:20,      29:8, 29:9,
                                                                        believes          bonsib               70:6, 75:8,
                                                                        150:17, 151:2,                                           30:17, 30:18,
                                                                                          4:4                  75:13, 75:17,     111:9, 112:8,
                                                                        151:11            boshea's             76:18, 78:11,
                                                                        belongs                                                  129:16, 140:9,
                                                                                          27:20, 43:7,         86:11, 148:7,     149:21, 173:9,
                                                                        23:10             48:16, 64:17,        165:1, 214:17,
                                                                        below                                                    197:6
                                                                                          67:20, 86:18,        219:21            cancel
                                                                        17:3, 62:9,       87:1, 87:10,         bruce
                                                                        81:20                                                    172:2, 172:15
                                                                                          91:1, 114:10,        4:2, 10:19        canceling
                                                                        beneath           115:8, 115:11,       building
                                                                        167:9                                                    172:18
                                                                                                               10:10



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       229
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 231 of 263




                                                                        cannot            182:1, 182:13        173:16, 174:13,   183:21, 184:2,
                                                                        138:6, 144:10,    certainly            176:18, 177:2,    185:9, 187:16,
                                                                        144:11            25:21, 97:4,         177:6, 177:13,    216:2
                                                                        capacity          109:19, 187:19,      177:18, 178:9,    claiming
                                                                        9:1, 13:9,        220:17               180:7, 180:10,    213:22
                                                                        25:17             certificate          180:15, 181:1,    claims
                                                                        caption           223:1                181:6, 181:14,    41:10, 69:1,
                                                                        17:3              certify              182:17, 186:4     69:9, 69:20,
                                                                        carefully         223:6                checks            70:6, 77:10,
                                                                        23:3              certifying           169:20, 169:21,   147:19, 147:20,
                                                                        carved            195:6                170:5, 172:1,     169:3, 175:6,
                                                                        196:18            chairman             172:2, 172:17,    185:22, 201:15,
                                                                        case              9:11, 9:13,          172:18, 172:19,   220:11, 221:1
                                                                        7:6, 11:20,       9:15                 174:16, 174:17,   clarify
                                                                        25:8, 25:12,      chance               175:12, 175:13,   14:9, 122:18
                                                                        41:2, 46:20,      17:6, 28:21,         176:3, 176:7,     clark
                                                                        73:19, 74:15,     51:6, 66:10,         176:10, 176:11,   3:7
                                                                        98:17, 99:6,      80:17, 81:5,         176:12, 177:15,   clear
                                                                        110:2, 110:8,     125:7                181:12            10:12, 26:12,
                                                                        145:1, 146:18,    change               chicago           140:16, 143:11
                                                                        147:3, 160:8,     29:16, 201:10,       3:8, 34:21,       clearly
                                                                        179:8, 183:5,     214:13               35:14, 35:18,     199:15
                                                                        183:21, 186:17,   changed              35:20, 37:15,     client
                                                                        186:20, 186:21,   40:8, 96:18,         39:6, 39:11,      25:7, 25:10,
                                                                        187:5, 187:9,     136:1                39:17, 42:6,      43:5, 73:12,
                                                                        190:21, 192:4,    changes              42:16             75:5, 146:12,
                                                                        192:8, 195:17,    134:17, 136:6        chip              147:4, 147:9,
                                                                        197:16, 200:4,    characterization     167:18, 172:9,    195:16, 213:17,
                                                                        201:3, 201:9,     200:2                172:10, 172:13,   213:21, 219:17,
                                                                        201:12, 201:17,   check                172:21, 173:11,   221:5
                                                                        205:3, 211:16,    6:10, 6:11,          174:13, 174:22,   close
                                                                        215:3, 218:9,     161:5, 161:14,       182:1, 182:13     172:21, 173:1
                                                                        220:13, 223:12    161:15, 162:16,      choice            closed
                                                                        cases             162:21, 163:7,       201:12            10:11
                                                                        196:4, 204:13     163:11, 163:14,      circle            closest
                                                                        cashier's         163:18, 163:19,      27:18, 53:7       92:2
                                                                        174:13, 176:11,   163:21, 164:7,       circles           cockamamie
                                                                        181:12            164:18, 164:20,      140:15            187:16
                                                                        cashing           164:21, 165:16,      circulated        collaboratively
                                                                        181:6             165:18, 165:19,      168:12            51:12, 51:15
                                                                        cause             165:20, 167:5,       circumstance      collateral
                                                                        27:5              167:10, 167:16,      85:5              25:19, 26:1,
                                                                        caution           167:22, 168:3,       civil             26:2, 26:22,
                                                                        13:19             168:4, 168:13,       1:6, 192:13       73:7, 74:21,
                                                                        ccd               168:18, 169:12,      claim             78:12, 148:1,
                                                                        154:11            169:13, 169:16,      75:2, 100:21,     148:4, 148:15,
                                                                        cd                171:9, 171:17,       101:6, 129:2,     213:14, 216:10
                                                                        157:3, 181:22,    172:15, 173:15,      174:3, 183:16,    colleague
                                                                                                                                 114:9



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       230
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 232 of 263




                                                                        collect           9:17, 9:18,          compound          100:13, 101:6,
                                                                        102:14            10:17, 23:8,         112:6, 116:3,     102:19, 195:18,
                                                                        collected         23:12, 23:16,        164:10            208:3, 208:8,
                                                                        102:11, 102:12    37:19, 49:17,        computer          215:18
                                                                        com               52:15, 64:8,         11:2              consider
                                                                        126:14, 127:16,   68:15, 69:2,         concept           102:22, 189:3
                                                                        127:18, 129:20,   69:10, 73:1,         76:2, 136:7       considers
                                                                        129:21, 135:12,   74:17, 77:11,        concern           190:1
                                                                        135:13, 155:9,    77:12, 77:14,        211:12            consistent
                                                                        156:2             83:5, 83:13,         concerned         140:17
                                                                        come              84:2, 84:21,         172:1, 172:14     constitute
                                                                        9:9, 38:9,        87:10, 100:6,        conclude          17:14
                                                                        77:5, 126:21,     100:14, 100:22,      74:9              constraints
                                                                        169:21, 170:6,    101:7, 151:13,       conclusion        24:17
                                                                        170:12            153:2, 153:15,       24:5, 27:13,      consumed
                                                                        comes             157:17, 157:19,      139:6, 188:22,    15:1
                                                                        17:19, 77:19      178:21, 179:3,       190:15            contend
                                                                        coming            179:17, 192:15,      concocted         149:14, 188:10
                                                                        37:9, 37:18,      194:16, 209:15,      152:21, 186:7     contends
                                                                        39:19, 207:11     219:18, 219:21,      conduct           144:20, 145:11,
                                                                        commentary        220:8, 220:14        148:3, 216:16     150:9, 186:9
                                                                        99:22, 100:3,     compass's            conducted         content
                                                                        100:4, 101:15,    147:19               1:14, 2:2,        94:11
                                                                        103:6             compassmarketing-    219:12            contention
                                                                        commission        inc                  conducting        94:17, 135:5,
                                                                        223:17            155:9                78:8, 185:8       145:14, 151:19
                                                                        communicate       compelled            conference        contentions
                                                                        62:3              27:3                 117:18, 117:22,   135:15, 188:13
                                                                        communicated      complaining          120:13            context
                                                                        192:19            172:22               confirm           29:5, 29:10,
                                                                        communicating     complaint            16:13, 54:14      31:18, 32:8,
                                                                        25:10, 63:12,     24:15, 94:4,         confirmed         33:9, 54:2,
                                                                        77:13, 110:10,    94:7, 94:11,         219:8             100:9, 100:18,
                                                                        189:16, 190:10,   120:2, 146:9,        confused          100:21, 106:13,
                                                                        214:1, 219:19     160:7, 199:9,        158:18            148:13, 214:5,
                                                                        communication     200:8, 201:2,        confusing         215:8, 215:9,
                                                                        211:14            207:8                118:19, 193:19    215:10, 216:22
                                                                        communications    complete             connect           continue
                                                                        31:20, 63:19,     67:10                161:9             26:19, 216:6,
                                                                        110:8, 110:18,    completely           connected         221:15
                                                                        111:18, 112:3,    11:7, 69:14,         209:21            continued
                                                                        112:14, 112:19,   74:18, 137:5,        connection        5:22, 22:3,
                                                                        190:11, 193:15,   137:6, 187:2                           110:1, 195:7
                                                                                          complicated          11:14, 48:17,
                                                                        195:17                                 59:12, 66:19,     continues
                                                                        companies         27:15, 33:14,        82:3, 82:16,      53:13
                                                                        74:17, 203:12,    125:13               86:11, 86:17,     continuing
                                                                        214:5             comport              87:9, 88:17,      22:1
                                                                        company           127:11               93:22, 100:5,     contract
                                                                        7:18, 9:2, 9:4,                                          44:6, 74:19,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       231
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 233 of 263




                                                                        78:17, 80:11,     40:15, 48:18,        counsel           168:6, 174:22,
                                                                        80:14, 81:9,      48:19, 49:1,         7:13, 12:8,       175:7, 184:5,
                                                                        81:14, 119:22     53:12, 57:17,        15:10, 22:13,     184:16, 185:9,
                                                                        contretemps       58:6, 62:1,          23:7, 23:17,      185:12, 185:16,
                                                                        196:10            62:11, 66:12,        24:2, 24:9,       186:18, 195:10,
                                                                        contused          66:15, 66:16,        24:10, 25:11,     196:19, 201:5,
                                                                        130:4             90:10, 90:11,        25:13, 27:10,     221:21, 223:4
                                                                        conversation      95:13, 117:19,       30:14, 60:7,      cover
                                                                        14:15, 36:11,     126:8, 126:14,       72:22, 77:13,     221:17
                                                                        56:6, 59:1,       126:15, 126:17,      78:4, 78:20,      create
                                                                        87:17, 87:20,     126:18, 128:10,      79:11, 79:12,     133:17, 134:3,
                                                                        131:14, 138:14,   128:13, 128:15,      79:13, 79:14,     153:10
                                                                        140:22, 142:22,   128:20, 130:2,       89:8, 101:7,      created
                                                                        143:2, 144:2,     130:3, 130:10,       119:19, 124:8,    133:21, 136:14,
                                                                        144:12, 208:2     130:21, 131:7,       131:22, 136:18,   136:21, 137:15,
                                                                        conversations     131:12, 131:14,      192:20, 193:10,   153:13, 164:7,
                                                                        35:19, 35:22,     136:16, 136:22,      193:11, 193:16,   164:8, 183:8,
                                                                        36:3, 36:21,      137:15, 138:2,       193:19, 193:20,   217:13, 217:15,
                                                                        37:5, 37:8,       138:17, 155:17,      195:18, 196:20,   217:18, 218:4,
                                                                        37:13, 37:14,     161:7, 162:14,       203:7, 212:5,     218:12, 218:15
                                                                        37:20, 38:9,      163:15, 164:15,      216:11, 219:20,   credibility
                                                                        49:22, 103:1      164:19, 169:13,      223:11            76:19, 76:20,
                                                                        copied            169:17, 170:14,      counsel's         183:19, 183:20,
                                                                        49:14, 127:8,     173:18, 178:22,      193:21            183:21, 186:6,
                                                                        127:13, 200:13    180:8, 181:14,       counterclaim      186:16, 217:19,
                                                                        copperthite       182:1, 182:5,        98:18, 99:5,      217:21, 218:8,
                                                                        24:14             182:9, 182:14,       99:19, 100:10,    218:10, 218:17
                                                                        copy              182:15, 205:1,       100:18, 101:16,   current
                                                                        16:15, 61:10,     210:11, 223:7        103:6             12:18, 48:21,
                                                                        98:1, 114:10,     corrected            county            170:22
                                                                        121:10, 127:7,    167:21, 168:9        12:20, 49:12      customary
                                                                        128:2, 128:7,     correctly            couple            132:7, 132:10,
                                                                        128:19, 132:18,   128:8, 167:16,       126:4             132:16
                                                                        133:12, 156:7,    170:20, 173:14,      course            cut
                                                                        161:14, 167:10,   195:14               77:5, 185:17,     111:8
                                                                        168:3, 222:13,    could                196:5, 196:6               D
                                                                        222:16            9:14, 19:5,          court
                                                                                          23:3, 28:20,                           d
                                                                        corner                                 1:1, 2:9, 7:6,    15:21, 28:6,
                                                                        155:22, 173:21    36:13, 59:17,        8:7, 21:17,
                                                                                          67:14, 96:3,                           43:10, 47:10,
                                                                        corporation                            21:18, 21:22,     53:14, 60:20,
                                                                        190:3             119:9, 129:9,        24:17, 25:20,
                                                                                          129:15, 129:18,                        65:12, 80:4,
                                                                        correct                                26:3, 26:4,       85:17, 89:17,
                                                                        9:7, 10:4,        135:21, 172:12,      33:5, 73:13,
                                                                                          206:4, 208:11                          91:10, 98:12,
                                                                        11:21, 12:2,                           77:4, 77:18,      104:22, 107:17,
                                                                        15:8, 15:9,       couldn't             77:19, 105:17,
                                                                                          15:5, 39:15,                           114:2, 117:2,
                                                                        15:11, 15:14,                          116:14, 120:4,    121:5, 124:19,
                                                                        20:10, 20:11,     42:18, 57:22,        122:20, 135:18,
                                                                                          171:13                                 154:19, 166:19,
                                                                        21:15, 31:3,                           146:19, 148:17,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                 Transcript of Daniel J. White
                                                                                               Conducted on November 29, 2021                        232
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 234 of 263




                                                                        176:19, 202:2,     167:12, 167:17,      173:15, 176:18,    25:19, 26:21,
                                                                        212:4              168:4, 176:18,       177:3, 177:16,     27:2, 27:3,
                                                                        damages            177:2, 201:21,       223:16             28:6, 31:6,
                                                                        169:1              212:2                decide             31:7, 33:3,
                                                                        dan                dates                30:19              43:10, 47:10,
                                                                        61:9, 62:9,        39:10, 174:15        decided            53:14, 60:20,
                                                                        85:21, 89:22,      david                201:10             65:12, 69:13,
                                                                        108:2, 167:11,     1:4, 4:11, 7:4,      decision           73:18, 74:7,
                                                                        174:20, 202:16     7:22, 10:5,          214:6              75:5, 77:6,
                                                                        daniel             29:22, 31:12,        defend             78:9, 80:4,
                                                                        1:13, 2:1, 5:2,    33:12, 34:8,         68:15, 219:10      85:17, 89:17,
                                                                        7:3, 8:13,         34:10, 34:22,        defendant          91:10, 98:12,
                                                                        12:15, 20:10,      35:14, 35:18,        1:8, 3:13,         101:20, 102:8,
                                                                        28:17, 29:22,      35:21, 36:12,        7:16, 12:8         104:22, 107:17,
                                                                        30:12, 31:11,      37:8, 37:17,         defenses           114:2, 117:2,
                                                                        34:7, 34:9,        37:18, 38:21,        216:14             121:5, 124:19,
                                                                        34:21, 35:13,      39:1, 39:18,         definitely         146:8, 147:10,
                                                                        162:21, 167:11,    44:7, 50:17,         184:16             154:19, 166:19,
                                                                        167:17, 177:3,     61:10, 63:16,        deleted            176:19, 184:7,
                                                                        183:17, 184:2,     64:13, 64:19,        95:20              193:12, 195:7,
                                                                        184:8, 184:18      65:4, 71:13,         deleting           195:9, 196:20,
                                                                        danieljwhite@msn   71:14, 72:5,         96:9               200:19, 201:7,
                                                                        126:14             72:6, 79:2,          deletions          202:2, 207:6,
                                                                        data               88:22, 91:6,         135:3              207:9, 212:4,
                                                                        136:13             107:13, 108:7,       denying            213:22, 216:17,
                                                                        date               115:8, 115:11,                          219:9, 221:14,
                                                                                                                62:20              221:21, 222:2
                                                                        7:7, 38:6,         115:20, 121:10,      depends
                                                                        54:17, 126:20,     147:19, 147:20,                         depositions
                                                                                                                70:21, 85:5        13:15, 29:17,
                                                                        155:16, 203:20     150:4, 174:21,       deponent
                                                                        dated              184:13, 184:15,                         30:16
                                                                                           184:18, 186:14,      4:1, 22:4,         deputy
                                                                        47:22, 50:22,                           24:19, 110:13,
                                                                        51:1, 54:13,       187:14, 198:12,                         12:22
                                                                                           198:15, 209:8,       123:6, 147:7       designation
                                                                        57:8, 60:19,                            depos
                                                                        61:3, 64:4,        209:9, 214:15,                          9:9
                                                                                           217:9, 220:2         7:11, 8:8          designed
                                                                        65:17, 80:1,                            deposed
                                                                        85:11, 91:14,      day                                     146:3, 146:6
                                                                                           223:15               13:17              detail
                                                                        98:10, 98:21,                           deposition
                                                                        101:14, 104:20,    deal                                    180:5
                                                                                           42:17, 139:8,        1:12, 2:1,         details
                                                                        107:16, 113:13,                         5:11, 7:3, 7:12,
                                                                        113:15, 113:21,    143:17, 146:9                           36:8, 124:10
                                                                                           december             15:13, 15:21,
                                                                        113:22, 116:21,                         17:21, 18:10,      determined
                                                                        124:15, 124:17,    22:1, 53:20,                            22:3, 78:15
                                                                                           54:13, 80:1,         18:18, 19:8,
                                                                        126:17, 127:3,                          19:11, 20:1,       develop
                                                                        129:12, 134:13,    80:3, 80:9,                             219:10
                                                                                           81:20, 85:11,        21:12, 21:14,
                                                                        134:21, 143:4,                          21:16, 21:19,      development
                                                                        153:22, 155:10,    88:16, 89:1,                            20:14
                                                                                           165:17, 167:5,       21:22, 22:5,
                                                                        162:16, 165:16,                         24:12, 24:20,      difference
                                                                        167:5, 167:7,      167:18, 168:4,                          78:5, 210:21,
                                                                                                                24:22, 25:18,




                                                                                                        PLANET DEPOS
                                                                                           888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       233
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 235 of 263




                                                                        211:5             disclosure           119:21, 120:4,    104:19, 106:4,
                                                                        different         51:10, 51:19,        120:18, 120:21,   107:3, 107:11,
                                                                        127:1, 143:3,     51:21                124:11, 133:6,    109:4, 109:8,
                                                                        166:1             disclosures          159:22, 160:4,    109:11, 109:15,
                                                                        differently       52:5                 169:2, 191:6,     122:5, 145:12,
                                                                        153:11            discovery            205:8, 211:10,    150:11, 167:7,
                                                                        difficult         25:17, 27:4,         211:16            167:14, 178:1,
                                                                        135:22            41:2, 73:19,         disk              180:11, 181:17,
                                                                        dipaula           74:14, 104:2,        113:4, 113:7,     211:21, 215:11
                                                                        156:8, 156:12,    105:10, 105:13,      166:17            documents
                                                                        157:12, 157:14,   105:18, 105:20,      dispute           25:9, 47:15,
                                                                        157:16, 157:19,   106:2, 106:21,       174:20            66:18, 67:1,
                                                                        158:13, 158:19,   107:4, 107:9,        disqualified      86:10, 86:14,
                                                                        158:22, 159:5,    107:13, 116:2,       22:13             86:16, 87:9,
                                                                        159:10, 159:14,   120:7, 146:18,       distinguishes     89:3, 97:12,
                                                                        159:19, 159:22,   146:21, 148:3,       147:6             98:5, 102:7,
                                                                        160:22, 161:7,    185:18, 187:3,       distract          102:15, 103:18,
                                                                        162:17, 163:3,    195:12, 199:12,      219:4             104:8, 104:11,
                                                                        163:8, 163:12,    200:22, 216:13,      district          136:15, 183:12,
                                                                        167:13, 167:19,   220:13               1:1, 1:2, 7:5,    197:21, 198:3,
                                                                        169:3, 169:13,    discuss              7:6               200:5, 211:9,
                                                                        169:20, 170:4,    37:12, 54:20,        djw               219:6, 219:16,
                                                                        170:6, 170:9,     55:19, 55:21,        5:15, 5:16,       221:18
                                                                        170:14, 171:3,    56:8, 56:22,         5:17, 5:18,       doing
                                                                        171:9, 171:17,    66:22, 79:17,        5:19, 5:20,       26:22, 42:10,
                                                                        171:22, 173:12,   105:18, 105:20,      5:21, 6:1, 6:2,   43:16, 45:16,
                                                                        174:4, 174:13,    106:2, 106:20,       6:3, 6:4, 6:5,    47:2, 57:3,
                                                                        174:17, 175:1,    107:9, 107:13,       6:6, 6:7, 6:8,    64:6, 66:21,
                                                                        175:12, 175:19,   109:10, 118:8,       6:12, 6:13,       67:4, 69:14,
                                                                        176:12, 178:7,    118:16, 118:22,      47:8, 53:10,      73:14, 86:19,
                                                                        178:9, 178:18,    119:12, 121:18,      60:16, 65:11,     90:20, 93:3,
                                                                        178:21, 179:2,    124:3                79:22, 85:6,      99:18, 109:9,
                                                                        179:13, 181:12,   discussed            89:16, 91:9,      109:13, 112:17,
                                                                        182:1, 182:8,     39:19, 112:4,        98:9, 104:20,     115:1, 116:5,
                                                                        182:13, 185:3,    123:13, 124:9        107:15, 113:12,   117:13, 119:10,
                                                                        186:1, 186:6      discussing           113:20, 116:20,   119:14, 121:20,
                                                                        dipaula's         36:5, 55:18,         121:2, 124:13,    131:19, 133:20,
                                                                        163:4             79:19, 93:6,         201:19, 212:2     167:15, 171:16,
                                                                        direct            107:4, 124:2,        document          173:1, 204:9,
                                                                        20:7, 61:2,       124:7, 124:8,        15:17, 16:3,      205:6, 206:18
                                                                        193:15            191:20, 214:10       16:6, 18:11,      donald
                                                                        directly          discussion           18:21, 19:13,     4:14, 7:10
                                                                        22:19, 127:17,    39:20, 214:6,        47:14, 67:8,      done
                                                                        184:14, 194:15,   222:4                67:18, 73:12,     22:5, 96:21,
                                                                        209:9             discussions          80:16, 86:5,      135:3, 196:17,
                                                                        director          38:21, 64:1,         86:7, 86:21,      200:20, 219:7,
                                                                        38:14             93:16, 93:21,        89:15, 90:10,     221:3
                                                                        disclaims         119:6, 119:9,        90:14, 91:18,     door
                                                                        186:3                                                    10:11



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       234
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 236 of 263




                                                                        double-check      197:10, 197:12,      143:13, 161:19,   153:9, 190:20
                                                                        166:7             198:9, 199:3,        207:21, 214:9     enough
                                                                        down              199:14, 199:15,      else's            46:18, 170:17,
                                                                        20:8, 29:9,       199:17, 199:21,      33:10             209:20
                                                                        34:19, 75:22,     200:3, 200:6,        elsewhere         entered
                                                                        80:8, 135:18,     200:12, 200:14,      8:21              144:22
                                                                        180:22, 209:1,    200:15, 205:15,      employed          entire
                                                                        217:8             205:22, 206:4,       13:3, 41:20,      16:6, 113:18,
                                                                        download          206:11, 206:16,      41:22, 42:2,      216:17
                                                                        105:5             206:21, 207:16,      42:4, 223:11      entirety
                                                                        draft             207:20, 208:6,       employee          18:8, 54:5,
                                                                        94:4              208:7, 209:22        9:18, 38:10,      207:9
                                                                        drafted           each                 38:15, 38:17,     entitled
                                                                        109:3, 109:8,     14:17, 33:2,         38:22, 40:13,     220:9, 220:10
                                                                        109:11, 109:12,   110:18, 112:1,       49:11, 152:22,    equation
                                                                        109:16            112:4, 157:2,        153:13, 170:11,   75:8
                                                                        duces             168:7, 181:21,       170:21            esquire
                                                                        18:3, 18:9,       182:4, 182:8         employees         3:4, 3:14,
                                                                        18:18, 19:7,      earlier              48:21, 48:22,     3:15, 4:2, 4:3
                                                                        19:10, 22:11      41:19, 138:8         49:6, 49:16,      est
                                                                        due               easier               49:18, 83:17,     1:16
                                                                        170:11, 170:22,   16:9                 152:17, 169:19,   established
                                                                        174:4             economical           186:8             78:13
                                                                        duly              22:6                 employment        evade
                                                                        8:14              edit                 20:15, 36:6,      216:6
                                                                        during            134:7                36:9, 36:22,      evasive
                                                                        13:9, 21:12,      edited               37:16, 43:22,     221:19
                                                                        33:3, 35:19,      137:15               44:6, 133:7,      even
                                                                        36:7, 37:12,      edits                159:20, 175:6,    11:15, 14:4,
                                                                        42:1, 45:14,      135:3                209:12, 209:15    37:19, 96:20,
                                                                        45:19, 77:5       effect               encourage         113:17, 163:19,
                                                                        duties            46:3                 209:3             183:11, 186:3,
                                                                        40:16, 41:6       efficient            end               187:11, 188:4,
                                                                                 E        22:6                 21:14, 21:17,     190:1, 193:18
                                                                        e-mails           eight                21:19, 29:21,     event
                                                                        28:14, 66:6,      125:6                113:4, 158:10,    31:17, 196:9
                                                                        95:16, 95:17,     either               160:15, 222:2     ever
                                                                        95:19, 96:5,      36:21, 111:3,        ended             13:17, 36:15,
                                                                        96:12, 96:18,     143:12, 152:2,       140:2, 140:6,     152:21, 171:16,
                                                                        97:3, 97:5,       172:2, 197:5         147:13, 159:20    206:18, 207:18
                                                                        97:12, 98:5,      electronic           ending            every
                                                                        110:2, 112:11,    136:17, 222:7,       201:7             112:8, 140:6
                                                                        115:9, 115:11,    222:13               ends              everyone
                                                                        125:21, 126:3,    else                 140:7, 208:22     10:21, 166:8
                                                                        130:6, 132:8,     10:14, 11:1,         engage            everything
                                                                        132:16, 183:9,    11:12, 36:14,        187:3, 216:14     87:15, 87:21,
                                                                        197:2, 197:6,     44:14, 60:9,         engaged           88:4, 88:11,
                                                                                          60:14, 89:12,        22:16, 22:21,     200:20, 201:14




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       235
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 237 of 263




                                                                        evidence          expectation          184:22            false
                                                                        32:21, 73:4,      106:13, 106:20,      extract           33:15, 34:3,
                                                                        93:9, 109:18,     107:8, 107:12,       150:19, 151:13,   153:13, 186:7,
                                                                        110:4, 111:21,    116:1, 118:8,        152:5, 152:15,    186:9, 186:17,
                                                                        139:9, 144:16,    118:11, 118:16       153:1, 153:14     220:4, 220:6
                                                                        161:2, 206:6      expectations         extraneous        familiar
                                                                        evidenced         106:18               185:13, 187:2,    13:14, 136:7
                                                                        218:19            expecting            195:8, 207:10     far
                                                                        exact             82:9, 132:21,                 F        136:17, 209:15
                                                                        35:22, 39:10,     133:3                fact              fascinating
                                                                        40:9, 50:10,      expense              24:17, 72:19,     213:16
                                                                        123:16, 135:7,    180:3                72:22, 73:4,      fbi
                                                                        136:3, 188:8,     expenses             75:19, 81:11,     121:16, 121:18,
                                                                        218:7             157:4                146:19, 174:21,   122:2, 122:11
                                                                        exactly           experience           186:13, 199:11,   feather
                                                                        127:10, 139:13,   49:15                201:12, 206:6,    219:3
                                                                        139:14, 139:15,   expert               218:15            february
                                                                        191:14, 209:13,   89:9, 101:8,         facts             60:18, 60:19,
                                                                        209:18            103:12, 123:1,       71:11, 93:9,      61:3, 61:8,
                                                                        examination       123:11, 124:2,       100:21, 109:17,   61:12, 62:1,
                                                                        5:2, 12:8,        124:7, 137:17,       110:3, 111:20,    62:22, 63:10,
                                                                        143:12, 185:7     203:6                144:15, 161:1,    64:5
                                                                        examine           experts              187:14, 188:14,   federal
                                                                        136:19            122:13               190:16            32:21, 73:13
                                                                        example           expires              factual           fee
                                                                        60:6, 183:7,      223:17               70:8              78:20, 79:17,
                                                                        186:7, 213:20     explain              failed            79:19
                                                                        except            148:12, 220:21       185:11, 207:7     feel
                                                                        99:8, 170:6,      explanation          fair              87:15
                                                                        171:9             185:14               10:18, 32:8,      few
                                                                        excuse            explore              46:18, 57:15,     13:20, 21:11,
                                                                        103:2, 182:7      220:5, 220:19        58:3, 58:9,       55:1, 55:6,
                                                                        execution         express              58:12, 69:4,      165:7, 178:17
                                                                        20:14             99:16                71:12, 71:14,     fiduciary
                                                                        exhibits          extensive            72:4, 72:8,       190:2
                                                                        5:22, 8:5,        77:8, 195:16         72:10, 77:11,     fifth
                                                                        17:13, 165:8,     extensively          77:15, 81:21,     138:19, 140:12,
                                                                        165:15, 166:10,   25:11, 110:10,       83:17, 84:7,      143:9
                                                                        175:20, 180:21,   214:2, 219:19        128:16, 134:1,    figure
                                                                        182:19            extent               170:17            38:1, 61:14,
                                                                        exist             24:20, 73:6,         fairly            92:8, 187:1,
                                                                        130:14, 159:14    74:15, 77:2,         49:15, 68:20      212:15, 212:18
                                                                        existed           115:10, 148:2,       faith             figuring
                                                                        126:2, 145:12,    148:15, 184:9,       75:1, 76:15,      120:1
                                                                        159:16            186:21, 190:20,      76:17, 185:7      file
                                                                        existence         207:8                falls             77:3, 77:7,
                                                                        150:11            extra                186:13            77:8, 131:5,
                                                                        expect            182:20, 183:12,                        148:21, 149:3
                                                                        118:22



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                      236
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 238 of 263




                                                                        filed             firm                 81:15, 82:5,      139:14, 166:2
                                                                        15:17, 15:18,     8:3, 49:1,           83:6, 100:15,     foundation
                                                                        16:3, 16:20,      49:7, 49:10,         106:15, 112:21,   92:16, 115:4,
                                                                        17:10, 17:15,     49:19                115:9, 124:5,     141:4, 151:2,
                                                                        17:18, 26:5,      first                132:17, 158:17,   157:5, 163:10,
                                                                        48:17, 52:5,      12:10, 16:4,         158:20, 170:15,   180:16
                                                                        73:12, 73:20,     25:7, 27:20,         171:4, 189:5,     four
                                                                        74:19, 84:19,     47:21, 48:2,         202:18, 210:3     20:8
                                                                        94:5, 94:8,       50:21, 80:1,         forman            fourth
                                                                        94:12, 99:6,      91:13, 147:1,        1:21, 2:9, 8:8,   138:19
                                                                        99:19, 100:13,    156:7, 161:6,        223:4             fraction
                                                                        100:22, 101:16,   161:15, 165:8,       format            221:17
                                                                        120:3, 146:9,     202:1, 218:14        129:11, 129:13,   frame
                                                                        160:7, 201:16,    five                 129:17, 130:2,    38:7, 38:8,
                                                                        210:7, 215:2      50:12, 165:5,        130:10, 142:18    40:8, 51:4,
                                                                        files             166:11               formed            56:15
                                                                        136:17            fl                   203:20            fraudulent
                                                                        filing            203:11               former            150:17, 183:8
                                                                        15:13, 50:17,     flew                 48:20, 122:2,     free
                                                                        50:20, 57:2,      34:21, 35:14,        170:22            24:16
                                                                        63:20, 84:1,      35:20, 37:15,        fortunately       freezing
                                                                        99:5, 207:3,      39:5, 39:11,         75:20             204:12
                                                                        207:13            42:16                forward           friend
                                                                        filings           florida              63:9, 68:8,       114:19, 208:19
                                                                        51:19, 99:10,     203:12, 209:14       131:15, 154:11,   frustrated
                                                                        99:17             flow                 208:16            172:11
                                                                        final             16:16                forwarded         full
                                                                        178:6, 178:9      flowing              61:11, 61:18,     111:7, 222:16
                                                                        financial         183:13               61:22, 62:11,     full-time
                                                                        22:17, 72:14,     fly                  62:13, 62:21,     13:8, 40:13,
                                                                        72:17, 223:13     33:6                 62:22, 63:3,      40:17, 41:7,
                                                                        find              focus                79:16, 92:5,      42:14
                                                                        60:7, 89:8,       200:21               109:6, 114:15,    further
                                                                        89:9, 89:10,      follow               115:2, 115:18,    10:20, 220:13
                                                                        94:20, 123:10,    79:15, 149:8,        117:21, 134:4,    furtherance
                                                                        130:20, 144:11,   218:16               134:8, 134:15,    73:18
                                                                        205:14, 208:11    follow-up            135:6, 135:9,              G
                                                                        fine              74:5, 76:8,          136:4, 137:22,
                                                                        45:3, 77:16,                           138:9, 141:2      gagliardo
                                                                                          146:14                                 47:22, 48:16,
                                                                        108:18, 115:15    follows              forwarding
                                                                        finish                                 65:19, 117:17,    49:13, 61:9,
                                                                                          8:14                                   114:10
                                                                        14:17, 14:18,     foregoing            131:20, 133:3,
                                                                        14:20, 67:13,                          142:5             gagliardo's
                                                                                          223:5, 223:6                           49:1, 49:7,
                                                                        81:1, 108:11,     form                 found
                                                                        145:9, 176:1,                          21:4, 125:15,     49:10, 49:19
                                                                                          21:2, 23:1,                            game
                                                                        176:6, 184:6      32:17, 32:19,        126:6, 126:8,
                                                                        finished                               126:11, 126:13,   77:11, 77:15
                                                                                          44:12, 60:11,                          garnishing
                                                                        203:18, 213:6     67:2, 68:16,         134:17, 135:1,
                                                                                                                                 204:11



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       237
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 239 of 263




                                                                        gave              43:2, 50:21,         165:4, 165:14,    11:4, 16:9
                                                                        102:11, 163:11    53:8, 56:17,         166:7, 166:10,    grounds
                                                                        general           57:7, 57:22,         166:13, 168:10,   76:13
                                                                        131:22, 169:3,    60:15, 63:5,         172:15, 173:13,   guess
                                                                        172:22            64:12, 72:2,         179:7, 179:9,     30:21, 36:2,
                                                                        generally         81:19, 89:15,        182:16, 183:4,    50:13, 50:22,
                                                                        13:16, 136:9,     110:16, 111:13,      185:13, 185:19,   104:19, 116:14,
                                                                        136:11, 172:4,    123:9, 126:22,       186:4, 186:14,    128:16, 162:20,
                                                                        208:18            151:6, 154:18,       191:15, 197:14,   167:4, 167:14
                                                                        george            162:15, 165:2,       197:19, 199:19,   guessing
                                                                        205:14, 205:16,   165:8, 165:13,       200:10, 207:10,   128:7, 128:14
                                                                        205:18, 205:19,   165:14, 168:15,      210:10, 210:16,   guys
                                                                        205:21, 206:4,    168:18, 173:6,       210:22, 211:1,    166:9
                                                                        206:10, 206:15,   176:5, 176:17,       211:3, 212:1,              H
                                                                        206:20, 207:14,   181:20, 182:20,      215:15, 215:17,
                                                                                          184:22, 187:1,       216:21, 217:7,    half
                                                                        207:19, 207:21,                                          212:16, 212:18,
                                                                        208:3, 208:7,     201:18, 202:8,       220:20, 222:1,
                                                                                          212:10, 214:16,      222:12            212:20
                                                                        208:11, 208:14,                                          hand
                                                                        208:20            217:8, 217:10,       golf4me@aol
                                                                                          217:20               129:21, 135:13    8:12, 223:15
                                                                        getting                                                  handled
                                                                        43:19, 121:11,    goes                 gone
                                                                                          23:9, 76:18,         112:2             29:17
                                                                        131:20, 133:2,                                           handwriting
                                                                        133:14, 142:4,    183:19, 183:20,      good
                                                                                          184:9, 184:14,       7:15, 54:18,      89:9, 123:2,
                                                                        160:9, 172:11,                                           123:10
                                                                        209:8, 209:22     186:6, 186:16,       54:19, 75:1,
                                                                        gilbert           217:19               79:12, 79:13,     hang
                                                                                          going                79:14, 83:12,     16:21, 61:5
                                                                        49:15                                                    happen
                                                                        girl              8:21, 13:20,         83:16, 84:5,
                                                                                          15:18, 16:16,        108:9, 114:13,    71:15
                                                                        204:14                                                   happened
                                                                        give              28:19, 29:1,         148:19, 172:3,
                                                                                          29:15, 30:20,        172:5, 183:17     35:19, 141:1,
                                                                        28:21, 35:8,                                             141:5, 144:13
                                                                        86:4, 90:1,       30:22, 33:2,         gotten
                                                                        119:20, 138:20,   33:4, 33:6,          155:3, 184:12     happens
                                                                        146:13, 189:10,   43:19, 47:7,         government        72:9
                                                                        191:15, 202:13,   52:8, 52:11,         49:12             happy
                                                                        214:4, 215:8      60:15, 66:1,         great             57:9, 58:4
                                                                        gives             66:2, 71:22,         108:16, 205:15    hard
                                                                        74:6              73:22, 77:1,         greenbelt         120:1
                                                                        giving            77:2, 78:14,         4:6               hear
                                                                        81:13, 84:20,     80:15, 80:16,        greg              15:5, 39:15,
                                                                        207:20, 216:22    80:17, 80:18,        51:9, 53:20,      42:18, 57:22,
                                                                        gladly            92:7, 108:4,         61:9, 78:5,       111:1, 111:9,
                                                                        77:18             108:9, 110:20,       85:22, 86:2,      129:16, 144:10,
                                                                        go                113:3, 113:11,       93:5, 108:1,      149:9, 149:21,
                                                                                          116:13, 121:1,       124:15, 186:18,   171:12, 171:13,
                                                                        13:20, 18:14,                                            173:9, 198:16
                                                                        18:21, 19:16,     140:15, 143:12,      204:11, 209:1
                                                                        24:16, 29:4,      143:13, 148:10,      gregory           heather
                                                                        39:15, 41:12,     150:7, 156:21,       3:4, 7:21,        3:15, 8:2,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       238
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 240 of 263




                                                                        15:19, 16:11,     21:18, 27:5,         165:5, 165:9,     implicated
                                                                        53:12, 165:18,    30:18, 33:1,         165:11            73:22, 75:6
                                                                        167:22, 168:17    59:22, 73:18,        hours             implicating
                                                                        held              74:11, 76:11,        33:4, 40:4,       78:1
                                                                        13:1, 68:22,      78:15, 88:9,         40:9, 201:10,     improper
                                                                        69:8, 69:19,      89:13, 112:3,        201:13            26:21
                                                                        70:5, 71:6        113:2, 119:20,       house             inbox
                                                                        help              128:3, 154:18,       11:7              95:1, 95:2,
                                                                        19:18, 36:13,     160:14, 184:10,      hypothetical      95:20, 129:20,
                                                                        57:4, 57:9,       188:13, 190:17,      70:8, 71:10,      130:11, 133:11,
                                                                        57:12, 58:4,      194:20, 194:21,      83:15             138:22, 139:14,
                                                                        58:19, 58:21,     196:7, 202:8,                 I        139:18, 140:3,
                                                                        59:2, 59:5,       209:11, 212:10,      id                140:7, 140:10,
                                                                        59:6, 59:8,       214:3, 218:11                          140:21, 141:12,
                                                                                          here's               203:20
                                                                        59:10, 59:11,                          idea              141:13, 142:1,
                                                                        59:19, 59:20,     77:1                                   142:8, 142:13,
                                                                                          hereby               83:12, 83:16,
                                                                        60:2, 60:6,                            84:5, 108:9,      142:21, 143:8,
                                                                        60:9, 64:22,      223:6                153:19, 164:6,    143:22, 144:5,
                                                                        65:4, 65:5,       hereunto             164:7, 164:14,    144:14
                                                                        65:7, 66:18,      223:14               164:18, 210:16,   inc
                                                                        89:3, 94:14,      hey                  210:22, 211:2,    1:7, 7:17,
                                                                        100:9, 100:12,    85:21, 108:1         219:13, 220:6     14:2, 22:18,
                                                                        100:17, 100:20,   hi                   identification    98:18, 197:1,
                                                                        102:17, 109:20,   89:22, 202:16                          197:10, 200:17
                                                                        109:22, 110:9,                         9:14, 15:22,
                                                                                          highly               28:7, 43:11,      include
                                                                        116:10, 146:3,    25:6                                   51:10, 96:9,
                                                                        146:6, 202:16,                         47:11, 53:15,
                                                                                          himself              60:21, 65:13,     199:7, 201:3
                                                                        202:17, 203:2,    190:2, 214:17                          including
                                                                        203:4, 203:5,                          80:5, 85:18,
                                                                                          hire                 89:18, 91:11,     145:17
                                                                        209:2, 209:7,     23:21                                  incorporated
                                                                        215:15, 215:17,                        98:13, 105:1,
                                                                                          hired                107:18, 114:3,    7:5, 196:19
                                                                        215:21, 217:4     37:6, 37:7,                            indicated
                                                                        helped                                 117:3, 121:6,
                                                                                          37:10, 37:21,        124:20, 154:20,   21:19
                                                                        39:22, 59:17,     38:4, 190:18,        166:20, 176:20,   indicates
                                                                        60:7, 89:8,       190:19               202:3, 212:5      163:17
                                                                        89:9, 103:1       history              identified        indication
                                                                        helpful           45:18                8:20, 25:2        32:9
                                                                        174:12, 216:22    hold                 identify          inevitable
                                                                        helping           9:8, 167:20,         7:13, 156:22,     14:14
                                                                        57:16, 58:5,      168:17               199:11, 201:1,    infer
                                                                        58:15, 58:18,     home                 207:7             57:15, 58:3,
                                                                        77:12, 209:9,     11:6                 identifying       58:9, 58:13
                                                                        220:17            honestly                               info
                                                                        here                                   101:8
                                                                                          108:3                ii                203:11, 203:21,
                                                                        7:2, 8:2, 8:4,    hopefully                              208:22
                                                                        9:2, 9:17,                             4:14, 7:11
                                                                                          202:7, 214:4         illinois          information
                                                                        10:14, 10:15,     hour                                   89:4, 204:6,
                                                                        11:5, 15:7,                            3:8
                                                                                          108:5, 108:9,                          205:2, 206:21,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       239
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 241 of 263




                                                                        207:15, 209:3,    72:14, 72:17,        involve           91:14, 91:15,
                                                                        209:11, 211:18,   74:10, 75:22,        148:1             108:21, 212:3
                                                                        218:20, 219:5,    77:21, 78:7,         involved          job
                                                                        222:11            78:15, 99:16,        192:12            1:19, 39:9,
                                                                        informed          223:13               involving         40:2, 41:6
                                                                        47:1              interested           73:8, 73:10,      john
                                                                        inhibit           27:4, 201:11         216:11, 220:14    23:11, 23:20,
                                                                        15:2              interests            irrelevant        24:9, 34:21,
                                                                        initiative        22:18                74:18, 137:6,     35:14, 35:18,
                                                                        186:10, 217:11    interfere            146:17, 146:20,   35:20, 39:6,
                                                                        injected          221:20               190:4, 219:4      44:1, 45:15,
                                                                        147:10            interfering          issue             46:17, 47:1,
                                                                        input             29:12, 29:13,        22:2, 25:16,      72:9, 72:12,
                                                                        90:18, 90:19,     56:12, 74:6,         26:6, 27:2,       78:2, 89:10,
                                                                        90:22             75:5                 77:4, 178:8,      98:2, 131:5,
                                                                        inquiring         interject            181:12, 184:15    132:3, 132:7,
                                                                        25:1, 147:22      17:20                issued            132:18, 133:6,
                                                                        inquiry           interrogatories      22:12, 24:13,     145:15, 145:20,
                                                                        185:15            5:13, 27:21,         25:3              145:22, 146:3,
                                                                        insist            28:11, 33:10,        issues            146:6, 147:16,
                                                                        25:18             43:8, 43:20,         27:7, 73:13,      147:20, 149:14,
                                                                        instance          45:2, 45:4,          77:5, 105:19,     155:9, 155:18,
                                                                        171:2             46:4, 109:3,         147:21, 200:4,    172:1, 172:9,
                                                                        instead           109:7, 109:11,       210:17, 216:10,   172:11, 172:14,
                                                                        22:16, 22:21,     109:15, 114:11,      220:21            172:16, 173:1,
                                                                        146:3             114:22, 115:3,       issuing           174:20, 180:3,
                                                                        instruct          115:18, 116:8,       160:16            204:21, 204:22
                                                                        26:17, 26:18,     215:5                itself            john's
                                                                        148:11            interrogatory        18:12, 18:21,     145:18
                                                                        instructing       28:16, 28:20,        19:14, 130:5,     joint
                                                                        26:9, 148:20,     29:5, 30:5,          130:12, 130:15,   85:22, 86:1
                                                                        149:1, 149:5,     30:10, 31:11,        142:19, 144:5,    jordan's
                                                                        149:7, 149:10     34:19, 46:13,        144:11, 178:2,    57:11
                                                                        intend            46:15                180:12, 215:12    jr
                                                                        18:5, 19:6,       interrogs            ivy               162:18
                                                                        19:10             5:14                 4:5               judge
                                                                        intended          interrupt                     J        24:13, 25:3,
                                                                        18:7, 18:17       14:15, 39:13         jail              148:12
                                                                        intent            intervene            45:16, 47:2
                                                                                                                                 july
                                                                        59:2, 59:5        173:3                james             44:19, 45:10,
                                                                        intention         introduced                             46:22, 116:21,
                                                                                                               162:17, 167:13,   117:1, 119:21,
                                                                        111:7             76:1                 167:18, 178:6,
                                                                        intentions        introduction                           120:5
                                                                                                               178:9             june
                                                                        11:18             167:4                january
                                                                        interest          investigations                         104:21, 107:16,
                                                                                                               47:22, 53:19,     108:21, 201:22,
                                                                        22:18, 68:10,     216:11, 219:11       57:8, 65:18,
                                                                        68:12, 68:13,     investment                             202:11, 223:18
                                                                                                               65:20, 89:22,     junk
                                                                        68:15, 68:19,     217:11
                                                                                                                                 96:9



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                  Transcript of Daniel J. White
                                                                                                Conducted on November 29, 2021                       240
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 242 of 263




                                                                        jwhite@compassma-   largely              120:19, 120:22,   less
                                                                        rketinginc          8:4                  123:14, 123:18,   50:12, 79:19,
                                                                        127:16, 127:18,     last                 124:4, 148:17,    165:9
                                                                        129:20, 135:12      20:3, 28:16,         180:13, 189:17,   let's
                                                                                 K          28:17, 31:10,        190:12, 191:6,    12:4, 54:8,
                                                                        kagan               42:3, 167:3,         193:3, 193:5,     57:7, 61:14,
                                                                        3:16                176:14, 197:11,      193:6, 193:9,     76:5, 89:15,
                                                                        keep                198:8, 199:2,        203:14, 205:9,    162:15, 165:2,
                                                                                            199:20, 201:9,       207:4, 207:14,    181:20, 220:1
                                                                        52:7, 52:10,                             207:18, 207:19,
                                                                        116:15, 214:18,     217:8                                  letter
                                                                                            later                207:22, 208:4,    213:9, 214:14,
                                                                        217:2                                    208:8, 208:14,
                                                                        kept                21:8, 22:1,                            214:21
                                                                                            28:13, 54:18,        209:20, 210:2,    liability
                                                                        208:18                                   210:11, 210:17,
                                                                        kind                130:21                                 157:3, 181:22
                                                                                            latitude             211:1, 211:19,    liable
                                                                        125:12, 143:12,                          213:14, 213:17,
                                                                        185:7, 185:14,      119:20                                 69:1, 69:9,
                                                                                            law                  214:2, 214:8,     69:20, 70:5,
                                                                        186:13, 187:3,                           214:12, 215:16,
                                                                        196:10, 209:17,     49:1, 49:7,                            71:7
                                                                                            49:10, 49:15,        215:18, 217:1,    lie
                                                                        216:12                                   217:3, 217:17,
                                                                        knew                49:19                                  173:11
                                                                                            lawsuit              218:21, 219:2,    life
                                                                        122:1, 123:11                            219:6, 219:17,
                                                                        knowing             42:22, 44:21,                          37:5, 97:4,
                                                                                            45:5, 48:17,         219:20, 221:6     207:2
                                                                        210:21                                   lawsuits
                                                                        knowingly           50:1, 50:18,                           likewise
                                                                                            50:20, 51:13,        83:12, 84:1,      137:21
                                                                        73:12                                    84:2, 192:20,
                                                                        knowledge           51:19, 52:4,                           limit
                                                                                            55:22, 56:10,        194:2, 194:9      76:13, 200:19
                                                                        20:12, 156:22,      57:1, 57:13,         lawyer
                                                                        186:3                                                      limitation
                                                                                            63:20, 64:2,         101:22, 139:8,    21:14, 37:2,
                                                                        known               65:1, 70:16,         145:18, 194:14,
                                                                        37:17                                                      37:3
                                                                                            74:3, 75:11,         194:21            limited
                                                                        knows               84:19, 85:3,         lawyers
                                                                        218:12                                                     25:2, 143:15
                                                                                            86:11, 86:18,        101:21            line
                                                                                 L          87:10, 88:18,        leads             28:17, 31:10,
                                                                        labeled             89:4, 94:1,          73:1              54:22, 69:11,
                                                                        47:8, 60:16,        94:5, 94:8,          least             74:13, 76:2,
                                                                        89:16, 91:9,        94:12, 95:18,        28:21             76:15, 92:3,
                                                                        98:9, 104:19,       96:7, 99:11,         leave             98:16, 105:16,
                                                                        113:11              99:17, 99:20,        157:19, 196:12    168:21, 186:13,
                                                                        lack                100:5, 100:13,       left              188:4, 204:11,
                                                                        37:3, 180:16        102:19, 103:1,       157:18, 159:12,   205:14, 218:16
                                                                        lacks               103:4, 103:7,        173:21            lines
                                                                        190:16              103:13, 104:3,       legal             17:3, 20:8,
                                                                        laid                104:9, 106:21,       24:4, 27:13,      76:14
                                                                        185:21              107:9, 117:18,       139:6, 188:21,    list
                                                                        lane                118:1, 118:9,        190:15, 210:17    210:8, 216:9
                                                                        4:5, 4:14, 7:11     118:17, 119:1,       legitimate        listen
                                                                                            119:6, 119:13,       120:6, 199:12     11:5, 111:4




                                                                                                         PLANET DEPOS
                                                                                            888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       241
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 243 of 263




                                                                        listening         longer               158:13, 169:1,    marked
                                                                        11:1              141:13, 142:1,       170:4, 175:19,    15:20, 15:21,
                                                                        litigant          144:14               178:20, 179:17,   28:6, 43:10,
                                                                        77:12, 77:13,     look                 180:4, 180:7,     47:10, 53:14,
                                                                        84:20             47:18, 48:10,        186:20, 201:15,   60:20, 65:12,
                                                                        litigants         54:1, 54:7,          220:13            80:4, 85:17,
                                                                        83:12, 192:19,    61:7, 61:15,         mail              89:17, 91:10,
                                                                        194:3             66:3, 81:21,         96:9, 136:13      98:12, 104:22,
                                                                        litigate          86:7, 92:4,          make              107:17, 114:2,
                                                                        77:18             92:8, 100:2,         8:5, 10:21,       117:2, 121:5,
                                                                        litigation        117:8, 125:17,       13:21, 17:17,     124:19, 154:19,
                                                                        55:13, 57:16,     125:20, 125:22,      26:16, 30:20,     166:19, 176:19,
                                                                        58:5, 58:16,      126:1, 137:21,       33:4, 36:1,       202:2, 212:4
                                                                        59:3, 59:12,      155:4, 197:21,       50:5, 69:22,      marketing's
                                                                        60:2, 60:10,      198:3                70:12, 94:10,     30:2, 31:13,
                                                                        66:19, 68:15,     looked               128:12, 134:17,   151:19
                                                                        71:19, 73:9,      17:8, 112:9,         135:2, 172:3,     marks
                                                                        73:15, 75:12,     126:3                172:5, 172:20,    222:2
                                                                        78:16, 82:3,      looking              174:2, 174:12,    mary's
                                                                        82:17, 83:4,      16:13, 35:7,         175:20, 177:10,   12:20, 49:11
                                                                        84:6, 103:19,     46:8, 48:6,          178:13, 179:12,   maryland
                                                                        104:9, 104:12,    81:2, 86:5,          180:20, 181:15,   1:2, 2:10,
                                                                        104:16, 104:17,   125:3, 125:5,        182:2, 185:11,    3:18, 4:6, 7:6,
                                                                        116:2, 179:10,    125:21, 156:19,      195:13, 220:11,   62:4, 62:10,
                                                                        191:20, 192:13,   157:10, 165:22,      220:12, 221:1,    79:14, 223:22
                                                                        192:14, 195:18,   166:3, 212:19        221:2, 222:11     material
                                                                        217:2, 220:16,    looks                makes             110:7, 221:16
                                                                        220:18            46:16, 48:13,        57:14, 102:2,     materially
                                                                        little            55:4, 66:15          102:4, 135:14,    22:19
                                                                        21:7, 67:12,      loop                 188:12            math
                                                                        135:21, 180:22    208:19               making            42:10
                                                                        llc               lot                  26:11, 26:16,     matter
                                                                        3:16, 4:4,        40:10, 111:14,       26:20, 46:2,      7:3, 14:2,
                                                                        217:14            125:21, 221:19       99:12, 121:21,    26:2, 143:17,
                                                                        local             loyal                170:8, 170:10,    201:4, 201:11,
                                                                        60:7, 89:8,       72:7                 173:11, 186:17,   201:13, 214:7,
                                                                        101:7, 124:8,     lr                   214:6             214:8
                                                                        203:6             51:10                management        matters
                                                                        locate            lying                78:3              13:20, 24:14,
                                                                        138:6, 140:9      218:11               many              25:19, 26:22,
                                                                        located                    M           25:9, 40:4,       27:5, 56:9,
                                                                        7:17                                   50:8, 53:5,       57:1, 63:13,
                                                                                          made                 110:2, 123:13,
                                                                        locked            10:16, 17:21,                          73:7, 74:21,
                                                                        176:15                                 123:17, 174:16,   148:3, 184:12,
                                                                                          41:10, 45:21,        175:11, 176:7,
                                                                        long              46:16, 122:7,                          185:13, 195:8,
                                                                        13:1, 13:6,                            193:1, 194:9      207:10, 213:15
                                                                                          122:10, 136:6,       marinello
                                                                        53:6, 102:14,     148:17, 158:6,                         maybe
                                                                        125:6, 208:21                          3:16              93:19, 184:19,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                         242
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 244 of 263




                                                                        187:15, 212:17    136:20, 137:4,       minute              money
                                                                        mean              137:21               66:7, 165:6         87:16, 87:22,
                                                                        17:10, 22:20,     mic                  minutes             88:5, 88:11,
                                                                        44:9, 45:5,       10:5                 54:18, 108:5,       88:18, 150:19,
                                                                        51:15, 51:21,     michael              108:10, 130:21,     151:13, 152:5,
                                                                        57:12, 62:18,     65:18, 68:9,         131:6, 138:8,       152:16, 153:1,
                                                                        71:5, 83:9,       68:10, 68:13,        165:7, 166:11,      153:14, 159:11,
                                                                        97:18, 102:10,    79:16, 79:17,        178:17              172:9, 173:6,
                                                                        104:15, 114:13,   121:10, 130:13,      mischaracterize     181:11, 183:12,
                                                                        121:16, 128:5,    131:1, 131:16,       155:13              203:20
                                                                        149:18, 149:22,   133:18, 134:4,       mischaracterizing   monies
                                                                        174:10, 193:13,   134:8, 134:12,       181:17              157:17
                                                                        193:19, 197:4,    135:9, 138:9,        miscommunication    monitor
                                                                        197:8, 211:2      141:3, 150:18,       167:3               7:8
                                                                        meaning           151:11, 151:20,      missed              monitoring
                                                                        79:8, 92:1,       152:15, 153:9,       204:18              51:18, 52:4
                                                                        182:8, 182:13,    153:12, 155:10,      missing             months
                                                                        204:22            155:19, 155:22,      81:11               20:5, 126:5
                                                                        means             186:11, 190:19,      misstates           more
                                                                        42:12, 96:14,     191:19, 192:3,       23:18, 56:2,        24:21, 37:15,
                                                                        119:18, 197:9,    208:17               60:4, 62:6,         39:20, 50:12,
                                                                        203:12, 211:2     microphone           73:3, 75:16,        73:5, 87:6,
                                                                        meant             150:5, 198:13,       93:8, 102:20,       101:22, 122:2,
                                                                        23:4              198:16, 220:3        106:3, 107:2,       146:5, 164:9,
                                                                        meet              middle               107:10, 122:4,      165:10, 171:13,
                                                                        34:22, 35:14,     51:3                 122:5, 138:12,      175:17, 182:7,
                                                                        35:20, 37:16      might                139:20, 140:4,      200:7, 208:12
                                                                        meeting           115:10, 120:6        141:16, 161:21,     morning
                                                                        36:7, 36:22,      mike                 162:8, 164:11,      7:15, 184:11
                                                                        42:15, 43:22,     131:4, 142:5,        171:5, 171:19,      most
                                                                        44:6, 44:19,      156:1                210:19, 211:20      50:22, 53:18,
                                                                        45:10, 45:15,     mike's               misstating          60:17, 65:17,
                                                                        45:20             205:20               46:13, 139:5        72:7, 80:2,
                                                                        memo              miller               mistaken            91:15, 92:2,
                                                                        177:18, 178:4,    156:8, 156:12,       166:8               98:10, 113:13,
                                                                        178:6             158:12, 158:16,      misunderstanding    113:14, 113:21,
                                                                        memorandum        159:3, 160:22,       44:11, 167:2        116:22, 121:3,
                                                                        185:12            161:7, 169:4,        mix                 124:14, 136:17,
                                                                        mention           178:7, 178:10,       93:14               160:4, 167:8,
                                                                        87:14             178:21, 179:2,       moment              201:22
                                                                        mentioned         179:13, 182:9,       21:11, 27:19,       motion
                                                                        122:1, 124:13,    185:4, 186:2,        88:10, 154:18,      5:12, 15:13,
                                                                        178:16            186:5                160:10, 175:8       15:17, 16:19,
                                                                        met               mind                 momentarily         17:9, 17:14,
                                                                        12:11, 35:18,     91:19                168:17              17:18, 17:22,
                                                                        39:6, 39:18,      mine                 monday              18:1, 18:7,
                                                                        101:21, 158:13    169:10               1:15, 55:1,         18:17, 19:3,
                                                                        metadata          minuscript           55:6                19:19, 19:20,
                                                                        136:8, 136:12,    222:16



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                  Transcript of Daniel J. White
                                                                                                Conducted on November 29, 2021                      243
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 245 of 263




                                                                        19:22, 20:4,        205:3                54:22, 60:15,     28:16, 34:20,
                                                                        21:3, 25:7,         necessary            67:11, 85:6,      39:1, 46:4,
                                                                        26:3, 26:5,         73:19                87:14, 93:13,     46:6, 50:10,
                                                                        77:7, 77:8,         need                 105:16, 107:14,   50:14, 53:9,
                                                                        125:11, 148:22,     9:19, 14:3,          116:17, 123:7,    59:16, 85:9,
                                                                        149:3, 201:3        14:5, 14:16,         165:16, 168:4,    85:14, 85:15,
                                                                        motions             22:8, 24:21,         173:13, 175:9,    98:17, 104:19,
                                                                        26:6                25:12, 29:9,         176:17, 204:11,   107:14, 113:8,
                                                                        motivation          66:7, 77:3,          204:12, 205:14    123:16, 154:2,
                                                                        82:12, 87:2,        90:3, 92:7,          nobody            154:4, 166:17,
                                                                        91:2                100:2, 109:20,       10:14             168:5, 168:7,
                                                                        move                110:9, 156:21,       none              175:11
                                                                        32:17, 71:22,       158:9, 160:14,       160:6             numbering
                                                                        76:12, 77:2,        168:8, 179:9,        nonparty          167:16
                                                                        78:13, 143:13,      184:9, 202:16,       25:1, 185:17,     numbers
                                                                        184:10              221:1, 222:8,        220:11            36:16, 116:15,
                                                                        moving              222:12               normal            173:14
                                                                        200:18              needed               81:22             numerous
                                                                        much                87:22, 88:5,         north             37:8
                                                                        33:2, 36:12,        109:22, 221:16       3:7                        O
                                                                        52:15, 52:19,       needs                notarial          oath
                                                                        79:19, 119:20,      16:15, 32:2,         223:15            15:3, 34:20
                                                                        221:13, 221:22      87:16, 88:11         notary            object
                                                                        multiple            negotiated           2:9, 223:2,       30:9, 30:11,
                                                                        91:19, 134:1        158:15               223:21            30:15, 33:7,
                                                                        must                negotiations         note              46:12, 46:14,
                                                                        75:1, 75:2          118:9, 118:17,       26:19, 32:16,     200:1, 203:16
                                                                        mwhite@compassma-   119:1                32:17, 56:13,     objected
                                                                        rketinginc          neither              105:17, 115:7     15:12
                                                                        156:2               20:13, 147:4,        noted             objection
                                                                        myself              223:11               30:1, 31:13,      13:11, 18:11,
                                                                        11:6, 11:11,        nephew               51:8, 51:9        18:20, 19:13,
                                                                        171:15              205:20               nothing           21:2, 23:1,
                                                                                 N          never                41:10, 69:12,     23:18, 24:4,
                                                                        name                91:19, 159:3,        73:9, 75:3,       24:11, 26:17,
                                                                        12:14, 12:15,       172:10, 172:17,      77:21, 78:8,      26:19, 27:11,
                                                                        42:18, 161:20,      172:18               174:21, 185:8,    30:20, 32:15,
                                                                        173:18, 173:20      new                  185:9, 207:22,    32:17, 32:20,
                                                                        named               65:10, 79:22,        208:14, 213:13,   32:21, 33:18,
                                                                        73:1                89:15, 91:8,         214:9, 218:8,     37:2, 38:12,
                                                                        names               98:8, 104:18,        218:21, 219:1,    40:19, 40:20,
                                                                        214:5               116:13, 121:1,       219:9             41:9, 42:21,
                                                                        native              129:13, 165:2,       notice            44:12, 44:20,
                                                                                            201:18, 217:11,      99:4              50:13, 51:14,
                                                                        115:9, 129:11,      217:12
                                                                        129:13, 130:2,                           november          51:20, 52:1,
                                                                        130:10, 142:18
                                                                                            next                 1:15, 7:8         52:6, 52:12,
                                                                        nature              5:22, 53:8,          number            52:21, 55:15,
                                                                                            53:10, 54:16,        7:6, 15:17,
                                                                        148:15, 204:13,



                                                                                                         PLANET DEPOS
                                                                                            888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       244
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 246 of 263




                                                                        56:2, 56:13,      118:18, 118:19,      192:2, 192:16,    offered
                                                                        56:15, 57:18,     119:2, 119:8,        193:18, 194:5,    99:22, 101:5,
                                                                        58:7, 58:8,       119:17, 120:14,      194:11, 194:17,   101:12, 101:15
                                                                        58:17, 59:4,      120:20, 122:3,       197:13, 199:5,    offering
                                                                        59:14, 60:4,      123:19, 124:5,       202:18, 202:19,   66:22, 100:4,
                                                                        60:11, 60:13,     128:9, 129:4,        203:13, 204:1,    103:6, 103:12,
                                                                        62:5, 62:6,       130:16, 132:9,       204:2, 204:8,     103:18
                                                                        62:17, 63:14,     132:17, 133:13,      204:16, 205:5,    office
                                                                        63:15, 63:21,     135:14, 137:1,       205:10, 205:11,   7:17, 7:20,
                                                                        64:9, 64:16,      137:5, 137:16,       206:5, 206:12,    9:8, 10:9,
                                                                        65:2, 67:2,       138:3, 138:11,       206:17, 207:1,    10:10, 10:13,
                                                                        67:19, 68:5,      138:18, 139:4,       207:17, 209:5,    10:22, 12:19,
                                                                        68:16, 68:18,     139:19, 140:4,       210:3, 210:12,    13:4, 13:9,
                                                                        69:3, 69:11,      141:4, 141:14,       210:13, 210:18,   40:14, 40:18,
                                                                        69:21, 70:7,      141:16, 142:2,       210:19, 211:6,    41:8, 41:15,
                                                                        70:17, 71:9,      142:9, 142:14,       211:20, 213:12,   41:17, 41:20,
                                                                        71:20, 72:18,     142:20, 144:6,       215:1, 215:20,    42:2, 42:5,
                                                                        73:3, 74:2,       144:15, 145:2,       217:16, 218:5     42:8, 42:11,
                                                                        75:16, 78:21,     145:5, 146:8,        objections        176:15
                                                                        81:15, 82:5,      147:18, 149:16,      25:6, 26:9,       officer
                                                                        82:11, 82:19,     150:12, 150:21,      26:12, 26:16,     223:5
                                                                        83:6, 83:14,      151:3, 151:14,       26:21, 32:12,     official
                                                                        84:3, 85:1,       152:1, 152:7,        56:14, 87:11,     10:17, 163:21,
                                                                        85:2, 86:22,      152:8, 152:18,       120:9, 181:7,     164:21, 167:10,
                                                                        87:1, 88:1,       153:5, 153:16,       185:1, 221:20     167:16
                                                                        88:6, 88:13,      153:18, 157:5,       obligation        often
                                                                        88:20, 89:6,      158:17, 158:20,      190:2             132:12
                                                                        90:6, 90:13,      159:8, 160:2,        obligations       okay
                                                                        91:1, 91:5,       161:1, 161:8,        30:2, 31:14       9:20, 11:9,
                                                                        92:15, 93:8,      161:21, 162:8,       obstruction       12:3, 18:2,
                                                                        95:8, 96:1,       163:10, 164:10,      213:21            21:9, 26:20,
                                                                        96:2, 96:8,       169:8, 170:1,        obviously         28:5, 28:13,
                                                                        96:13, 96:20,     170:15, 171:4,       25:19, 111:6,     29:1, 35:6,
                                                                        97:15, 100:7,     171:5, 171:19,       191:1             36:3, 39:5,
                                                                        100:15, 101:1,    171:21, 174:5,       occasion          44:18, 46:11,
                                                                        101:9, 102:20,    174:18, 175:14,      39:21, 221:9      48:6, 49:13,
                                                                        103:8, 103:14,    176:13, 177:19,      october           50:4, 66:9,
                                                                        103:20, 104:4,    178:11, 179:4,       153:22, 154:8,    81:5, 84:11,
                                                                        104:13, 104:14,   179:5, 179:15,       155:10, 162:17,   85:6, 85:16,
                                                                        106:3, 106:15,    179:21, 180:11,      167:8, 167:12     92:7, 98:20,
                                                                        107:1, 107:2,     180:17, 182:10,      offer             104:18, 111:6,
                                                                        107:10, 109:17,   183:1, 185:1,        36:6, 36:9,       113:19, 126:11,
                                                                        110:3, 111:20,    185:5, 187:10,       64:22, 66:18,     140:11, 153:21,
                                                                        112:6, 112:16,    188:12, 188:21,      86:10, 86:16,     154:13, 160:11,
                                                                        112:21, 115:4,    189:5, 189:7,        90:19, 94:7,      165:13, 166:2,
                                                                        115:19, 116:3,    189:19, 189:20,      122:11, 203:2,    166:5, 167:1,
                                                                        118:2, 118:4,     190:13, 190:14,      206:20, 207:14,   176:5, 195:6,
                                                                        118:10, 118:12,   191:8, 192:1,        209:2             195:12, 212:22,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       245
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 247 of 263




                                                                        213:7, 213:10,    112:4, 193:2         167:18, 177:3,    otherwise
                                                                        213:19, 216:9,    only                 196:19, 199:10,   11:2, 11:15,
                                                                        221:8             43:6, 45:3,          200:21, 201:6,    14:10, 26:19,
                                                                        oldest            91:18, 101:15,       216:10, 220:13,   75:20, 223:13
                                                                        193:2             128:7, 131:3,        222:6, 222:7      out
                                                                        once              131:5, 150:22,       original          33:3, 37:15,
                                                                        16:12, 37:15,     158:13, 158:22,      28:2, 28:3,       38:1, 42:16,
                                                                        47:17, 208:12     159:5, 159:10,       48:4, 53:19,      61:15, 77:19,
                                                                        one               168:9, 170:8,        54:8, 60:18,      92:8, 94:20,
                                                                        9:16, 10:22,      170:9, 170:21,       66:11, 113:13,    106:12, 108:1,
                                                                        11:12, 13:2,      173:2, 193:3,        113:20, 114:8,    120:1, 148:4,
                                                                        14:15, 14:22,     193:5, 220:21,       115:8, 116:21,    166:7, 172:13,
                                                                        16:13, 16:21,     221:17, 222:8,       124:16, 126:16,   176:15, 185:22,
                                                                        20:8, 33:21,      222:12               129:2, 129:19,    187:1, 196:18,
                                                                        34:5, 34:8,       open                 131:7, 132:4,     212:15, 212:18
                                                                        35:17, 39:18,     147:12, 209:17       136:20, 137:12,   outcome
                                                                        39:21, 40:3,      opens                138:7, 138:16,    223:13
                                                                        43:3, 43:6,       121:14               141:1, 150:7,     outside
                                                                        46:7, 46:9,       operated             202:10            69:14, 74:14,
                                                                        47:14, 48:7,      11:18, 11:19         originally        78:4, 146:17,
                                                                        51:3, 53:10,      operating            141:22            184:2, 184:7,
                                                                        53:20, 54:6,      169:22               ostensibly        193:12, 193:15,
                                                                        61:5, 61:7,       opinion              73:18             193:20, 193:21
                                                                        61:15, 65:17,     24:13, 25:3,         other             outstanding
                                                                        75:6, 75:8,       192:2, 194:18,       10:16, 11:6,      180:2
                                                                        75:12, 76:1,      194:21, 217:5        14:17, 14:22,     over
                                                                        76:18, 78:11,     opinions             22:14, 48:20,     13:20, 23:16,
                                                                        81:19, 87:6,      83:15                48:22, 49:6,      29:16, 39:2,
                                                                        91:18, 98:4,      opportunities        55:22, 56:9,      126:4, 207:6,
                                                                        101:22, 111:22,   35:1, 35:16          57:1, 73:8,       221:14
                                                                        112:1, 113:4,     opportunity          74:17, 77:5,      overlooked
                                                                        116:17, 122:2,    35:9, 67:1,          89:4, 98:4,       125:10
                                                                        126:21, 131:1,    117:11, 221:9        98:5, 101:7,      owed
                                                                        131:3, 131:4,     opposed              105:18, 110:13,   157:17, 185:3,
                                                                        131:5, 131:6,     46:16                124:3, 124:10,    190:3
                                                                        131:10, 131:11,   opposing             130:6, 140:6,     own
                                                                        143:4, 148:6,     219:19               148:16, 152:4,    10:10, 52:15,
                                                                        152:2, 154:5,     opposite             152:14, 152:17,   52:16, 52:20,
                                                                        154:9, 164:9,     188:8                169:19, 171:8,    52:22, 53:3,
                                                                        165:16, 165:21,   opposition           173:7, 176:11,    72:12, 77:20,
                                                                        166:1, 167:7,     17:9                 184:20, 192:13,   78:7, 99:13
                                                                        167:9, 167:14,    order                194:2, 196:3,     owner
                                                                        172:3, 173:2,                          201:14, 203:9,    38:13, 52:13,
                                                                        182:7, 193:5,     18:3, 24:13,
                                                                                          25:3, 77:3,          208:22, 215:3,    73:2, 77:10,
                                                                        201:22, 202:1,                         216:11, 216:14,   83:3, 83:11,
                                                                        208:9             117:17, 117:22,
                                                                                          119:16, 120:12,      216:15, 219:9,    83:16, 83:22,
                                                                        ones                                   219:11            84:5, 189:3,
                                                                                          149:4, 156:20,
                                                                        27:21, 94:2,      162:17, 167:13,      others            189:8, 190:2,
                                                                                                               8:19



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       246
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 248 of 263




                                                                        190:8, 190:21,    206:7                171:11, 171:17,   period
                                                                        191:5, 191:19,    part-time            171:22, 172:4,    126:4
                                                                        192:14, 194:4,    42:14                172:9, 174:16,    permissible
                                                                        219:18            participate          180:4, 181:22     146:18
                                                                        owners            20:13                payable           permit
                                                                        23:13             participation        182:17            187:2
                                                                        ownership         75:10                payee             permitted
                                                                        74:10, 78:3,      particular           162:20            143:15, 185:6
                                                                        78:11             36:16, 42:17,        paying            persist
                                                                        owns              79:3, 80:8,          170:5, 171:7,     26:22
                                                                        23:12             86:13                185:16            person
                                                                                 P        parties              payment           34:8, 72:7,
                                                                        pacer             7:11, 105:18,        156:8, 161:6,     79:13, 158:22,
                                                                        51:8, 51:9,       193:10, 216:12,      161:16, 163:4,    159:5, 159:10,
                                                                        210:7             223:12               169:17, 170:13,   160:1, 160:4,
                                                                        page              party                172:7, 172:8,     162:20
                                                                        5:2, 5:11,        30:14, 147:3,        179:1             personal
                                                                        5:22, 20:6,       147:7, 186:19,       payments          74:20, 126:13,
                                                                        22:11, 46:10,     186:21, 187:5,       160:22, 170:3,    149:15, 149:18,
                                                                        166:6, 167:7,     189:16, 189:18,      170:9, 170:10,    150:1
                                                                        212:14, 212:16,   190:10, 191:20,      170:14, 172:5,    personally
                                                                        212:18, 212:21    194:15, 195:17,      174:13, 175:18,   147:17, 148:2
                                                                        pages             219:19, 220:15,      178:6, 178:9,     pertaining
                                                                        1:20, 91:19,      220:18               179:19, 183:14,   199:9, 201:2
                                                                        110:7, 125:6,     party's              186:5             phone
                                                                        167:13, 199:13,   30:13                pd                11:1, 11:15,
                                                                        212:19            past                 4:13              37:13, 37:14
                                                                        paid              42:1                 pending           photocopy
                                                                        167:12, 167:18,   patient              7:5, 120:3,       6:10, 6:11
                                                                        169:19, 170:21,   200:20               175:7             pic
                                                                        172:10, 177:3,    patrick              people            204:14
                                                                        184:18, 186:14,   178:7, 178:10        11:6, 14:15,      picture
                                                                        204:13            patterson            44:6, 68:20,      205:4
                                                                        paragraph         4:3, 10:13,          69:5, 84:1,       pictures
                                                                        168:22, 204:12,   11:10, 102:2,        110:14, 170:5,    172:17
                                                                        217:8             102:4, 102:5,        172:4             piece
                                                                        pardon            102:12               percent           221:4
                                                                        198:2             pause                23:12, 23:13,     pieces
                                                                        part              33:20, 35:10,        52:16, 52:22,     135:22, 183:12
                                                                        8:3, 72:13,       48:12, 49:3,         53:3, 190:21      pivot
                                                                        73:2, 93:13,      51:5, 66:8,          perfect           124:12
                                                                        100:2, 125:12,    80:20, 81:4,         42:7, 180:1       place
                                                                        129:13, 130:12,   92:10, 117:9,        perform           31:17, 31:22,
                                                                        131:4, 131:5,     117:14, 155:5,       40:16, 41:6       120:5, 216:12,
                                                                        142:21, 144:11,   202:14, 213:5        perhaps           216:13
                                                                        145:3, 150:17,    pay                  16:11             plaintiff
                                                                        166:2, 174:3,     157:3, 159:11,       peril             1:5, 3:3, 8:1,
                                                                                          159:19, 169:1,       69:15             201:15



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       247
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 249 of 263




                                                                        plaintiff's       111:17, 143:14,      167:6, 176:13,    process
                                                                        25:11             188:8, 190:22        181:7, 210:20     13:22, 87:2
                                                                        plan              positions            previously        produce
                                                                        33:1, 43:13,      220:7                149:17, 152:6,    86:1, 90:12,
                                                                        55:8, 105:18,     positive             153:12            129:11, 129:17,
                                                                        105:20, 106:2,    128:17               primary           130:1, 130:5,
                                                                        107:5, 153:10,    possession           43:5              130:9, 142:17
                                                                        153:13, 186:10    200:5, 200:13        printed           produced
                                                                        planet            possible             222:15            25:9, 28:14,
                                                                        7:11, 8:8         16:8, 119:21         printout          47:15, 90:5,
                                                                        planning          possibly             156:5             110:6, 129:1,
                                                                        173:5, 173:8,     125:10               prior             129:5, 129:15,
                                                                        173:10, 173:11    potential            13:4, 19:22,      183:11, 197:22,
                                                                        plans             55:22                20:1, 20:12,      198:4, 199:13,
                                                                        186:8             power                49:21, 50:2,      199:15, 219:17,
                                                                        play              23:15, 29:16         50:18, 56:2,      221:18
                                                                        103:19            practice             56:11, 57:2,      product
                                                                        played            26:7, 172:16         102:21, 126:6,    42:18
                                                                        102:19            precursor            139:20, 140:5,    products
                                                                        pleading          27:6                 153:10, 159:15,   43:3
                                                                        215:2             preparation          159:16, 164:11,   prohibit
                                                                        pleadings         102:8                180:17, 205:3,    26:15
                                                                        214:13            prepare              205:9, 218:19     promising
                                                                        plow              101:19               probably          172:19
                                                                        193:7             preparing            16:8, 20:5,       proper
                                                                        plus              20:1, 216:14         39:1, 39:11,      30:22, 31:5,
                                                                        157:3, 181:22,    presence             39:16, 43:6,      32:19, 32:21
                                                                        182:5, 182:6,     193:16, 193:21       47:17, 58:18,     properly
                                                                        182:13, 182:14,   present              108:8, 111:14     22:12, 22:15,
                                                                        182:15            4:11, 43:21,         problem           22:21
                                                                        point             44:5, 44:15,         16:10, 186:12     prosecuting
                                                                        11:18, 27:1,      193:14               procedural        51:13
                                                                        38:19, 40:6,      presented            13:20             protective
                                                                        45:14, 45:17,     35:2, 35:16,         procedure         18:3, 77:3,
                                                                        63:2, 134:1,      187:12, 187:18       31:1, 31:5        149:4, 199:10,
                                                                        141:12, 142:1,    presumably           proceed           201:6, 216:10
                                                                        142:8, 160:12,    27:5, 95:6,          8:15              provide
                                                                        185:11, 200:19    214:8                proceedings       86:10, 86:16,
                                                                        portion           pretend              33:20, 35:10,     204:6, 204:13,
                                                                        18:9, 18:10,      76:5, 76:6           48:12, 49:3,      209:3, 218:20
                                                                        18:18, 19:7,      pretending           51:5, 66:8,       provided
                                                                        19:8, 19:11,      172:16               80:20, 81:4,      77:8
                                                                        21:21             pretty               92:10, 117:9,     providing
                                                                        position          71:2, 114:13         117:14, 148:1,    104:8, 104:11,
                                                                        12:18, 13:1,      prevail              148:4, 148:16,    219:6
                                                                        24:15, 53:6,      71:18, 75:12         155:5, 202:14,    public
                                                                        73:16, 73:17,     previous             213:5, 223:5,     2:9, 211:9,
                                                                        81:2, 110:13,     122:21, 153:4,       223:8             223:2, 223:21




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       248
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 250 of 263




                                                                        pure              questions            28:21, 29:4,      recalls
                                                                        206:6             9:17, 14:3,          29:6, 30:4,       46:2
                                                                        purport           14:11, 15:2,         30:6, 30:9,       receive
                                                                        138:9, 141:2,     22:4, 24:18,         30:18, 33:19,     127:6, 127:14,
                                                                        169:12, 169:14,   30:7, 30:19,         35:4, 35:5,       132:21
                                                                        169:15, 169:18,   33:8, 35:8,          35:9, 46:5,       received
                                                                        187:7             66:3, 69:12,         51:3, 51:6,       16:22, 21:5,
                                                                        purported         69:13, 73:6,         66:10, 80:16,     47:19, 91:17,
                                                                        183:13            74:1, 74:5,          90:3, 92:11,      91:19, 125:14,
                                                                        purporting        74:13, 74:16,        99:8, 99:21,      127:4, 127:5,
                                                                        187:11, 221:5     74:18, 74:20,        100:2, 117:15,    127:15, 127:17,
                                                                        purports          74:22, 75:9,         122:19, 122:21,   128:1, 128:6,
                                                                        90:9, 124:16,     75:10, 76:15,        147:5, 178:4,     128:7, 129:3,
                                                                        127:2, 161:6,     108:14, 110:21,      204:17, 213:7,    211:15
                                                                        161:15, 162:16,   115:13, 134:2,       214:4             receiving
                                                                        169:15            135:15, 140:12,      reading           99:16, 127:19,
                                                                        purpose           146:17, 146:19,      35:6, 131:20,     127:21, 128:19,
                                                                        24:19, 69:12,     148:13, 148:14,      133:2, 142:4,     128:22, 133:12,
                                                                        148:13, 148:18    148:18, 179:7,       213:6             139:17
                                                                        pursuant          188:13, 195:11,      real              recent
                                                                        2:8, 15:7,        195:16, 198:22,      144:21, 145:12,   51:1, 53:18,
                                                                        26:13             199:8, 199:9,        150:10, 162:7     60:17, 65:17,
                                                                        pursuit           201:9, 215:3         realize           80:2, 91:15,
                                                                        120:6, 199:12     quick                176:4             92:2, 98:10,
                                                                        put               86:4                 really            113:14, 113:22,
                                                                        16:12, 22:4,      quiet                70:14, 102:22,    116:22, 121:4,
                                                                        24:18, 25:7,      198:13, 220:3        153:2, 184:12     124:14, 167:8,
                                                                        26:3, 26:4,                R           realtor           201:22
                                                                        75:1, 93:5,       raise                187:16            recently
                                                                        103:18, 109:1,    8:11                 reason            20:2, 121:14,
                                                                        150:18, 151:12,   raised               51:18, 198:19,    122:1
                                                                        151:21, 209:1     24:14                206:2, 218:7      recess
                                                                        pybas             raising              reasonable        113:6, 166:15
                                                                        4:13              73:13                70:1              recipient
                                                                                 Q        rather               reasons           128:2, 128:15
                                                                        qualified         69:22                35:17, 106:17,    recognize
                                                                        194:18            ratification         148:18            47:14, 65:16,
                                                                        qualifying        20:14                recall            67:11, 177:8,
                                                                        32:2              reach                79:18, 86:9,      177:12
                                                                        quash             70:3                 90:20, 95:18,     recollection
                                                                                          reached              97:11, 97:22,     42:7, 60:1,
                                                                        5:12, 15:13,                           99:12, 121:20,
                                                                        18:2, 18:8,       71:8, 157:12,                          102:18, 127:21,
                                                                                          157:13, 157:15       122:14, 157:13,   128:18, 128:21,
                                                                        18:17, 19:7,                           159:18, 160:16,
                                                                        19:10             reaction                               139:16, 139:21,
                                                                                          119:15, 119:18,      163:2, 170:8,     157:11, 172:8,
                                                                        quashed                                181:6, 181:9,     180:1
                                                                        174:22            120:11, 120:15
                                                                                          read                 181:11, 181:13,   recommendations
                                                                        questioning                            193:20            103:12, 122:16
                                                                        76:2, 188:5       19:18, 19:20,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                        249
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 251 of 263




                                                                        record            refresh              96:1, 107:1,       remote
                                                                        12:14, 26:12,     102:18, 103:1,       147:18, 149:16,    7:2, 7:10
                                                                        75:21, 111:7,     157:11               152:10, 153:16,    remotely
                                                                        113:4, 113:8,     refusal              160:2, 161:8,      7:12
                                                                        166:14, 166:17,   199:8                170:1, 174:18,     remove
                                                                        219:10, 222:2,    refused              177:19, 178:11,    134:20
                                                                        222:4, 222:17,    199:11, 201:1,       179:5, 179:21,     removed
                                                                        223:7             214:16, 217:10       182:10, 183:1,     97:2, 97:5,
                                                                        recorded          regard               184:19, 187:10,    97:8
                                                                        11:16, 14:5       108:14, 187:15       189:7, 189:19,     repeat
                                                                        recording         regarding            189:20, 191:8,     58:11, 171:15,
                                                                        10:17, 10:21,     63:16, 67:20,        192:1, 192:16,     220:15
                                                                        11:3, 11:5        86:5, 93:18,         194:5, 197:13,     repeatedly
                                                                        recordings        95:18, 122:12,       199:5, 203:13,     183:3, 185:10,
                                                                        10:16, 11:11      164:11, 214:7        204:8, 204:16,     185:18, 201:1
                                                                        reduced           registered           205:5, 206:12,     rephrase
                                                                        223:9             62:4, 62:10          206:17, 207:1,     48:21, 55:19,
                                                                        refer             regular              207:17, 211:7,     97:7, 104:10,
                                                                        49:18             210:1                213:12, 215:1,     170:17
                                                                        reference         relate               215:20, 217:16,    reply
                                                                        17:21, 32:20,     74:20, 97:9,         218:1, 218:5,      208:13
                                                                        51:4, 57:19,      97:13, 190:11,       218:14             reported
                                                                        57:20, 161:16,    209:15, 215:2        relevant           1:21
                                                                        168:22            related              25:6, 45:5,        reporter
                                                                        referred          25:8, 52:5,          76:19, 76:20,      2:9, 8:7, 8:9,
                                                                        16:14, 48:20,     56:9, 57:1,          77:14, 147:2,      8:11, 8:15,
                                                                        48:22, 49:6,      63:13, 75:2,         180:12, 185:11,    12:7, 122:20,
                                                                        49:9, 79:14       89:4, 96:6,          199:8, 200:4,      135:18, 168:6,
                                                                        referring         99:17, 100:21,       201:2, 201:16,     222:5, 223:1,
                                                                        48:15, 55:11,     132:8, 146:20,       207:8, 214:1,      223:4
                                                                        55:12, 56:4,      147:22, 148:4,       214:12, 215:4,     reporting
                                                                        56:5, 57:10,      152:5, 154:6,        218:10             10:17, 116:14
                                                                        57:15, 58:4,      179:8, 183:5,        rely               reports
                                                                        58:15, 101:7,     211:18, 213:17,      18:5               180:3
                                                                        118:11, 125:10,   223:11               remembering        represent
                                                                        143:4, 156:11,    relates              39:17              7:14, 7:16,
                                                                        156:13, 169:6,    154:5, 179:10,       remind             7:22, 14:1,
                                                                        182:1, 193:6,     221:6                33:12, 34:14,      23:21, 24:3,
                                                                        204:21            relating             74:21, 207:6       75:20, 145:19,
                                                                        refers            184:12, 187:14       reminded           145:22, 147:16,
                                                                        20:10             relationship         28:18, 29:22,      173:16
                                                                        reflect           74:16, 120:2,        31:12, 33:22,      representation
                                                                        20:22, 127:20,    120:5                34:5, 34:8, 34:9   9:5, 63:2,
                                                                        128:1, 199:11     relevance            reminder           119:22
                                                                        reflected         40:20, 42:21,        157:2              representations
                                                                        21:3              44:20, 57:19,        remitter           174:2, 175:20,
                                                                        reflects          68:18, 73:15,        162:22, 167:11,    177:11, 178:13,
                                                                        158:1             74:2, 85:2,          167:17, 173:21     180:20, 181:16,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       250
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 252 of 263




                                                                        182:3, 182:18     64:4, 79:5,          revise            run
                                                                        representative    79:8, 80:19,         134:21            33:3
                                                                        7:18, 9:3,        81:3, 106:14,        ridiculous        running
                                                                        9:18, 25:16,      116:7                108:6             31:6
                                                                        187:18            response             right                       S
                                                                        represented       47:15                8:12, 12:4,       s
                                                                        49:16, 193:13     responses            16:14, 16:17,     197:1, 197:10
                                                                        representing      5:14, 104:2,         27:16, 30:4,      said
                                                                        7:11, 8:4, 8:8,   116:2, 215:3         66:11, 73:21,     14:13, 22:20,
                                                                        17:13, 23:14,     responsive           76:11, 78:10,     34:4, 41:19,
                                                                        30:12, 215:16,    126:3                85:13, 85:14,     45:15, 45:19,
                                                                        215:19            restate              89:13, 99:7,      47:1, 77:22,
                                                                        represents        111:12, 153:4        113:10, 116:19,   78:2, 121:22,
                                                                        10:22, 23:16      retail               131:9, 147:4,     174:8, 174:11,
                                                                        request           22:18, 72:19,        148:10, 162:22,   175:12, 183:6,
                                                                        79:5, 116:7,      73:1, 73:2,          166:12, 168:10,   191:14, 223:8
                                                                        190:18, 196:17,   74:10, 77:21,        189:10, 197:14,   same
                                                                        199:10, 201:4,    78:7, 217:13,        198:6, 200:18,    10:9, 35:7,
                                                                        201:5, 203:10,    217:15, 218:4,       219:1, 220:1,     40:7, 54:17,
                                                                        208:12            218:12               220:8, 221:15     58:7, 68:5,
                                                                        requested         retain               right-hand        87:11, 91:5,
                                                                        105:17, 122:22,   23:7, 24:2,          155:21            96:8, 108:4,
                                                                        200:2, 204:7,     24:9, 24:10,         road              134:13, 135:7,
                                                                        205:3             25:13, 27:10         76:1              135:10, 136:3,
                                                                        requests          retained             role              136:15, 138:20,
                                                                        105:11, 105:13,   22:15, 22:21,        25:1, 38:11,      140:13, 143:10,
                                                                        109:4, 109:8,     212:5                78:3, 102:18,     151:14, 152:18,
                                                                        109:11, 109:15,   retains              102:22, 103:7,    166:3, 166:4,
                                                                        209:8             23:17                103:13, 103:19,   175:14, 176:13,
                                                                        required          revealed             104:2, 104:8,     180:16, 181:7,
                                                                        26:13             218:7                104:11, 104:16    185:1, 190:13,
                                                                        requirements      review               ron               191:16, 204:1,
                                                                        185:7             17:6, 19:22,         4:12              205:10, 219:5
                                                                        reread            66:18, 67:1,         ronald            save
                                                                        49:2              67:7, 67:17,         7:18              111:14
                                                                        resend            79:5, 81:5,          room              saw
                                                                        166:8             94:7, 99:19,         10:14, 10:15,     176:14
                                                                        reserve           102:7, 103:18,       11:12             say
                                                                        221:15            109:7, 114:19,       rooms             19:9, 34:7,
                                                                        resignation       114:21, 116:1,       8:19              44:8, 48:2,
                                                                        159:15, 159:17    116:8, 117:11,       rule              50:12, 52:18,
                                                                        respect           125:7                26:13, 74:12,     57:9, 67:14,
                                                                        57:12, 82:18,     reviewed             147:6, 149:8,     69:18, 82:20,
                                                                        108:1             20:3, 79:10,         195:8, 201:4      83:20, 111:15,
                                                                        respective        102:12, 102:17       rules             113:19, 128:13,
                                                                        14:17             reviewing            22:6, 26:15,      132:10, 145:15,
                                                                        respond           79:19, 104:2,        32:21, 143:11,    145:22, 147:2,
                                                                        33:9, 45:4,       104:8, 213:4         147:5




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       251
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 253 of 263




                                                                        149:12, 149:18,   schedule             61:18, 62:9,      16:14, 43:14,
                                                                        149:22, 155:12,   196:14, 196:15       65:21, 66:6,      48:9, 55:1,
                                                                        162:4, 162:5,     scheme               68:22, 69:8,      55:3, 55:5,
                                                                        163:16, 170:4,    150:18, 151:11,      69:19, 70:4,      55:8, 86:21,
                                                                        171:13, 174:10,   151:20, 152:9,       70:15, 71:6,      87:9, 97:20,
                                                                        174:12, 177:18,   152:14, 153:10,      71:18, 75:11,     99:10, 110:2,
                                                                        180:9, 181:15,    183:8                77:19, 80:22,     116:15, 127:2,
                                                                        182:7, 186:14,    schemes              82:1, 90:1,       155:18, 169:9,
                                                                        190:7, 216:20,    152:5                91:18, 94:4,      172:16, 205:2,
                                                                        217:11            scope                98:18, 98:22,     213:8, 214:4,
                                                                        saying            69:14, 74:14,        99:3, 105:4,      214:20
                                                                        23:15, 72:12,     146:18, 195:11       105:5, 105:10,    sender
                                                                        78:6, 81:10,      screen               105:11, 105:12,   127:8, 127:12
                                                                        127:9, 149:9,     11:2, 16:12,         107:21, 108:20,   sending
                                                                        161:19, 173:21,   17:1, 54:3,          109:1, 109:5,     43:16, 49:21,
                                                                        175:18, 187:4,    54:4, 109:2,         109:6, 114:6,     50:9, 50:18,
                                                                        214:18            154:16, 208:10       114:7, 117:6,     78:19, 163:7,
                                                                        says              screw                119:5, 119:9,     172:17, 172:19,
                                                                        20:9, 20:12,      173:2                121:9, 121:12,    210:6, 212:12,
                                                                        22:11, 28:17,     scroll               125:2, 125:4,     213:2
                                                                        29:22, 31:11,     15:19, 80:8,         128:2, 133:10,    sense
                                                                        34:9, 48:20,      180:22               154:15, 155:2,    36:1, 50:5,
                                                                        49:14, 51:7,      scrolling            155:6, 155:11,    57:14
                                                                        54:18, 54:22,     34:19                155:22, 156:2,    sent
                                                                        55:5, 62:9,       seal                 156:3, 156:9,     43:15, 48:13,
                                                                        80:10, 80:17,     223:15               156:10, 157:4,    55:4, 64:19,
                                                                        81:21, 87:14,     search               157:6, 160:17,    65:20, 79:2,
                                                                        89:22, 90:11,     125:17               162:18, 162:19,   80:9, 85:22,
                                                                        92:4, 93:4,       searchable           162:22, 163:1,    86:2, 91:6,
                                                                        93:14, 98:16,                          164:1, 165:18,    95:20, 97:17,
                                                                                          222:15               172:12, 175:8,
                                                                        99:7, 105:9,      searched                               97:22, 98:1,
                                                                        105:10, 105:16,                        177:4, 177:5,     99:4, 106:1,
                                                                                          125:14               184:20, 202:6,
                                                                        109:3, 114:12,    sec                                    106:12, 109:14,
                                                                        114:13, 114:18,                        202:10, 202:12,   115:8, 115:20,
                                                                        114:20, 145:16,   213:9                202:15, 208:11,
                                                                                          second                                 124:9, 126:8,
                                                                        155:15, 155:22,                        212:7             126:11, 130:13,
                                                                        156:1, 156:7,     16:21, 61:5,         seeing
                                                                                          92:1, 125:12,                          131:4, 134:18,
                                                                        158:9, 160:14,                         119:15, 120:12,   135:1, 139:15,
                                                                        160:17, 162:21,   168:21, 202:13,      174:1
                                                                                          211:14                                 156:15, 156:18,
                                                                        163:21, 164:21,                        seem              160:18, 161:19,
                                                                        164:22, 178:4,    secondly             188:7             162:4, 167:22,
                                                                        178:6, 180:10,    25:8                 seems             172:17, 172:18,
                                                                        180:15, 181:21,   securities           174:19            172:19, 175:12,
                                                                        203:11, 213:17,   47:2                 seen              176:12, 203:8,
                                                                        214:3, 214:14,    see                  28:10             204:14, 205:15,
                                                                        220:4             16:4, 17:4,          sell              208:12, 210:6,
                                                                        scam              20:16, 20:17,        34:22, 35:15      215:8, 221:5
                                                                        217:11            33:1, 48:1,          send              sentence
                                                                                          61:13, 61:14,        16:5, 16:7,       23:10, 87:14,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       252
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 254 of 263




                                                                        204:17, 204:20    159:7, 161:7,        shows             58:2, 62:12,
                                                                        separate          161:16, 163:5,       186:6             63:2, 74:13,
                                                                        147:8, 148:16,    169:17, 183:9,       sign              74:22, 79:1,
                                                                        168:3             183:13, 186:1,       177:15            81:6, 83:21,
                                                                        september         186:8, 186:9,        signature         85:9, 90:3,
                                                                        25:4, 113:13,     187:15               173:22, 174:8,    96:3, 107:22,
                                                                        113:15, 113:21,   share                174:9, 174:10,    109:2, 112:9,
                                                                        113:22, 121:4,    93:1, 214:14,        177:6, 177:8,     122:14, 125:3,
                                                                        124:15, 126:7,    217:8                177:12, 177:14,   125:7, 126:15,
                                                                        134:15, 135:7,    shareholder          181:1, 181:2,     129:22, 132:2,
                                                                        136:5, 138:1      22:16, 22:22,        181:4             133:20, 139:21,
                                                                        series            23:6, 189:9,         signature-bi6ds   145:21, 147:6,
                                                                        174:12, 174:17,   189:11, 189:14,      223:19            162:19, 163:1,
                                                                        175:13            190:3                signatures        163:20, 164:16,
                                                                        served            shares               122:13            169:5, 169:18,
                                                                        18:8, 27:22,      22:17, 53:5          signed            174:6, 177:5,
                                                                        72:22             sharing              44:1, 44:6        177:10, 180:21,
                                                                        service           193:7                similar           181:15, 182:2,
                                                                        116:14            sheet                158:12            182:18, 182:21,
                                                                        serving           168:8                simple            189:12, 197:16,
                                                                        22:13, 82:2       short                31:8, 33:13,      198:2, 208:5,
                                                                        set               108:17, 113:2        70:14, 71:2       209:21, 210:14,
                                                                        27:20, 105:18,    shorthand            since             211:1, 211:22,
                                                                        183:16, 223:14    223:1                134:22, 135:3,    212:15, 213:4,
                                                                        settle            shortly              184:10, 192:13,   216:20, 221:12
                                                                        84:6, 157:17,     53:8                 192:14, 207:3,    sit
                                                                        209:1             should               207:13, 207:18    30:18, 89:13,
                                                                        settlement        23:13, 24:22,        single            196:11
                                                                        70:12, 70:15,     46:7, 71:14,         22:16, 22:22,     sitting
                                                                        71:7, 117:18,     72:8, 79:11,         23:6, 131:13,     15:12, 59:22,
                                                                        117:22, 118:9,    79:15, 81:22,        138:13, 138:21,   88:9, 95:20,
                                                                        118:16, 119:5,    85:13, 85:15,        140:22, 142:22,   96:6, 96:19,
                                                                        119:12, 120:4,    167:6, 168:2,        143:2, 144:1      119:19
                                                                        120:12, 120:13,   168:5, 168:12,       sir               situation
                                                                        120:19, 120:22,   173:1, 184:13        9:21, 10:1,       70:8, 74:21,
                                                                        209:3, 211:11,    show                 10:3, 15:4,       172:11
                                                                        211:15, 211:18    15:16, 43:13,        15:6, 17:19,      six
                                                                        several           47:7, 91:8,          18:16, 18:21,     46:10, 166:6,
                                                                        102:16, 112:2     98:8, 104:18,        23:4, 24:21,      212:14, 212:19
                                                                        severance         116:13, 121:1,       26:11, 31:21,     sixth
                                                                        30:1, 31:12,      165:3, 181:1,        32:7, 35:4,       140:13, 143:10
                                                                        33:13, 34:14,     199:15, 202:7,       35:11, 37:17,     slow
                                                                        36:18, 152:4,     212:1, 212:10        38:19, 40:6,      29:9
                                                                        152:16, 152:21,   showing              41:5, 41:11,      small
                                                                        152:22, 153:2,    184:18, 218:11       45:8, 45:11,      221:17
                                                                        153:10, 153:13,   shown                45:13, 49:4,      smaller
                                                                        154:5, 156:8,     8:6, 18:1,           51:4, 51:6,       135:21
                                                                        156:11, 159:4,    183:10               54:7, 56:4,       smart
                                                                                                                                 22:18, 72:19,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                        253
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 255 of 263




                                                                        73:1, 73:2,       soon                 19:14, 178:1,     standalone
                                                                        74:10, 77:21,     54:1, 61:5,          180:12, 187:21,   138:17, 140:9,
                                                                        78:7, 217:13,     202:8, 212:10,       215:11            143:21
                                                                        217:15, 218:4,    217:12               special           start
                                                                        218:12            sorry                9:10, 9:12        21:17, 39:22,
                                                                        smear             10:6, 15:5,          specific          42:13, 54:8,
                                                                        218:18, 220:12    19:9, 39:15,         58:22, 59:9,      73:1, 111:4,
                                                                        solicit           45:12, 45:21,        64:19, 94:2,      113:11, 165:6
                                                                        112:14, 112:19    46:6, 49:5,          101:11, 112:1,    started
                                                                        solicited         61:10, 62:21,        120:15, 120:21,   12:5, 14:22,
                                                                        112:11, 112:12    67:14, 102:3,        126:1, 126:2,     37:19, 42:12,
                                                                        some              121:3, 129:9,        128:18, 128:21,   42:13, 72:19,
                                                                        27:1, 28:14,      129:16, 139:11,      139:16, 146:5,    123:7
                                                                        31:17, 41:14,     154:7, 156:1,        203:9             starts
                                                                        41:15, 42:16,     170:9, 171:11,       specifically      85:21, 154:11,
                                                                        43:20, 45:14,     176:3, 193:1,        25:8, 28:16,      202:16
                                                                        45:16, 47:2,      196:16, 198:1,       50:20, 102:9,     state
                                                                        54:2, 65:4,       203:17, 215:17       102:10, 133:11,   2:10, 7:14,
                                                                        68:10, 74:1,      sort                 143:5, 172:7,     12:13, 223:22
                                                                        78:3, 86:5,       174:19, 183:16,      209:8, 214:3      state's
                                                                        97:17, 99:22,     184:19               speculate         12:19, 12:22,
                                                                        103:1, 112:11,    sorts                63:16, 64:18,     13:3, 13:9,
                                                                        118:22, 141:12,   218:20               67:20, 68:6,      40:13, 40:18,
                                                                        142:1, 142:8,     sound                87:3, 91:2,       41:8, 41:15,
                                                                        157:11, 160:12,   48:19                150:13            41:17, 41:20,
                                                                        167:2, 172:9,     sounds               speculating       42:2, 42:4,
                                                                        174:19, 183:13,   44:9, 52:18,         122:3             42:8, 42:11
                                                                        183:16, 184:19,   131:8, 183:15        speculation       stated
                                                                        200:12, 202:16,   source               67:22, 70:19,     149:17
                                                                        205:4, 214:5,     136:13               71:10, 83:15,     statement
                                                                        215:9             speak                95:9, 110:4,      10:18, 20:18,
                                                                        somebody          25:15, 43:17,        115:5, 118:3,     20:21, 21:1,
                                                                        33:9, 220:10      111:2, 111:5,        137:17, 145:3,    29:21, 30:3,
                                                                        somehow           111:9, 187:8,        190:15, 202:20,   31:2, 31:15,
                                                                        186:22            188:2, 188:11,       206:6             31:18, 33:12,
                                                                        someone           188:20, 193:9,       spent             34:9, 35:3,
                                                                        123:4, 161:19     193:11, 194:15       24:22, 125:21,    35:13, 45:22,
                                                                        something         speaking             201:13, 221:19    46:2, 46:15,
                                                                        26:2, 26:4,       25:6, 26:8,          spoke             113:18, 151:18,
                                                                        33:8, 64:10,      26:16, 32:11,        50:8, 87:15,      220:5
                                                                        66:15, 78:22,     32:12, 32:15,        121:14, 121:22,   statements
                                                                        90:7, 116:10,     36:15, 36:17,        123:1, 123:10,    14:17, 220:7
                                                                        143:13, 183:4,    50:19, 61:20,        123:18, 159:1,    states
                                                                        184:8, 184:18,    111:4, 120:9,        159:3, 159:6,     1:1, 7:5
                                                                        187:1, 217:7      123:5, 123:6,        159:10            status
                                                                        sometime          145:5, 189:8,        spread            27:16
                                                                        126:6             207:19, 221:19       116:21            stenographically
                                                                        son               speaks               st                223:9
                                                                        205:20            18:12, 18:21,        12:20, 49:11



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       254
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 256 of 263




                                                                        step              stuff                supervision       93:7, 93:14,
                                                                        10:20, 172:12     96:10, 211:11        223:10            93:17, 93:22,
                                                                        stephen           sub                  supplemental      217:13
                                                                        3:14, 7:15,       195:9                43:8, 46:9        take
                                                                        8:3, 28:19,       subject              supply            10:20, 22:7,
                                                                        31:6, 32:14,      17:22, 25:17,        203:11            24:16, 25:20,
                                                                        77:20, 91:17,     92:3, 98:16,         support           31:22, 47:18,
                                                                        108:3, 111:12,    149:4, 201:11        8:5, 185:14,      48:10, 66:2,
                                                                        115:7, 116:18,    subjects             190:16            77:17, 91:22,
                                                                        156:20, 183:15,   124:3                supposed          92:4, 92:8,
                                                                        184:6, 195:20,    subpoena             24:12, 205:9,     108:2, 108:10,
                                                                        214:11            15:8, 15:14,         212:18, 219:18    108:15, 108:17,
                                                                        stern's           18:8, 18:19,         supposedly        113:2, 117:8,
                                                                        8:3               19:11, 19:12,        31:22, 75:22      143:14, 150:2,
                                                                        steven            22:11, 47:16,        sure              155:4, 165:5,
                                                                        105:9, 105:10     125:19, 126:4,       8:5, 10:21,       165:15, 166:10,
                                                                        still             174:22               13:21, 17:16,     216:13, 221:21
                                                                        68:5, 94:22,      subpoenas            17:17, 18:4,      taken
                                                                        95:7, 95:13,      18:2                 26:12, 33:5,      24:12, 113:6,
                                                                        176:4, 179:8,     subsection           42:9, 44:4,       135:18, 166:15,
                                                                        213:4             20:7, 22:10          52:19, 57:19,     201:5, 216:15,
                                                                        stop              substance            94:3, 96:14,      223:6, 223:8
                                                                        25:5, 26:8,       36:6                 96:15, 118:11,    taking
                                                                        27:3, 29:7,       success              119:8, 128:12,    73:16, 73:18,
                                                                        29:12, 32:11,     200:22               164:16, 172:5,    120:4, 148:11,
                                                                        32:12, 56:12,     sue                  173:11, 183:15,   188:7
                                                                        74:6, 75:4,       4:13                 193:18, 195:13,   talk
                                                                        120:8, 145:6,     suggest              209:13, 209:18,   21:7, 33:2,
                                                                        198:11            24:21                209:19, 222:11    187:7, 187:11
                                                                        stored            suggesting           surprised         talked
                                                                        95:3              73:11                133:10, 133:15    21:22, 37:18,
                                                                        story             suggestions          suspend           39:1, 42:16,
                                                                        152:22            94:10, 122:11        195:9             43:4
                                                                        street            suggests             suspicions        talking
                                                                        3:7, 3:17         78:2                 219:8             31:19, 36:12,
                                                                        string            suing                swear             40:7, 42:6,
                                                                        47:21, 48:5,      189:16, 190:10,      8:9               42:19, 48:3,
                                                                        50:22, 51:1,      191:20, 194:15       switch            54:19, 56:14,
                                                                        53:18, 54:9,      suit                 168:8             111:1, 121:15,
                                                                        54:16, 57:7,      204:14, 205:4        sworn             132:15, 133:4,
                                                                        60:17, 60:19,     suite                8:14, 12:6        147:15, 153:19,
                                                                        61:3, 66:12,                           sydney            159:7, 176:4,
                                                                                          3:6, 4:5                               200:14, 200:16,
                                                                        91:14, 92:1,      summary              4:3
                                                                        92:9, 98:10,                                             207:20, 219:14
                                                                                          114:14                        T        talks
                                                                        113:12, 113:20,   sums
                                                                        113:22, 114:8,                         tagnetics         136:14
                                                                                          170:11, 170:22       80:12, 81:9,      tar
                                                                        141:6, 167:9,     sunday
                                                                        202:1                                  92:4, 93:5,       219:3
                                                                                          86:5



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       255
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 257 of 263




                                                                        taxes             60:5, 73:4,          209:7, 210:7,     79:12, 79:13,
                                                                        160:20, 160:21,   102:21, 135:16,      211:3, 214:1      87:2, 172:21,
                                                                        173:6             135:17, 138:12,      think             173:1, 203:17,
                                                                        tech              139:5, 139:20,       20:20, 23:3,      217:4
                                                                        4:13, 168:10      140:5, 141:11,       23:4, 23:9,       thoughts
                                                                        technical         141:17, 141:21,      23:10, 23:11,     64:17, 67:21,
                                                                        8:5, 137:2        142:3, 142:12,       23:12, 23:13,     90:1, 90:18,
                                                                        tecum             142:15, 161:22,      24:20, 27:15,     90:19, 90:22,
                                                                        18:3, 18:9,       162:9, 164:11,       27:21, 42:7,      92:22, 93:1,
                                                                        18:18, 19:7,      171:6, 171:20,       42:17, 42:20,     93:4, 101:5,
                                                                        19:10, 22:12      178:19               43:3, 43:4,       101:11
                                                                        telephone         text                 44:3, 44:5,       thousand
                                                                        36:20, 106:9      208:13               44:9, 47:8,       110:7, 199:13
                                                                        telephones        th                   51:16, 53:11,     thread
                                                                        11:17, 11:19      25:4, 27:22,         56:14, 57:6,      61:22, 80:1,
                                                                        tell              89:1, 154:8          72:14, 78:13,     119:16, 121:2,
                                                                        31:16, 50:17,     thank                79:7, 79:10,      121:3, 124:14,
                                                                        82:10, 179:9,     8:15, 8:17,          80:11, 82:15,     124:16, 125:4,
                                                                        197:15, 205:21    10:19, 17:8,         82:21, 83:2,      125:9, 125:18,
                                                                        telling           27:7, 46:11,         83:11, 93:14,     126:16, 130:6,
                                                                        67:5, 139:13,     47:19, 54:10,        99:7, 99:13,      130:12, 131:7,
                                                                        148:21            76:4, 113:10,        100:8, 108:8,     132:4, 138:7,
                                                                        ten               115:12, 116:19,      110:12, 115:9,    138:17, 141:2,
                                                                        39:2, 39:21,      145:5, 154:13,       118:12, 119:3,    144:21, 145:12,
                                                                        123:21, 165:5     198:6, 221:12,       121:21, 122:7,    150:10, 202:10
                                                                        tend              221:22               122:10, 123:11,   threads
                                                                        14:15             themselves           128:16, 138:11,   77:9
                                                                        terminate         7:14                 146:10, 160:11,   three
                                                                        74:13, 200:19     theory               162:7, 184:9,     20:8, 22:11,
                                                                        terminated        186:22, 190:17,      184:13, 189:14,   71:21, 166:17,
                                                                                          191:1                191:18, 193:3,    172:4, 181:8,
                                                                        214:16, 217:5,                         194:14, 195:15,
                                                                        217:10, 217:12,   thereafter                             201:9, 201:10,
                                                                                          223:9                195:19, 196:9,    201:13
                                                                        218:13                                 197:3, 197:4,
                                                                        termination       therefore                              through
                                                                                          25:12, 95:5          197:7, 197:8,     15:19, 19:19,
                                                                        217:3, 217:7                           197:9, 208:19,
                                                                        terms             thing                                  30:18, 47:9,
                                                                                          17:12, 108:4,        208:22, 209:6,    65:11, 79:22,
                                                                        36:18, 158:2,                          210:5, 210:6,
                                                                        185:6, 214:5,     136:15, 162:5                          91:9, 98:9,
                                                                                          things               215:15, 215:17,   112:2, 116:20,
                                                                        222:15                                 216:21, 217:3,
                                                                        testified         22:14, 55:1,                           121:2, 124:13,
                                                                                          55:6, 55:11,         217:6, 221:1      148:15, 152:16,
                                                                        8:14, 34:20,                           thinking
                                                                        141:6             55:12, 59:6,                           165:8, 165:13,
                                                                                          59:9, 59:11,         108:4             165:15, 173:6,
                                                                        testify                                third
                                                                        194:20, 194:21    59:16, 59:20,                          221:16
                                                                                          110:14, 120:6,       168:21            throughout
                                                                        testifying                             third-party
                                                                        32:4              132:19, 203:3,                         110:2, 210:2,
                                                                                          203:5, 203:9,        187:13            213:22
                                                                        testimony                              thought           time
                                                                        23:19, 56:3,      204:11, 204:12,
                                                                                                               41:19, 63:17,     7:8, 12:10,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       256
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 258 of 263




                                                                        13:10, 14:16,     9:17, 13:20,         91:12, 98:14,     208:20, 212:9,
                                                                        20:3, 20:22,      14:3, 15:1,          105:2, 107:19,    212:15, 219:10,
                                                                        21:13, 24:21,     15:7, 20:1,          114:4, 116:16,    221:20
                                                                        24:22, 27:1,      21:15, 78:15,        117:4, 121:7,     turn
                                                                        32:9, 33:8,       88:9, 101:20,        124:21, 154:21,   10:5, 20:6,
                                                                        37:3, 38:7,       102:8, 102:13,       166:21, 176:21,   21:10, 21:11,
                                                                        38:8, 38:19,      112:5, 187:13,       202:4, 222:5,     27:19, 28:15,
                                                                        38:20, 39:5,      187:19, 196:11,      222:14, 223:7     43:7, 65:10,
                                                                        39:22, 40:2,      221:16, 222:3        transfer          79:21, 150:4,
                                                                        40:6, 40:8,       today's              203:21            198:12, 198:15,
                                                                        41:8, 41:11,      7:7                  treat             220:2
                                                                        41:14, 41:15,     together             68:20             turning
                                                                        42:3, 45:16,      23:9, 23:10,         tribunals         22:10
                                                                        45:17, 47:2,      23:11, 132:13,       216:15, 219:11    twice
                                                                        53:6, 56:1,       150:19, 151:12,      tried             147:10, 182:4
                                                                        56:15, 87:7,      151:21, 166:10       65:4, 203:4,      two
                                                                        88:10, 111:14,    told                 209:7             17:3, 20:5,
                                                                        113:4, 113:9,     79:11, 172:22,       trip              20:7, 20:8,
                                                                        120:1, 125:21,    179:6, 183:3,        39:16, 42:5,      102:2, 102:4,
                                                                        126:4, 132:1,     185:19               43:6              102:5, 113:8,
                                                                        137:7, 138:19,    tom                  triple            120:6, 167:7,
                                                                        139:9, 140:13,    47:22, 61:9          169:1             167:13, 175:17,
                                                                        141:12, 142:1,    took                 trouble           175:18
                                                                        142:8, 143:10,    31:17                208:21            typewriting
                                                                        143:16, 164:9,    top                  true              223:10
                                                                        166:14, 166:17,   48:7, 57:7,          20:18, 21:1,               U
                                                                        170:8, 170:10,    92:1, 155:21,        30:3, 31:4,
                                                                        170:12, 170:21,                                          ultimately
                                                                                          163:21, 168:8,       31:15, 33:11,     61:11
                                                                        171:16, 182:7,    168:11               33:15, 34:2,
                                                                        184:11, 194:4,                                           uncertain
                                                                                          topics               35:3, 35:13,      44:10
                                                                        195:10, 196:9,    25:2, 39:19          46:22, 47:5,
                                                                        196:11, 196:18,                                          unclear
                                                                                          total                81:11, 150:13,    14:9
                                                                        197:11, 198:8,    159:18, 174:16,      151:15, 151:17,
                                                                        199:2, 199:20,                                           under
                                                                                          175:11               161:18, 223:7     15:3, 26:13,
                                                                        208:21, 211:8,    totaling             truthfully
                                                                        219:5, 221:19,                                           34:20, 74:22,
                                                                                          186:2                15:3              174:13, 183:13,
                                                                        222:3             totally              try
                                                                        times                                                    190:17, 191:1,
                                                                                          115:15               14:19, 33:3,      195:8, 201:3,
                                                                        21:11, 39:2,      track                118:13, 140:16,
                                                                        50:8, 50:11,                                             223:10
                                                                                          52:7, 52:10,         150:19, 151:12,   underlying
                                                                        71:21, 123:13,    116:15               187:1, 203:5,
                                                                        123:16, 123:17,                                          75:2
                                                                                          transcript           221:6             understand
                                                                        214:6                                  trying
                                                                        title             5:10, 14:5,                            13:22, 14:6,
                                                                                          16:1, 28:8,          44:8, 52:7,       14:10, 14:12,
                                                                        12:21, 38:17,     43:12, 47:12,        52:10, 100:8,
                                                                        39:9, 40:2                                               14:13, 14:21,
                                                                                          53:16, 60:22,        100:12, 100:17,   17:2, 21:13,
                                                                        today             65:14, 80:6,         119:20, 135:22,
                                                                        7:10, 8:8,                                               44:8, 71:3,
                                                                                          85:19, 89:19,        148:3, 183:16,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       257
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 259 of 263




                                                                        81:12, 82:21,     unwisely             7:10, 8:7,        136:1, 140:16,
                                                                        93:20, 96:15,     143:16               113:3, 113:7,     168:15, 171:15,
                                                                        100:9, 100:17,    updates              166:13, 166:16,   184:16, 186:18,
                                                                        100:20, 101:2,    210:1, 210:5         222:1             195:13, 198:16,
                                                                        128:12, 129:14,   upper                videotaped        207:5, 221:6
                                                                        137:14, 144:19,   155:21, 173:21       1:12, 2:1         wanted
                                                                        144:22, 147:6,    use                  vigorously        171:22, 172:5
                                                                        150:16, 151:10,   26:21, 41:11,        49:16             wants
                                                                        152:19, 153:6,    55:2, 55:7,          violations        75:11
                                                                        217:4, 220:22,    55:9, 55:12,         47:2              waste
                                                                        221:7             55:13, 96:13,        virginia          211:8
                                                                        understanding     115:11, 137:7,       64:8              wasted
                                                                        99:9, 106:14,     152:8, 209:1         virtually         207:9
                                                                        115:22, 118:7,    using                1:14, 2:2         way
                                                                        118:15, 128:8,    25:18, 143:16        voice             22:6, 29:16,
                                                                        136:12, 137:3,             V           7:13, 198:16      76:9, 94:20,
                                                                        145:4, 145:8,                          vs                97:7, 97:10,
                                                                        145:10, 145:19,   vague
                                                                                          51:20, 56:14,        1:6               97:14, 115:14,
                                                                        150:8, 151:1,                                   W        134:22, 139:2,
                                                                        170:20, 187:19,   60:13, 62:17,
                                                                                          104:14, 118:10,      wages             139:10, 139:12,
                                                                        188:6, 195:14,                                           146:10, 146:14,
                                                                        206:3             119:17, 210:13       170:11
                                                                                          verbal               wait              146:16, 185:16,
                                                                        understands                                              187:1, 188:5
                                                                        187:20            14:6, 158:4,         14:18, 14:19,
                                                                                          158:7                                  we'll
                                                                        understood                             30:17, 30:18
                                                                                          verbalize            waiting           16:11, 16:16,
                                                                        14:20, 147:9                                             21:7, 21:11,
                                                                        undertaken        14:4                 105:5
                                                                                          verbally                               26:19, 47:17,
                                                                        152:4, 152:14,                         want              54:2, 77:18,
                                                                        152:15            79:8                 10:20, 10:21,
                                                                                          version                                77:19, 81:2,
                                                                        undertaking                            21:10, 27:19,     108:17, 111:13,
                                                                        213:22            168:9, 222:8         28:15, 29:3,      113:2, 117:8,
                                                                        uninterested      versus               29:4, 32:5,       155:3, 165:15,
                                                                        11:8              7:4, 193:7           35:7, 38:2,       166:11, 168:17,
                                                                        united            veto                 43:7, 50:21,      199:10, 222:7,
                                                                        1:1, 7:5          23:15                61:2, 61:15,      222:9
                                                                        unless            via                  65:10, 68:22,     we're
                                                                                          1:14, 2:2            69:4, 69:8,       40:7, 53:9,
                                                                        186:14                                 69:19, 70:4,
                                                                        unrelated         vicki                                  56:4, 77:1,
                                                                                          1:21, 2:8, 8:8,      70:15, 71:6,      80:15, 80:16,
                                                                        24:19, 209:12                          71:12, 71:18,
                                                                        unsolicited       223:4                                  92:7, 113:10,
                                                                                          video                72:4, 77:17,      117:13, 121:11,
                                                                        110:19, 111:19,                        79:21, 80:8,
                                                                        112:5             7:3, 7:8, 7:12,                        140:11, 143:13,
                                                                                          7:19, 10:18,         91:8, 91:22,      166:10, 167:15,
                                                                        until                                  98:8, 108:13,
                                                                        30:9, 125:14,     11:1, 11:15,                           179:8, 207:10,
                                                                                          14:5, 222:4,         110:21, 111:7,    212:9, 212:15,
                                                                        149:9, 195:9                           115:7, 115:11,
                                                                        unusual           222:8, 222:14                          212:18, 213:10,
                                                                                          videographer         115:14, 118:12,   222:12
                                                                        132:18                                 124:12, 128:12,
                                                                        unwieldy          4:14, 7:2,                             we've
                                                                        67:12                                                    47:19, 108:4,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                       258
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 260 of 263




                                                                        108:9, 112:2,     186:22, 199:7        172:12            years
                                                                        112:4, 112:8,     whythe               worked            13:7, 37:17,
                                                                        155:3, 165:4,     193:8                40:10, 41:13,     39:2, 39:11,
                                                                        184:10            wide                 41:16, 72:6,      39:16, 39:21,
                                                                        wednesday         209:17               132:13            41:14, 41:21,
                                                                        26:5              win                  working           42:1, 42:3,
                                                                        week              70:15, 70:21,        13:8, 40:17,      42:11, 72:7,
                                                                        40:4              71:5                 41:7, 41:16,      132:12, 133:1,
                                                                        weeks             wise                 42:12, 43:5,      138:22, 193:2,
                                                                        102:16            83:22, 84:19,        51:12             193:4
                                                                        went              194:14               works             yesterday
                                                                        35:17, 39:17,     wish                 76:9, 146:15      129:5
                                                                        75:22, 166:7      41:11                world             yeung
                                                                        weren't           withheld             45:18             3:15, 8:2,
                                                                        37:14, 176:3,     160:21               wouldn't          10:9, 16:5,
                                                                        215:4             without              68:14, 95:7       16:10, 16:16,
                                                                        west              72:6, 73:14,         write             43:16, 114:9,
                                                                        3:17              106:13, 130:6,       157:8             154:2, 154:7,
                                                                        whatever          200:22               writing           154:11, 154:13,
                                                                        180:3             witness              79:9, 160:1       154:18, 165:19,
                                                                        whenever          8:10, 12:6,          writings          165:21, 166:2,
                                                                        79:10             25:1, 29:9,          119:6, 160:5      166:6, 168:7,
                                                                        whereof           33:9, 63:16,         written           168:12, 201:20
                                                                        223:14            64:17, 67:10,        158:1, 158:7,     young
                                                                        whether           67:20, 80:17,        164:19, 172:2     10:7
                                                                        22:2, 22:4,       87:3, 91:2,          wrong             yourself
                                                                        29:2, 30:9,       103:12, 123:1,       208:21, 220:1,    9:21, 10:8,
                                                                        30:19, 31:3,      124:7, 145:3,        220:9             189:3, 219:10
                                                                        32:2, 33:11,      156:21, 187:13,      wrongful                   Z
                                                                        34:2, 46:1,       187:14, 194:19,      217:3             zito
                                                                        60:1, 66:14,      203:6, 223:14        wrote             3:5
                                                                        75:11, 77:20,     witness's            19:5, 19:6,       zoom
                                                                        78:6, 78:14,      75:17, 214:11,       20:20, 23:3,      1:14, 2:2, 8:1
                                                                        96:6, 156:15,     215:21               23:4, 54:14,               $
                                                                        158:4, 158:7,     witnesses            58:14, 99:8,
                                                                        160:20, 161:18,   73:8, 101:8,                           $10,000
                                                                                                               125:11            162:18, 167:12,
                                                                        162:12, 170:22,   124:2                wyoming
                                                                        184:7, 188:19,    word                                   167:22, 168:18
                                                                                                               72:20, 203:11,    $15,000
                                                                        189:8, 190:22,    96:14, 128:16,       209:14, 217:13
                                                                        191:13, 206:10    136:15, 152:9                          182:4, 182:20,
                                                                                                                        Y        184:22, 185:3
                                                                        white's           words                yeah
                                                                        5:12, 73:21,      164:1                                  $20,000
                                                                                                               48:19, 117:15,    182:13
                                                                        149:15, 196:13,   work                 201:21
                                                                        196:14, 218:7     12:19, 13:22,                          $25,000
                                                                                                               year              167:19
                                                                        whoever           33:4, 40:5,          13:2, 158:9,
                                                                        16:15             41:14, 57:11,                          $30,000
                                                                                                               160:15, 218:12,   182:5, 182:9
                                                                        whole             69:5, 146:16,        218:16
                                                                        17:12, 76:1,      157:18, 159:11,




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                         259
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 261 of 263




                                                                        $50,000           000922               166:14, 166:18,    154
                                                                        182:5, 182:14,    5:19, 79:22          184:11, 212:3      6:9
                                                                        183:9, 186:2      00309                114                16
                                                                        $65,000           1:7, 7:7             6:5                6:3, 6:6,
                                                                        177:4, 180:8,     04                   116                15:18, 104:21,
                                                                        181:14, 182:17,   80:3, 117:1          4:5                116:17, 117:2
                                                                        186:5             05                   117                166
                                                                                 0        51:2                 6:6                6:10
                                                                        00                08                   12                 17
                                                                        21:18, 91:15,     131:2, 131:10,       5:3, 5:16,         6:7, 44:19,
                                                                        184:11            131:16, 134:5,       5:19, 5:20, 6:2,   45:10, 46:22,
                                                                        00001             134:9, 134:13,       21:15, 21:17,      113:5, 121:5
                                                                        6:8, 124:13       134:21, 135:10,      21:20, 53:19,      176
                                                                        000041            138:10, 141:3,       53:20, 54:13,      6:11
                                                                        6:2, 98:9         143:5, 212:3         57:8, 60:18,       18
                                                                        00008                      1           61:12, 62:1,       5:19, 6:8,
                                                                        6:8               1                    63:10, 80:10,      80:1, 124:19
                                                                        000093            80:3, 117:1,         85:12, 88:16,      19
                                                                        5:15, 47:8        124:17, 127:3,       98:11, 98:12,      6:9, 27:22,
                                                                        000285            127:4, 129:12,       101:15, 113:16,    53:20, 54:13,
                                                                                          131:11, 135:13,      114:1, 196:8,      60:18, 61:12,
                                                                        6:13, 212:2                            221:12, 222:3,
                                                                        000292            136:3, 137:13,                          62:1, 63:10,
                                                                                          139:3, 141:22,       222:17             98:11, 101:15,
                                                                        5:16, 53:10                            121
                                                                        000312            142:8, 143:6,                           154:19, 167:15,
                                                                                          144:4                6:7                167:21, 168:9,
                                                                        6:7, 121:2                             124
                                                                        000543            1/6/21                                  168:16, 181:21
                                                                                          5:18                 6:8                1:-cv--elh
                                                                        6:5, 113:12,                           13
                                                                        113:20            1/7/21                                  1:7, 7:7
                                                                                          5:21                 6:3, 6:7,                   2
                                                                        000831                                 104:22, 121:4
                                                                        6:6, 116:20       10                                      2
                                                                                          5:21, 6:9,           14                 53:19, 57:8,
                                                                        000875                                 6:4, 6:13,
                                                                        6:3, 104:20       61:4, 61:8,                             131:2, 131:10,
                                                                                          80:10, 81:20,        98:22, 107:17,     131:16, 134:5,
                                                                        000876                                 162:17, 167:12,
                                                                        6:4, 107:15       89:17, 113:5,                           134:9, 134:13,
                                                                                          113:9, 154:1,        212:3              134:21, 135:10,
                                                                        000877                                 15
                                                                        6:12, 201:19      154:8, 155:11,                          138:10, 141:3,
                                                                                          167:8                5:12, 5:15,        143:5
                                                                        000894                                 6:4, 6:5, 6:9,
                                                                        5:17, 60:16       103.3                                   2/1/15
                                                                                          51:10                47:22, 72:7,       6:11
                                                                        000897                                 107:16, 108:21,
                                                                        60:16             104                                     2/5/21
                                                                                          6:3                  114:2, 132:12,     5:17
                                                                        000900                                 133:1, 138:22,
                                                                        5:18, 65:11       107                                     2/9/15
                                                                                          6:4                  153:22, 154:8,     6:10
                                                                        000908                                 155:10, 157:2,
                                                                        6:1, 91:9         1099                 167:8, 181:21,
                                                                                                                                  20
                                                                        000913            158:9, 160:14,       182:8, 182:14,     5:19, 5:20,
                                                                        5:21, 89:16       160:16               182:15, 193:2,     6:1, 6:10, 13:7,
                                                                        000921            11                   193:3              39:11, 39:16,
                                                                        5:20, 85:7        6:1, 91:10,



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021                      260
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 262 of 263




                                                                        41:21, 42:1,      2019                 21401             98:11, 101:14,
                                                                        42:3, 42:11,      176:16               3:18              124:15, 126:7,
                                                                        91:14, 113:13,    202                  216               134:15, 135:7,
                                                                        113:21, 132:12,   6:12                 3:19              136:5, 138:1
                                                                        155:10, 157:3,    2020                 22                28
                                                                        166:19, 167:8,    54:13, 80:2,         6:12, 80:3,       5:13, 104:21
                                                                        167:15, 167:16,   80:3, 80:10,         91:15, 124:17,    29
                                                                        168:6, 168:13,    81:20, 85:11,        126:17, 127:3,    1:15, 7:8,
                                                                        168:17, 173:13,   88:16, 132:8         129:12, 131:2,    166:14
                                                                        181:22, 182:5,    2021                 132:5, 132:22,    293
                                                                        182:6, 182:14,    1:15, 7:8,           133:18, 134:5,    5:16, 53:13
                                                                        182:15, 223:18    15:18, 47:22,        134:8, 134:13,    2d
                                                                        2001              51:2, 51:7,          134:21, 135:9,    20:7
                                                                        42:12, 135:7      53:19, 57:8,         135:13, 136:3,    2g
                                                                        2002              60:18, 60:19,        137:13, 138:9,    22:11
                                                                        42:14             61:3, 61:8,          139:3, 141:3,              3
                                                                        2007              62:1, 62:22,         141:22, 143:4,    3
                                                                        89:10, 98:2,      63:10, 64:5,         143:6, 144:4,     60:19, 104:21,
                                                                        120:1, 124:17,    65:18, 65:20,        202:2             202:1, 202:12
                                                                        126:17, 127:3,    89:22, 91:14,        223               30
                                                                        129:12, 131:2,    91:15, 98:11,        1:20
                                                                        131:17, 131:18,                                          21:15, 21:17,
                                                                                          98:22, 101:14,       23                21:20, 26:14,
                                                                        132:5, 132:8,     104:21, 107:16,      6:13, 80:2,
                                                                        132:15, 132:22,                                          37:17, 74:12,
                                                                                          108:21, 113:14,      212:4             74:22, 149:8,
                                                                        133:8, 133:19,    113:15, 113:21,      238
                                                                        133:21, 134:5,                                           184:10, 195:9,
                                                                                          114:1, 116:21,       3:17              196:8, 201:4,
                                                                        134:9, 134:13,    117:1, 119:21,       24
                                                                        134:21, 135:9,                                           202:1, 202:12,
                                                                                          121:4, 124:15,       124:17, 127:3,    221:12, 222:3
                                                                        135:13, 136:3,    126:7, 133:21,       127:4, 129:12,
                                                                        137:13, 138:10,   134:15, 136:5,
                                                                                                                                 3000
                                                                                                               131:11, 135:13,   4:7
                                                                        139:3, 141:3,     138:1, 201:22,       136:3, 137:13,
                                                                        141:22, 143:4,    202:11, 212:3,                         301
                                                                                                               139:3, 141:22,    4:7
                                                                        143:6, 144:4,     223:16               142:8, 143:6,
                                                                        145:13, 150:11,   2024                                   31
                                                                                                               144:4, 201:22,    1:16, 7:9,
                                                                        203:8             223:18               223:18
                                                                        2014              20770                                  15:17
                                                                                                               25                312
                                                                        157:21            4:6                  6:5, 41:14,
                                                                        2015              21                                     3:9
                                                                                                               41:22, 52:16,     318
                                                                        44:19, 45:10,     1:7, 5:15,           52:22, 53:3,
                                                                        46:22, 47:6,      5:16, 6:1, 6:2,      113:15, 114:1     121:2
                                                                        154:1, 155:10,    6:3, 6:4, 6:5,       26                319
                                                                        157:21, 162:17,   6:7, 6:8, 6:11,      65:18, 65:20,     6:7, 121:3
                                                                        165:17, 167:5,    6:13, 7:7, 80:9,     98:22             32
                                                                        167:8, 167:12,    81:20, 91:14,        27                113:9, 222:17
                                                                        167:18, 168:4,    113:21, 176:19,      5:20, 6:2, 6:8,   33
                                                                        173:15, 176:18,   182:16               25:4, 51:1,       121:4
                                                                        177:3, 177:16,    212                  51:7, 85:11,      34
                                                                        181:9             6:13                 88:16, 89:1,      60:19




                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Daniel J. White
                                                                                              Conducted on November 29, 2021    261
Case 1:21-cv-00309-ELH Document 113-11 Filed 07/31/22 Page 263 of 263




                                                                        350                        5           85:14, 116:22,
                                                                        3:7               5                    184:10
                                                                        36                51:2, 65:21,         80
                                                                        129:21, 135:13    98:22, 107:16,       5:19
                                                                        37                108:22, 121:4        8174
                                                                        166:18            50                   3:9
                                                                        39                23:12, 23:13,        835
                                                                        65:21             53:20, 54:13,        6:6, 116:20
                                                                        3rd               182:15, 190:20       85
                                                                        223:15            51                   5:20
                                                                                 4        61:4, 61:8,          89
                                                                        4                 85:12, 88:16,        5:21
                                                                        80:2, 91:15,      154:1, 154:8,        897
                                                                        124:16, 134:16,   155:11, 167:8        5:17
                                                                        135:7, 136:5,     53                            9
                                                                        138:1, 201:22     5:16, 53:19,         9
                                                                        400               57:8                 89:22, 91:14,
                                                                        3:6               58                   113:14, 113:21
                                                                        41                124:16, 135:7,       907
                                                                        107:16, 108:22    136:5, 138:1         5:18, 65:11
                                                                        410               5th                  91
                                                                        3:19              61:12                6:1
                                                                        414939                     6           910
                                                                        1:19              6/7/21               6:1, 91:9
                                                                        42                6:12                 925
                                                                        6:2, 98:9         60                   5:19, 79:22
                                                                        43                5:17                 94
                                                                        5:14              60654                5:15, 47:9
                                                                        44                3:8                  98
                                                                        48:1, 116:22,     6411                 6:2
                                                                        130:21, 131:6,    4:5
                                                                        138:8             65
                                                                        441               5:18
                                                                        4:7                        7
                                                                        45                7/1/21
                                                                        54:18, 108:5,
                                                                        108:10            6:6
                                                                        46                77
                                                                        81:20             201:20
                                                                        47                7900
                                                                        5:15, 91:14,      3:19
                                                                        113:14, 113:21             8
                                                                        48                8
                                                                        89:22, 134:16     1:16, 7:9,
                                                                        489               21:18, 48:1,
                                                                        3:9
                                                                        49
                                                                        113:16, 114:1



                                                                                                       PLANET DEPOS
                                                                                          888.433.3767 | WWW.PLANETDEPOS.COM
